Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 1 of 806




            EXHIBIT 58
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 2 of 806


                                                                     Page 1
 1               UNITED STATES DISTRICT COURT
 2             NORTHERN DISTRICT OF CALIFORNIA
 3

 4   IN RE:    ROUNDUP PRODUCTS                )
     LIABILITY LITIGATION,                     )
 5                                             )
     ______________________________ ) MDL No. 2741
 6                                             )
     This document relates to:                 ) Case No.
 7                                             ) 16-md-02741-VC
     ALL ACTIONS                               )
 8                                             )
     _______________________________)
 9

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15                    VIDEO DEPOSITION OF
16                    BEATE RITZ, MD, PHD
17                   Los Angeles, California
18                Monday, September 18, 2017
19

20

21

22    Reported by:
23    LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR,
24    NCRA Realtime Systems Administrator
25    JOB NO. 128477

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      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 3 of 806

                                       Page 2                                                         Page 3
 1                                                 1   A P P E A R A N C E S:
 2                                                 2
 3                                                 3     ANDRUS WAGSTAFF ATTORNEYS AT LAW
 4                                                 4     Attorneys for Plaintiffs
 5          September 18, 2017                     5     7171 West Alaska Drive
 6            9:05 a.m.                            6     Lakewood, Colorado 80226
 7                                                 7     BY: KATHRYN FORGIE, ESQ.
 8                                                 8     BY: DAVID WOOL, ESQ.
 9         Video deposition of BEATE RITZ, MD,     9
10   PHD, held at the offices of Baum, Hedlund,   10     BAUM HEDLUND ARISTEI & GOLDMAN
11   Aristei & Goldman, PC, 12100 Wilshire        11     Attorneys for Plaintiffs
12   Boulevard, Suite 950, Los Angeles,           12     12100 Wilshire Boulevard
13   California, before Lisa Moskowitz,           13     Los Angeles, California 90025
14   California CSR 10816, RPR, CRR, CLR, NCRA    14     BY: MICHAEL BAUM, ESQ.
15   Realtime Systems Administrator.              15     BY: R. BRENT WISNER, ESQ.
16                                                16     BY: PEDRAM ESFANDIARY, ESQ.
17                                                17
18                                                18     THE MILLER FIRM
19                                                19     Attorneys for Plaintiffs
20                                                20     108 Railroad Avenue
21                                                21     Orange, Virginia 22960
22                                                22     BY: MICHAEL MILLER, ESQ.
23                                                23     BY: JEFFREY TRAVERS, ESQ.
24                                                24
25                                                25     ///

                                       Page 4                                                         Page 5
 1                                                 1    --------------- I N D E X -----------------
     A P P E A R A N C E S:
 2                                                 2   WITNESS:           EXAMINATION                   PAGE
 3      LOCKRIDGE GRINDAL NAUEN                    3   BEATE RITZ, MD, PhD
 4      Attorneys for Plaintiffs                   4               Mr. Lasker         10, 435
 5      100 Washington Avenue South                5               Ms. Forgie            414
 6      Minneapolis, Minnesota 55401               6
 7      BY: YVONNE FLAHERTY, ESQ.                  7     -------------- E X H I B I T S ------------
 8      BY: ROSA TREMBOUR, ESQ.                    8   NUMBER                             MARKED
 9                                                 9   Exhibit 19-1 Curriculum Vitae                11
10      HOLLINGSWORTH                             10   Exhibit 19-2 Expert Report of Dr.             39
11      Attorneys for Defendant Monsanto          11              Beate Ritz, MD, PhD, in
12      1350 I Street, N.W.                       12              Support of General
13      Washington, D.C. 20005                    13              Causation on Behalf of
14      BY: ERIC LASKER, ESQ.                     14              Plaintiffs
15      BY: ELYSE SHIMADA, ESQ.                   15   Exhibit 19-3 Charles Poole Article            86
16                                                16   Exhibit 19-4 Review: Causal                113
17   ALSO PRESENT:                                17              Inference in
18    SCOTT MCNAIR, Videographer                  18              Epidemiology PowerPoint
19    LEEMON McHENRY                              19   Exhibit 19-5 Screening/                 132
20                                                20              Misclassification of
21                                                21              Disease or Exposure
22                                                22              PowerPoint
23                                                23   Exhibit 19-6 Deposition Transcript            148
24                                                24              of Aaron Earl Blair,
25                                                25              PhD



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      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 4 of 806

                                                 Page 6                                               Page 7
 1    -------------- E X H I B I T S ------------            1    -------------- E X H I B I T S ------------
 2   NUMBER                            MARKED                2   NUMBER                            MARKED
 3   Exhibit 19-7 Eriksson Study                155          3   Exhibit 19-20 Heltshe Study               363
 4   Exhibit 19-8 Hardell Study                156           4   Exhibit 19-21 Alavanja Study               386
 5   Exhibit 19-9 Rebuttal Expert Witness 166                5
 6              Report of Beate Ritz,                        6
 7              MD, PhD                                      7
 8   Exhibit 19-10 Cantor Study                178           8
 9   Exhibit 19-11 Letter from United             200        9               RECORD MARKED
10              States Environmental                        10               PAGE LINE
11              Agency, dated 12/22/75                      11                125 20
12   Exhibit 19-12 De Roos Study                 204        12                220 15
13   Exhibit 19-13 Zahm Study                   223         13                220 23
14   Exhibit 19-14 Lee Study                  235           14                225 11
15   Exhibit 19-15 McDuffie Study                 243       15                237 24
16   Exhibit 19-16 North American Pooled             277    16                239 5
17              Project PowerPoint                          17                242 4
18   Exhibit 19-17 Introduction to Cohort          313      18                259 11
19              Studies                                     19                269 13
20   Exhibit 19-18 De Roos 2005 Study               318     20                270 12
21   Exhibit 19-19 Draft Lymphoma Risk and 349              21                361 15
22              Pesticide Use in the                        22
23              Agricultural Health                         23
24              Study                                       24
25                                                          25


                                                 Page 8                                               Page 9
 1   LOS ANGELES, MONDAY, SEPTEMBER 18, 2017                 1         the plaintiffs with Andrus
 2          9:05 A.M.                                        2         Wagstaff.
 3                                                           3         MR. BAUM: Michael Baum for
 4         THE VIDEOGRAPHER: Good morning.                   4      plaintiffs.
 5      This is the start of tape labeled      09:04         5         MR. WISNER: Brent Wisner for
 6      number 1 of the videotaped deposition of             6      plaintiffs.
 7      Dr. Beate Ritz in the matter of Roundup              7         MR. ESFANDIARY: Pedram Esfandiary
 8      Products Liability Litigation. This                  8      for plaintiffs.
 9      case is before the United States                     9         MR. McHENRY: Leemon McHenry for
10      District Court for the Northern District 09:04      10      plaintiffs.
11      of California bearing MDL Number 2741               11         THE VIDEOGRAPHER: On the phone?
12      and Case Number 16-MD-02741-VC. This                12         MS. FLAHERTY: Yvonne Flaherty,
13      deposition is being held at 12100                   13      Lockridge, Grindal Nauen for plaintiffs.
14      Wilshire Boulevard in Los Angeles,                  14         THE REPORTER: And the other two
15      California. Today's date is           09:05         15      counsel for the record on the phone?
16      September 18, 2017. The time is                     16         MS. FORGIE: Jeff, Mike, you guys?
17      approximately 9:05 a.m.                             17      Are you there?
18         My name is Scott McNair from TSG                 18         THE REPORTER: Can you please
19      Reporting, Incorporated. I'm the legal              19      identify yourselves for the video
20      video specialist. The court reporter     09:05      20      record?
21      today is Lisa Moskowitz also in                     21         MR. MILLER: Michael Miller and
22      association with TSG Reporting.                     22      Jeff Travers.
23         Will counsel please identify                     23         MS. FORGIE: For plaintiffs.
24      yourselves for the record.                          24         MR. LASKER: Eric Lasker for
25         MS. FORGIE: Kathryn Forgie for           09:05   25      Monsanto, Hollingsworth, LLP.



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 5 of 806

                                              Page 10                                                       Page 11
 1        MS. SHIMADA: Elyse Shimada for                      1   the court reporter's benefit, although I'm
 2      Monsanto, Hollingsworth, LLP.                         2   not very good at that. I'll warn you. And
 3        THE VIDEOGRAPHER: Thank you.                        3   if we can just wait for the question to be
 4        Will the court reporter please                      4   completed before you answer, that makes it
 5      swear in the witness.            09:06                5   easier for the court reporter. Okay?         09:07
 6                                                            6      A. Yes.
 7   Beate Ritz, MD, PhD,                                     7      Q. If you have any uncertainties about
 8        called as a witness, having been                    8   my question or my question is poorly worded,
 9        duly sworn, was examined and                        9   just let me know. Okay? Great.
10        testified as follows:                              10          Let's start by marking your CV.       09:07
11                                                           11   This will be Exhibit 19-1.
12              EXAMINATION                                  12          (Exhibit Number 19-1 was marked
13   BY MR. LASKER:                                          13          for identification.)
14     Q. Good morning, Dr. Ritz.                            14   BY MR. LASKER:
15     A. Good morning.                      09:07           15      Q. So Dr. Ritz, you received your          09:08
16     Q. As you just heard, my name is Eric                 16   medical training in Germany; correct?
17   Lasker. I represent Monsanto. I'll be                   17      A. Correct.
18   asking you some questions today.                        18      Q. And you received what is identified
19         Have you had your deposition taken                19   on your CV as a medical certificate and then
20   before?                            09:07                20   a doctoral degree in medical sociology.         09:08
21     A. Once in, I don't know, 1991 or '2.                 21      A. Correct.
22     Q. I'm sure your attorneys have told                  22      Q. I'm just trying to understand the
23   you the process, but your deposition is                 23   terminology here. What is a doctoral degree
24   being videotaped, and we have a court                   24   in medical sociology?
25   reporter. I will try and speak slowly for    09:07      25      A. It's a PhD equivalent.              09:08

                                              Page 12                                                       Page 13
 1      Q. What was your specialty? What was                  1      Q. And that was somewhere around 1982?
 2   your area --                                             2      A. '3.
 3      A. Medical sociology which includes                   3      Q. '83.
 4   occupational health. So mine was in                      4         Other than that, have you provided
 5   occupational health.                    09:08            5   clinical care for patients with cancer?     09:09
 6      Q. Okay. And the medical certificate,                 6      A. No.
 7   is that --                                               7      Q. You're not an oncologist; correct?
 8      A. That licenses you to be a                          8      A. No.
 9   physician.                                               9      Q. You came to UCLA in 1991 to pursue
10      Q. Okay. Did you ever -- have you          09:08     10   a master's degree and then a PhD in          09:09
11   ever practiced as a clinical physician?                 11   epidemiology; correct?
12      A. Yes.                                              12      A. No. 1989.
13      Q. Where did you practice?                           13      Q. 1989. Thank you.
14      A. At the University Hospital Hamburg                14         In 1995, you became an assistant
15   psychiatric department.                   09:09         15   professor of epidemiology at UCLA; correct?       09:09
16      Q. Have you ever provided medical care               16      A. Correct.
17   for patients with -- well, did you ever                 17      Q. One of your responsibilities in
18   provide medical care for cancer in patients             18   that position was advising and mentoring
19   with cancer?                                            19   doctoral students; correct?
20      A. Yes.                          09:09               20      A. Correct.                       09:10
21      Q. When was that?                                    21      Q. The first doctoral student you
22      A. That was during my final year in                  22   mentored was Kurt Straif; correct?
23   medical school at the University of Hamburg             23      A. Correct.
24   pediatrics ward that was filled with                    24      Q. Had you known Dr. Straif before you
25   children with leukemia and brain tumors.        09:09   25   became his mentor in 1997?                 09:10



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      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 6 of 806

                                                Page 14                                                        Page 15
 1      A. I knew him as a student. He was a                     1      A. Yeah.
 2   student in the epi department, and he was                   2      Q. Beyond -- first of all, just so the
 3   actually mentored by a different faculty,                   3   record is clear, Dr. Straif is now the head
 4   Dr. Krause, who left UCLA and because of                    4   of the IARC Monograph program; correct?
 5   that, Dr. Straif had to be reassigned to     09:10          5      A. As far as I understand, yes.          09:11
 6   another advisor.                                            6      Q. Was he the head of the Monograph
 7      Q. Had you known Dr. Straif back in                      7   program when he invited you to become a
 8   Germany?                                                    8   visiting scientist at IARC?
 9      A. No.                                                   9      A. No.
10      Q. Did you continue to have a           09:10           10      Q. What was his position then?            09:11
11   professional relationship with Dr. Straif                  11      A. He was a senior scientist in the
12   after he received his PhD?                                 12   program, as far as I remember. And he was
13      A. Not a professional relationship but                  13   not the official person inviting me. He
14   a personal one.                                            14   just recommended to me that I should come to
15      Q. Okay. So you and Dr. Straif are        09:10         15   IARC, and it was Dr. Boffetta who invited me 09:11
16   friends?                                                   16   officially.
17         MS. FORGIE: Objection.                               17      Q. What did you do as a visiting
18         THE WITNESS: I don't know how you                    18   scientist at IARC?
19      would characterize it, but we're                        19      A. Well, my role was to work with --
20      collegially affiliated. So he invited   09:11           20   to mentor and work with junior colleagues         09:11
21      me, for example, to spend a visiting                    21   who were in the epidemiology program.
22      year at IARC.                                           22   Actually, one of the senior scientists -- we
23   BY MR. LASKER:                                             23   have a very regular exchange of doctoral
24      Q. Okay. That's where I was going                       24   students who go for internships to IARC.
25   next; so you anticipated that.            09:11            25   That is actually under the -- not my own        09:12


                                                Page 16                                                        Page 17
 1   students but the students of our cancer                     1      Q. So when would that -- a year, what
 2   research are at UCLA, Dr. Zhang, and one of                 2   year would that program have started?
 3   his former students was actually a member of                3      A. 1997.
 4   the epidemiology group at IARC at the time,                 4      Q. Does that continue to the present?
 5   Mia Hashibe, and she was the one who was           09:12    5      A. I don't believe so because          09:13
 6   helping all the students integrate into the                 6   Dr. Hashibe left IARC, and Dr. Zhang is not
 7   IARC program, and my role as visiting                       7   very active anymore in terms of research.
 8   scientist was to actually help her but also                 8      Q. Were you paid for your work as a
 9   mentor a lot of junior scientists there                     9   visiting scientist at IARC?
10   because, at the time, I was considered a       09:12       10      A. I got a stipend that helped me pay 09:13
11   senior scientist.                                          11   for rent. It was not considered pay.
12      Q. So I didn't understand this. UCLA                    12      Q. Did you continue to receive pay
13   and IARC have a --                                         13   from UCLA during that period?
14      A. A mentorship program.                                14      A. I was on a sabbatical officially,
15         MS. FORGIE: Wait for him to get          09:12       15   and yes, during that sabbatical, you're      09:13
16      the question out before you answer,                     16   entitled to payment.
17      please.                                                 17      Q. How long did you work as a visiting
18   BY MR. LASKER:                                             18   scientist at IARC?
19      Q. And how long has UCLA had this                       19      A. I started, I think, in August of
20   mentoring program with IARC?                   09:13       20   2006, and I left to go back to UCLA in July 09:14
21      A. I believe it is as long as                           21   of the next year, 2007.
22   Dr. Zhang was a faculty member at UCLA                     22      Q. I've seen some documents that
23   because he came -- he had a time where he,                 23   identify you as also serving during this
24   in his own professional career, actually                   24   period as a member of the IARC secretariat;
25   spent time at IARC.                      09:13             25   is that right?                      09:14



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      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 7 of 806

                                            Page 18                                                      Page 19
 1      A. Not that I recall that that was an               1          Are you familiar with that?
 2   official title, however, I was an                      2      A. No.
 3   observer -- a member of the group that was             3      Q. Did you have any dealings with
 4   in charge of putting the 100s volume                   4   Dr. Portier when you were at IARC?
 5   together or the ideas for the 100s volume,   09:14     5      A. None.                            09:15
 6   and I was an observer at several events that           6      Q. Do you have any professional
 7   were led by the Monograph group.                       7   relationship with Dr. Portier?
 8         They always have observers from                  8      A. None.
 9   visiting professors, junior scientists, but            9      Q. Do you have any collegial
10   I was not a member of any of the groups.      09:14   10   relationship? If that's the word we use --      09:15
11      Q. And the Volume 100, what is that?               11      A. I don't.
12      A. That is -- that was a special                   12          MS. FORGIE: Careful there.
13   memorial volume in which they decided which           13          MR. LASKER: I'm using her word.
14   agents to re-review that they had previously          14      Trying to find the right word there.
15   reviewed. So the 100 carcinogenic compounds 09:15     15   BY MR. LASKER:                               09:16
16   and groups that were previously reviewed in           16      Q. I take it you did not work on any
17   the 100s volume they decided what to                  17   of the amendments to the IARC preamble?
18   re-review.                                            18      A. No.
19      Q. Gotcha.                                         19      Q. Now, I was looking at your CV, and
20         You were working for IARC during       09:15    20   I don't see it. Maybe it's just an          09:16
21   the same years that one of the other                  21   oversight, your work for IARC on your CV.
22   plaintiffs experts Christopher Portier was            22          Is that listed here, and I just
23   also over at IARC, I believe, working on an           23   missed it?
24   advisory group to recommend amendments to             24      A. That was a sabbatical. I don't
25   the preamble.                          09:15          25   list every sabbatical I take.              09:16

                                            Page 20                                                      Page 21
 1      Q. Okay. So I didn't miss it. It's                  1      Q. When was the last time that
 2   not on your CV?                                        2   committee met?
 3      A. No.                                              3      A. I think I was the chair once; so it
 4      Q. Okay.                                            4   must have been in 2006 or '7.
 5      A. There may be some talk -- no. I        09:16     5      Q. Okay. How did you first get          09:17
 6   don't know.                                            6   appointed to the advisory committee?
 7      Q. Have you had any discussion with                 7      A. I was approached, as far as I
 8   Dr. Straif about IARC's review of                      8   recall, by Dr. Alavanja at a professional
 9   glyphosate?                                            9   meeting, and he asked me whether I would be
10      A. None.                            09:16          10   interested in this kind of appointment.     09:17
11      Q. Have you had any discussion with                11      Q. How were you selected in 2005 to
12   Dr. Straif about any of your work as a                12   become the chair of the committee?
13   plaintiff's expert in this litigation?                13      A. Because the chair stepped down, and
14      A. None.                                           14   they thought they needed somebody else to
15      Q. Your CV mentions that you are a         09:16   15   chair. So they asked me, but it was, at the 09:17
16   member or originally were a member of the             16   time, already not clear whether this
17   external advisory committee for the                   17   advisory panel would really have much to do
18   Agricultural Health Study and then in 2005,           18   in the future.
19   you became the chair of that committee;               19         That was one reason why I said yes
20   correct?                              09:17           20   because I knew it wouldn't be much work.        09:17
21      A. Correct.                                        21      Q. For the period 2001 to 2005 then,
22      Q. And you're currently still serving              22   was that a period where there was more work
23   as the chair of the AHS --                            23   on the advisory committee?
24      A. Normally but that committee hasn't              24      A. Yes.
25   met since.                             09:17          25      Q. What was the role of the advisory      09:18



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      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 8 of 806

                                             Page 22                                                      Page 23
 1   committee during that period of time?                   1      A. Correct.
 2      A. That was a very active time for the               2      Q. In your role on the advisory
 3   cohort because they were in the second phase            3   committee, would you, then, have received
 4   of going out there and interviewing and                 4   the initial results of that analysis? Have
 5   trying to interact with the farmers.       09:18        5   that presented to you for discussion?       09:19
 6          And so from year to year, they                   6      A. Not necessarily. That was actually
 7   would present their progress, but at the                7   up to the authors and depended on whether
 8   same time, they were also using the baseline            8   they wanted input from the advisory panel or
 9   data that they had collected between 1993               9   certain members of the advisory panel, and I
10   and 1997 to do the first analyses and       09:18      10   can't remember seeing that manuscript.        09:19
11   produce the first results that came out of             11      Q. Would the advisory committee review
12   this cohort.                                           12   the publications that came out of the AHS
13          So it was a very, very busy time of             13   after they appeared in the --
14   investigators presenting first results,                14      A. That was not our task. Our task
15   presenting first ideas on how to do exposure 09:18     15   was really to be there for those who wanted 09:20
16   assessments and to bang ideas around, and              16   a pre-review.
17   that's what the advisory committee was                 17      Q. Did the advisory committee consult
18   charged to do, which is to not only follow             18   on the methodologies that were being used by
19   the fieldwork and make recommendations that            19   the Agricultural Health Study group during
20   was ongoing but also to evaluate those first 09:19     20   that period in preparing their analyses for 09:20
21   analyses and results coming out of the                 21   publication?
22   study.                                                 22          MS. FORGIE: Objection.
23      Q. So this was during the period of                 23          You can answer.
24   time when the De Roos 2005 publication came            24          THE WITNESS: There was not one
25   out which looked at glyphosate; correct?      09:19    25      publication that we would ever review.    09:20


                                             Page 24                                                      Page 25
 1     Part of what was done at the advisory                 1   mean, we are in a room with 35, 50 people,
 2     panel meetings was present to us studies              2   and, you know, if you can get your hand up
 3     within the Agricultural Health Study                  3   fast enough, you can ask a question.
 4     that helped us evaluate the exposure                  4      Q. Do you recall during that meeting
 5     assessment methods.                    09:20          5   whether anybody raised, from the advisory       09:21
 6         I remember presentations by                       6   committee, raised any concerns about the
 7     Dr. Curwin, by the NIOSH group that went              7   validity or reliability of the analysis this
 8     out and did field measurements, and I                 8   Dr. Acquavella was conducting?
 9     also remember presentations by                        9         MS. FORGIE: Objection.
10     Dr. Acquavella from Monsanto. They had 09:20         10         THE WITNESS: I do not. I cannot         09:21
11     a relatively close relationship during               11      remember.
12     that time in trying to evaluate                      12   BY MR. LASKER:
13     exposures in the field.                              13      Q. So that -- you mentioned that was
14   BY MR. LASKER:                                         14   from the period before 2005, and you have
15     Q. Do you recall then did you review         09:21   15   one meeting that you recall after 2005,      09:22
16   Dr. Acquavella's analyses of urinary                   16   sometime in 2006 and 2007. Have you had any
17   biomarkers for glyphosate in other                     17   activity as a member of or as a chair of the
18   pesticides?                                            18   external advisory group for AHS since that
19     A. We did not review it, but we were                 19   time?
20   made aware of it.                      09:21           20      A. What would happen is from time to        09:22
21     Q. Did you actually have the                         21   time we would get a small report of
22   opportunity to question Dr. Acquavella                 22   activities that are ongoing in writing. We
23   about his -- and his team about their                  23   would have maybe one or two conference calls
24   analyses?                                              24   where we could ask questions about the
25     A. Maybe one or two questions. I           09:21     25   ongoing activities, and I've been informed    09:22



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 9 of 806

                                              Page 26                                                     Page 27
 1   that there will be a two-day meeting coming              1   about the response rate for the exposure
 2   up in February, but I can't attend it                    2   assessment for the AHS and how the AHS group
 3   because I'm teaching.                                    3   has addressed that in their studies.
 4      Q. Did you have, during that time                     4          Were there any discussions with
 5   period, calls addressing the second phase      09:22     5   your group about methods that could be used    09:23
 6   questionnaire to gather more information on              6   to address the issue of non-responders in
 7   exposure information from the cohort?                    7   phase 2?
 8         MS. FORGIE: Object to form.                        8      A. Only insofar as they were trying to
 9         THE WITNESS: That was done. There                  9   come up with field methods to get more
10      was no more questions about that.         09:23      10   people to respond.                     09:24
11   BY MR. LASKER:                                          11      Q. Have you had any discussions with
12      Q. So during the period -- that would                12   any of the Agricultural Health Study
13   have been completed in 2003 or 2004.                    13   scientists regarding any study data on
14      A. Yeah, yeah.                                       14   glyphosate and non-Hodgkin's lymphoma?
15      Q. Were you advising, or was your          09:23     15      A. No.                          09:24
16   committee advising the AHS on the procedures            16      Q. Have you had any discussions with
17   to use during the second phase in gathering             17   anyone at the AHS regarding research into
18   additional information from the cohort?                 18   pesticides more generally?
19      A. Well, that was already decided                    19      A. Oh, yes.
20   prior to them going out in the field; so    09:23       20      Q. What discussions -- I know this may 09:24
21   there was nothing you could change. You                 21   be a broad topic. I don't know exactly how
22   don't change methods in the middle of                   22   to break this down. What discussions have
23   assessments in the field because you get in             23   you had with the AHS group about conducting
24   trouble.                                                24   pesticide cancer epidemiology? I assume
25      Q. We'll be talking a little bit later 09:23         25   that's the general category.             09:24


                                              Page 28                                                     Page 29
 1      A. That's --                                          1   necessarily expect selection bias. We would
 2          MS. FORGIE: Wait for the question.                2   expect selection to -- well, we would
 3          THE WITNESS: That's very broad; so                3   suspect loss to follow-up only if we cannot
 4      the discussions would have been quite                 4   find cancer cases in the registries that
 5      broad.                            09:25               5   were being searched for, and that was        09:26
 6   BY MR. LASKER:                                           6   actually part of the assessments in the --
 7      Q. I realized that as I was asking the                7   when I was in the room at those meetings was
 8   question. Have you had conversations with                8   what search algorithms they were using
 9   the AHS scientists about how to conduct                  9   broadly to find cancer cases, and they
10   their dose response analyses of pesticides      09:25   10   included not only the cancer registries in   09:26
11   and non-Hodgkin's lymphoma?                             11   the States but mortality registries and
12      A. No.                                               12   other means including following up with the
13      Q. Have you had discussions                          13   participants. So in terms of cancer, we
14   regarding -- with the AHS scientists about              14   would expect them to have been able to find
15   how to deal with issues of selection --       09:25     15   all the cancers.                      09:26
16   potential selection bias in the -- if there             16      Q. Did you have any discussions with
17   is any in the AHS study?                                17   AHS scientists about the possibility of
18          MS. FORGIE: Object to form.                      18   misclassification -- exposure
19          THE WITNESS: Selection bias would                19   misclassification bias in the study?
20      be a differential bias due to loss to    09:25       20      A. The study is a very broad term.       09:27
21      follow-up. Are we talking about cancer,              21   The study has many, many sub studies
22      or are we talking any outcome?                       22   including a Parkinson's study I'm very
23   BY MR. LASKER:                                          23   interested in because that's what I do. And
24      Q. Cancer.                                           24   yes, there could be selection bias in that
25      A. In terms of cancer we would not          09:25    25   Parkinson's study, and it could be very      09:27



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                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 10 of 806

                                            Page 30                                                    Page 31
 1   severe so I'm sure we've had a lot of                 1   rather easy to recall for the women, or you
 2   discussion around that.                               2   can even sample urine every month from a
 3      Q. Let me back up because you used                 3   pregnant woman. You cannot sample urine
 4   selection bias, and I thought we were                 4   over lifetime from the farming population of
 5   talking about something different but maybe 09:27     5   the size of the AHS. So it's an ongoing       09:28
 6   I misstated. I was talking about exposure             6   debate.
 7   and misclassification bias. That's a                  7       Q. It would be fair to say that the
 8   separate issue than selection bias.                   8   Agricultural Health Study has made
 9      A. Yes.                                            9   significant efforts through the way it
10         MS. FORGIE: Wait for a question.      09:27    10   interacts with the cohort and the way that     09:28
11   BY MR. LASKER:                                       11   it formulates the questionnaires, including
12      Q. Have you had conversations with AHS            12   with advice from your committee to minimize
13   scientists about exposure misclassification          13   the potential for exposure misclassification
14   bias particularly with respect to                    14   bias?
15   pesticides?                          09:27           15           MS. FORGIE: Object to form.          09:28
16      A. That was an ongoing discussion that            16           THE WITNESS: That's a very
17   we had at just about every meeting because           17       relative term. Again, when it comes to
18   in pesticide epidemiology, we are generally          18       lifelong exposures, misclassification of
19   aware that that's a big problem. Exposure            19       exposure gets more and more -- to be
20   misclassification is always a problem with   09:28   20       more and more problem the older the        09:29
21   when you have time varying exposures, and            21       enrollees are and the longer back they
22   you have lifelong exposure periods that you          22       have to recall. It also is a big
23   have to evaluate. So it's not like, for              23       problem if you're not reassessing
24   example, I do a lot of pregnancy studies.            24       exposures every single year.
25   You have a nine months period, and that's    09:28   25   ///

                                            Page 32                                                    Page 33
 1   BY MR. LASKER:                                        1      candidate for faculty at UCLA, I have
 2      Q. Did the advisory committee make                 2      been very interested in her publication;
 3   recommendations to the AHS scientists on              3      so I'm very aware of her publications.
 4   methods to address exposure                           4   BY MR. LASKER:
 5   misclassification or potential for exposure 09:29     5      Q. When was Dr. De Roos being              09:30
 6   misclassification that the AHS scientists             6   considered for a faculty position at UCLA?
 7   did not accept?                                       7      A. A few years ago. Two or three
 8      A. I can't recall.                                 8   years ago right before she went to Drexel.
 9      Q. Dr. Matthew Ross of Mississippi                 9      Q. And through that process, I take it
10   State is also a member of your advisory      09:29   10   you then reviewed all of her studies for --   09:30
11   committee for the AHS group; correct?                11      A. More or less, yes. Especially the
12      A. As far as I remember, yes.                     12   ones I'm familiar with.
13      Q. Have you had any conversation with             13      Q. What different exposures or risk
14   Dr. Ross about glyphosate?                           14   factors has the AHS through its research
15      A. No.                           09:29            15   associated with non-Hodgkin's lymphoma that 09:31
16      Q. Have you followed the AHS outside              16   you can recall?
17   of this litigation -- have you followed the          17      A. It has found diesel, and it has --
18   AHS's findings with respect to potential             18   there's a small risk increase in certain
19   risk factors in the agricultural community           19   animal husbandry and solvent exposures, but
20   for non-Hodgkin's lymphoma?                 09:30    20   the one that I recall the most is diesel    09:31
21         MS. FORGIE: Object to form.                    21   exposures.
22         THE WITNESS: I have been following             22      Q. Your CV also mentions that you are
23      the AHS over many years. The focus for            23   a Fellow at the Collegium Ramazzini. I
24      me was always my Parkinson's interest.            24   guess you became that in 2007; correct?
25      However, since Dr. De Roos was a          09:30   25      A. Correct.                        09:31



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                         TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 11 of 806

                                            Page 34                                                      Page 35
 1      Q. What is a Collegium Ramazzini?                   1      A. I'm not sure they even have any
 2      A. It's a boys' club. That's one                    2   scientific endeavors, and I wouldn't know
 3   reason why I'm not often there. It is a                3   where they're getting their funding from,
 4   group of occupational and environmentally              4   but certainly they are not paying you to go
 5   interested health professionals who are      09:32     5   there.                            09:33
 6   meeting once a year in a small place near              6      Q. Are you aware of that the Collegium
 7   Bologna in Italy. Ramazzini was 1700's the             7   Ramazzini has announced the intention to
 8   first occupational physician credited with             8   conduct research into glyphosate?
 9   finding several occupational disorders or              9          MS. FORGIE: Objection.
10   diagnosing them for the first time. So in    09:32    10          THE WITNESS: I have no -- I have         09:33
11   his honor, this is a society. You can only            11      not followed them for a while.
12   be invited to become a member, and it has a           12   BY MR. LASKER:
13   limited number of members. So only when a             13      Q. So the answer is no?
14   member expires or leaves can a new one be             14      A. No.
15   inducted.                          09:32              15          MS. FORGIE: Objection.               09:33
16   BY MR. LASKER:                                        16   BY MR. LASKER:
17      Q. What is the numerical limit?                    17      Q. Dr. Straif is a Fellow of the
18      A. I think it is 189 for some reason.              18   Collegium Ramazzini; correct?
19      Q. Do you know who invited you for                 19      A. I think he is, but I'm not really
20   membership?                           09:32           20   certain. I've never met him there.         09:33
21      A. Yes. It was Dr. Phillip Grandjean               21      Q. Dr. Blair is a Fellow of the
22   from Denmark.                                         22   Collegium Ramazzini; correct?
23      Q. Where does -- to the extent that                23      A. I think that's true. Again, I
24   you know the Collegium Ramazzini receive              24   don't recall seeing him there.
25   funding for its scientific endeavors?       09:32     25      Q. And Dr. Portier is a fellow of the     09:33

                                            Page 36                                                      Page 37
 1   Collegium Ramazzini; correct?                          1   trying to help the conference organizers in
 2      A. I wouldn't know that.                            2   every way we can. And we have guidelines
 3      Q. In 2009, you were elected as a                   3   for conference organizers. So that's pretty
 4   counselor for the International Society for            4   much it.
 5   Environmental Epidemiology; correct?          09:33    5      Q. Okay. In your expert report, you       09:34
 6      A. Correct.                                         6   discuss what you describe as some of the
 7      Q. What is the role of a counselor for              7   peer review that's conducted in connection
 8   the ISEE?                                              8   with abstracts and presentations at the ISEE
 9      A. Well, that's kind of like a board                9   conferences; correct?
10   member, and what you do is you're on a phone 09:34    10      A. Correct.                       09:35
11   call once a month with all the other members          11      Q. Can you describe that peer review
12   including the president and the president             12   process?
13   elect and the treasurer, and you're                   13      A. Yes. Every year when the
14   conducting business of the society.                   14   conferences are being conducted, we elicit
15      Q. One of the things that you've done    09:34     15   peer reviewers from among the council as        09:35
16   -- at least I see from your CV -- is that             16   well as from the membership. So we have a
17   you have been a member of the ISEE's                  17   call for the membership out to nominate peer
18   conference organizing committee.                      18   reviewers for the abstracts and then we
19      A. That's correct.                                 19   appoint the -- the council appoints these
20      Q. What does that committee do? I        09:34     20   peer reviewers with the help of the         09:35
21   think it's halfway self-evident but . . .             21   conference organizers, and they then are
22      A. Yes, it is self-evident. So we are              22   tasked with peer reviewing the abstracts.
23   the ones who are reviewing the applications           23   And there are guidelines for that. There is
24   that come in from members for conducting the          24   a point system for that, and it's always at
25   conference every year, and we also are       09:34    25   least three reviewers who review, and then     09:35



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                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 12 of 806

                                             Page 38                                                       Page 39
 1   it's being summarized and discussed in the              1   or any of the presentations of the NAPP
 2   conference committee or better with the                 2   investigators?
 3   conference organizers.                                  3      A. Unfortunately not.
 4       Q. So the abstract obviously is going               4      Q. Dr. Ritz, let's talk about some
 5   to be a fairly short document. Does the        09:36    5   of -- let's get your expert report as the     09:37
 6   peer review process involve reaching out and            6   next document. I don't know that we'll be
 7   talking to the investigators about their                7   dealing much with your CV so you can set
 8   work? What actually is done as part of that             8   that aside.
 9   peer review?                                            9          (Exhibit Number 19-2 was marked
10          MS. FORGIE: Object to form.            09:36    10          for identification.)             09:37
11          THE WITNESS: What we're trying to               11   BY MR. LASKER:
12       do is match the abstracts with people in           12      Q. So this will be Exhibit 19-2.
13       the specific areas of knowledge so that            13   Dr. Ritz, on page -- you address some of the
14       we have expertise in terms of the                  14   methodological issues with epidemiology and
15       outcomes assessed, the exposures          09:36    15   epidemiological studies in your report;         09:38
16       assessed, the type of studies conducted.           16   correct?
17       So the peer reviewers are not reaching             17      A. Yes.
18       out, but they are to evaluate whether              18      Q. I'd like to take you to page 6 and
19       there is enough information to make this           19   carrying over to page 7 you're discussing
20       a scientifically solid abstract.      09:36        20   what you identify as the null hypothesis;        09:38
21   BY MR. LASKER:                                         21   correct?
22       Q. And did you attend the ISEE                     22      A. Yes.
23   conference in Brazil in 2015?                          23      Q. The null hypothesis is an essential
24       A. I did.                                          24   concept in scientific methodology not only
25       Q. Did you sit in on the presentation     09:36    25   in epidemiology but in all areas of           09:38

                                             Page 40                                                       Page 41
 1   scientific endeavor seeking to analyze cause            1   ways of specifying that difference in terms
 2   and effect; correct?                                    2   of size or extent so that people can't
 3          MS. FORGIE: Object to form.                      3   easily agree to that kind of hypothesis.
 4          THE WITNESS: Yes, we generally                   4   But one in science could decide to
 5      formulate something of a null hypothesis 09:38       5   hypothesize something that's not a null      09:39
 6      in science, yes.                                     6   hypothesis, but the convention is to start
 7   BY MR. LASKER:                                          7   with a null hypothesis.
 8      Q. The scientific method is based upon               8      Q. If we are using a null hypothesis,
 9   generating a hypothesis and then testing to             9   the process of a scientific method is to
10   see if they can falsify -- if that       09:39         10   generate a hypothesis to see if that null   09:40
11   hypothesis can be found to be not true;                11   hypothesis could be shown to be not true;
12   correct?                                               12   correct?
13          MS. FORGIE: Object to form.                     13      A. I would not state it that way. We
14          THE WITNESS: Actually a null                    14   are starting with a null hypothesis, and
15      hypothesis is one specific hypothesis.     09:39    15   then we are trying to provide data that     09:40
16      It's the hypothesis that there's no                 16   either confirms or refutes the null
17      difference.                                         17   hypothesis.
18   BY MR. LASKER:                                         18      Q. Got it. Better.
19      Q. Right.                                           19         In epidemiology and in cancer
20      A. And that is actually in scientific    09:39      20   epidemiology, for example, the null          09:40
21   circles being discussed as probably not the            21   hypothesis would be that an exposure being
22   best way to go about science all the time.             22   studied is not a cause of cancer; correct?
23   Sometimes you actually want to specify a               23         MS. FORGIE: Object to form.
24   hypothesis of a certain type of difference.            24         THE WITNESS: We would, yes. A
25          However, there is a multitude more 09:39        25      null hypothesis we would state as no      09:40



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                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 13 of 806

                                               Page 42                                                      Page 43
 1      difference in risk.                                     1      Q. Correct. In epidemiologic studies,
 2   BY MR. LASKER:                                             2   the null hypothesis is reflected in an odd
 3      Q. Epidemiologists will then design                     3   ratio or risk ratio of 1.0; correct?
 4   studies to test that null hypothesis;                      4          MS. FORGIE: Object to form.
 5   correct?                            09:41                  5          THE WITNESS: Well, that is one          09:42
 6      A. Well, we are testing the hypothesis                  6      measure. We are using different
 7   whether or not that agent contributes to the               7      measures: odds ratio, risk ratios, rate
 8   disease. The null hypothesis would be that                 8      ratios. And these ratios have point
 9   it doesn't.                                                9      estimates and confidence intervals. The
10      Q. And when you design an                 09:41        10      null hypothesis is that, yes, there's no 09:42
11   epidemiological study, you are designing the              11      difference in the risk among the exposed
12   study to be able to test that null                        12      compared to the risk among the unexposed
13   hypothesis; correct?                                      13      or the rate in the exposed compared to
14      A. We can't really -- as I said, we                    14      the rate in the unexposed. And since
15   are testing whether an agent adheres or         09:41     15      the ratio measure when there's no        09:42
16   whether the exposure to an agent falls under              16      difference is one, that would be
17   the null hypothesis, or we can generate data              17      considered no effect.
18   that refutes that null hypothesis, yes.                   18   BY MR. LASKER:
19      Q. All right. So in designing an                       19      Q. Epidemiologists will then analyze
20   epidemiologic study, you are designing the        09:41   20   the data to determine whether that null       09:42
21   study to try and generate data that would at              21   hypothesis can be rejected from that data;
22   least -- would allow you to test the null                 22   correct?
23   hypothesis?                                               23          MS. FORGIE: Object to the form.
24      A. That would allow me to test whether                 24          THE WITNESS: Modern
25   there is a difference or not.             09:41           25      epidemiologists would not go out to test 09:43

                                               Page 44                                                      Page 45
 1      a null hypothesis or that kind of null                  1      the exposed compared to the risk in the
 2      hypothesis in the term of statistical                   2      unexposed. Along with that goes
 3      testing. What we're trying to do is                     3      statistics, but, in essence, we are
 4      estimate parameters. So we estimate the                 4      estimating parameters.
 5      parameter of interest which in this case 09:43          5   BY MR. LASKER:                             09:44
 6      is the relative risk, the risk ratio, or                6      Q. The process of estimating
 7      the odds ratio.                                         7   parameters in epidemiologic study is to
 8   BY MR. LASKER:                                             8   determine whether that data would provide
 9      Q. We'll be talking about exactly how                   9   evidence against a null hypothesis; correct?
10   to test that. I'm not talking about how     09:43         10          MS. FORGIE: Object to form and          09:44
11   they would test it, but as a threshold                    11      asked and answered.
12   epidemiologists using whatever approach --                12          THE WITNESS: Again, I would want
13   and we'll talk about this in a moment. But                13      to estimate this parameter and then also
14   epidemiologists will analyze the data from                14      see in statistical terms how informative
15   their study to determine whether the null     09:43       15      this parameter is.                  09:44
16   hypothesis can be rejected; correct?                      16   BY MR. LASKER:
17          MS. FORGIE: Objection. Asked and                   17      Q. Right. And the -- what you're
18      answered.                                              18   looking for with respect to that parameter
19          You can answer it again.                           19   is whether or not the data you are analyzing
20          THE WITNESS: Again, I would not          09:43     20   would exclude the null hypothesis, if you're 09:44
21      formulate it in this way. It's an                      21   going to reach a causation opinion; correct?
22      estimation problem. We are trying to                   22          MS. FORGIE: Object to form, asked
23      estimate a relative risk, a rate ratio,                23      and answered.
24      or an odds ratio which are parameters                  24          THE WITNESS: There's a lot more to
25      that tell me something about the risk in 09:43         25      that than just a null hypothesis.       09:44



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 14 of 806

                                              Page 46                                                     Page 47
 1      There's a lot more that we're doing in                1   parts as well -- is to determine whether or
 2      epidemiology to convince ourselves that               2   not at that step the null hypothesis of 1.0
 3      there is causation.                                   3   is at least not due to chance. Is that
 4   BY MR. LASKER:                                           4   fair?
 5      Q. That's fair enough. One step in          09:45     5          MS. FORGIE: Objection. Wait.           09:46
 6   the process to determine whether or not                  6      Object to form and asked and answered.
 7   there is causation through an epidemiologic              7          You can do it again.
 8   study is whether or not the data is --                   8          THE WITNESS: Chance is one -- is
 9   allows one to exclude the null hypothesis;               9      just one criterion we are considering as
10   correct?                            09:45               10      epidemiologists, and I teach bias        09:46
11          MS. FORGIE: Object to form, asked                11      analysis in the basic methods class at
12      and answered.                                        12      UCLA. What I teach my students is that
13          You can answer it again.                         13      what we have to make sure is that
14          THE WITNESS: Again, we are trying                14      there's no bias and that before
15      to estimate parameters. These              09:45     15      everything else we are ever considering. 09:46
16      parameters have point and interval --                16      So I would not even consider data unless
17      point and interval estimates, and a lot              17      we would go through a rigorous analysis
18      more goes into evaluating the validity               18      of all the biases.
19      of that parameter.                                   19   BY MR. LASKER:
20   BY MR. LASKER:                               09:45      20      Q. Fair enough. In your analysis of       09:46
21      Q. I agree with that, and we'll be                   21   the issues of chance, the issues of bias,
22   talking about that. But the purpose of                  22   the issues of confounding, when you're
23   determining the point estimate and the                  23   looking at all of those issues together,
24   parameters for the statistical analysis part            24   what you are trying to, as an
25   of that -- and we'll talk about the other      09:45    25   epidemiologist, is to determine whether or      09:47

                                              Page 48                                                     Page 49
 1   not those factors can be at least addressed              1      the study design, that you start with
 2   efficiently so that together that would                  2      the exposure assessment validity, that
 3   allow you to determine that the null                     3      you start with the outcome assessment
 4   hypothesis has been rejected in that study.              4      validity, that you then go into a sample
 5   Is that fair?                       09:47                5      size, exposure prevalence, any kind of    09:48
 6         MR. LASKER: Object to form.                        6      bias you can think of, and once you have
 7         THE WITNESS: I do not formulate my                 7      wrapped it all together, that's when
 8      research ever in that way. I'm                        8      you're doing a lot of sensitivity
 9      estimating parameters, and I'm assessing              9      analyses in your data to convince
10      validity of studies.                09:47            10      yourself that no way -- no matter how     09:48
11   BY MR. LASKER:                                          11      you look at your data, there is a
12      Q. What would you need to -- what                    12      signal.
13   steps would you need to go through then in              13   BY MR. LASKER:
14   an epidemiological study in analyzing the               14      Q. And I think that you mentioned
15   issues of chance and bias and confounding to 09:47      15   this -- you may have mentioned it in your     09:48
16   reach a conclusion in your mind that that               16   report. I know you mentioned it in some of
17   study demonstrates a positive association               17   your class materials -- that the fundamental
18   between the exposure at interest and the                18   question that an epidemiologist must ask
19   outcome at interest?                                    19   before reaching a causation opinion is is
20         MS. FORGIE: Objection to form.            09:48   20   there any other way of explaining the set of 09:49
21         THE WITNESS: That is a very long                  21   facts before us, is there any other answer
22      lecture. I don't know whether we want                22   that is equally or more likely than cause
23      to have it here. It takes me ten weeks               23   and effect; correct?
24      and four hours a week to do that. So                 24          MS. FORGIE: Object to form.
25      the short form is that you start with     09:48      25          THE WITNESS: We generally like to 09:49



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 15 of 806

                                                 Page 50                                                         Page 51
 1      challenge each other. Epidemiologists                      1   you are looking for then is just as
 2      are extremely critical of their own work                   2   consistent a pattern that would explain
 3      and that of their colleagues. So we are                    3   everything else.
 4      asking many, many questions trying to                      4      Q. And if you are not -- if you find
 5      debunk a positive result that we might     09:49           5   that there is some other explanation that     09:50
 6      be seeing in a study. We're coming up                      6   could explain the findings, then you would
 7      with causal models, with -- yeah, bias                     7   not be able to reach an opinion of cause and
 8      analyses, sensitivity analyses, and                        8   effect. Is that fair?
 9      after we've done all of that, there                        9         MS. FORGIE: Object to form.
10      might be a positive association; there    09:49           10         THE WITNESS: That would depend.             09:50
11      might not be a positive association.                      11      So I would want to see that -- there
12      Whether that's causal, we would usually                   12      could be an alternative explanation in
13      want more than one study to decide.                       13      one study but not in another. So what
14   BY MR. LASKER:                                               14      we would like to see is studies done on
15      Q. And the underlying -- the            09:50             15      different continents, in different     09:51
16   fundamental question that you're trying to                   16      counties, by different investigators
17   answer when you look at an epidemiologic                     17      with different methods. If they all
18   study or a body of epidemiologic literature                  18      show the same results, then I'm pretty
19   is whether there is any other way of                         19      happy because there's probably not one
20   explaining the facts before you other than     09:50         20      explanation that explains it away.       09:51
21   cause and effect; correct?                                   21   BY MR. LASKER:
22      A. That would be any one way because                      22      Q. The null hypothesis in this case is
23   there's always one way or another in any                     23   that glyphosate is not associated with
24   type of study that I can think of that you                   24   non-Hodgkin's lymphoma; correct?
25   can find alternative explanations, but what 09:50            25      A. It's either glyphosate or          09:51


                                                 Page 52                                                         Page 53
 1   glyphosate-related formulations.                              1   the studies included in the IARC review";
 2      Q. For epidemiology, it would actually                     2   correct?
 3   be glyphosate-based herbicides; correct?                      3       A. Yes, that's what it says.
 4      A. Correct.                                                4       Q. Okay. And that's the opinion that
 5      Q. There are no epidemiology studies           09:51       5   you are -- you'll be presenting in this    09:53
 6   that are just pure glyphosate. It's all the                   6   litigation; correct?
 7   formulate herbicide product?                                  7       A. I will be presenting my own
 8      A. Epidemiology is done in the real                        8   conclusions.
 9   world. So what is out in the real world is                    9       Q. And your own conclusions concur
10   what we're studying.                       09:51             10   with the IARC's conclusions; correct?        09:53
11      Q. Okay. And the question, then, on                       11          MS. FORGIE: Object to form.
12   to the scientific method and the question                    12          THE WITNESS: It concurs with the
13   for you, I take it, in this case is whether                  13       overall IARC conclusions.
14   the epidemiologic studies provide data that                  14   BY MR. LASKER:
15   would allow you to exclude -- well, strike        09:52      15       Q. And just to be clear, when you're    09:53
16   that.                                                        16   talking about the IARC's conclusions in your
17          You have reviewed, as part of your                    17   report, you're talking about IARC's
18   work in this case, IARC's assessment of the                  18   conclusions with regard to epidemiology;
19   glyphosate epidemiology; correct?                            19   correct?
20      A. I have read that monograph, yes.           09:52       20          MS. FORGIE: Object to form.          09:53
21      Q. And in your expert report -- I                         21          THE WITNESS: I am meaning the
22   think it's on page 16 -- it's actually the                   22       overall IARC conclusions.
23   last sentence on page 16, you state that you                 23   BY MR. LASKER:
24   "concur with the IARC conclusions after                      24       Q. Okay. In this section in your
25   conducting my own independent analysis of            09:52   25   report where you state that you concur with 09:53



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 16 of 806

                                             Page 54                                                      Page 55
 1   IARC's conclusions after conducting your own            1   did.
 2   independent analysis of the studies, first              2      Q. That's not your area of expertise,
 3   of all, what studies did you review in                  3   I take it?
 4   connection with your work on this case?                 4         MS. FORGIE: Objection. Object to
 5      A. What studies did IARC review?            09:53    5      form.                           09:54
 6      Q. No, did you review. Because you                   6         THE WITNESS: Well, in effect, I'm
 7   state, "After conducting my own independent             7      a member of the interdisciplinary
 8   analysis of the studies included in the IARC            8      program in molecular toxicology at UCLA.
 9   review," which studies are we talking about             9      So I teach toxicologists. So yes, I do
10   there?                            09:54                10      know how to read toxicology literature.     09:55
11      A. That overlap with IARC's? They                   11   BY MR. LASKER:
12   should be all in IARC plus I looked at                 12      Q. With respect to the conclusions
13   several others.                                        13   that can be reached with respect to the
14      Q. But IARC looked at studies dealing               14   animal toxicology studies, would you defer
15   with genotoxicity and dealing with            09:54    15   to the other experts that have been put      09:55
16   toxicology and all the like.                           16   forth by the plaintiff's counsel on those
17      A. Yes.                                             17   issues?
18      Q. Did you review the genotoxicology                18         MS. FORGIE: Object to form.
19   studies that IARC reviewed?                            19         THE WITNESS: I'm sure that a
20      A. I did review several papers on         09:54     20      toxicologist can read these papers in     09:55
21   genotoxicity as well as animal studies, yes.           21      different ways, but since I am -- I have
22      Q. And did you conduct an analysis,                 22      been working with toxicologists for
23   your own independent analysis of the animal            23      25 years. I'm a member of this teaching
24   toxicology studies?                                    24      program, I would say that I have a
25      A. As far as I'm able to do that, I     09:54       25      certain ability to draw my own           09:55

                                             Page 56                                                      Page 57
 1      conclusions. Plus I'm medically                      1          MS. FORGIE: Object to form.
 2      trained, and I know animal pathology                 2          THE WITNESS: Well, as a scientist,
 3      because it's very close to human                     3      you read everything, and as a scientist,
 4      pathology.                                           4      I did go back to the toxicology and
 5   BY MR. LASKER:                             09:55        5      genotoxicity literature, and I did read 09:56
 6      Q. So if I were to ask you questions                 6      the IARC Monograph on that. So when I
 7   about the Sugimoto rodent study, would you              7      come to a conclusion, it's in the
 8   be in a position to answer those questions              8      totality of everything I have reviewed.
 9   here today?                                             9   BY MR. LASKER:
10          MS. FORGIE: Object to form.           09:56     10      Q. I understand that, but your expert      09:57
11          THE WITNESS: You would have to                  11   report in discussing the IARC conclusions
12      show me those papers, and I would tell              12   that you concur with, the only conclusions
13      you.                                                13   that you discussed up to this point in your
14   BY MR. LASKER:                                         14   report are IARC's conclusions with respect
15      Q. In your expert report up until the 09:56         15   to the epidemiology; correct?               09:57
16   line -- up until page 16, you do not discuss           16          MS. FORGIE: Object to form. Asked
17   any studies other than the epidemiologic               17      and answered.
18   studies; correct?                                      18          You can answer it again.
19      A. Correct.                                         19          THE WITNESS: Again, I cannot
20      Q. And in your discussion on page 16        09:56   20      exclude what I know and what I've read       09:57
21   when you're talking about the conclusions              21      and what I've evaluated. So even if I
22   that IARC reached, you are talking about               22      just refer in this report to the
23   IARC's -- the only thing you discussed is              23      epidemiology, which, of course, I
24   IARC's conclusion with regard to the                   24      consider myself most an expert, when I
25   epidemiology; correct?                   09:56         25      make that comment, I'm referring to the 09:57



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 17 of 806

                                               Page 58                                                      Page 59
 1      whole IARC conclusion which included the                1      here with the overall IARC conclusion.
 2      toxicology and the genotoxicity.                        2   BY MR. LASKER:
 3   BY MR. LASKER:                                             3      Q. I understand that, but that's not
 4      Q. Do you concur with IARC's                            4   my question.
 5   conclusions with respect to the             09:57          5          MS. FORGIE: Wait, wait.               09:58
 6   epidemiology?                                              6   BY MR. LASKER:
 7          MS. FORGIE: Object to form.                         7      Q. When you state here that you are
 8          THE WITNESS: Well, IARC's                           8   concurring with the IARC's conclusions, you
 9      conclusions are IARC's conclusions.                     9   state that at page 16 of your expert report,
10      They are very categorical. As a          09:57         10   after talking to the epidemiological          09:58
11      scientist, I wish it wasn't as                         11   literature, my question to you is: Do you
12      categorical, and I may or may not confer               12   concur with the IARC's conclusions regarding
13      with the way they are drawing these                    13   the glyphosate epidemiology?
14      categorical conclusions. I think the                   14          MS. FORGIE: Object to form, asked
15      epidemiology is quite strong.           09:58          15      and answered twice before.               09:58
16   BY MR. LASKER:                                            16          You can answer it again.
17      Q. Let me be clear, though. When you                   17          THE WITNESS: IARC drew conclusions
18   state in your expert report on page 16 that               18      based on three criteria. I read the
19   you concur with the IARC's conclusions, do                19      IARC Monograph. I went back to some of
20   you concur with IARC's conclusions with           09:58   20      the literature on the genotoxicity and     09:59
21   respect to the epidemiology?                              21      on the animal studies, and I concur with
22          MS. FORGIE: Object to form and                     22      IARC's conclusions.
23      asked and answered.                                    23   BY MR. LASKER:
24          You can answer it again.                           24      Q. Okay. Again, I want to be clear
25          THE WITNESS: Well, I'm concurring 09:58            25   for the record so that the court understands 09:59

                                               Page 60                                                      Page 61
 1   and the answer can be yes or no. That's                    1      epidemiologist or the epidemiologist
 2   obviously your answer.                                     2      group and vice versa. But --
 3          With respect to IARC's conclusions,                 3   BY MR. LASKER:
 4   with respect to the epidemiological                        4      Q. I understand --
 5   literature of glyphosate, and you know that 09:59          5         MS. FORGIE: Wait let her finish,       10:00
 6   IARC separately analyzed the epidemiology;                 6      please.
 7   correct?                                                   7         THE WITNESS: In the end, they have
 8          MS. FORGIE: Object to form.                         8      to come together with a conclusion, and
 9          THE WITNESS: IARC has several                       9      the conclusions are very categorical,
10      groups that are evaluating pieces of       09:59       10      and they are balance of evidence type of 10:00
11      science. One is an epidemiology group.                 11      conclusions.
12      One is a genotoxicity -- one is a                      12   BY MR. LASKER:
13      mechanistic group. Genotoxicity is part                13      Q. I understand that. But my question
14      of it. One is an animal group. Each of                 14   to you is specific to the epidemiology
15      them evaluate the literature            09:59          15   subgroup in IARC, and they reached a           10:00
16      independently, come up with conclusions,               16   conclusion with respect to the
17      but then they are meeting together and                 17   epidemiological literature; correct?
18      discussing with each other the                         18         MS. FORGIE: Objection. Asked and
19      literature and possible conclusions from               19      answered.
20      it.                            10:00                   20         You can answer it again.           10:00
21          So every scientist in the room gets                21         THE WITNESS: Actually, the
22      to know what the other group is doing                  22      epidemiology group alone isn't who comes
23      and how they are reaching possible                     23      up with these conclusions. It is
24      conclusions, and they may disagree. A                  24      everybody in the room at the overall
25      toxicologist may disagree with an          10:00       25      meetings who agrees on these.           10:00



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                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 18 of 806

                                                Page 62                                                      Page 63
 1   BY MR. LASKER:                                              1      their conclusion. I make my own
 2      Q. Okay. And everybody in the room                       2      conclusion, but my conclusion as a
 3   came to a conclusion with respect to the                    3      scientist is based on reviewing all of
 4   epidemiologic literature; correct?                          4      the literature. I'm more than an
 5         MS. FORGIE: Object to form.           10:01           5      epidemiologist. I have medical            10:02
 6         THE WITNESS: They came to a                           6      training, and I have been working with
 7      balanced evaluation that then was put                    7      toxicologists and animal
 8      into the Monograph and got a category                    8      experimentalists for 25, 30 years.
 9      number which is 2A possible carcinogen.                  9   BY MR. LASKER:
10   BY MR. LASKER:                            10:01            10      Q. Right. I understand all of that,      10:02
11      Q. Okay. And that is the overall                        11   but my question for you is specific to the
12   assessment of glyphosate. I understand                     12   epidemiology. The IARC working group came
13   that. There is also a separate assessment                  13   to a conclusion that the glyphosate
14   in the Monograph for the epidemiology, and                 14   epidemiology with respect to non-Hodgkin's
15   there's a separate assessment for the animal 10:01         15   lymphoma fit into their category of limited. 10:02
16   toxicology, and there is a separate                        16          You understand that; correct?
17   assessment for the mechanisms; correct?                    17          MS. FORGIE: Object to form. Asked
18      A. Yes.                                                 18      and answered.
19      Q. What I am asking you is specific to                  19          You can answer it again.
20   the conclusion that IARC reached with         10:01        20          THE WITNESS: I understand the            10:02
21   respect to the epidemiology. Okay?                         21      categories that IARC is using, and they
22         MS. FORGIE: Objection.                               22      have some unfortunate language including
23         THE WITNESS: Again, the                              23      the word "limited" because it's not --
24      epidemiology group made their                           24      it's a common language word that is very
25      conclusion. I'm not going to question     10:01         25      easy to misunderstand.                 10:02

                                                Page 64                                                      Page 65
 1   BY MR. LASKER:                                              1   BY MR. LASKER:
 2      Q. Okay. Well, let's just be clear on                    2       Q. Okay. Let's just be clear about
 3   what IARC means by "limited" with respect to                3   this. 2A is the overall assessment. We're
 4   epidemiology.                                               4   talking about the epidemiologic studies.
 5          IARC defines limited as: "A           10:02          5       A. Uh-huh.                        10:03
 6   positive association has been observed                      6          MS. FORGIE: Wait for a question.
 7   between glyphosate" -- "between exposure to                 7   BY MR. LASKER:
 8   glyphosate in this instance and NHL for                     8       Q. With respect to the epidemiologic
 9   which a causal interpretation is credible                   9   studies, IARC concluded for glyphosate and
10   but chance, bias, or confounding cannot be         10:03   10   non-Hodgkin's lymphoma that a positive         10:03
11   ruled out with reasonable confidence."                     11   association has been observed for which a
12          Correct?                                            12   causal interpretation is credible but
13      A. Correct.                                             13   chance, bias, or confounding cannot be ruled
14          MS. FORGIE: Object to form.                         14   out with reasonable confidence; correct?
15   BY MR. LASKER:                               10:03         15          MS. FORGIE: Object to form, asked      10:04
16      Q. And IARC determined that the                         16       and answered.
17   glyphosate epidemiology -- epidemiologic                   17          You can answer it again, but you're
18   literature fit within that definition;                     18       getting --
19   correct?                                                   19          THE WITNESS: That is --
20          MS. FORGIE: Object to form, asked          10:03    20          MS. FORGIE: Wait, let me finish.      10:04
21      and answered.                                           21          You're getting to a point where
22          You can answer it again.                            22       you're badgering the witness.
23          THE WITNESS: The working group                      23          THE WITNESS: That's the IARC
24      gave the label 2A which is this kind of                 24       definition.
25      definition, yes.                    10:03               25   ///



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 19 of 806

                                              Page 66                                                         Page 67
 1   BY MR. LASKER:                                            1   report to mean, the question to you is very
 2      Q. And you state in your expert                        2   simple. Do you agree with IARC in its
 3   report -- and I'm just trying to understand               3   classification of the epidemiological
 4   what this means -- you state in your expert               4   literature for glyphosate and non-Hodgkin's
 5   report that you concur with the IARC          10:04       5   lymphoma that a positive association has         10:05
 6   conclusions.                                              6   been observed for which a causal
 7         My question to you -- and the                       7   interpretation is credible but chance, bias,
 8   answer can be yes or no -- is whether you                 8   or confounding cannot be ruled out with
 9   concur with IARC that for glyphosate and                  9   reasonable confidence?
10   non-Hodgkin's lymphoma and the                10:04      10          MS. FORGIE: Object to the form,          10:05
11   epidemiological studies, a positive                      11      asked and answered. Also you're
12   association has been observed for which a                12      deliberately misreading the IARC
13   causal interpretation is credible but                    13      categories.
14   chance, bias, or confounding cannot be ruled             14          THE WITNESS: Again, IARC has
15   out with reasonable confidence?             10:04        15      unfortunate wording in their categories. 10:05
16         MS. FORGIE: Object to form. Asked                  16      One of the unfortunate words is
17      and answered. Also mischaracterizes the               17      "limited." They are expanding on it in
18      IARC, as you know, the IARC categories.               18      a way that to non-epidemiologists is
19         THE WITNESS: Again, on page 16 of                  19      problematic, and I'm not going to argue
20      my document what I'm referring to is the 10:04        20      with IARC about this.                  10:05
21      overall IARC conclusion.                              21   BY MR. LASKER:
22   BY MR. LASKER:                                           22      Q. My question is not about use of the
23      Q. My question to you is, independent                 23   word "limited" or whatever word they use.
24   of whatever you mean or you're interpreting              24   My question is the substance of what IARC
25   the sentence on page 16 in your expert       10:05       25   concluded, and you may agree or you may            10:06


                                              Page 68                                                         Page 69
 1   disagree, but you haven't told me yet which               1     of wording they are using. I think the
 2   of those things it is. That's all I'm                     2     epidemiology is extremely strong.
 3   trying to find out. It's a simple question,               3   BY MR. LASKER:
 4   and if we need to mark this and the judge                 4     Q. Do you believe based upon your
 5   can answer, that's fine. We'll do that.      10:06        5   review of the epidemiological literature for 10:07
 6   But it's a simple question, yes or no.                    6   glyphosate and non-Hodgkin's lymphoma that a
 7         Do you agree with IARC in its                       7   positive association has been observed for
 8   review of the glyphosate and Roundup                      8   which a causal interpretation is credible
 9   epidemiological literature for non-Hodgkin's              9   but chance, bias, or confounding could not
10   lymphoma that a positive association has         10:06   10   be ruled out with reasonable confidence?        10:07
11   been observed for which a causal                         11         MS. FORGIE: Object to form. Asked
12   interpretation is credible but chance, bias,             12     and answered.
13   or confounding could not be ruled out with               13         You can answer it again.
14   reasonable confidence?                                   14         THE WITNESS: My reading of the
15         MS. FORGIE: Objection. Object to 10:06             15     literature is that the epidemiology is    10:07
16      the form. You're mischaracterizing and                16     very strong especially since there was
17      misreading the categories of IARC, as                 17     additional literature since IARC
18      you know, and it's been asked and                     18     conferred in 2015.
19      answered at least five or six times now.              19   BY MR. LASKER:
20         You may answer it again.              10:06        20     Q. Okay. Is your analysis, then, of       10:07
21         THE WITNESS: Again, IARC does                      21   the epidemiological literature, your
22      their evaluation the way they do. I'm a               22   conclusions, informed by epidemiological
23      scientist. I did my independent                       23   data that has come out subsequent to the
24      evaluation. I used my words. They used                24   IARC working group meeting?
25      theirs. I may not agree with the kind      10:07      25     A. I reviewed the NAPP, yes.              10:08



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 20 of 806

                                               Page 70                                                        Page 71
 1      Q. Okay. And so in reaching your                        1         You can answer it again.
 2   conclusions about the strength of the                      2         THE WITNESS: Again, I think that a
 3   epidemiology for glyphosate and                            3      causal association is quite credible,
 4   non-Hodgkin's lymphoma -- strike that.                     4      and I, as a scientist who is not just an
 5         Let me just circle back. Including 10:08             5      epidemiologist, put this in context with 10:09
 6   your analysis of the glyphosate literature                 6      everything I know, and I agree with IARC
 7   and the NAPP data, do you believe that a                   7      that it's a 2A.
 8   positive association has been observed                     8   BY MR. LASKER:
 9   between exposure to Roundup and                            9      Q. My question, though, is with
10   non-Hodgkin's lymphoma for which a causal         10:08   10   respect to the epidemiologic literature.       10:09
11   interpretation is credible but chance, bias,              11   With respect to the epidemiologic literature
12   or confounding could not be ruled out with                12   for the glyphosate and non-Hodgkin's
13   reasonable confidence?                                    13   lymphoma, do you think that chance, bias, or
14         MS. FORGIE: Object to form. Asked                   14   confounding can be ruled out with reasonable
15      and answered.                       10:08              15   confidence?                            10:09
16         You can answer it again.                            16         MS. FORGIE: Object to form, asked
17         THE WITNESS: I believe there's a                    17      and answered. This is like the tenth
18      positive association for which causal                  18      time.
19      association is quite credible.                         19         You can answer it again.
20   BY MR. LASKER:                              10:08         20         THE WITNESS: Okay. I think the             10:09
21      Q. Do you believe that chance, bias,                   21      epidemiology is quite strong. I think
22   and confounding can be ruled out with                     22      that there is enough reason to make
23   reasonable confidence?                                    23      causal associations. However, I put
24         MS. FORGIE: Objection. Asked and                    24      this in the context of the animal data
25      answered.                        10:09                 25      and the mechanistic data. As a            10:09

                                               Page 72                                                        Page 73
 1       scientist, I cannot split my mind into                 1   BY MR. LASKER:
 2       three different parts, and that's also                 2      Q. Hello, Dr. Ritz. During the break
 3       not what IARC does.                                    3   I was looking through your expert report,
 4          IARC sits in a room and discusses                   4   and I did not see any mention in your report
 5       this with everyone and comes to their         10:10    5   about any of the animal cancer bioassays         10:29
 6       conclusion overall. However, there's                   6   regarding glyphosate. Am I correct that
 7       additional data that came out since IARC               7   there's no mention of those animal cancer
 8       met, and that strengthens the evidence.                8   bioassays in your expert report?
 9   BY MR. LASKER:                                             9          MS. FORGIE: Object to the form.
10       Q. Let's talk about chance.              10:10        10          THE WITNESS: Well, they are              10:29
11          MS. FORGIE: If you're at a                         11      mentioned, but I am not critiquing them
12       reasonable breaking point, just let us                12      in the way that I would critique an
13       know.                                                 13      epidemiology study. But I certainly
14          MR. LASKER: Sure. How long have                    14      reviewed them.
15       we been? Over an hour?                    10:10       15   BY MR. LASKER:                              10:29
16          MS. FORGIE: An hour and ten                        16      Q. Can you point in your expert report
17       minutes.                                              17   where you mentioned any of the animal cancer
18          MR. LASKER: That'll be fine.                       18   bioassays?
19          THE VIDEOGRAPHER: We're off the                    19      A. Under biologic plausibility and
20       record at 10:10 a.m.                   10:10          20   where I say what I searched. Where is that? 10:29
21          (Recess taken from 10:10 a.m.                      21      Q. I think that's your literature
22          to 10:27 a.m.)                                     22   review.
23          THE VIDEOGRAPHER: We are back on                   23      A. Literature search, yeah.
24       the record at 10:27 a.m.                              24      Q. Okay. So let's start with the
25   ///                                                       25   biological plausibility because I read that    10:29



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 21 of 806

                                               Page 74                                                     Page 75
 1   through a number of times. Maybe I missed                 1      and the listed above are mentioned in my
 2   it. There are some discussions of a handful               2      search algorithm.
 3   of genotoxicity studies, and you cite them.               3   BY MR. LASKER:
 4   But I don't see mentioned anywhere in these               4      Q. First of all, the listed above,
 5   two paragraphs of the animal cancer           10:30       5   just so we're clear in the section of         10:31
 6   bioassays. Is that correct?                               6   biological plausibility, is referring to
 7          MS. FORGIE: Object to form.                        7   studies of genotoxicity and oxidative
 8          THE WITNESS: Well, the animal                      8   stress; correct?
 9      studies I mention on page 25.                          9          MS. FORGIE: Object to the form.
10   BY MR. LASKER:                             10:30         10          THE WITNESS: No, that's a compound 10:31
11      Q. Which animal studies?                              11      sentence, and what I was referring to
12      A. Animal experiments.                                12      here is, one, the oxidative stress and
13      Q. With regard to cytotoxic and                       13      genotoxicity as a mechanism and, two,
14   genotoxic effects. I see that. Where do                  14      the lab experiments that also confirmed
15   you mention any animal cancer bioassays?         10:30   15      carcinogenicity.                      10:31
16      A. That says models. Correct. What                    16   BY MR. LASKER:
17   are you referring to now?                                17      Q. Can you point anywhere -- first of
18      Q. I'm asking if there's any mention                  18   all, in biological plausibility -- we'll go
19   anywhere in this section of biological                   19   to your literature search as well, but
20   plausibility to an animal cancer bioassay      10:30     20   anywhere in biological plausibility in those 10:32
21   because I'm not seeing it.                               21   two paragraphs where you mention an animal
22          MS. FORGIE: Object to the form.                   22   cancer bioassay?
23          THE WITNESS: Well, has been                       23      A. To me the lab experiments are
24      confirmed by laboratory experiments                   24   exactly that. That's what they mean.
25      listed above is what I was referring to, 10:31        25      Q. You state, "The lab experiments           10:32


                                               Page 76                                                     Page 77
 1   listed above," and the lab experiments                    1   here. Yes. Page 8. It starts on page 8.
 2   listed above are dealing with cytotoxic and               2       Q. Where in pages 8 and 9 do you
 3   genotoxic effects.                                        3   mention animal cancer bioassays?
 4          MS. FORGIE: Wait. Is there a                       4       A. Animal and mechanistic literature.
 5      question?                         10:32                5   It's on page 9. 550 articles for animal and 10:33
 6   BY MR. LASKER:                                            6   mechanistic literature and 600 citations for
 7      Q. Where is there a reference anywhere                 7   cancer. So that includes the oncology of
 8   in these two paragraphs to an animal cancer               8   animals.
 9   bioassay?                                                 9       Q. And the bracket after that says,
10      A. No, the listed above does not refer 10:32          10   "Most citations were not immediately           10:33
11   to the mechanisms. The listed above is in                11   relevant to the present question due to
12   terms of the whole document.                             12   their focus on topics such as effects in
13      Q. Your whole expert report?                          13   fish resulting from runoff, effects on
14      A. Uh-huh.                                            14   present pregnancy and child development, or
15      Q. And you believe that you mentioned         10:32   15   effects on other cancer types."            10:33
16   the animal cancer bioassays in your                      16          Do you see that?
17   literature search?                                       17       A. Yes.
18      A. Yes.                                               18       Q. In your discussion of the
19      Q. Let's go to the literature search                  19   literature search, you stated that you were
20   then. Now, the literature search, just so     10:32      20   looking to obtain all published studies on     10:33
21   the record is clear is at pages 8 and 9                  21   the relationship between non-Hodgkin's
22   which is some 16 -- 15 or 16 pages before                22   lymphoma and glyphosate; correct?
23   that sentence in the biological plausibility             23       A. Yes.
24   section; correct?                                        24       Q. And --
25                                                            25       A. And ingredients. The active          10:34
        A. I can't see it right now. Oh,        10:33



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 22 of 806

                                            Page 78                                                     Page 79
 1   ingredient in Roundup. So it included                  1   BY MR. LASKER:
 2   Roundup.                                               2     Q. First of all, is it your
 3       Q. And your statement to then is that              3   understanding that you will be proffering
 4   this reference to the fact that you                    4   any opinions in this case with respect to
 5   conducted a literature search that yielded    10:34    5   animal cancer bioassays?                   10:35
 6   over 550 articles for animal an mechanistic            6         MS. FORGIE: Object to the form.
 7   literature was a disclosure that you had               7         THE WITNESS: Well, my -- what I
 8   reviewed the animal cancer bioassays and               8     understand is that I'm here as an expert
 9   were rendering an opinion on them in this              9     epidemiologist but also as a scientist.
10   case?                                10:34            10     As an expert epidemiologist, I rendered      10:35
11          MS. FORGIE: Object to the form.                11     you with my evaluation of the
12          THE WITNESS: This disclosure means             12     epidemiology. As a scientist I'm
13       that yes, everything that's out there in          13     curious. I go beyond epidemiology. I
14       the literature I am willing and able to           14     look at other types of literature. And
15       look at and select from and form my       10:34   15     I disclosed this here because I was told 10:35
16       opinion on. That's what I do as a                 16     that I'm supposed to disclose that.
17       scientist.                                        17         MR. LASKER: Okay. For the record
18          Actually as a scientist I often                18     we'll state there is nothing in this
19       spend Sundays doing exactly this,                 19     expert report that mentions an animal
20       searching the literature broadly to find 10:35    20     cancer bioassay. There is no disclosure 10:35
21       animal and other types of studies that            21     as required under the federal rules of
22       then give me an hint in terms of what             22     any opinion being proffered on animal
23       I'm doing as an epidemiologist, and it's          23     cancer bioassays, and unless counsel is
24       great fun. I like it.                             24     here to represent that this witness will
25   ///                                                   25     not be offering opinions with respect to 10:36

                                            Page 80                                                     Page 81
 1     animal cancer bioassays, we will                     1     you just so I understand -- we have to
 2     petition the court for a second                      2     have motions practice. Is it
 3     deposition of this witness because we                3     plaintiff's intention to proffer
 4     were not prepared to question the                    4     Dr. Ritz to offer expert opinions with
 5     witness on those issues because of the    10:36      5     regard animal cancer bioassays?          10:37
 6     expert report she submitted. And we                  6         MS. FORGIE: She intends to give
 7     would also move to strike because those              7     her opinion --
 8     opinions have not been properly                      8         MR. WISNER: Objection. Kathryn,
 9     disclosed.                                           9     you don't have to answer questions in a
10         MS. FORGIE: Well, we're not going 10:36         10     deposition. Are we off the record?       10:37
11     to agree to a second deposition, of                 11         MR. LASKER: We are on the record.
12     course. I would say she clearly has                 12         MR. WISNER: You can't question
13     stated in there that she has looked at              13     attorneys. That's ridiculous. Let's go
14     over 550 articles for animal and                    14     off the record if you want to ask that
15     mechanistic literature. There's another 10:36       15     question.                         10:37
16     reference in there about the effects in             16         MR. LASKER: I certainly can. If
17     rodents of glyphosate and she's talked              17     we have to get on record with the court
18     about the CARC report and the IARC                  18     and call the court right now, we can do
19     Monograph all of which, as you well                 19     that as well. I need to know right now
20     know, do discuss animal literature.      10:36      20     because I'd like to move on. If the     10:37
21         MR. LASKER: Well, to be quite                   21     plaintiffs' counsel are not willing to
22     clear, that is not what her expert                  22     state on the record that Dr. Ritz will
23     report is, and the judge will be able to            23     not be offering opinions on animal
24     read her expert report; so we don't need            24     cancer bioassays, then we'll have an
25     to debate that. But my question to       10:37      25     issue with the court including a motion   10:37



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 23 of 806

                                             Page 82                                                     Page 83
 1     to strike and a motion for leave to seek              1     cancer bioassays, and the 550 articles
 2     additional deposition.                                2     that you are referencing are the ones
 3         MS. FORGIE: You can bring whatever                3     talks she about from her initial search
 4     motions you want. You can bring                       4     which she excluded.
 5     whatever motions you want. She's made        10:37    5         MS. FORGIE: I'm not going to argue 10:38
 6     it very, very clear that she has                      6     with you.
 7     expertise in toxicology. You have a                   7         MR. WISNER: Objection. How are
 8     copy of her CV. She's talked about                    8     you testifying? What's going on here?
 9     studies and the effects in rodents of                 9         MR. LASKER: We will file a motion
10     glyphosate which for whatever reasons       10:38    10     with the court as necessary to strike     10:38
11     you haven't found. She's talked about                11     this witness' testimony and also to seek
12     the IARC Monograph. She's talked about               12     a second deposition.
13     the CARC report. She's talked about the              13         MS. FORGIE: You do whatever you
14     550 articles on rodents, and she's                   14     think is appropriate. She has clearly
15     talked about the fact that she intends   10:38       15     stated in her expert report that she     10:38
16     as a scientist in epidemiology to look               16     intends to give full opinions including
17     at the totality of sciences, and that's              17     all kinds of science.
18     exactly what's in her report. Make                   18         MR. LASKER: We will submit and, in
19     whatever motions you want to make. I'm               19     fact, the judge has a full expert report
20     not going to argue about this with you. 10:38        20     in front of him, and he can look at that 10:39
21         MR. LASKER: Just to be clear, the                21     himself.
22     statements in her report with respect to             22   BY MR. LASKER:
23     animals which you want to talk about are             23     Q. Dr. Ritz, in your report you
24     specific to genotoxicity and                         24   provide a definition of a number of terms
25     cytotoxicity. They do not mention         10:38      25   that epidemiologists use to try to address    10:39

                                             Page 84                                                     Page 85
 1   the issue of chance; correct?                           1   BY MR. LASKER:
 2      A. Uh-huh. There are definitions in                  2      Q. Okay.
 3   there in terms of chance and bias, yes.                 3      A. So epidemiologists are taught what
 4      Q. We'll get to bias. I want to talk                 4   a P-value is and how to evaluate it, but
 5   about the terms you identify with respect to 10:39      5   they're also taught never to use just a      10:40
 6   chance. You provide definitions of the                  6   P-value to evaluate a study or chance.
 7   terms "P-value" I believe on page 11 in your            7      Q. And that's what I'm going to be
 8   report; correct?                                        8   getting to right now in my next questions.
 9      A. It's the -- the title says                        9   You mention in your report at pages 11 to 12
10   "Statistical Significance," but the P-value 10:39      10   that the -- there is a convention of using a 10:40
11   is mentioned.                                          11   P-value of less than .05, but some studies
12      Q. Okay. And you explain in your                    12   will use P-values such as less than .01 or P
13   expert report -- and we're going to get into           13   less than negative 10 to 7 which is one in
14   some of the issues with this, but                      14   10 million; right?
15   epidemiologists at least present P-values in 10:40     15         MS. FORGIE: Object to the form.          10:41
16   trying to address the issue of whether or              16         THE WITNESS: So what is the
17   not a reported odds ratio or relative risk             17      question?
18   might be due to chance; correct?                       18   BY MR. LASKER:
19          MS. FORGIE: Object to form.                     19      Q. It is correct that epidemiologists
20          THE WITNESS: Epidemiologists are        10:40   20   in various studies will use different       10:41
21      trained -- modern epidemiologists -- and            21   P-values including P less than .05 but
22      those are the ones who drive the methods            22   sometimes P less than .01 or P less than 10
23      in epidemiology -- are trained to at                23   to negative 7; correct?
24      least rely on one parameter. P-value is             24         MS. FORGIE: Object to the form.
25      one parameter.                      10:40           25         THE WITNESS: These type of               10:41



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 24 of 806

                                                Page 86                                                        Page 87
 1      P-values have been defined and used in                   1   report, talks about the fact that a
 2      studies, but a P-value has a very                        2   P-value -- and this is on page 293, but
 3      different meaning depending on the type                  3   you've been using this article in your
 4      of test you are conducting. For                          4   teaching for a long time. I think you
 5      example, there are test of pair-wise     10:41           5   probably know better than I do.                10:43
 6      comparisons. There are tests of trends.                  6         Dr. Poole mentions that a P-value
 7      There are tests of heterogeneity. There                  7   cannot be read as a probability of obtaining
 8      are many, many testing situations in                     8   a particular result if there is no true
 9      which we use P-values, and they have a                   9   association between an exposure and disease;
10      very different meaning.               10:42             10   correct?                              10:43
11   BY MR. LASKER:                                             11      A. Where is that?
12      Q. One of the articles that you use in                  12      Q. I may be paraphrasing but hold on a
13   teaching your epidemiology students about                  13   second. Well, let me just ask it from your
14   P-values is an article by Charles Poole                    14   report because you state this as well. I
15   entitled "Low P-values or Narrow Confidence        10:42   15   think it's in here somewhere, but I'm not        10:44
16   Intervals: Which are More Durable?"                        16   going to find it as quickly. You state in
17   Correct?                                                   17   your expert report that a P-value should not
18      A. Yes, I love that article.                            18   be interpreted as a probability that
19      Q. Good. I have some questions about                    19   glyphosate -- in this instance, glyphosate
20   that. This will be Exhibit 19-3.          10:42            20   causes NHL; correct?                        10:44
21          (Exhibit Number 19-3 was marked                     21         MS. FORGIE: Object to the form.
22          for identification.)                                22         THE WITNESS: I would never use a
23   BY MR. LASKER:                                             23      P-value to say anything about causation.
24      Q. In this article, Dr. Poole, as you                   24      A P-value is a parameter, one of many
25   explain in your report, in your expert       10:43         25      types of parameters we are using in          10:44

                                                Page 88                                                        Page 89
 1      evaluating data in order to reach causal                 1          So a P-value could be highly
 2      conclusions, but it's really just one.                   2   statistically significant, and that 10 to
 3      It is a knee-jerk reaction in the                        3   the minus 7 is one of those genomic studies
 4      medical field unfortunately, and that's                  4   have P-values of 10 to the minus 10, and
 5      what this article is all about, to just  10:44           5   still the effect size is an odds ratio of     10:46
 6      look at P-values and not the data                        6   1.03. So that gene contributes 3 percent
 7      overall to draw conclusions on the                       7   increase to a disease. Is that meaningful
 8      validity or reliability of data and come                 8   clinically? Can we do something with that?
 9      to a conclusion.                                         9   Is that even useful? We need to debate
10          And at UCLA we are taught not to do 10:45           10   that. But the P-value is the P-value. It's 10:46
11      that, and we are teaching our students                  11   10 to the minus 10, and it's huge. Does it
12      not to do that.                                         12   point to something? We need a lot of other
13   BY MR. LASKER:                                             13   reasoning to make use of that.
14      Q. And you agree that it is not proper                  14       Q. I think one of the things that
15   scientific methodology to point to a P-value 10:45         15   Dr. -- first of all, let me make sure that     10:46
16   alone as providing evidence that data -- of                16   I'm clear. The -- if a test result -- a
17   the data being analyzed substantiates a                    17   test statistic results in a P-value of .05,
18   conclusion of causation?                                   18   that does not mean that there's only a
19      A. Well, a P-value alone is nothing                     19   5 percent likelihood that the null value is
20   any epidemiologist worth their salt would        10:45     20   correct; correct?                        10:47
21   consider for coming to causal conclusions.                 21          MS. FORGIE: Object to the form.
22   What we do is we look at the data overall in               22          THE WITNESS: A P-value doesn't
23   the context of the study design, the biases,               23       refer to a likelihood. That's a
24   the size of the study, the effect we are                   24       likelihood ratio test.
25   trying to estimate, the effect size.        10:46          25   ///



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 25 of 806

                                                Page 90                                                        Page 91
 1   BY MR. LASKER:                                              1      result as large or larger than what I've
 2       Q. So where the test on a glyphosate                    2      seen.
 3   and carcinogenicity, a P statistic of .05                   3   BY MR. LASKER:
 4   does not mean that there is a 95 percent                    4      Q. But a P-value of .05 does not mean
 5   chance that glyphosate caused the observed         10:47    5   there's a 95 percent likelihood that          10:48
 6   cancers; correct?                                           6   glyphosate caused the observed cancer being
 7       A. It means that if you repeat a trial                  7   analyzed; correct?
 8   a hundred times, 95 percent of the time you                 8         MS. FORGIE: Object to the form.
 9   may find a result as large or larger than                   9      Asked and answered.
10   what you're seeing.                      10:47             10         You can answer it again.              10:48
11       Q. Okay. But my question was a little                  11         THE WITNESS: This is not a way I
12   bit different. A P-value of .05 in a                       12      would ever express the meaning of a
13   glyphosate cancer study does not mean that                 13      P-value.
14   it is 95 percent likely that glyphosate                    14   BY MR. LASKER:
15   caused the observed cancers; correct?           10:47      15      Q. And that's because, as I think you       10:48
16          MS. FORGIE: Object to the form.                     16   explained, the P-value does not tell us
17       Asked and answered.                                    17   anything about the study's internal validity
18          Go ahead.                                           18   in being able to accurately identify a
19          THE WITNESS: That was a double                      19   causal association if it exists; correct?
20       negative; so I have to restate this. A 10:48           20         MS. FORGIE: Object to the form.            10:48
21       P-value alone will not be used for                     21         THE WITNESS: A P-value is not a
22       causal evaluation, and a P-value of .05                22      measure of validity. A P-value is a
23       means that if a hundred times I repeat                 23      measure of randomness or chance.
24       this experiment in the same population,                24   BY MR. LASKER:
25       95 percent of the time I would see a       10:48       25      Q. And Dr. Poole explains -- and this        10:49

                                                Page 92                                                        Page 93
 1   time I think I do have the quote for you.                   1          THE WITNESS: What I teach my
 2         MS. FORGIE: What page are you?                        2      epidemiology students is to take these
 3         MR. LASKER: On page 293.                              3      statements and put them in the context
 4   BY MR. LASKER:                                              4      of how we use P-values in epidemiology
 5      Q. That -- and this is on the left     10:49             5      as one parameter and not the end-all of 10:50
 6   column, the second paragraph from the top,                  6      causal reasoning.
 7   that "Statisticians who have examined these                 7   BY MR. LASKER:
 8   questions in detail have found under widely                 8      Q. And you agree with Dr. Poole that a
 9   ranging conditions that P-values on the                     9   P-value in the vicinity of .05 generally
10   order of .05, .01, and even lower provide      10:49       10   provide almost no evidence against the null 10:50
11   much less evidence against the null value                  11   hypothesis -- well, I put the "generally" in
12   than they appear to provide at face value."                12   the wrong place. Let me put it exactly how
13   Correct?                                                   13   he says it.
14      A. That's what it states.                               14          You agree with Dr. Poole that as a
15      Q. And Dr. Poole explains that           10:49          15   general matter P-values in the vicinity of     10:50
16   P-values in the vicinity of .05 provide                    16   .05 provide almost no evidence against the
17   almost no evidence against the null                        17   null hypothesis at all; correct?
18   hypothesis at all; correct?                                18          MS. FORGIE: Objection. Asked and
19      A. It says as a general matter                          19      answered.
20   P-values in the vicinity of .05 provide      10:49         20          You can answer it again.            10:50
21   almost no evidence against the null                        21          THE WITNESS: Well, this sentence
22   hypothesis at all.                                         22      is taken out of context. What I
23      Q. And that's what you teach your                       23      interpret him to be saying here is that
24   epidemiology students; correct?                            24      a threshold of .05 because he continues
25         MS. FORGIE: Object to the form.         10:50        25      by talking about a P of .04, which is,     10:50



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 26 of 806

                                              Page 94                                                       Page 95
 1      you know, the next from .05, that                      1   are typically found to be almost equally
 2      keeping decision-making at a threshold                 2   probable under the null and alternative
 3      of .05 is a pretty ridiculous                          3   hypotheses; correct?
 4      experiment -- way of arguing.                          4          MS. FORGIE: Object to the form.
 5          What you really want to do is look    10:51        5          THE WITNESS: Again, this is taken       10:52
 6      at the P-value distribution, and that's                6      out of context. This can be
 7      what this sentence refers to that, you                 7      misunderstood. Since this sentence is
 8      know, thresholds are thresholds.                       8      taken out of context, what I think he's
 9      Whatever evidence you think you can draw               9      referring to is the misuse of thresholds
10      out of them, why this threshold and not 10:51         10      such as .05. And what he's trying to     10:52
11      the next? So we should look at                        11      argue here is that there's no real
12      distributions and not thresholds.                     12      difference between a P-value of .05 and
13   BY MR. LASKER:                                           13      a P-value of .04 or a P-value of .06.
14      Q. In fact, the next sentence that you                14      It's just that we as a scientific
15   refer to, Dr. Poole states that a P-value of 10:51       15      community or the medical community has        10:52
16   .04, for instance, is typically found to be              16      agreed that P .05 is it. That does not
17   almost equally probable under the null and               17      necessarily make sense if you want to
18   alternative hypotheses; correct?                         18      look at data in a much more
19      A. Correct. That's what it states.                    19      comprehensive way, you should look at a
20      Q. And you agree with that; correct?       10:51      20      P-value distribution, and the P-value    10:53
21      A. It refers to the structure of a                    21      has a continuum.
22   P-value being a distribution -- coming from              22          And insofar as we're trying to have
23   a distribution, but we are deciding                      23      a scientific dialogue, we should use the
24   arbitrarily what threshold to use, yes.                  24      most data we can and not just the
25      Q. And you agree that P-values of .04 10:52           25      threshold for decision-making. Human        10:53


                                              Page 96                                                       Page 97
 1    lives are not light bulbs. P-values of                   1   paper that you use in teaching your
 2    .05 come out of light-bulb testing that                  2   epidemiologic students, I'd like to return
 3    statisticians used -- right -- in                        3   to this sentence that Dr. Poole has in his
 4    industrial settings. And why it's a                      4   article that P equals .04 is typically found
 5    simple matter. We like to think without 10:53            5   to be almost equally probable under the null 10:57
 6    having to go back to all the data, and                   6   and alternative hypothesis.
 7    that's a bad habit, and we are trying to                 7          Do you see that?
 8    teach our students not to get into those                 8      A. Yes.
 9    bad habits.                                              9      Q. And so in our circumstance, in this
10        THE REPORTER: Counsel, excuse me.           10:53   10   case, the null hypothesis is that glyphosate 10:57
11    I just had a technical difficulty. I                    11   does not cause non-Hodgkin's lymphoma, and
12    need to go off and restart very quickly.                12   the alternate hypothesis would be that
13        MR. LASKER: Okay.                                   13   glyphosate does cause non-Hodgkin's
14        THE VIDEOGRAPHER: We're off the                     14   lymphoma; correct?
15    record at 10:52 a.m. This marks the end 10:53           15          MS. FORGIE: Object to the form.        10:57
16    of videotape number 1.                                  16          THE WITNESS: Actually, there's
17        (Recess taken from 10:52 a.m.                       17      usually more than one alternate
18        to 10:57 a.m.)                                      18      hypothesis. So the alternate hypothesis
19        THE VIDEOGRAPHER: We are back on                    19      could be it is tenfold more probable to
20    the record. The time is 10:57 a.m.       10:57          20      suffer from non-Hodgkin's lymphoma.          10:58
21    This marks the beginning of videotape                   21      It's twofold more probable. So these
22    number 2 in the deposition of Dr. Beate                 22      are all parameter estimates of an effect
23    Ritz.                                                   23      size, meaning the alternative is not
24   BY MR. LASKER:                                           24      just one alternative. The alternative
25    Q. Dr. Ritz, going back to the Poole      10:57         25      is a continuum.                      10:58



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 27 of 806

                                               Page 98                                                      Page 99
 1         That's what I tried to explain an                    1      what the picture is in terms of a
 2     hour ago when I said why we are usually                  2      P-value distribution and you can
 3     going with the null hypothesis is                        3      actually find that in Dr. Greenland's
 4     because that is one point while                          4      book where he discusses on the P-value
 5     alternative hypotheses are many fold.         10:58      5      is the P-value distribution as an         10:59
 6   BY MR. LASKER:                                             6      alternate to this threshold kind of
 7     Q. Understood.                                           7      experiment.
 8         What Dr. Poole is stating then is                    8   BY MR. LASKER:
 9   that a P-value of .04 would be almost                      9      Q. When you use that distribution, you
10   equally probable under the null hypothesis        10:58   10   find that a P-value of .05 generally          10:59
11   here that glyphosate doesn't cause                        11   provides almost no evidence against the null
12   non-Hodgkin's lymphoma and the alternative                12   hypothesis; correct?
13   hypotheses of various possible measures in                13          MS. FORGIE: Object to the form.
14   which glyphosate does cause non-Hodgkin's                 14          THE WITNESS: No, that's not the
15   lymphoma; correct?                         10:58          15      right interpretation. It means it's      11:00
16         MS. FORGIE: Object to the form.                     16      almost equally probable. It doesn't say
17         THE WITNESS: Well, what he's                        17      that I'm rejecting or not rejecting
18     trying to say here, as I interpret this,                18      either the null or the alternative
19     is that he is emphasizing that we should                19      hypothesis.
20     not be using one P-value of .04 or .05       10:59      20   BY MR. LASKER:                               11:00
21     or .06, but we should be evaluating the                 21      Q. Understood.
22     data, and that's how I teach it, in                     22          Okay. So then if you have a P
23     terms of what the overall picture in                    23   equals -- and to use Dr. Poole's specific
24     terms of chance, bias, et cetera, is,                   24   quote here -- if you have a P equals .04
25     and if we are just talking P-values,        10:59       25   then in a study, you will find it is equally 11:00

                                             Page 100                                                     Page 101
 1   probable that here glyphosate, in fact,                    1   BY MR. LASKER:
 2   caused the cancer or that glyphosate did not               2       Q. So the null hypothesis would be the
 3   cause the cancer; correct?                                 3   glyphosate does not cause non-Hodgkin's
 4          MS. FORGIE: Object to the form.                     4   lymphoma here, and the alternative
 5       Mischaracterizes, asked and answered.      11:00       5   hypothesis might be a variety of other        11:01
 6          THE WITNESS: The P-value here says                  6   things with respect to the nature of
 7       nothing about glyphosate. What he says                 7   glyphosate's association with non-Hodgkin's
 8       here is that a P of .04 is typically                   8   lymphoma.
 9       found to be almost equally probable                    9          What I'd like to understand here,
10       under a null alternative hypothesis. He 11:00         10   and I think I'm reading this as it's stated  11:01
11       speaks about a P-value, not about a null              11   here, but if that is our understanding of
12       hypothesis that glyphosate is or isn't                12   the null hypothesis here, a P-value of .04
13       causing NHL.                                          13   would typically be found to be almost
14   BY MR. LASKER:                                            14   equally probable under that null hypothesis
15       Q. I understand that. We can take it 11:00            15   or under an alternative causation           11:01
16   from both steps, but we want to discuss the               16   hypothesis; correct?
17   fact that -- and I think you mentioned this               17          MS. FORGIE: Object to the form.
18   before -- in the context of this case, the                18       Asked and answered.
19   null hypothesis that we're looking at is                  19          And you can answer it again.
20   whether or not glyphosate causes             11:01        20          THE WITNESS: This is about the          11:02
21   non-Hodgkin's lymphoma?                                   21       P-value. It's about threshold. It's
22       A. And what I would be --                             22       about null hypotheses and alternative
23          MS. FORGIE: Wait, wait. There's                    23       hypotheses. It's not about how I assess
24       no question.                                          24       causation.
25   ///                                                       25   ///



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 28 of 806

                                            Page 102                                                       Page 103
 1   BY MR. LASKER:                                           1   a P-value of .04, what Dr. Poole is stating
 2       Q. I'm not saying it is. I'm just                    2   is that that result would be equally likely
 3   trying to understand P-values, and I think               3   if, in fact, the glyphosate had caused those
 4   it's consistent with what you said, but a                4   cancers or the glyphosate had not caused
 5   P-value of .04 in the context of a            11:02      5   those cancers?                          11:03
 6   glyphosate study or glyphosate cancer study              6          MS. FORGIE: Object to the form.
 7   you could be equally likely to find that                 7       Asked and answered.
 8   P-value if glyphosate actually was a cause               8          You can answer it again.
 9   of cancer or if glyphosate was not a cause               9          THE WITNESS: No, that's not how I
10   of the cancer; correct?                    11:02        10       would interpret this.                 11:03
11           MS. FORGIE: Object to the form.                 11   BY MR. LASKER:
12       Asked and answered.                                 12       Q. If you're doing a test in which the
13           You can answer it again.                        13   null hypothesis is glyphosate does not cause
14           THE WITNESS: No. It means you                   14   cancer and the alternative hypothesis is
15       have to state your null hypothesis or       11:02   15   that glyphosate does cause cancer and you         11:03
16       you have to state your alternative                  16   get a P-value of .04, that would make the
17       hypothesis. Under those hypotheses, you             17   null hypothesis and the alternative
18       are able to calculate a P-value. If it              18   hypothesis equally likely; correct?
19       is .04, then it might be equally                    19          MS. FORGIE: Object to the form.
20       probable under both types of hypotheses. 11:02      20       Asked and answered.                     11:03
21       That what this means.                               21          You can answer it again.
22   BY MR. LASKER:                                          22          This is like the fifth time on the
23       Q. Okay. So if you were to do a test,               23       same question, Eric.
24   and you were testing the null hypothesis of             24          THE WITNESS: Again, the P-value of
25   whether glyphosate causes cancer and you get 11:03      25       .04 that he refers to here is the       11:03


                                            Page 104                                                       Page 105
 1     threshold P-value, and he calls this                   1      could, of course, then decide to also
 2     threshold P-value equally probable under               2      test other hypotheses, and we could get
 3     the null and alternative hypotheses. We                3      for or against those hypotheses with a
 4     have to state all these hypotheses. We                 4      similar equal chance of P-value of .04.
 5     then can calculate P-values.            11:04          5      That's what it says.                11:05
 6         We can calculate P-value                           6   BY MR. LASKER:
 7     distributions, and we can see how likely               7      Q. Dr. Poole also notes that one
 8     the P-values are, not the associations,                8   upshot of this work has been a statistical
 9     not the causation, not everything else.                9   research program devoted to calibrating,
10   BY MR. LASKER:                             11:04        10   standardizing, conditioning, and adjusting    11:05
11     Q. And the P-value is equally likely                  11   low P-values to make them higher so that
12   under the null and the alternative                      12   they reflect more realistically the limited
13   hypothesis; correct?                                    13   statistical evidence they provide against
14         MS. FORGIE: Object to the form.                   14   null hypothesis; correct?
15     Asked and answered. This is like the        11:04     15          MS. FORGIE: Object to the form.       11:05
16     eighth time.                                          16      That's misread.
17         You can answer it again.                          17          But you can answer.
18         THE WITNESS: Again, as I                          18          THE WITNESS: He's referring to
19     understand what Dr. Poole is trying to                19      Bayesian methods being developed here,
20     say here is to avoid thresholds such as    11:04      20      yes.                           11:05
21     P-values of .04 because they are always               21   BY MR. LASKER:
22     referring to one type of hypothesis, and              22      Q. And you agree that's appropriate;
23     we are rarely ever asking the other                   23   correct?
24     alternative hypotheses. So we are                     24      A. I'm not a Bayesian.
25     usually just testing one hypothesis. We 11:05         25      Q. So you don't know one way or the       11:05



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 29 of 806

                                              Page 106                                                     Page 107
 1   other?                                                     1      there are developments in statistics
 2          MS. FORGIE: Object to the form.                     2      that, you know, we should be looking out
 3          THE WITNESS: No. I'm saying that                    3      for, and this is 2001. So some of these
 4      Bayesian versus frequentist                             4      might have happened.
 5      statisticians have a lot of things in    11:06          5   BY MR. LASKER:                              11:06
 6      common, and I would not want to be on                   6      Q. You also talk about confidence
 7      one side or the other. I think they're                  7   intervals in your expert report; correct?
 8      useful for different purposes.                          8      A. Correct.
 9   BY MR. LASKER:                                             9      Q. And, again, the standard
10      Q. You do agree, though, that             11:06        10   methodology or the standard measure used by 11:07
11   statistical methods devoted to calibrating,               11   epidemiologists to exclude chance using
12   standardizing, conditioning, and adjusting                12   confidence intervals is the 95 percent
13   low P-values to make them higher so that                  13   confidence interval; correct?
14   they reflect more realistically the limited               14         MS. FORGIE: Object to the form.
15   statistical evidence they provide against a 11:06         15         THE WITNESS: The 95 percent               11:07
16   null hypothesis is a good idea?                           16      confidence interval is a convention just
17          MS. FORGIE: Objection. Asked and                   17      like the P-value of .05.
18      answered.                                              18   BY MR. LASKER:
19          You can answer it again.                           19      Q. Under that convention, a confidence
20          THE WITNESS: I'm saying I'm not of 11:06           20   interval is considered statistically        11:07
21      either statistical camp, frequentist or                21   significant if it excludes the null
22      Bayesian. I believe that they are both                 22   hypothesis of 1.0; correct?
23      useful. They have appropriate purposes                 23      A. The confidence interval projects
24      and when needed, I use either one of                   24   similar types of data as the P-value in this
25      them, and what he says here is that        11:06       25   case. You are correct that if a P-value of     11:07


                                              Page 108                                                     Page 109
 1   .05 is what I'm looking for, then a                        1      a P-value would. A singular threshold
 2   95 percent confidence interval would exclude               2      P-value, not a P-value distribution.
 3   the 1.                                                     3   BY MR. LASKER:
 4      Q. And, again, you would not state                      4      Q. One thing you teach your students
 5   that a statistical significance -- if a test 11:08         5   to look at is what's called the confidence     11:09
 6   is significant at the 95 percent confidence                6   limit ratio; correct?
 7   interval, that would not mean to you that                  7      A. Yes, we can look at that as well.
 8   you can have 95 percent confidence that the                8      Q. And the confidence limit ratio is
 9   value that you see in a given study is not                 9   the ratio between the upper and the lower
10   due to chance; correct?                     11:08         10   end of the confidence interval; correct?       11:09
11          MS. FORGIE: Object to the form.                    11      A. Correct.
12          THE WITNESS: That's not how we                     12      Q. So if we have a study that reports
13      interpret confidence intervals.                        13   an odds ratio of 1.5 and, let's say, a
14      Confidence intervals have similar                      14   confidence interval of 0.8 to 3.2 -- do the;
15      information but also more information          11:08   15   math work well -- the confidence limit ratio 11:09
16      than a P-value. So I have to first                     16   would be 4' correct?
17      decide on the confidence limit, which is               17          MS. FORGIE: Object to the form.
18      95 percent, which is also similar to a                 18          THE WITNESS: What would the ratio
19      P-value of .05.                                        19      be.
20          So if I use a confidence interval      11:08       20   BY MR. LASKER:                              11:09
21      in the same bad manner as a P-value,                   21      Q. If it's a 95 percent confidence
22      meaning as a threshold, then that's all                22   level of 0.8 to 3.2, then your confidence
23      I get out of it. However, I teach my                   23   limit ratio is 3.2 divided by 0.8 or 4;
24      students that a confidence interval                    24   correct?
25      actually tells them a lot more than what 11:08         25      A. Right.                         11:09



                                                                                                                     28
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 30 of 806

                                            Page 110                                                     Page 111
 1       Q. You can use the CLR -- we'll call                 1   BY MR. LASKER:
 2   it CLR for confidence limit ratio -- you can             2     Q. Right. I understand that.
 3   use the CLR calculation to compare the power             3         But with respect to the CLR, the
 4   after the fact of different studies to                   4   CLR calculation allows you to compare the
 5   exclude chance as the explanation of a          11:09    5   power of the different studies to either     11:10
 6   potential association; correct?                          6   exclude or not exclude a potential causal
 7           MS. FORGIE: Object to the form.                  7   association; correct?
 8           THE WITNESS: Well, this is just                  8         MS. FORGIE: Object to the form and
 9       one way of looking at confidence                     9     asked and answered.
10       intervals again. So what actually         11:10     10         You can answer it again.            11:11
11       Dr. Poole does when he shows his Table 1            11         THE WITNESS: Actually, it doesn't
12       is that he -- that's what I teach my                12     really because the CLR, as we have just
13       students is that you should not use any             13     done here. As an example, you are
14       one of these parameters whether it's a              14     dividing an upper limit above one by a
15       relative risk, a 95 percent confidence     11:10    15     lower limit, the low one. So that ratio 11:11
16       interval, a P-value, or a 95 percent CLR            16     alone doesn't tell you anything about
17       as just one piece of information to                 17     whether the P-value actually would be
18       decide anything.                                    18     above or below a threshold.
19           You should use each piece of that               19         So his example here is when you see
20       puzzle to put it -- and put them         11:10      20     the last one, part D, that a relatively 11:11
21       together and evaluate the data                      21     narrow confidence limit ratio then
22       appropriately within that context. And              22     reflects a P-value that under
23       these are one, two, three, four types of            23     conventional statistics would not be
24       ways of doing that.                                 24     considered significant; however, the CLR
25   ///                                                     25     tells you you have a fairly nice         11:11

                                            Page 112                                                     Page 113
 1       confidence interval width.                           1      context. What I'm trying to teach my
 2   BY MR. LASKER:                                           2      students is use everything, every bit of
 3       Q. Right. I'm just trying to                         3      information you can get. Calculate all
 4   understand what that means. I recognize                  4      of these values. Look at them with an
 5   it's not going to tell you about statistical 11:11       5      informed mind and don't exclude one in       11:12
 6   significance.                                            6      favor of the other.
 7           My understanding of a CLR was that               7   BY MR. LASKER:
 8   it would give you some indication of the                 8      Q. Can we go to the 2010 PowerPoint.
 9   power of the study to find or not find an                9          MS. FORGIE: Are we putting 19-3
10   effect; is that correct?                 11:12          10      aside?                         11:13
11           MS. FORGIE: Object to the form.                 11          MR. LASKER: We can just keep it.
12       Asked and answered.                                 12      We might refer back to it.
13           You can answer it again.                        13          MS. FORGIE: Okay. Thank you.
14           THE WITNESS: Again, it is one way               14          (Exhibit Number 19-4 was marked
15       of looking at the confidence interval      11:12    15          for identification.)           11:13
16       widths. That's all it is. However,                  16   BY MR. LASKER:
17       confidence intervals can and cannot                 17      Q. Dr. Ritz, I'm not sure if you
18       include the null value. They can be                 18   remember --
19       close to the null value. They can be                19          MS. FORGIE: Is this 4?
20       far away from the null value. They can 11:12        20          THE REPORTER: 4.                     11:13
21       be very wide but very far from the null             21          MR. LASKER: 19-4.
22       value, and anybody would then jump and              22   BY MR. LASKER:
23       say that's a study that proves. Okay.               23      Q. Dr. Ritz, these are PowerPoint
24           So each part of that equation of                24   slides of yours we found on the internet.
25       parameters cannot be taken out of          11:12    25   One of the slide decks that you use in your 11:13



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 31 of 806

                                           Page 114                                                   Page 115
 1   lectures, at least this was in 2010;                   1   future research; correct?
 2   correct?                                               2         MS. FORGIE: Object to the form.
 3       A. I imagine. If nobody played with                3         THE WITNESS: Conditional on their
 4   it.                                                    4      validity.
 5          MS. FORGIE: I don't know about         11:13    5   BY MR. LASKER:                             11:14
 6       that.                                              6      Q. Correct.
 7   BY MR. LASKER:                                         7      A. Uh-huh.
 8       Q. On pages 123 -- actually, 124 and               8      Q. And those studies with the tighter
 9   125. The one thing we did do is we put                 9   confidence limit ratio would weigh more
10   numbers on these slides. So it's actually    11:14    10   heavily into a meta-analysis; correct?       11:15
11   in the bottom right-hand corner. It's the             11         MS. FORGIE: Object to the form.
12   only change we made; so we can actually do            12         THE WITNESS: Not necessarily. It
13   this in a somewhat efficient manner.                  13      depends on the study size. So we could
14          MS. FORGIE: What number again on               14      have -- it depends.
15       what page?                         11:14          15   BY MR. LASKER:                             11:15
16          MR. LASKER: 124 and 125. This is               16      Q. Okay. In your lecture notes to
17       the same slide actually that appears in           17   your class, you state that "Estimates B and
18       Dr. Poole's article.                              18   D would weigh more heavily into
19   BY MR. LASKER:                                        19   meta-analysis and would exert stronger
20       Q. On page 125, you make the point        11:14   20   influences on probability distributions in    11:15
21   that the estimates with a smaller CLR --              21   properly conducted Bayesian analyses";
22   here it's B and D -- mean the width of the            22   correct?
23   confidence intervals is tighter -- are                23      A. Yes.
24   findings that stand the best chance of                24      Q. And that is correct; right?
25   holding up in the context of existing and     11:14   25      A. Yes, that is correct.            11:15

                                           Page 116                                                   Page 117
 1      Q. And you also state that these                    1   was .02 level, because it has a wider CLR
 2   estimates with the more narrow CLR are the             2   than, for example, number D or letter D,
 3   results that should be put forth for                   3   which is not statistically significant, it
 4   emphasis as the most statistically stable              4   is -- has less chance of holding up
 5   results that this study has to offer;       11:15      5   conditioned on its validity in the context     11:17
 6   correct?                                               6   of existing and future research; correct?
 7         MS. FORGIE: Object to the form.                  7          MS. FORGIE: Object to the form.
 8         THE WITNESS: What was the                        8          THE WITNESS: Indeed that is one
 9      question? That I state this?                        9      thing I try to explain to my students to
10   BY MR. LASKER:                              11:15     10      not rely just on the P-value, P less     11:17
11      Q. You state that these estimates B                11      than .05, which in the C row, we see is
12   and D with the more narrow CLR are the                12      the case, but we also have a wide CLR,
13   results that should be put forth for                  13      and we have a very strong point estimate
14   emphasis as the most statistically stable             14      and a wide confidence interval.
15   results this study has to offer; correct?    11:16    15          So when you're taking all of that     11:17
16         MS. FORGIE: Object to the form.                 16      into consideration, then the estimate D
17         THE WITNESS: Actually, it doesn't               17      would be at least, if not more, valid,
18      refer to the CLR. It refers to the                 18      might prove more valid in the end or
19      whole of the data provided under B and             19      more reproducible in the end than the
20      D.                               11:16             20      estimate C. However, you know, all this 11:17
21   BY MR. LASKER:                                        21      depends on validity, as I said.
22      Q. Okay. And the data with a narrower              22   BY MR. LASKER:
23   CLR, one of the points you're making here is          23      Q. Okay. And you state in your expert
24   that even though, for example, your category          24   report -- and it's on page 12 in your expert
25   C is statistically significant to the P, it 11:16     25   report -- that -- the last sentence of the   11:18



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 32 of 806

                                              Page 118                                                       Page 119
 1   first full paragraph that starts                            1          MS. FORGIE: Object to the form.
 2   "Importantly, however."                                     2   BY MR. LASKER:
 3      A. Which page?                                           3      Q. That's a measurement of the width
 4      Q. Page 12.                                              4   of the confidence interval?
 5      A. Yes.                            11:18                 5      A. It's a measurement of the width of       11:19
 6      Q. And you state that "The odds ratios                   6   the confidence interval; however, the CLR
 7   or the risk ratios least likely to be                       7   does not tell you anything about the
 8   influenced by chance are not those with low                 8   placement of the confidence interval.
 9   P-values, but those with narrow confidence                  9      Q. Understood.
10   intervals or low CLRs." Correct?              11:18        10          MS. FORGIE: Wait. Let her finish. 11:19
11          MS. FORGIE: Object to the form.                     11          THE WITNESS: What I've been trying
12          THE WITNESS: Where was that?                        12      to say is we should not rely solely on a
13   BY MR. LASKER:                                             13      P-value especially a P-value threshold
14      Q. The last sentence of the second                      14      or a confidence interval or a CLR or a
15   paragraph.                             11:18               15      point estimate.                    11:19
16      A. "Importantly, estimates least                        16          So don't be fooled by a high point
17   influenced by chance are not those with low                17      estimate but a confidence interval that
18   P-values but those with narrow confidence                  18      goes from .5 to 200 because that data is
19   intervals."                                                19      pretty much uninformative.
20      Q. That's correct; right?              11:18            20   BY MR. LASKER:                              11:19
21      A. In the context of this, yes.                         21      Q. Now, on page -- in your expert
22      Q. Okay. And when we talk about                         22   report on page 15, you provide a table
23   narrow confidence intervals, the measurement               23   listing of different publications with
24   that you provided for us that I'd like to be               24   epidemiological data in glyphosate and
25   able to use is the CLR; correct?             11:19         25   non-Hodgkin's lymphoma; correct?                11:20

                                              Page 120                                                       Page 121
 1      A. Where is this?                                        1          THE WITNESS: Well, powerful has
 2      Q. Page 15 in your report.                               2      many meanings. If we're talking about
 3      A. Yes.                                                  3      statistically powerful versus powerful
 4      Q. And just so it's clear, this table                    4      in a sense of validity, then, you know,
 5   does not tell you or does not provide you       11:20       5      those are different discussions.        11:21
 6   with a -- the relative -- a sense of the                    6   BY MR. LASKER:
 7   relative power of the listed studies to                     7      Q. This table does not tell us
 8   identify a causal association between                       8   anything about which study is the most
 9   glyphosate and non-Hodgkin's lymphoma;                      9   statistically powerful in determining
10   correct?                             11:20                 10   whether there is a causal relationship       11:21
11      A. This table shows what it says in                     11   between glyphosate and non-Hodgkin's
12   the sentence above. "I show the sample size                12   lymphoma; correct?
13   of each human study of glyphosate in NHL."                 13          MS. FORGIE: Objection. Asked and
14   That's exactly it. It shows the sample                     14      answered. This is the third time.
15   size.                              11:20                   15          You can answer it again.           11:21
16      Q. Okay. This table did not tell                        16          THE WITNESS: This table was meant
17   you -- did not tell you which of these                     17      to show sample size.
18   studies is the most powerful study in being                18   BY MR. LASKER:
19   able to assess an association between                      19      Q. It does not tell you anything about
20   glyphosate and non-Hodgkin's lymphoma;             11:20   20   the power of the study to determine a causal 11:21
21   correct?                                                   21   association between glyphosate and
22         MS. FORGIE: Objection. Asked and                     22   non-Hodgkin's lymphoma; correct?
23      answered. That's the exact question you                 23          MS. FORGIE: Objection. Asked and
24      just asked.                                             24      answered. This is the fourth time.
25         You can answer it again.             11:21           25          THE WITNESS: Wrong. Sample size            11:21



                                                                                                                        31
                            TSG Reporting - Worldwide                  877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 33 of 806

                                           Page 122                                                       Page 123
 1      is one element of the power of a study.              1          MS. FORGIE: Objection. I object
 2   BY MR. LASKER:                                          2      to the form, and asked and answered.
 3      Q. Okay. The top listed study on your                3          THE WITNESS: You don't like my
 4   table is the Cocco study 2013; correct?                 4      table?
 5      A. Yes.                          11:21               5   BY MR. LASKER:                             11:22
 6      Q. And the Cocco study is the least                  6      Q. I'm just asking you a question.
 7   powerful of all the epidemiologic studies to            7      A. The Cocco study is what the Cocco
 8   be able to assess the association between               8   study is, and I actually explain the Cocco
 9   glyphosate and non-Hodgkin's lymphoma;                  9   study a few pages later. The study by Cocco
10   correct?                            11:22              10   was limited in how much we can glean from          11:22
11          MS. FORGIE: Object to the form.                 11   its results as only four cases and two
12          THE WITNESS: This table shows                   12   controls had ever used glyphosate.
13      sample size. It has nothing to do with              13      Q. So the Cocco study is, because of
14      statistical power in the sense that it's            14   that fact, not powerful in assessing an
15      a complete evaluation of statistical     11:22      15   association between glyphosate and             11:23
16      power. However, sample size is part of              16   non-Hodgkin's lymphoma; correct?
17      what we use in calculating statistical              17          MS. FORGIE: Object to the form and
18      power.                                              18      asked and answered. This is, like, the
19   BY MR. LASKER:                                         19      fifth or sixth time.
20      Q. My question, though, you have Cocco 11:22        20          You can answer it again.           11:23
21   listed as the top study on this table, and             21          THE WITNESS: The Cocco study has
22   the Cocco study is, in fact, the least                 22      been evaluated by me. It's also been
23   powerful study in assessing a potential                23      listed in this table. This table shows
24   causal association between glyphosate and              24      sample size. The Cocco study is
25   non-Hodgkin's lymphoma; correct?               11:22   25      definitely the largest study we have in    11:23


                                           Page 124                                                       Page 125
 1      terms of sample size of cases, not                   1      One of those is the number of cases.
 2      controls. The AHS has a lot more                     2      The other is the number of controls.
 3      controls. So in terms of case number,                3      Yet another is the prevalence of
 4      it is the most -- it is the study with               4      exposure, and then power cannot be
 5      the most cases. However, as I said a     11:23       5      distinguished on a playing field without 11:24
 6      few pages after on page 18, it is                    6      saying what effect size you actually
 7      limited because of low exposure                      7      want to estimate. So once we have
 8      prevalence.                                          8      agreed what the effect size is, then we
 9   BY MR. LASKER:                                          9      can talk about power.
10      Q. And just so I understand, the Cocco 11:23        10   BY MR. LASKER:                             11:24
11   study is the, I believe, least powerful                11      Q. It would not be appropriate for
12   study in being able to answer the question             12   somebody to look at this table on page 15
13   of whether glyphosate is causally associated           13   and conclude that the Cocco study was more
14   with non-Hodgkin's lymphoma; correct?                  14   powerful than the De Roos study with respect
15          MS. FORGIE: Object to the form.       11:24     15   to assessing whether there is an association 11:25
16      Asked and answered. This is number six.             16   between glyphosate and non-Hodgkin's
17          You can answer it again.                        17   lymphoma; is that fair?
18          THE WITNESS: The Cocco study has a              18          MS. FORGIE: Object to the form and
19      large sample size in terms of cases.                19      asked and answered.
20      The AHS study has the largest sample       11:24    20          THE WITNESS: Again, if we're            11:25
21      size in terms of controls. One is at                21      talking statistical power and not
22      the top; the other is at the bottom. We             22      validity of the study, which, you know,
23      could turn it around if you'd like.                 23      is another criterion that I would put
24      However, power, statistical power is                24      actually much higher here, the Cocco
25      determined by a number of parameters.      11:24    25      study has the most cases. The De Roos        11:25



                                                                                                                     32
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 34 of 806

                                           Page 126                                                     Page 127
 1    study has the most controls. Both are                  1     instruction for the witness to answer
 2    powerful because of that part of the                   2     the questions or to provide us more
 3    equation that goes into a power                        3     time. I ask yes or no questions and I
 4    analysis. However, there are more                      4     get a speech.
 5    parameters than the number of cases, the 11:25         5         MS. FORGIE: You know, first of         11:26
 6    number of controls. One of them is                     6     all, part of the problem is you keep
 7    exposure prevalence. I explain that                    7     putting these long declaratory
 8    when I talk about the Cocco study as not               8     statements before everything. She is
 9    being able to tell us much because it                  9     not required to give a yes or no answer.
10    has low exposure prevalence. On the         11:25     10     She has answered it very clearly --      11:26
11    other hand, De Roos has a very high                   11         MR. LASKER: You're not the
12    exposure prevalence.                                  12     witness.
13   BY MR. LASKER:                                         13         MS. FORGIE: Let me finish.
14    Q. Dr. --                                             14         MR. LASKER: You're not the
15        MS. FORGIE: Wait. Let her finish. 11:26           15     witness.                         11:26
16        MR. LASKER: We're going to be here                16         MS. FORGIE: Neither are you. So,
17    all day, and I'm going to have to mark                17     you know what? If you want to call the
18    this and go to the judge because I can't              18     judge, I think you should go ahead.
19    get a yes or no answer to any question I              19         MR. LASKER: Okay. Well, we're
20    ask. I asked a very simple question,      11:26       20     going to start marking these and at a    11:26
21    and she's going into a monologue. We're               21     certain point we'll go -- let me mark
22    not going to have that happen here. So                22     the last question and answer. I'm going
23    if the witness is not going to answer                 23     to ask the question again.
24    the questions, then we'll have to go to               24         MS. FORGIE: Are you going to call
25    the court again to either get          11:26          25     the judge?                        11:26

                                           Page 128                                                     Page 129
 1          MR. LASKER: I will eventually if                 1      show parts of statistical power, but, of
 2      this keeps up. I'm going to mark them                2      course, I would not want to infer
 3      and we'll come back to the judge if we               3      statistical power from just this table.
 4      have to.                                             4      But it is part of it.
 5   BY MR. LASKER:                             11:26        5   BY MR. LASKER:                              11:27
 6      Q. Table 15, the table you present on                6      Q. And another way one could look at
 7   page 15 of your report. It would not be                 7   this would be to calculate the CLRs for each
 8   appropriate to look at this table alone to              8   of these studies; correct?
 9   reach a conclusion as to the relative power             9         MS. FORGIE: Object to the form.
10   of the listed studies to determine whether     11:27   10   BY MR. LASKER:                              11:27
11   glyphosate is associated with non-Hodgkin's            11      Q. For the endpoint of Roundup and
12   lymphoma; correct?                                     12   non-Hodgkin's lymphoma?
13          MS. FORGIE: Object to the form.                 13      A. CLRs is something that we calculate
14      Asked and answered. This is like                    14   after we have the data and the parameter
15      number 7.                         11:27             15   estimates.                           11:28
16          You can answer it again.                        16      Q. Right. And we have the data and
17          THE WITNESS: This is a table that               17   the parameter estimates for each of these
18      refers to sample size. Sample size is               18   studies; correct?
19      part of statistical power.                          19      A. Yeah, but that is not how we're
20   BY MR. LASKER:                             11:27       20   calculating statistical power. Statistical   11:28
21      Q. It would not be --                               21   power is something that we are calculating
22      A. So --                                            22   prior to conducting the study.
23          MS. FORGIE: She is entitled to                  23      Q. Understood. So now it's after the
24      finish.                                             24   fact we have the data. We could actually
25          THE WITNESS: It is appropriate to 11:27         25   calculate a CLR for each of these studies;      11:28



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 35 of 806

                                            Page 130                                                    Page 131
 1   correct?                                                1   BY MR. LASKER:
 2      A. If we can agree on which results to               2      Q. In other words, even if a study
 3   use and, yeah, we can do that.                          3   reports a positive association and reports a
 4      Q. Have you done that exercise?                      4   95 percent confidence interval that excludes
 5      A. In my head.                     11:28             5   1.0, that study cannot be interpreted as      11:29
 6      Q. With respect to -- let's move on.                 6   evidence of a causal association if there is
 7   The interpretation of confidence intervals              7   bias in the study; correct?
 8   in observational studies requires the                   8          MS. FORGIE: Object to the form.
 9   assumption of no bias; correct?                         9          THE WITNESS: It depends on the
10          MS. FORGIE: Object to the form.         11:28   10      kind of bias, the size of bias. We are    11:29
11          THE WITNESS: It is correct that                 11      talking about bias as a category. We at
12      confidence intervals and observational              12      UCLA try to teach bias in terms of
13      studies do not include -- are not                   13      quantitative and so the bias can be so
14      estimates of bias.                                  14      minimal that it's not to be a concern.
15   BY MR. LASKER:                             11:29       15   BY MR. LASKER:                              11:30
16      Q. So the interpretation of confidence              16      Q. One type of bias that you identify
17   interval and observational studies requires            17   in your expert report is recall bias;
18   the assumption of no bias; correct?                    18   correct?
19          MS. FORGIE: Object to the form.                 19      A. Yes.
20      Asked and answered.                    11:29        20      Q. And you also teach your students         11:30
21          You can answer it again.                        21   about recall bias, your epidemiology
22          THE WITNESS: We make assumptions                22   students; correct?
23      when interpreting confidence intervals              23      A. Correct.
24      of observational studies, and one of the            24      Q. Let's get the 2017 slide deck on
25      assumptions is no other biases, yes.      11:29     25   informational bias.                    11:30

                                            Page 132                                                    Page 133
 1          (Exhibit Number 19-5 was marked                  1      and then there's no page number on 61.
 2          for identification.)                             2         MS. FORGIE: Right. I don't see
 3   BY MR. LASKER:                                          3      the pages.
 4      Q. And, Dr. Ritz, I've handed you as                 4         MR. LASKER: It is the page after
 5   Exhibit 19-5, I believe this is a slide deck 11:31      5      60 which I've called 61 in my simplistic 11:31
 6   that you used either last year or you're                6      way of counting.
 7   using currently with your epi 200 B                     7   BY MR. LASKER:
 8   students; correct?                                      8      Q. So you see the slide that has
 9      A. I don't know. I haven't reviewed                  9   recall bias listed at the top; correct?
10   it. It looks like it.                 11:31            10      A. Correct.                        11:32
11      Q. This is a document I'll represent                11      Q. And recall bias is a form of
12   that you produced in response to our --                12   differential misclassification bias of
13      A. Oh, okay. Then it must be.                       13   particular concern in interview-based case
14          MS. FORGIE: Did you add pages to                14   control studies; correct?
15      it?                            11:31                15      A. Correct.                        11:32
16          MR. LASKER: She's updated.                      16      Q. And the issue with recall bias is
17          THE WITNESS: I learn.                           17   that cases who are diseased may ruminate
18   BY MR. LASKER:                                         18   about prior exposures and report it more
19      Q. So at page 61 in your slide deck,                19   completely than controls; correct?
20   you talk about this issue of recall bias. I 11:31      20         MS. FORGIE: Object to the form.          11:32
21   just want to make sure I understand the                21         THE WITNESS: It says that that is
22   terminology. So as you explain --                      22      one way how differential recall can
23          MS. FORGIE: Wait a minute. I                    23      occur.
24      don't see page 61.                                  24   BY MR. LASKER:
25          MR. LASKER: It's actually page 60, 11:31        25      Q. And the other thing that you          11:32



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                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 36 of 806

                                           Page 134                                                     Page 135
 1   mention and you teach your students is that            1   study, controls might not recall exposures
 2   cases might exaggerate exposure while                  2   since they do not have an incentive to do
 3   subjects without the disease under                     3   so; correct?
 4   investigation. And I guess there's                     4      A. Correct. And, again, that is under
 5   something missing here.                   11:32        5   the premise that we are doing whatever we        11:33
 6      A. Yeah. That's why this --                         6   can to have everybody recall in the same
 7      Q. Let me understand this correctly.                7   way.
 8      A. No, this is an appendix to the                   8      Q. A recall bias -- well, recall bias
 9   class, so it's not edited.                             9   can create another -- there can be another
10      Q. But I think the point -- and let me 11:33       10   issue with recall bias if a study relies    11:34
11   make sure I'm correct -- the point that               11   upon next of kin or proxy respondents to
12   without the typo you would be making here is          12   provide exposure information; correct?
13   that cases might exaggerate exposure                  13         MS. FORGIE: Object to the form.
14   compared to subjects without the disease              14         THE WITNESS: That's not -- we can
15   under investigation; correct?             11:33       15      call it recall bias, but it is usually 11:34
16      A. Yes.                                            16      being less informed about the exposure
17         MS. FORGIE: Object to the form.                 17      so it's kind of information bias.
18         THE WITNESS: Well, that is one way              18   BY MR. LASKER:
19      how differential recall bias can occur             19      Q. As a general matter, exposure data
20      and why I'm teaching it is to say that    11:33    20   provided by proxies is considered less        11:34
21      when we do our fieldwork have to avoid             21   reliable than exposure information provided
22      that this is going to happen.                      22   by the actual cases and controls; correct?
23   BY MR. LASKER:                                        23         MS. FORGIE: Object to the form.
24      Q. And the other issue that you teach              24         THE WITNESS: That is relative.
25   your students is that in the case control    11:33    25      For example, if it is an exposure that a 11:34


                                           Page 136                                                     Page 137
 1     case would not want to report but the                1      day, yes. But if it's a wife who
 2     wife then tells us, it's actually more               2      quizzes her husband on how did your day
 3     reliable. So it really depends on the                3      go and what did you do and what are the
 4     study.                                               4      expenses about these kind of pesticides
 5   BY MR. LASKER:                            11:34        5      that I'm seeing on the ledger here      11:35
 6     Q. I'll give you that one. I know                    6      because she does the books, she knows
 7   that you do this a lot in your work, but               7      very well.
 8   with respect to pesticide exposures, as a              8   BY MR. LASKER:
 9   general matter, exposure data provided by              9      Q. That's why I didn't want to ask in
10   proxies would be considered less reliable     11:35   10   every case because obviously case-by-case       11:36
11   than exposure data provided by the cases or           11   can be different. But as a general matter
12   controls themselves; correct?                         12   overall, exposure data provided by proxies
13         MS. FORGIE: Object to the form.                 13   is considered at least potentially less
14         THE WITNESS: Again, it depends on               14   reliable than exposure data provided by the
15     the circumstances. For example, if the 11:35        15   cases and controls themselves; correct?       11:36
16     proxy would be a co-worker, he might be             16          MS. FORGIE: Object to the form and
17     just as able to report the work                     17      asked and answered.
18     practices and the type of exposures. If             18          You can answer it again.
19     the proxy is a son of the farmer who                19          THE WITNESS: Again, it depends.
20     worked alongside the farmer, he would be 11:35      20      It depends on who the proxy is, how       11:36
21     very well capable of responding. If it              21      close the proxy is to the individual,
22     is a wife who never goes out in the                 22      how much they communicate, how much they
23     fields and doesn't talk to her husband              23      work together, and whether it is
24     at night at the table -- at the dinner              24      actually a proxy who counts while the
25     table about what he's been doing all      11:35     25      individual doesn't count, meaning, well, 11:36



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                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 37 of 806

                                            Page 138                                                    Page 139
 1      we paid so much for all of these                      1         MS. FORGIE: Object to the form.
 2      pesticides in the last year and the                   2         THE WITNESS: The use of proxies
 3      husband doesn't care. He just uses                    3     versus the individual themselves may or
 4      what's there. So sometimes we find in                 4     may not result in information bias, and
 5      our studies of elderly especially that    11:36       5     it may or may not result in differential 11:37
 6      the wives are much more reliable                      6     information bias. So if we are using
 7      sources. So you can't really say that                 7     proxies in cases and controls, then
 8      it's always the proxy that misreports.                8     whatever they misreport for cases and
 9   BY MR. LASKER:                                           9     controls might be at the same level, and
10      Q. And I understand that. I'm not         11:36      10     that would be a non-differential         11:38
11   trying to nail you down on every instance.              11     misclassification.
12           MS. FORGIE: There's no question.                12   BY MR. LASKER:
13   BY MR. LASKER:                                          13     Q. And when you do your sensitivity
14      Q. But let me -- one of the things                   14   analysis, you're looking to see whether
15   you've done, and I've seen this in some of      11:37   15   there's a differential or non-differential  11:38
16   your publications is you can conduct a                  16   including the proxy data; correct?
17   sensitivity analysis to determine whether or            17         MS. FORGIE: Object to the form.
18   not the inclusion of proxy data affects the             18         THE WITNESS: Not exactly. If I
19   results of the study; correct?                          19     want to establish the validity of a
20      A. Correct.                       11:37              20     proxy, I would actually need a gold        11:38
21      Q. And one of the things you're                      21     standard like a record, then interview
22   concerned about when you do that analysis is            22     the case, interview the proxy, and then
23   a possibility that the use of a proxy may               23     compare both to the gold standard.
24   have introduced some misclassification bias             24   BY MR. LASKER:
25   into a study; correct?                  11:37           25     Q. Another type of bias that can arise 11:38

                                            Page 140                                                    Page 141
 1   in observational studies is selection bias;              1      cohort study does not have the kind of
 2   correct?                                                 2      selection bias that a case control study
 3      A. Correct.                                           3      has. But it has another type of
 4      Q. And case control studies are                       4      selection bias that a case control study
 5   vulnerable to selection bias and their        11:39      5      doesn't have.                      11:40
 6   validity to a large degree hinges on the                 6   BY MR. LASKER:
 7   choice of proper controls; correct?                      7      Q. And what is that?
 8          MS. FORGIE: Object to the form.                   8      A. That's loss to follow-up,
 9          THE WITNESS: It is correct that                   9   differential loss to follow-up.
10      at -- that there is selection bias in   11:39        10      Q. With respect to loss to follow-up      11:40
11      case control studies. There is also                  11   for disease outcome, that is not, as I
12      selection bias in cohort studies.                    12   understand it, correct me if I'm wrong, an
13      However, case control studies are                    13   issue with the Agricultural Health Study;
14      usually evaluated more critical in terms             14   correct?
15      of selection bias because we try to       11:39      15         MS. FORGIE: Object to the form.         11:40
16      avoid it as much as we can.                          16         THE WITNESS: Not necessarily. The
17   BY MR. LASKER:                                          17      Agricultural Health Study may have
18      Q. And, in fact, in your own                         18      selection bias depending on whether or
19   publications, you've talked about the fact              19      not there's differential loss to
20   that this problem of selection bias can be     11:39    20      follow-up with respect to the exposed      11:40
21   circumvented in the cohort study; correct?              21      and the unexposed.
22          MS. FORGIE: Object to the form.                  22   BY MR. LASKER:
23          THE WITNESS: It's a different kind               23      Q. Okay.
24      of selection bias in a cohort study as               24      A. So it would depend on what the
25      well as in a case control study. A       11:39       25   outcome it is we are talking about.         11:40



                                                                                                                  36
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 38 of 806

                                               Page 142                                                       Page 143
 1       Q. The other issue you mention in your                    1         THE WITNESS: That was part of the
 2    expert report is confounding. A confounder                   2      argument, however, that's not how we are
 3    is an exposure that is associated both with                  3      defining confounding. Confounding is an
 4    the exposure of interest and the outcome of                  4      independent risk factor for the outcome
 5    interest; correct?                     11:41                 5      that also has an association with the   11:41
 6          MS. FORGIE: Object to the form.                        6      exposure and is not an intermediate in
 7          THE WITNESS: That is one part of                       7      the pathway to disease.
 8       how we define a confounder.                               8         MS. FORGIE: When you get to a good
 9    BY MR. LASKER:                                               9      breaking point.
10       Q. So, for example, there was a study 11:41              10         MR. LASKER: Okay. Let's get            11:41
11    a few years back now that reported a                        11      through this.
12    positive association between coffee and                     12         MS. FORGIE: Thanks.
13    pancreatic cancer? It's somewhat of a                       13   BY MR. LASKER:
14    well-known --                                               14      Q. With respect to coffee drinkers and
15       A. Favorite example.                   11:41             15   pancreatic cancer, smoking was a confounder; 11:42
16       Q. And when the investigators looked                     16   is that correct?
17    more closely at that data, they discovered                  17      A. Assuming that smoking really causes
18    that the reported positive association was                  18   pancreatic cancer which I'm not completely
19    actually due to the fact that, if I have                    19   sure it's true, but I'm not a pancreatic
20    this correctly, coffee drinkers were more       11:41       20   cancer researcher, and depending on what       11:42
21    likely to be smokers and the smoking                        21   population we're talking about, for example,
22    increased the risk of pancreatic cancer? Do                 22   there are populations where you have a lot
23    I have that right, or do I have it                          23   of coffee drinking but no smoking, and there
24    backwards?                                                  24   are populations where you have a lot of
25          MS. FORGIE: Object to the form.           11:41       25   smoking and no coffee drinking, meaning the      11:42


                                               Page 144                                                       Page 145
 1   two are independent.                                          1   you made in your report, I think elsewhere,
 2         Assuming that we are in a                               2   is in analyzing or conducting a study, you'd
 3   population where the two are actually                         3   want to identify as best you can other risk
 4   dependent and we know that, that coffee                       4   factors for disease that you're studying to
 5   drinkers smoke more or vice versa, then that 11:42            5   be able to see whether or not those are        11:56
 6   could be defined as a confounder. However,                    6   confounders; correct?
 7   in a cohort study, you can actually assess                    7      A. It is correct that you're always
 8   that.                                                         8   very worried about confounding no matter
 9      Q. In your studies, your epidemiologic                     9   what and that you're identifying strong risk
10   studies, you will try to address the       11:42             10   factors for the disease that also is        11:56
11   possibility of confounding; correct?                         11   associated with exposure.
12      A. Definitely.                                            12          In the second step, you have to see
13         MR. LASKER: Why don't we take a                        13   whether there are possibly intermediates in
14      break now.                                                14   the pathway and/or proxies for the exposure,
15         MS. FORGIE: Great. Thank you.           11:43          15   and that's a very important assessment.         11:56
16         THE VIDEOGRAPHER: We are off the                       16      Q. And that can be even more difficult
17      record at 11:43 a.m.                                      17   in a situation where you have a disease that
18         (Recess taken from 11:43 a.m.                          18   has unknown causes; correct?
19         to 11:55 a.m.)                                         19          MS. FORGIE: Object to the form.
20         THE VIDEOGRAPHER: We are back on               11:55   20          THE WITNESS: It's actually not          11:56
21      the record at 11:55 a.m.                                  21      more or less difficult. A disease that
22   BY MR. LASKER:                                               22      has known causes such as lung cancer, we
23      Q. Back on the record.                                    23      know that we have to control for
24         Dr. Ritz, we were talking about                        24      smoking, and we may or may not have that
25   confounding, and I think one of the points     11:55         25      data. So that's a very difficult study    11:56



                                                                                                                         37
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 39 of 806

                                             Page 146                                                        Page 147
 1     to do if we don't have smoking data.                    1       agricultural work, and he's a coauthor
 2         So difficult in a sense, if I don't                 2       of some of these early papers.
 3     have a strong risk factor, then it also                 3   BY MR. LASKER:
 4     cannot be a strong confounder. So I'm                   4       Q. Do you agree with Dr. Blair that
 5     actually a little bit out of the woods      11:57       5   there was an association that was found        11:58
 6     when there's no risk factor because I                   6   between farming -- farmers and non-Hodgkin's
 7     can assume that if there was a really                   7   lymphoma that existed prior to the time that
 8     strong risk factor, I would know about                  8   glyphosate was on the market?
 9     it.                                                     9           MS. FORGIE: Object to the form.
10         So if there was a really strong        11:57       10           THE WITNESS: Did he say that           11:58
11     confounder, I probably would know about                11       anywhere in the document?
12     it.                                                    12   BY MR. LASKER:
13   BY MR. LASKER:                                           13       Q. Yeah. If you want, I can show it
14     Q. You read the deposition of                          14   to you if you want.
15   Dr. Blair in this case?                   11:57          15       A. Yeah, yeah, please.               11:58
16     A. Yes.                                                16           MR. LASKER: We are not going to
17     Q. Dr. Blair has been studying                         17       mark it as an exhibit. It's a
18   agricultural exposures and cancer going back             18       transcript.
19   probably 40-some-odd years; right?                       19           MS. FORGIE: I think we should mark
20         MS. FORGIE: Object to the form.            11:57   20       it.                           11:58
21         THE WITNESS: I'm not sure, but I                   21           MR. LASKER: You want to mark it?
22     know that he's been publishing in the                  22           MS. FORGIE: Yeah.
23     '80s on industrial workers, that he's                  23           MR. LASKER: Where are we then?
24     worked at the NCI and that he was                      24           THE REPORTER: 6.
25     generally also interested in              11:57        25   ///

                                             Page 148                                                        Page 149
 1          (Exhibit Number 19-6 was marked                    1   association but, yeah, at the level of that
 2          for identification.)                               2   broad types of exposure, it might be the
 3   BY MR. LASKER:                                            3   case.
 4      Q. On page 80 --                                       4      Q. Okay. So with respect to farmers
 5      A. Is it the page numbers down here?      11:59        5   and non-Hodgkin's lymphoma, there is at            12:00
 6      Q. Yeah, the actual --                                 6   least something going on that would not be
 7      A. Yeah, okay.                                         7   related to glyphosate exposure; correct?
 8      Q. I'm sorry. Page 90. I don't know                    8          MS. FORGIE: Object to the form.
 9   if you can see the highlighting. And at                   9      Asked and answered.
10   pages 90, we're talking with Dr. Blair about 11:59       10          You can answer it again.             12:00
11   this issue of an increased or an association             11          THE WITNESS: I agree that there is
12   between farming and non-Hodgkin's lymphoma               12      a difficulty in assessing exposures that
13   dating back to the 1960s.                                13      vary over time. So when have we started
14          Do you see that?                                  14      in agriculture using chemicals? After
15      A. Yes.                          11:59                15      World War II. Before that, they used         12:00
16      Q. And do you agree with Dr. Blair                    16      arsenicals, et cetera; right? But
17   that there was this epidemiological                      17      really manmade chemicals for pest
18   literature pointing to an association                    18      control were introduced during World War
19   between farming and non-Hodgkin's lymphoma               19      II and after World War II and took off
20   dating back to before glyphosate was on the 11:59        20      in the U.S. in the 1950s. So general        12:01
21   market?                                                  21      exposure to agricultural chemicals dates
22      A. Well, he seems to be saying that.                  22      back to the 1950s.
23   I know those very old studies are very, very             23          Among those chemicals may have been
24   broad; so they would ask somebody have you               24      carcinogens. We know that there were
25   ever farmed, and, you know, find an          12:00       25      waves of chemicals that were being used. 12:01



                                                                                                                        38
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 40 of 806

                                             Page 150                                                        Page 151
 1      We started with organic chlorines until                 1   types of farming have been, at least in the
 2      we decided that that was a bad idea                     2   AHS, associated with non-Hodgkin's lymphoma;
 3      because they bioaccumulate. And then                    3   correct?
 4      the organic phosphates got their trial                  4         MS. FORGIE: Object to the form.
 5      run almost parallel. They were quite       12:01        5         THE WITNESS: There could be risk         12:02
 6      acutely toxic; so there were some                       6      factors for Hodgkin's lymphoma, but it
 7      restrictions on those, and the                          7      has to be reevaluated.
 8      herbicides, the early ones were 2,4-D.                  8   BY MR. LASKER:
 9          2,4-D is, for example, a 2B IARC                    9      Q. For non-Hodgkin's?
10      possible human carcinogen. So             12:01        10      A. For non-Hodgkin's lymphoma.            12:02
11      definitely farmers have been exposed to                11   However, that doesn't make them a
12      carcinogens at least since World War II.               12   confounder. We now have to also consider
13   BY MR. LASKER:                                            13   whether or not they're related to the
14      Q. And you also mentioned earlier that                 14   exposures.
15   diesel fuel might be associated with         12:01        15         MS. FORGIE: Wait, let her finish. 12:02
16   non-Hodgkin's lymphoma in farmers; correct?               16         MR. LASKER: Understood.
17      A. Yes, that has been shown in the                     17   BY MR. LASKER:
18   AHS. I mean, one study does not make a                    18      Q. So an epidemiologic study, and I
19   summer -- one swallow. So we would never                  19   think your studies are like this as well,
20   just rely on one study, but there's reason    12:02       20   will often report different odds ratios with 12:02
21   to think that certain hematopoietic cancers,              21   different levels of adjustment to account
22   possibly also some cancer subtypes of NHL                 22   for potential confounding; correct?
23   might be related to what is in diesel.                    23      A. We would try different levels of
24      Q. And various types of animal                         24   adjustment for multiple reasons, but the
25   husbandry like chicken farming or certain       12:02     25   main reason would be to assess confounding.     12:03


                                             Page 152                                                        Page 153
 1      Q. In your expert report at page 16 --                  1   various odds ratios or rate ratios in some
 2   and this is -- if you have your expert                     2   of the epidemiological studies for
 3   report in front of you, on page 16. In the                 3   glyphosate; correct?
 4   last paragraph which starts "The IARC                      4      A. You can call it a forest plot. I
 5   working group's monograph on glyphosate."         12:03    5   would just call it a visual representation   12:04
 6         Do you see that?                                     6   of results from different studies.
 7      A. Yeah.                                                7      Q. In your visual depiction of the
 8      Q. You state in the second sentence                     8   results from different studies, you do not
 9   "The most highly adjusted estimates, also                  9   provide or list the most highly adjusted
10   known as fully adjusted models, are the       12:03       10   odds ratios or risk ratios from the studies; 12:04
11   estimates that adjust for as many                         11   correct?
12   confounding variables as possible such as                 12      A. Not correct. De Roos 2003 is a
13   adjusting for age, sex, race, and also                    13   very highly adjusted for 43 different
14   sometimes other pesticide exposures";                     14   pesticides.
15   correct?                            12:03                 15      Q. The most highly adjusted estimate       12:05
16      A. Yes.                                                16   in the De Roos 2003 paper had a report odds
17      Q. And then you state that "This is                    17   ratio of 1.6.
18   relevant because these fully adjusted models              18      A. No.
19   give the reader confidence that the findings              19         MS. FORGIE: Object to the form.
20   are most likely due to glyphosate Roundup        12:04    20         THE WITNESS: Would you show me               12:05
21   exposure instead of other potential causes                21      that?
22   that act as a confounder"; correct?                       22         MS. FORGIE: I don't think there's
23      A. Correct.                                            23      a question.
24      Q. And on page 14 of your report, you                  24         THE WITNESS: Yeah, is there a
25   present what's called a forest plot of the   12:04        25      question.                         12:05



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 41 of 806

                                            Page 154                                                      Page 155
 1   BY MR. LASKER:                                           1   Eriksson study right now.
 2      Q. There is a question. There are                     2          MS. FORGIE: Are we done with these
 3   two -- actually, three odds ratios in the De             3      guys?
 4   Roos 2003 study.                                         4          MR. LASKER: Yeah, for now.
 5      A. Yes.                          12:05                5          So the Eriksson is -- we'll mark it 12:06
 6      Q. You have reported one of those odds                6      as --
 7   ratios and not the other odds ratio;                     7          MS. SHIMADO: 7.
 8   correct?                                                 8          (Exhibit Number 19-7 was marked
 9      A. It's the odds ratio from the                       9          for identification.)
10   logistic regression.                    12:05           10   BY MR. LASKER:                              12:07
11      Q. We'll come back, and we'll circle                 11      Q. I think you're talking about the
12   back to that later when we talk about De                12   multi-variate analysis that's on page 1661
13   Roos 2003, but with respect to the other                13   Table 7; correct?
14   studies in this paper, for example, in the              14      A. Yes.
15   Eriksson study, you do not provide the most 12:06       15      Q. And the multi-variate odds ratio        12:07
16   highly adjusted odds ratio from the Eriksson            16   for glyphosate in the Eriksson study is an
17   study in your chart on page 14; correct?                17   odds ratio of 1.51 with a confidence
18         MS. FORGIE: Object to the form.                   18   interval of 0.77 to 2.94; correct?
19         THE WITNESS: I would need to see                  19          MS. FORGIE: Object to the form.
20      the Eriksson paper because there was a       12:06   20          THE WITNESS: Correct.                 12:07
21      multi-varied adjusted odds ratio, and I              21   BY MR. LASKER:
22      imagine that we looked at that at some               22      Q. That is not the odds ratio that you
23      point.                                               23   present in your visual depiction on page 14
24   BY MR. LASKER:                                          24   of your expert report; correct?
25      Q. Okay. Well, let's pull out the        12:06       25      A. That is not.                    12:07

                                            Page 156                                                      Page 157
 1      Q. And if we look at the Hardell study                1      confidence interval and about 3 from
 2   for 1999 -- you have Hardell 2003 listed for             2      what I see, yes.
 3   hairy cell leukemia. I'm looking at the                  3   BY MR. LASKER:
 4   bottom of your table here.                               4      Q. And if you look at Exhibit 19-8 and
 5          Do you see that?               12:09              5   you look at page 1047, which is Table 7,        12:09
 6      A. Yes.                                               6   again, the most adjusted odds ratio in that
 7          MR. LASKER: Let's mark Hardell                    7   study is 1.85 with an odds ratio of 0.55 to
 8      2002.                                                 8   6.2; correct?
 9          (Exhibit Number 19-8 was marked                   9      A. That's what they call them,
10          for identification.)          12:09              10   multi-variate model.                    12:10
11          MS. FORGIE: Are we done with                     11      Q. So again for Hardell, you do not
12      Eriksson?                                            12   present the most fully adjusted odds ratio
13          MR. LASKER: For now. We'll go                    13   according to that study; correct?
14      back to it.                                          14          MS. FORGIE: Object to the form.
15   BY MR. LASKER:                             12:09        15          THE WITNESS: For good reasons.            12:10
16      Q. In your visual depiction for                      16   BY MR. LASKER:
17   Hardell, you're depicting an odds ratio of              17      Q. I'm just asking the question in
18   slightly above 3. That is listed as                     18   your Table 14 --
19   statistically significant; correct?                     19      A. Yes.
20          MS. FORGIE: Object to the form.         12:09    20      Q. -- for Hardell, you do not present     12:10
21   BY MR. LASKER:                                          21   the most adjusted -- highly adjusted odds
22      Q. At least as it's depicted on your                 22   ratio reported by the authors of the study;
23   page 14?                                                23   right?
24          MS. FORGIE: Object to the form.                  24          MS. FORGIE: Object to the form.
25          THE WITNESS: It has a wide             12:09     25      Asked and answered.                    12:10



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 42 of 806

                                             Page 158                                                     Page 159
 1         You can answer it again.                            1   these studies -- just so we're clear, the --
 2         THE WITNESS: So I'm presenting the                  2   your comment with respect to the most highly
 3      odds ratio that I believe has the most                 3   adjusted estimates is specific to the
 4      validity given what they presented in                  4   meta-analysis that were conducted of the
 5      their paper.                      12:10                5   glyphosate studies; correct?                 12:12
 6   BY MR. LASKER:                                            6         MS. FORGIE: Object to the form.
 7      Q. And for the NAPP -- and we'll get                   7         THE WITNESS: It refers to what
 8   to that in a second -- you also have elected              8      others considered as their criteria for
 9   in your visual depiction of the study                     9      pulling estimates, not mine, yes.
10   results to report an odds ratio that was not 12:11       10   BY MR. LASKER:                                12:12
11   adjusted for three pesticides that the NAPP              11      Q. And you were stating in here that
12   investigators adjusted for in their study;               12   IARC's adjustment or their analysis -- their
13   correct?                                                 13   meta-analysis using these most highly
14         MS. FORGIE: Object to the form.                    14   adjusted estimates from the studies was
15         THE WITNESS: Again, what I strive 12:11            15   appropriate because it gave the reader           12:12
16      to do is present odds ratios on                       16   confidence that the findings are most likely
17      confidence interval for what I believe                17   due to glyphosate Roundup exposure instead
18      the most valid model is because we're                 18   of another potential cause that acts as a
19      now talking about evaluating the data                 19   confounder; correct?
20      overall. That does not necessarily mean 12:11         20      A. I'm making no statements about             12:12
21      the most fully adjusted model.                        21   appropriateness of these estimates. What
22   BY MR. LASKER:                                           22   I'm saying here is that they did something
23      Q. Just so I understand this, although                23   we call conservative, which is throw the
24   you state in your expert report that the                 24   kitchen sink into a model and see what falls
25   most highly adjusted estimates reported in    12:11      25   out on the other end.                     12:12

                                             Page 160                                                     Page 161
 1         That is not what I consider the                     1          MS. FORGIE: Wait. Object to the
 2   most valid approach.                                      2      form.
 3      Q. Okay. The visual depiction that                     3          THE WITNESS: There are different
 4   you have of the studies on page 14, you did               4      ways of depicting results visually, and
 5   not -- I mentioned it as a forest plot. You 12:13         5      in a forest plot, you are trying to show 12:14
 6   weren't --                                                6      confidence intervals that are
 7      A. Happy with it.                                      7      symmetrical, and you can only do that
 8      Q. -- happy with that terminology.                     8      when you use a logarithmic scale.
 9         Forest plots, if I understand                       9   BY MR. LASKER:
10   correctly, are usually depicted on a          12:13      10      Q. And by using the depiction that you 12:14
11   logarithmic scale; correct?                              11   use, which is not a logarithmic scale, the
12      A. Uh-huh.                                            12   visual effect of that is that the confidence
13      Q. And the issue with a logarithmic                   13   intervals will go further out to the right
14   scale, so, for example, in your visual                   14   or will appear in this depiction to go
15   depiction of the Orsi study -- and we can       12:13    15   further out to the right than if you were    12:14
16   look at the actual odds ratios if you want               16   presenting a forest plot on a logarithmic
17   in that study -- but that was a study that               17   scale; correct?
18   had an odds ratio of 1.0 and a lower                     18          MS. FORGIE: Object to the form.
19   confidence interval was about 0.5 and the                19          THE WITNESS: That is only the case
20   upper confidence interval was about 2.0.         12:13   20      when you go below 1. As long as you're 12:14
21         If you presented that in a forest                  21      above 1, they are actually symmetric,
22   plot, your line would be about equal                     22      and you can see that down here Eriksson
23   distance on both sides of --                             23      2008.
24      A. There --                                           24   BY MR. LASKER:
25      Q. -- one; correct?                  12:14            25      Q. Right.                          12:14



                                                                                                                     41
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 43 of 806

                                             Page 162                                                      Page 163
 1           But with the -- and we have in                    1   BY MR. LASKER:
 2   this -- in your visual depiction, numerous                2      Q. With respect to confounding -- and
 3   lines that go below 1 and above 1. When you               3   this is going to be a general question, I
 4   present it the way that you have in a normal              4   think, but epidemiologists use different
 5   scale as opposed to the way you do it on a       12:15    5   methods to control for potential             12:16
 6   forest plot with a logarithmic scale, that                6   confounding; correct?
 7   has the effect of making those lines extend               7      A. Yes.
 8   out further or appear further out to the                  8      Q. So epidemiologists can control for
 9   right than to the left; correct?                          9   confounders through model fitting techniques
10           MS. FORGIE: Object to the form and 12:15         10   like a regression analysis; correct?         12:16
11       asked and answered.                                  11      A. That is one way.
12           You can answer it again.                         12      Q. And epidemiologists can also
13           THE WITNESS: This is not a forest                13   control for confounding by conducting a
14       plot. This is just a visualization.                  14   stratified analysis; correct?
15       I'm giving point estimates and           12:15       15          MS. FORGIE: Object to the form.          12:16
16       confidence intervals, and the reason for             16          THE WITNESS: That is one other way
17       doing this is to have an easy reminder               17      of looking at control for confounding.
18       myself, as well as the reader, what the              18   BY MR. LASKER:
19       point estimates and the confidence                   19      Q. So in a stratified analysis, an
20       interval widths is.                 12:15            20   epidemiologist will calculate an odds ratio      12:16
21           It was not to say whether or not it              21   for subjects with concurrent exposures to
22       is going more or less beyond the null                22   two potential risk factors, and then they'll
23       value, but it clearly indicates when it              23   separately calculate the odds ratios for the
24       goes below the null value.                           24   subjects having only one of those exposures;
25   ///                                                      25   correct?                           12:16

                                             Page 164                                                      Page 165
 1      A. Not necessarily. You can subgroup,                  1      multi-variate models rather than
 2   but in the end, you want a summary effect                 2      stratification.
 3   estimate that you weigh by the strata. So                 3   BY MR. LASKER:
 4   you're standardizing your estimate according              4      Q. Just so we can agree what -- how
 5   to the weights of the strata in which these    12:17      5   this works, let's turn back to 19-4 which is 12:18
 6   individuals fall.                                         6   your 2010 slide deck.
 7      Q. So in your stratification, for                      7          MS. FORGIE: Wait. Let me get it.
 8   example, you would have if there is current               8      Okay.
 9   exposures or potential for current                        9          THE WITNESS: Page?
10   exposures, you would have one strata that is 12:17       10   BY MR. LASKER:                              12:18
11   exposed only to one of those risk factors,               11      Q. 98. And as you teach your students
12   one strata that's exposed to both of those               12   then, a stratified analysis is a method for
13   risk factors, and one strata that's exposed              13   controlling for confounders. "We estimate
14   to the other risk factor; correct?                       14   the exposure disease association within
15         MS. FORGIE: Object to the form.          12:17     15   categories or strata of the confounders as     12:19
16         THE WITNESS: If you're lucky, you                  16   in the examples given previously or and
17      have people in all of those strata, but               17   derive a summary estimate of this
18      you have to define the strata, and                    18   association across the strata which often
19      that's one reason why we use that tool                19   assumes that the association does not vary
20      not necessarily when we have better data 12:17        20   across strata." Correct?                 12:19
21      that's not categorical because,                       21      A. Correct. That's exactly what I
22      otherwise, within those strata, still                 22   just tried to explain.
23      have confounding because of                           23      Q. In your rebuttal expert report, you
24      categorization.                                       24   state that "Controlling for confounding by
25                                                            25   other pesticides in the glyphosate NHL          12:19
           So we're trying to use             12:17



                                                                                                                     42
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 44 of 806

                                           Page 166                                                     Page 167
 1   studies could make it harder to identify an             1    now -- is that I was trying to identify
 2   association between glyphosate and NHL."                2    confounders which is a different
 3         Do you recall that?                               3    concept.
 4         MS. FORGIE: Object to the form.                   4       It's the underlying scientific
 5         THE WITNESS: Where do I say that? 12:19           5    concept behind control for confounding.       12:21
 6         MS. FORGIE: Are we done with 4?                   6    Confounding is something I can assess in
 7         MR. LASKER: For now, yeah. Where                  7    data. Confounder is a scientific
 8      are we now?                                          8    concept that I need to presume, and
 9         MS. SHIMADO: 9.                                   9    that's what we're doing with directed
10         (Exhibit Number 19-9 was marked         12:20    10    basic little graphs. You saw a lot of      12:21
11         for identification.)                             11    them in my slides.
12   BY MR. LASKER:                                         12       And so what that means is we have
13      Q. So pages of 6 and 7, I think and                 13    to convince ourselves that a variable is
14   maybe I'm misunderstanding, but I thought              14    a confounder, meaning, there's an
15   what you were stating in pages 6 and 7 of      12:20   15    underlying true association between that 12:21
16   your report is that controlling in the                 16    variable and the outcome as well as that
17   glyphosate NHL studies controlling for                 17    variable and the exposure of interest
18   confounding by other pesticides can make it            18    and that that variable is not just a
19   harder to identify an association between              19    proxy measure of the exposure that I'm
20   glyphosate and NHL; correct?                12:20      20    actually trying to evaluate.            12:21
21         MS. FORGIE: Object to the form.                  21       And any kind of proxy measure of
22         THE WITNESS: Well, it depends on                 22    the exposure should not be treated as a
23      what we mean by "make it harder." So                23    confounder.
24      what I am trying to say here, what I do             24   BY MR. LASKER:
25      remember -- I'm not reading it right     12:20      25    Q. I think I was actually looking at       12:22

                                           Page 168                                                     Page 169
 1   page 7 where you're talking about this issue            1      trying to teach my students that they
 2   of smoking, lung cancer and whether or not              2      should not confuse confounders and
 3   radon exposure adds to the background                   3      effect modifiers. In this case, it's an
 4   instance of lung cancer. So I think we're               4      effect modification and not a
 5   talking past each other.                12:22           5      confounding. That said, the same factor 12:23
 6      A. Yeah.                                             6      can be an effect modifier and a
 7          MS. FORGIE: There's no question.                 7      confounder and/or a proxy. That's why
 8   BY MR. LASKER:                                          8      I'm saying confounding is something we
 9      Q. We agree in any event.                            9      do mathematically. We have the data.
10          MS. FORGIE: No, I don't agree that 12:22        10      We throw something in; we take something 12:23
11      we agree. All this smoking stuff is                 11      out. But confounder is at the
12      just putting me right off smoking.                  12      conceptual level. I need to decide is
13   BY MR. LASKER:                                         13      this a confounder? Yes or no? We have
14      Q. My question actually goes to the                 14      our rules for that. Is that a proxy for
15   point I think you're trying to make on       12:22     15      an exposure and not a confounder, or is      12:23
16   page 7, and maybe I'm misunderstanding it.             16      it acting as an effect measure modifier,
17          But in your example on page 7, you              17      and in this case, that was an effect
18   discuss the possibility of another                     18      measure modification.
19   confounder, in this case, I think it's                 19   BY MR. LASKER:
20   radon, making it more difficult to identify 12:22      20      Q. So if I understand correctly,         12:23
21   an association between an exposure and                 21   effect measure modifier in this case is
22   outcome; correct?                                      22   radon?
23          MS. FORGIE: Object to the form.                 23      A. Uh-huh.
24          THE WITNESS: This is really funny               24          MS. FORGIE: Object to the form.
25      in a way because that's exactly what I'm 12:22      25   BY MR. LASKER:                              12:23



                                                                                                                  43
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 45 of 806

                                              Page 170                                                       Page 171
 1       Q. You have to say yes or no,                           1      across populations. So you could in one
 2   obviously, for the court reporter.                          2      population estimate a relative risk of 2
 3       A. Oh, I think that's how I build it.                   3      and another relative risk of 5, and we
 4   It could be either smoking or radon that                    4      both would probably agree those are very
 5   I -- but I think it was radon that I called  12:24          5      different numbers. In one population       12:25
 6   it the effect measure modifier. I'm not                     6      you have an effect modifier present; in
 7   saying it, but I think that's correct.                      7      another you don't. So it is not that
 8       Q. And the reason that in this example                  8      the association was the agent of
 9   radon was an effect measure modifier that                   9      interest is really different but that
10   could impact the ability to conduct the       12:24        10      the comparison you're making are           12:25
11   analysis of smoking and lung cancer was                    11      comparisons to a population at a
12   because in your analysis the radon could                   12      different risk, baseline risk. And the
13   result in ten extra cases of lung cancer per               13      extent to which the effect modifier
14   100,000 miners; correct?                                   14      could influence the odds ratio that --
15       A. Yes.                          12:24                 15      of interest in a study will depend on     12:26
16       Q. And it's the size of that                           16      how powerful an effect modification you
17   association, if you will, that will                        17      have; correct.
18   determine the extent to which this effect                  18          MS. FORGIE: Object to the form.
19   modification could be -- could introduce a                 19   BY MR. LASKER:
20   problem in conducting your epidemiological         12:25   20      Q. In other words, let me just reword      12:26
21   analysis; correct?                                         21   this. Maybe this would be easier. If the
22          MS. FORGIE: Object to the form.                     22   radon exposure added one extra case of lung
23          THE WITNESS: It is insofar a                        23   cancer for 100,000 miners instead of ten
24       problem as effect measure modification                 24   extra cases of lung cancer for 100,000, that
25       comes into play when you're comparing        12:25     25   would have a fairly minimal impact on the        12:26


                                              Page 172                                                       Page 173
 1   odds ratio that would be reported for                       1         MS. FORGIE: Object to the form.
 2   smoking and lung cancer; correct?                           2         THE WITNESS: Well, 20 over 4 is
 3        MS. FORGIE: Object to the form.                        3      ignoring radon.
 4        THE WITNESS: Fairly minimal is                         4   BY MR. LASKER:
 5     relative, but the number would be       12:26             5      Q. Right.                         12:27
 6     smaller.                                                  6      A. So that's the fivefold increased
 7   BY MR. LASKER:                                              7   risk due to smoking. So now if radon
 8     Q. Okay. And in -- and I think you                        8   affects non smokers and smokers in the same
 9   can probably calculate it. It would                         9   way, then we would be adding one case to
10   probably be -- we'd be looking at --      12:26            10   each.                              12:28
11     A. 5.05.                                                 11      Q. Right.
12        MS. FORGIE: There's no question.                      12      A. So we would have 21 over 5.
13   BY MR. LASKER:                                             13      Q. Okay. 21 over 5?
14     Q. Instead of -- the 20 out of four,                     14      A. Uh-huh.
15   you'd be looking at 31 out of 5 over 5;    12:27           15      Q. So then it would be 4.25 as opposed 12:28
16   correct? In that scenario? Or I'm sorry.                   16   to 5. It would be a much smaller
17        MS. FORGIE: No, object to the                         17   difference.
18     form.                                                    18         MS. FORGIE: Object to the form.
19        THE WITNESS: 31 over --                               19         THE WITNESS: 4.25 is pretty big,
20        MR. WISNER: 21 over?                12:27             20      but there's a difference to 5, yeah.    12:28
21        MR. LASKER: I think that's right.                     21   BY MR. LASKER:
22        MS. FORGIE: What's the question?                      22      Q. And so to be able to determine or
23   BY MR. LASKER:                                             23   to be -- if the issue is whether other
24     Q. Instead of 21 over 4 it would be 31                   24   pesticides are effect modifiers in
25   over 5?                           12:27                    25   conducting -- in looking at a glyphosate      12:28



                                                                                                                        44
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 46 of 806

                                           Page 174                                                      Page 175
 1   non-Hodgkin's lymphoma association, one of              1      question again.
 2   the issues you can look at is how powerful              2   BY MR. LASKER:
 3   of an association there is between these                3      Q. I want to focus on the effect
 4   other pesticides and non-Hodgkin's lymphoma;            4   modification point that you're making here,
 5   correct?                           12:28                5   and that does not rely upon any correlation 12:29
 6          MS. FORGIE: Object to the form.                  6   between, in this case, radon and smoking;
 7          THE WITNESS: That is not the only                7   right?
 8      thing I would look at. I would also                  8          MS. FORGIE: Object to the form.
 9      look at how correlated the exposures are             9          THE WITNESS: This is an example
10      with glyphosate.                    12:29           10      where I'm trying to show in the first    12:29
11   BY MR. LASKER:                                         11      part of this example how when you have
12      Q. But in this instance -- this                     12      one risk factor only assessment and
13   example is not talking about a correlation?            13      you're comparing -- and you're
14      A. No.                                              14      calculating a so-and-so fold risk in the
15      Q. I'm just trying to get the exposure 12:29        15      exposed over the unexposed, and you're      12:29
16   modification aspect of it.                             16      going to another population where now
17          MS. FORGIE: There's no question.                17      you have an additional risk factor for
18   BY MR. LASKER:                                         18      the outcome that adds to the baseline
19      Q. Are we on the same page here?                    19      risk, and it adds in the same way in the
20          MS. FORGIE: Objection.               12:29      20      exposed and the unexposed how you would 12:30
21          You're asking if you guys are on                21      see a different odds at risk or rate
22      the same page?                                      22      ratio.
23          MR. LASKER: I have to be able to                23   BY MR. LASKER:
24      ask the question without you objecting              24      Q. And my only point here, I guess --
25      in the middle of it. Let me ask the      12:29      25   and my understanding maybe I'm missing it        12:30


                                           Page 176                                                      Page 177
 1   was that you were raising the possibility               1   BY MR. LASKER:
 2   that other pesticide exposures might have an            2      Q. Okay. But if the other pesticide
 3   effect modification on glyphosate studies if            3   exposures were resulting in one extra case
 4   you're looking at a population that has                 4   of non-Hodgkin's lymphoma over -- out of a
 5   those other pesticide exposures and that       12:30    5   hundred thousand, that would have less of an 12:31
 6   increases the background instance of NHL; is            6   effect modification than if they were
 7   that correct?                                           7   resulting in ten cases of non-Hodgkin's
 8         MS. FORGIE: Object to the form.                   8   lymphoma out of a hundred thousand; correct?
 9         THE WITNESS: Well, if we agree                    9         MS. FORGIE: Object to the form.
10      which pesticides are related to NHL and 12:30       10         THE WITNESS: That would depend on 12:31
11      one population of farmers is exposed to             11      the correlation of the exposures in this
12      those, then we would presume that those             12      dataset. So the correlation of the
13      farmers have a larger background rate of            13      pesticides was glyphosate.
14      NHL.                                                14   BY MR. LASKER:
15   BY MR. LASKER:                             12:30       15      Q. And I guess so the effect             12:31
16      Q. Okay. And to be able to assess the               16   modification you present on page 7 depends
17   extent to which that could create an                   17   upon the correlation between radon and
18   exposure modification, we would need to                18   smoking?
19   consider the strength of that association              19      A. Yes.
20   between the other pesticides and             12:31     20      Q. Okay. Moving on, we can take a            12:32
21   non-Hodgkin's lymphoma; correct?                       21   break for lunch now or go on for a little
22         MS. FORGIE: Object to the form.                  22   bit longer.
23         THE WITNESS: No. What we need is                 23         MS. FORGIE: It's up to you guys.
24      enough sample size to then evaluate the             24      I don't eat; so it doesn't matter to me.
25      effect of glyphosate.                12:31          25         MR. LASKER: Why don't we have               12:32



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                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 47 of 806

                                            Page 178                                                      Page 179
 1      lunch now. It's a little bit of a short               1   interval of 0.7 to 1.9; correct?
 2      session, but it's probably a good time.               2      A. Correct.
 3          THE VIDEOGRAPHER: We're off the                   3      Q. And the odds ratio was adjusted as
 4      record at 12:32 p.m.                                  4   indicated in the footnote to the table for
 5          (Recess taken from 12:32 p.m.        12:32        5   vital status, age, sex, smoking, family        12:34
 6          to 12:33 p.m.)                                    6   history of lymphopoietic cancer, high-risk
 7          THE VIDEOGRAPHER: We are back on                  7   occupations, and high-risk exposures;
 8      the record at 12:33 p.m.                              8   correct?
 9   BY MR. LASKER:                                           9      A. Yes.
10      Q. Dr. Ritz, let's walk through some      12:33      10      Q. And as Cantor is defining high-risk 12:35
11   of the epidemiologic studies that you                   11   exposures, if it meets a certain criteria,
12   discuss in your report. I think the first               12   those could include exposures to other
13   study you talk about is the Cantor study                13   pesticides; correct?
14   from 1992. Why don't we mark that.                      14      A. As far as I remember, but I'm just
15          (Exhibit Number 19-10 was            12:33       15   looking for that definition.               12:35
16          marked for identification.)                      16      Q. I think it is page 2448, top of the
17          THE WITNESS: Actually, the                       17   right-hand column just above "results."
18      Eriksson study that I mentioned first.               18          MS. FORGIE: Where did you see it?
19      Doesn't matter.                                      19          MR. LASKER: 2448, top of the
20   BY MR. LASKER:                             12:34        20      right-hand column.                     12:35
21      Q. We'll get to Eriksson as well.                    21          THE WITNESS: Yeah, it's the odds
22   19-10. So the Cantor study reported an odds             22      ratio of 1.5 plus. Is that it?
23   ratio for glyphosate and non-Hodgkin's                  23   BY MR. LASKER:
24   lymphoma, and it's on page 2450 in this                 24      Q. I believe so.
25   study in Table 6 of 1.1 with a confidence      12:34    25      A. Yeah.                          12:35

                                            Page 180                                                      Page 181
 1          MS. FORGIE: Thank you.                            1      the other -- De Roos, for example, which
 2   BY MR. LASKER:                                           2      includes Cantor. I would imagine that
 3      Q. Just so the record is clear, in the                3      De Roos is at least as powerful as
 4   Cantor study the odds ratio was adjusted for             4      Cantor; so it should actually be
 5   vital status, age, sex, smoking, family       12:36      5      shorter.                         12:37
 6   history of lymphopoietic cancer, high-risk               6   BY MR. LASKER:
 7   occupation and high-risk exposures which can             7      Q. If you look in your -- and this is
 8   include other pesticides; correct?                       8   an abbreviated short form, but De Roos 2003.
 9      A. Other substances it says, but I                    9   You have -- we can get to the actual number
10   imagine it's pesticides included.           12:36       10   if you want, but you have it on -- the       12:37
11      Q. And the CLR, if we were to                        11   number that you used at least has a CLR that
12   calculate that confidence limit ratio for               12   is well above 3; correct?
13   the glyphosate and non-Hodgkin's lymphoma,              13          MS. FORGIE: Object to the form.
14   is 1.9 to 0.7. So that is slightly below                14          THE WITNESS: I wouldn't be able to
15   3.0; correct?                         12:36             15      do that in my head without the numbers       12:37
16      A. Yeah.                                             16      right now. I have to guess where this
17      Q. And this is -- and you said you'd                 17      is coming out, and I also need to -- oh,
18   done this in your head. I don't know if you             18      and this is a differently adjusted
19   recall it in your head, but the CLR for the             19      estimate, plus it's from a larger study.
20   Cantor study is the smallest CLR for any        12:36   20      So it doesn't just include Cantor. It    12:38
21   odds ratio, report odds ratio, where the                21      also includes the Nebraska and some
22   odds ratio has been adjusted for other                  22      other study.
23   pesticide exposures; correct?                           23   BY MR. LASKER:
24          MS. FORGIE: Object to the form.                  24      Q. We'll look at the CLR for De Roos
25          THE WITNESS: I would need to check 12:37         25   when we get there. We can just compare           12:38



                                                                                                                     46
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 48 of 806

                                                Page 182                                                     Page 183
 1   them, but I think you stated that you                        1   BY MR. LASKER:
 2   thought the De Roos study might be at least                  2      Q. Yeah.
 3   as powerful as the Cantor study. Are there                   3      A. I have to check it whether it's
 4   any other case control studies that you                      4   always ever/never. Did I not show any
 5   believe would be as powerful as the Cantor          12:38    5   others? No, I guess they would be mostly       12:39
 6   study, any measuring glyphosate in                           6   ever/never.
 7   non-Hodgkin's lymphoma?                                      7      Q. Okay. So with respect to that
 8         MS. FORGIE: Object to the form.                        8   assessment that you have or that measure
 9         THE WITNESS: It depends on what                        9   that you have on page 14 of your expert
10      the comparison is that I want to do.         12:38       10   report, are you aware of -- and I'm going to 12:39
11      For example, ever handled is a very bad                  11   give you -- talk also, and we'll put it in
12      exposure assessment. So this 1.1 for                     12   the NAPP which is a further pooling of the
13      ever handled I would judge as not very                   13   Cantor data and some other data from Canada.
14      valid because the exposure is probably                   14   But other than that, is there any study that
15      strongly misclassified                   12:39           15   has greater power than Cantor with respect     12:40
16      non-differentially.                                      16   to the ever/never odds ratio for
17   BY MR. LASKER:                                              17   glyphosate-based herbicides in non-Hodgkin's
18      Q. Except for three of the studies I                     18   lymphoma?
19   believe -- let's strike this. Let's strike                  19         MS. FORGIE: Object to the form.
20   this. The odds ratio that you present in         12:39      20         THE WITNESS: Actually I'm              12:40
21   your expert report on page 14 are for                       21      realizing something that I didn't
22   ever/never exposure; correct?                               22      realize before. This table actually
23         MS. FORGIE: Object to the form.                       23      says "odds ratios for ever having
24         THE WITNESS: Page 14? Which one?                      24      handled specific herbicides prior to
25      This?                              12:39                 25      1965." I thought glyphosate was not       12:40


                                                Page 184                                                     Page 185
 1      available prior to 1965.                                  1       continue through this.
 2   BY MR. LASKER:                                               2          MS. FORGIE: I agree.
 3      Q. That would be the right column of                      3   BY MR. LASKER:
 4   the table, the left table. Left column is                    4       Q. And if I understand you correctly,
 5   upper.                              12:40                    5   that is because it's your opinion that     12:41
 6      A. Oh, okay.                                              6   ever/never analyses are not as informative
 7      Q. Going back to the question then,                       7   on whether or not there is an association
 8   other than the subsequent studies that                       8   between glyphosate and non-Hodgkin's
 9   pooled Cantor and included Cantor in the                     9   lymphoma as measures that try to look at the
10   pooling, which would be De Roos 2003 and the 12:41          10   amount of exposure of glyphosate; correct?      12:42
11   NAPP, are you -- are you aware of any study                 11          MS. FORGIE: Object to the form.
12   that had a greater power to assess                          12          THE WITNESS: An ever/never
13   ever/never exposure to glyphosate in                        13       exposure presumes that any type of
14   non-Hodgkin's lymphoma?                                     14       exposure I had can be handled in the
15          MS. FORGIE: Object to the form.      12:41           15       same way. So somebody looking at a        12:42
16          THE WITNESS: I wouldn't be able to                   16       bottle of pesticides and spraying it
17      tell off my head because I consider                      17       once gets to be thrown in the same
18      ever/never the lowest common denominator                 18       category as somebody applying pesticides
19      across all these studies, and I would                    19       on a regular basis in an occupation.
20      hope that we have better measures to     12:41           20       And that is the least informative and   12:42
21      assess exposure than ever/never.                         21       the most capable of inducing
22          MS. FORGIE: Just so you know, it                     22       non-differential exposure
23      looks like the lunch is here. I'm not                    23       misclassification by people recalling
24      saying we have to break now.                             24       wrongly.
25          MR. LASKER: We'll probably just       12:41          25   ///



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                            TSG Reporting - Worldwide                   877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 49 of 806

                                           Page 186                                                     Page 187
 1   BY MR. LASKER:                                          1   time elapse from the time of exposure until
 2      Q. The -- in your expert report you                  2   the measure of non-Hodgkin's lymphoma for
 3   opine, and I think this is at page 17 of                3   the biological process to take place that
 4   your report. I'm sorry. On page 18 of your              4   would lead to exposure to diagnose disease;
 5   report. At the bottom of page 18 -- and you 12:43       5   correct?                           12:44
 6   were right. This is the bottom of my head.              6          MS. FORGIE: Object to the form.
 7   I got it backwards as to which study you                7          THE WITNESS: Latency -- the word
 8   were doing first in your report. So bottom              8      "latency" is used in different ways and
 9   of page 18 you're talking about the Cantor              9      in epidemiology we are trying to figure
10   study, going over to page 19; correct?      12:43      10      out the minimum time between an exposure 12:44
11      A. Yes.                                             11      happening and causing the disease. So
12      Q. And you state that the Cantor study              12      in a time-changing exposure and a
13   is less informative because the cases are              13      cumulative or a -- not an exposure like
14   diagnosed with non-Hodgkin's lymphoma                  14      the A bomb that's one time -- right? --
15   between 1980 and 1983 which you state was at 12:43     15      you kind of have to decide when the      12:45
16   most only six to ten years from the first              16      potential for carcinogenicity has
17   potential glyphosate exposure; correct?                17      occurred, and from that point of time to
18      A. Correct.                                         18      when you're actually diagnosing the
19      Q. And you explain that this would                  19      disease. That may be very different
20   be -- and just so the record is clear, we  12:44       20      depending on many factors including age    12:45
21   are talking about here is the concept of               21      of the subject.
22   latency; correct?                                      22   BY MR. LASKER:
23      A. This talks about latency, yes.                   23      Q. Right. And the point that you're
24      Q. And the issue of latency is that                 24   making with respect to Cantor, and I think
25   you would need to have a certain period of    12:44    25   you state this on page 17 of your report    12:45


                                           Page 188                                                     Page 189
 1   about in the middle paragraph -- I'm sorry,             1      more susceptible to exposures, that
 2   in the first paragraph about halfway down,              2      cancer might just happen earlier after
 3   you state that typically we would generally             3      exposure than in somebody where the
 4   expect a five to ten-year minimum latency               4      cancer cell is dormant and kept in check
 5   between exposure and disease onset for blood 12:45      5      by the immune system and other factors       12:47
 6   system-related cancers; correct?                        6      for 20 more years. So the latency
 7      A. That's read correctly.                            7      period is really an average or minimum
 8      Q. So what that means is even if you                 8      dependent on what population I'm looking
 9   have -- let's say if you have a known                   9      at and whether I allow for that
10   carcinogen that causes NHL, it would take a 12:46      10      population to age into the time when the 12:47
11   minimum of five to ten years from the date             11      cancers would occur.
12   of exposure for the regression from cellular           12          So mostly I would imagine I have
13   insult to result in a diagnosable case of              13      higher power in my study when the people
14   non-Hodgkin's lymphoma; correct?                       14      are aged into that age when they
15          MS. FORGIE: Object to the form.        12:46    15      actually have cancer.                 12:47
16          THE WITNESS: No. I'm using this                 16   BY MR. LASKER:
17      in terms of epidemiologic latency time              17      Q. And the concern that you're raising
18      which we are estimating was in groups.              18   with respect to the Cantor study is that --
19      So we are never estimating for one                  19   well, actually let me just take a step back
20      person. So in one person, it could be     12:46     20   here. You state -- and I think this is on    12:47
21      happening within a year or two. In                  21   page 19. You state that one would prefer
22      another person, it might not be                     22   for NHL cancer epidemiology study, one would
23      happening until 35 years out. That's                23   prefer a minimum latency period of on
24      why I also refer to age. For example,               24   average ten years; correct?
25      somebody who is already age 60 and is       12:46   25          MS. FORGIE: Object to the form.         12:48



                                                                                                                   48
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 50 of 806

                                            Page 190                                                      Page 191
 1         THE WITNESS: That's what this                      1   correct me if I'm wrong. One issue is that
 2      says.                                                 2   you want to be measuring the exposures that
 3   BY MR. LASKER:                                           3   could have, in fact, resulted in the
 4      Q. This is you.                                       4   outcome; correct?
 5      A. Yes, yes, this is what the sentence 12:48          5          MS. FORGIE: Object to the form.      12:49
 6   says. So what I was meaning by this is that              6          THE WITNESS: I'm not sure I
 7   a study would be more powerful if we allowed             7      understand, but yes, we want to measure
 8   for longer latency because we then would                 8      exposures as carefully as we can to
 9   capture more cases due to the exposure.                  9      estimate whether they are causing the
10   Because if you're only allowing for two        12:48    10      outcome.                          12:49
11   years, you would only capture those people              11   BY MR. LASKER:
12   who was in those two years come down with               12      Q. So, for example, and just take an
13   the cancer. If you allowing for five years,             13   extreme example, if you were to do an
14   you can see how that number would increase              14   epidemiologic study and you measured an
15   and then ten years, 20 years out.           12:49       15   exposure on Tuesday and the individual        12:50
16         So depending on how long we have                  16   came -- was diagnosed with non-Hodgkin's
17   between the first exposure or the minimum               17   lymphoma on Wednesday, whatever the exposure
18   exposure necessary to cause cancer and the              18   was on Tuesday wouldn't have been a cause of
19   events that later occur, the longer the                 19   the NHL because there hasn't been a
20   latency, the more chance I have to capture      12:49   20   sufficient time that has elapsed for the   12:50
21   every single case that was actually caused              21   causal mechanism to take place; correct?
22   by the exposure because there are these                 22      A. If I'm assuming that the only
23   dormant cells.                                          23   exposure the person ever had was on Tuesday.
24      Q. Just so I understand also because I               24      Q. Right?
25   think there's a couple things going on, but 12:49       25      A. Yes.                          12:50


                                            Page 192                                                      Page 193
 1      Q. And one of the issues you're                       1   capturing the biologically plausible
 2   raising in the Cantor study is if you're not             2   exposures that could account for any
 3   looking back sufficiently far in time, then              3   reported non-Hodgkin's lymphoma; correct?
 4   you are not capturing exposures that could               4         MS. FORGIE: Object to the form.
 5   have had sufficient time to go through that 12:50        5         THE WITNESS: That's not correct.         12:51
 6   process whereby they would result in a                   6      That's really not what this says. What
 7   diagnosable non-Hodgkin's lymphoma; correct?             7      this says is that there is an exposure
 8          MS. FORGIE: Object to the form.                   8      lag time that I would like in order to
 9          THE WITNESS: So what I'm trying to                9      capture every single case and not just
10      say here is that exposures have to occur 12:50       10      the ones that are the early birds.      12:52
11      a certain number of, let's say, days,                11   BY MR. LASKER:
12      years, months prior to the onset of a                12      Q. If you have, though, an early bird
13      cancer before I would think that it is               13   if you will, one of the issues that you're
14      biologically possible or plausible. But              14   trying to account for is the possibility
15      that could be a year in a certain        12:51       15   that that earlier diagnosed non-Hodgkin's      12:52
16      circumstance, two years in another, and              16   lymphoma would have been related to
17      on average, it might be very different               17   something that predates any exposure;
18      depending on the population I'm looking              18   correct?
19      at.                                                  19         MS. FORGIE: Object to the form.
20   BY MR. LASKER:                              12:51       20         THE WITNESS: Well, when I have a           12:52
21      Q. And the point you make here on                    21      study that only has a two-year minimum
22   page 19 is you could have traits that vary              22      follow-up and no more, then I always
23   but for a study of non-Hodgkin's lymphoma,              23      have to raise that possibility. That's
24   you'd prefer a minimum latency period of on             24      why I would like a study that has a
25   average ten years to make sure that you are 12:51       25      longer period of time between the         12:52



                                                                                                                     49
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 51 of 806

                                             Page 194                                                     Page 195
 1      exposure and the outcome so I can                      1   want to consider is whether or not those
 2      estimate what an average mild latency                  2   exposures took place during the time period
 3      might be. And if I have a study that                   3   sufficiently before the diagnosis that you
 4      only follows for one year, I would                     4   could attribute the exposure to the outcome;
 5      probably be concerned. With a study       12:53        5   correct? Because before you did the study, 12:54
 6      following two years, less, three years,                6   you don't know there's an association;
 7      less, et cetera, et cetera.                            7   right?
 8   BY MR. LASKER:                                            8         MS. FORGIE: Object to the form.
 9      Q. What you're mentioning here with                    9         THE WITNESS: Well, it depends on
10   respect to Cantor is that you have a concern 12:53       10      which study I'm conducting, but before     12:54
11   because only six to ten years have elapsed               11      this study was conducted, I don't think
12   between a potential first glyphosate                     12      there was much known about glyphosate.
13   exposure and an NHL diagnosis; correct?                  13      So I agree. So this is certainly a
14      A. Well, my concern is not with                       14      study that is trying to evaluate
15   respect to the biologically relevant latency 12:53       15      something we know very little about, and 12:54
16   period but with respect to having really                 16      of course, we always want the most
17   captured all NHLs that might have been                   17      information we can get and the longest
18   caused by the exposure because I presume                 18      period between exposures.
19   that, in this case, I only captured the                  19         But as a public health official, I
20   early birds, the people who got their cancer 12:53       20      want to look right away. I want to look 12:54
21   relatively soon after exposure.                          21      after two years and three years and four
22      Q. You would have to, though, in                      22      years, but if I don't see something
23   determining that those non-Hodgkin's                     23      after two years or three years, then I
24   lymphomas that you see are attributable to               24      want to look after five years because it
25   the exposure, one factor that you would also 12:54       25      doesn't mean there's nothing when I       12:55


                                             Page 196                                                     Page 197
 1      don't see something after two years.                   1     hematopoietic cancers, it's generally in
 2          And in epidemiology, what we often                 2     the radiation literature -- and that's
 3      do in order to remove exposures that are               3     where I wrote my dissertation in --
 4      irrelevant is we are discounting                       4     assume that it's two-year minimum. And
 5      exposures within the year before          12:55        5     so what we would do is we would look          12:56
 6      diagnosis, and that's a tool one can                   6     carefully and critically maybe at around
 7      use.                                                   7     one year or two year, but these are all
 8   BY MR. LASKER:                                            8     presumed.
 9      Q. And one of the things that you talk                 9         And they come from the medical
10   about with another study, with the Eriksson      12:55   10     literature on radiation effects -- side  12:56
11   study is a lag period of ten years because               11     effects. They are not coming from
12   in that study, that was the demarcation;                 12     population studies and workers and the
13   correct?                                                 13     general population. So what we think
14      A. Yes, that's correct.                               14     the case is is that if you say one day
15      Q. Okay. And that goes to the same          12:55     15     or a month, everybody would shake their       12:56
16   issue that you're raising which is that for              16     head. Maybe even one year we would
17   hematopoietic cancers, you might need a                  17     shake our heads and say I'm not really
18   period of ten years before the exposure                  18     sure. But anything beyond one year
19   could actually give rise to diseases so that             19     would definitely raise concern.
20   you can actually measure an effect; correct? 12:55       20         Because we are also now talking       12:56
21          MS. FORGIE: Object to the form.                   21     about initiation of cancer or promotion
22          THE WITNESS: That's incorrect.                    22     of cancer, and initiation of cancer
23      That's actually stating the opposite of               23     might take longer than promotion.
24      what I said. What I'm saying is that                  24     Promotion might be the last step in the
25      you want that -- actually for           12:55         25     chain of events, and that might be very     12:57



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                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 52 of 806

                                            Page 198                                                      Page 199
 1      soon.                                                 1      not be assessed as comprehensively as I
 2          So again, what I'm saying is that I               2      would have liked to and later studies do
 3      would like to move out from the time of               3      a better job.
 4      exposure that is relevant for the cause               4          MR. BAUM: Is this a good time to
 5      of the disease. I would like to move       12:57      5      switch over to lunch?                  12:58
 6      out as long as I can in order to capture              6          MR. LASKER: Almost.
 7      as many cases caused by that exposure as              7   BY MR. LASKER:
 8      possible.                                             8      Q. Now, in your analysis, you were
 9          So ten years out is a good time                   9   assessing the start date, if you will, of
10      frame because it makes me more              12:57    10   glyphosate as a potential exposure in 1974; 12:58
11      comfortable that I'm not only capturing              11   is that correct?
12      early birds but that I'm really looking              12          MS. FORGIE: Object to the form.
13      at the chronic consequences of that                  13          THE WITNESS: Well, we don't really
14      exposure.                                            14      know unless the author tells us exactly
15   BY MR. LASKER:                              12:57       15      when the exposure happened, but the           12:58
16      Q. Understood.                                       16      potential for exposure starts in '74,
17          So with respect to the Cantor study              17      yes.
18   then, if I'm understanding you correctly,               18   BY MR. LASKER:
19   your concern was -- with respect to latency             19      Q. Do you know when glyphosate was
20   was solely a concern about power?              12:57    20   first approved for use in agricultural        12:59
21          MS. FORGIE: Object to the form.                  21   settings?
22          THE WITNESS: No, it was not about                22      A. I thought that was about that time.
23      power, but it was a concern about this               23          MR. LASKER: Let's just mark the
24      study not -- being a little bit early in             24      next exhibit in line.
25      the sense that the chronic effects could 12:58       25          MR. BAUM: Eric, it's 1 o'clock.         12:59


                                            Page 200                                                      Page 201
 1          MR. LASKER: We're going to be                     1   the starting point for that calculation?
 2       about five minutes. It's still all in                2         MS. FORGIE: Object to the form.
 3       the context of this.                                 3         THE WITNESS: We are presuming that
 4          (Exhibit Number 19-11 was                         4      this is the only way to get glyphosate
 5          marked for identification.)          12:59        5      use.                            01:00
 6          MS. FORGIE: What number are we on?                6   BY MR. LASKER:
 7          MS. SHIMADO: 11.                                  7      Q. This is the first approval for
 8   BY MR. LASKER:                                           8   agricultural settings. It would be used as
 9       Q. And this will be, and I'll --                     9   sort of right of way and roadways for road
10   obviously, you're going to have to -- well, 12:59       10   crews. It could have been used before then, 01:00
11   I'll represent and I'm going to ask you a               11   but the first approval for farmers for use
12   question on the assumption my representation            12   of glyphosate was in December of 1975.
13   is correct. I'll represent to you that this             13      A. And that --
14   December, 1975, letter from EPA marks the               14         MS. FORGIE: Wait. There's no
15   first date on which glyphosate-based            01:00   15      question pending.                     01:01
16   formulation was approved for use in                     16   BY MR. LASKER:
17   agricultural settings.                                  17      Q. With that assumption in mind, if
18       A. Uh-huh.                                          18   you're trying to measure farming exposures,
19          MS. FORGIE: There's no question.                 19   which was the exposures in the Cantor study
20   BY MR. LASKER:                               01:00      20   which was the farmers exposure, I think by       01:01
21       Q. If that assumption is correct for                21   its definition and by its terms, would
22   farming studies, and these are -- the Cantor            22   December of 1975, then, be the proper start
23   study was specific to farming exposures in              23   point for determining the potential latency
24   calculating that latency period, would I be             24   period between exposure and disease outcome?
25   correct, then, that December, 1975, would be 01:00      25         MS. FORGIE: Object to the form.          01:01



                                                                                                                     51
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 53 of 806

                                            Page 202                                                      Page 203
 1      Asked and answered. She just answered                1          MS. FORGIE: Object to the form.
 2      that exact question.                                 2      Asked and answered.
 3          You can answer it again.                         3          You can answer it again.
 4          THE WITNESS: Well, I have to make                4          THE WITNESS: Well, if that is what
 5      certain assumptions. One was that they     01:01     5      they are actually assessing, then you      01:02
 6      actually didn't ask other occupations,               6      would have potential exposure starting
 7      such as road worker, and also that these             7      at the time this agent became available
 8      farmers weren't given glyphosate in                  8      to the farmers, and then you could use
 9      trial runs because there's a difference,             9      that for a latency period calculation.
10      and I thought I'd seen that somewhere     01:01     10          MR. LASKER: Why don't we take a            01:03
11      listed that actually glyphosate was                 11      break for lunch.
12      being tried out in certain farming                  12          THE VIDEOGRAPHER: This marks the
13      populations prior to general approval.              13      end of videotape number 2 in the
14   BY MR. LASKER:                                         14      deposition of Dr. Beate Ritz. We're off
15      Q. Okay. I'm not sure where you've        01:02     15      the record at 1:03 p.m.                01:03
16   seen that, but for the purpose of this                 16          (Lunch recess taken from
17   question, if we assume that December, 1975,            17          1:03 p.m. to 1:46 p.m.)
18   was the first date where glyphosate was                18          THE VIDEOGRAPHER: We are back on
19   approved for agricultural uses, for farm               19      the record at 1:46 p.m. This marks the
20   uses, and that none of the farmers here were 01:02     20      beginning of videotape number 3 in the        01:46
21   using it for some trial purposes before its            21      deposition of Dr. Beate Ritz.
22   official approval, would December, 1975,               22   BY MR. LASKER:
23   then, be the proper starting point for then            23      Q. Dr. Ritz, let's move on to the
24   calculating the latency period for the                 24   De Roos 2003-case control study. We'll mark
25   Cantor study?                          01:02           25   that as the next exhibit in line.          01:46


                                            Page 204                                                      Page 205
 1          (Exhibit Number 19-12 was                        1   roughly the median -- most of the data was
 2          marked for identification.)                      2   the same as Cantor, and then you have some
 3   BY MR. LASKER:                                          3   shorter and some longer; right?
 4       Q. Dr. Ritz, we can walk through this               4          MS. FORGIE: Object to the form.
 5   if you'd like, but I feel you probably     01:47        5          THE WITNESS: It depends on how          01:48
 6   already have done that. The median latency              6       many people were in each of those
 7   time for the NHL cases in this study is                 7       studies.
 8   roughly equivalent to the median latency                8   BY MR. LASKER:
 9   time for the cases in the Cantor study;                 9       Q. You can look on Table 2.
10   correct?                            01:47              10       A. Yeah, Iowa and Minnesota is the       01:48
11       A. As far as I know, it went out a                 11   biggest chunk of it.
12   little bit longer in Minnesota.                        12       Q. And then the other two are both
13       Q. No, I think you're talking Nebraska             13   about the same?
14   was longer and Kansas City was shorter.                14       A. Yeah.
15          MS. FORGIE: Wait. Is there a        01:48       15       Q. So can we agree the median latency 01:48
16       question?                                          16   period for the De Roos 2003 study is roughly
17          MR. LASKER: I'm working my way                  17   equivalent to the median latency period for
18       through it.                                        18   the Cantor study?
19          THE WITNESS: Nebraska is the                    19          MS. FORGIE: Object to the form.
20       longest followed by Minnesota and then     01:48   20          THE WITNESS: We can calculate it, 01:48
21       Kansas.                                            21       but it probably would come out
22   BY MR. LASKER:                                         22       similarly, but it's important that we
23       Q. And Kansas was shorter?                         23       also have longer latency in there, in
24       A. Correct.                                        24       Nebraska.
25       Q. And Nebraska was longer. So          01:48      25   ///



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                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 54 of 806

                                              Page 206                                                    Page 207
 1   BY MR. LASKER:                                             1         proceedings.)
 2       Q. Right. But the median latency is                    2         MR. LASKER: Back on the record.
 3   the same. We have shorter latency for the                  3   BY MR. LASKER:
 4   roughly 15 or 16 percent from Kansas and                   4      Q. Even for the 17 percent of the data
 5   slightly longer latency for the 17.4 percent 01:49         5   that came from Nebraska, you still would not 01:50
 6   in Nebraska; correct?                                      6   have a median latency period for glyphosate
 7          MS. FORGIE: Object to the form.                     7   for ten years; correct?
 8          THE WITNESS: 21.5 percent in                        8         MS. FORGIE: Object to the form.
 9       Nebraska.                                              9         THE WITNESS: That makes
10   BY MR. LASKER:                             01:49          10      assumptions that we're starting to count 01:50
11       Q. I was looking at the analysis of                   11      in 1975 which may or may not be correct.
12   multiple pesticides.                                      12      But that gives us eight years, I guess.
13       A. Oh.                                                13   BY MR. LASKER:
14       Q. Correct?                                           14      Q. Whether it's '74 or '75, the
15          MS. FORGIE: Object to the form.         01:49      15   maximum latency period would be -- maybe the 01:50
16          THE WITNESS: 17.4, yes.                            16   maximum would be 12 years, but we're talking
17   BY MR. LASKER:                                            17   the median latency period. The median
18       Q. Okay. With respect to the Nebraska                 18   latency period even for this Nebraska
19   data which is, as you mentioned, is data                  19   subgroup would be less than ten years;
20   that's somewhat longer, that goes out from      01:49     20   correct?                            01:50
21   July 1983 to June 1986?                                   21         MS. FORGIE: Object to the form.
22       A. Correct.                                           22         THE WITNESS: About ten years.
23       Q. Even in that sub population                        23   BY MR. LASKER:
24   litigation --                                             24      Q. Let me make sure I understand the
25          (Interruption in the            01:50              25   median latency period. This would allow -- 01:51


                                              Page 208                                                    Page 209
 1   if everybody had taken glyphosate the very                 1      A. Correct.
 2   first day that it was available, that would                2      Q. The actual median latency for the
 3   be the latency period, but, of course,                     3   population that's being studied would be
 4   that's not going to be the reality in the                  4   less than the maximum latency period;
 5   study; correct?                         01:51              5   correct?                           01:52
 6      A. I don't know --                                      6      A. It would be somewhere in between
 7          MS. FORGIE: Object to the form.                     7   the diagnosis dates, and the diagnosis dates
 8          THE WITNESS: I don't know what the                  8   are July, '83, through June, '86.
 9      reality in the study is because it's not                9      Q. I understand that. That would be
10      stated exactly when these farmers          01:51       10   when diagnosis was. The exposure -- the       01:52
11      started, and if we are presuming that                  11   median period of exposure would not be ten
12      the EPA date is the earliest one, and                  12   years before that. It would be somewhat
13      you said yourself there were other uses                13   less. At some point in time prior to
14      for glyphosate, so who knows? Farmers                  14   diagnosis that they're exposed, not the very
15      do all sorts of things including buying 01:51          15   first day; correct?                   01:52
16      things that are not EPA approved. So I                 16          MS. FORGIE: Object to the form and
17      don't know.                                            17      asked and answered.
18   BY MR. LASKER:                                            18          You can answer again.
19      Q. So there are two parts of this:                     19          THE WITNESS: Well, it depends what
20   When you talk about median latency, there         01:51   20      we are presuming about the exposure. So 01:52
21   is, in this case, a maximum latency period                21      if we are presuming that they really
22   of whenever you want to start measuring                   22      only started using in 1975, and they
23   1974, 1975 through to the date of diagnosis.              23      were using a certain amount of
24   That would be the maximum latency period                  24      glyphosate that needed to be used in a
25   possible.                            01:52                25      certain way, they might have used, you    01:53



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 55 of 806

                                           Page 210                                                    Page 211
 1      know, a huge amount the first time                   1   analysis, the median latency period, even of
 2      around because they were told it's very              2   the Nebraska data, would be less than ten
 3      non-toxic and maybe all of the relevant              3   years; correct?
 4      exposure were in the first year. I                   4         MS. FORGIE: Object to the form.
 5      don't know. They did not investigate    01:53        5      Asked and answered.                   01:54
 6      that.                                                6         THE WITNESS: Not necessarily
 7   BY MR. LASKER:                                          7      because the Nebraska diagnosis median is
 8      Q. Okay. I understand that.                          8      1985. So that's ten years after 1975.
 9          But with respect to, as an                       9   BY MR. LASKER:
10   epidemiologist if you're looking at this   01:53       10      Q. I understand that. Let me just        01:54
11   study and you don't have the data on when              11   make sure I understand this. You mentioned
12   exposures took place, would you assume then            12   that you had used some sort of range that
13   in your analysis of the Nebraska data for              13   determined likely first exposure date.
14   purposes of assessing the data that all of             14         It wouldn't all be assumed to be
15   the exposures to Roundup took place on the     01:53   15   1975; correct?                        01:54
16   first date that exposures were possible?               16         MS. FORGIE: Object to the form.
17          MS. FORGIE: Object to the form.                 17      Asked and answered. She's testified --
18      Asked and answered.                                 18         THE WITNESS: That would be a kind
19          You can answer it again.                        19      of sensitivity analysis you might want
20          THE WITNESS: Well, I would           01:53      20      to play with.                    01:54
21      probably look at a range of possible                21   BY MR. LASKER:
22      times, and then you can, you know, use              22      Q. And if that analysis were
23      that in your analysis.                              23   conducted, the median latency period for
24   BY MR. LASKER:                                         24   even the Nebraska, 17 percent in this study
25      Q. Okay. And if you were to do that     01:53       25   could be less than ten years; correct?       01:54

                                           Page 212                                                    Page 213
 1          MS. FORGIE: Object to the form.                  1      A. Yes.
 2      Asked and answered.                                  2      Q. So that confidence interval is --
 3          You can answer it again.                         3   I'm sorry, the CLR for that, and I've done
 4          THE WITNESS: Well, I could define                4   the math, but it's going to be about 3.6,
 5      a range that would make it less than ten 01:54       5   and you can sort of eyeball that; right?      01:56
 6      years, but if I subtract 1985 and 1975,              6      A. Yeah.
 7      I have ten years on average.                         7         MS. FORGIE: Object to the form.
 8   BY MR. LASKER:                                          8   BY MR. LASKER:
 9      Q. Okay. And you talked earlier about                9      Q. And for the hierarchical regression
10   the issue -- we were talking about this in   01:55     10   odds ratio, we have 2.8 over 0.9; so the CLR 01:56
11   connection with the Cantor study about the             11   for the hierarchical regression would be
12   power of this study to be able to identify             12   slightly above 3; correct?
13   association. So I'd like to ask you about              13      A. Yes.
14   that.                                                  14      Q. So the CLR for both of the De Roos
15          I'd asked you about the CLR for De    01:55     15   2003 odds ratios for glyphosate are larger     01:56
16   Roos, and we now have that data; so I'd like           16   than the CLR for the Cantor 1992 study;
17   to return to that discussion. The                      17   correct?
18   glyphosate data is presented on Table 3;               18      A. What did we have for that again?
19   correct?                                               19      Q. You can go back. It's 2.7, but why
20      A. Correct.                       01:55             20   don't you look at it just to confirm for     01:56
21      Q. And for the logistical regression                21   yourself.
22   analysis which is the analysis that you                22         MS. FORGIE: Do you remember what
23   report on in your expert report, we have a             23      exhibit it is?
24   confidence interval that ranges from 1.1 to            24         MR. LASKER: It's probably the last
25   4.0; correct?                        01:56             25      one we just did.                    01:56



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 56 of 806

                                           Page 214                                                        Page 215
 1         MS. SHIMADO: 10. Exhibit 10.                      1   her estimate would be the more fully
 2   BY MR. LASKER:                                          2   adjusted compared to the Cantor.
 3      Q. You should have it right there.                   3         With respect to latency, the same
 4      A. Yeah.                                             4   rules apply. However, she added some
 5      Q. For the record, I'll ask the       01:57          5   studies that actually had longer latency.    01:58
 6   question again while you're looking at this.            6   Again, the latency issue is an issue because
 7         The CLR for both of the logistic                  7   I'm missing cases that are truly caused by
 8   regression analysis and the hierarchical                8   the exposure, if I believe exposure causes
 9   regression analysis in the De Roos 2003                 9   disease, and so it has to do with early
10   study is actually larger than the CLR for     01:57    10   studies where I'm catching these early cases 01:58
11   the Cantor study; correct?                             11   and not yet the later ones.
12      A. That is correct.                                 12      Q. Let me just sort of step back,
13      Q. Am I correct, though, in my                      13   though, because there's a lot in that
14   understanding that the -- your concern --              14   answer, and I want to make sure I understand
15   while you're concerned about the latency       01:57   15   that fully.                         01:58
16   period in the Cantor study as making that              16         Is it your testimony that the
17   study less informative, you do not have that           17   logistical regression analysis in De Roos
18   same concern for the De Roos 2003 study?               18   2003 had more controls, adjusted for more
19      A. Well, first to the '95 percent                   19   factors than the hierarchical regression?
20   confidence interval, the confidence interval 01:57     20         MS. FORGIE: Object to the form.         01:59
21   widens with the number of adjustments I                21         THE WITNESS: No, that's not what I
22   make. Obviously, De Roos makes a lot more              22      said. The hierarchical regression makes
23   co-adjustments than Cantor, and that's                 23      additional assumptions that we can
24   probably the reason why these confidence               24      debate and that are debated. You will
25   intervals are wider. So in a way, actually 01:58       25      not see many -- she is actually one of    01:59


                                           Page 216                                                        Page 217
 1     the first people to ever use                          1      must have adjusted for a lot more than
 2     hierarchical regression in a systematic               2      Cantor.
 3     way in the literature.                                3   BY MR. LASKER:
 4         There are a few more papers here                  4      Q. Let me just step back here because
 5     and there. I did it myself in 2002.      01:59        5   that was my question. The confidence             02:00
 6     Somehow hierarchical regression has                   6   interval for the hierarchical regression is
 7     fallen out of favor because you have to               7   narrower than the confidence interval for
 8     make a lot of assumptions, and reviewers              8   the logistic regression analysis?
 9     actually constantly fight with you over               9      A. Correct, and that's by method. By
10     those assumptions whether they're          01:59     10   making more assumptions, you're narrowing           02:00
11     correct or not. So generally, we would               11   confidence intervals. That's how
12     go back in a consensus manner to a                   12   hierarchical regression works.
13     normal logistic regression in which we               13      Q. Let me step back so I make sure I
14     are adjusting for as many variables that             14   understand the question -- understand the
15     we think make validly sense to adjust       01:59    15   answer to my question.                     02:00
16     for.                                                 16          In the Cantor 1992 study, you
17         And this estimate of 2.1 was the                 17   raised concerns about a median latency
18     confidence interval of 1.1 to 4, had                 18   period of less than ten years as making that
19     wider confidence interval even though                19   study which had a 1.1 adjusted odds ratio,
20     there are more cases and more controls       02:00   20   in your mind, less informative. And I'm          02:01
21     in the analysis. The only way this                   21   just trying to understand if that same
22     happens is if there is more full                     22   concern about the median latency period of
23     adjustment for cofactors to widen these              23   less than ten years makes the De Roos 2003
24     confidence intervals.                                24   study which has that hierarchy ratio that
25         So from that, I conclude that she    02:00       25   you cite less informative.                02:01



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 57 of 806

                                             Page 218                                                   Page 219
 1          MS. FORGIE: Objection. Object to                   1   the De Roos 2003 study less informative?
 2      the form. Asked and answered.                          2           MS. FORGIE: Object to the form.
 3          You can answer.                                    3       Mischaracterizes her testimony and asked
 4          THE WITNESS: Cantor is part of the                 4       and answered.
 5      study; however, the beauty of pooled       02:01       5           You can answer it again.            02:02
 6      studies is that they pool across                       6           THE WITNESS: Again, the latency
 7      different studies with different                       7       period in Cantor cannot be different
 8      strengths and different weaknesses. It                 8       from what the latency period of the part
 9      helps for the sample size. It helps for                9       of the data that is Cantor data in this
10      the statistical power. In this case, it 02:01         10       pooled analysis is. So it is what it     02:02
11      helps even to adjust for more variables               11       is.
12      that you would be happy to adjust for,                12           However, adding additional states
13      and overall, it's more powerful because               13       and additional data improves what this
14      of all of these reasons.                              14       study can do over the Cantor study.
15   BY MR. LASKER:                             02:02         15       Plus it overall increases the latency     02:02
16      Q. That wasn't my question. My                        16       because we have the Nebraska study as
17   question was that you, in your expert                    17       well.
18   report, cited to a median latency period for             18   BY MR. LASKER:
19   NHL of less than ten years as a reason why               19       Q. Okay. But we also have the
20   the Cantor study was less informative, and      02:02    20   Minnesota study which has a shorter latency 02:03
21   the 1.1 odds ratio in that study was less                21   period; correct?
22   informative to you.                                      22           MS. FORGIE: Object to the form.
23          The De Roos 2003 study has a median               23           THE WITNESS: It's likely shorter.
24   latency period of less than ten years. My                24       Yes.
25   question to you is whether that fact makes      02:02    25   ///


                                             Page 220                                                   Page 221
 1   BY MR. LASKER:                                            1   BY MR. LASKER:
 2       Q. Just to clarify, the Kansas study                  2      Q. In your opinion, does the fact that
 3   has a shorter period?                                     3   the De Roos 2003 study has a median latency
 4       A. Kansas, yes.                                       4   of less than ten years make that study less
 5       Q. So again, my question is -- and it 02:03           5   informative?                          02:04
 6   may or may not -- but does the fact that the              6          MS. FORGIE: Objection. Object to
 7   De Roos 2003 study has a median latency                   7      the form. Mischaracterizes her prior
 8   period of less than ten years, in your                    8      testimony, asked and answered. This is,
 9   assessment, does that, in your mind, make                 9      like, the fifth time you've asked the
10   the De Roos 2003 study less informative?         02:03   10      same question.                      02:04
11          MS. FORGIE: Object to the form.                   11          THE WITNESS: Now I'm really
12       Mischaracterizes her testimony. Asked                12      confused because I don't know anymore
13       and answered.                                        13      what you mean by "less informative."
14          You can answer it again.                          14   BY MR. LASKER:
15          THE WITNESS: I think De Roos is a 02:03           15      Q. Okay. Well, that was your             02:04
16       really excellent study that did                      16   terminology with respect to the Cantor
17       everything we can do in terms of pooling             17   study.
18       data in terms of relating the exposures              18      A. Correct.
19       that she had access to to the outcomes               19      Q. And you stated that the Cantor
20       in adjusting and trying different       02:03        20   study was less informative because it had a 02:04
21       methods and in actually lengthening the              21   median latency period of less than ten
22       overall latency by including Nebraska.               22   years. My question is: Do you believe that
23          MR. LASKER: Mark that answer. I'm                 23   the De Roos study is less informative
24       going to ask the question again.                     24   because it has a median latency period of
25   ///                                                      25   less than ten years?                    02:04



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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 58 of 806

                                           Page 222                                                     Page 223
 1          MS. FORGIE: Objection. Object to                1     even more informative.
 2     the form. I object to the                            2   BY MR. LASKER:
 3     mischaracterization of her prior                     3     Q. And the Nebraska data is from a
 4     testimony. Asked and answered six                    4   case control study that was published by
 5     times.                          02:05                5   Dr. Zahm; correct?                      02:06
 6          You can answer it again.                        6     A. Yes, Sheila.
 7          THE WITNESS: So the De Roos study               7     Q. And Dr. Zahm in her published case
 8     generally is a better study than the                 8   control study did not report any association
 9     Cantor study because it pools data. So               9   between glyphosate and non-Hodgkin's
10     it's not less informative. It's       02:05         10   lymphoma, did she?                       02:06
11     actually more informative, that it                  11     A. Can you show me that?
12     cannot go beyond the latency period of              12     Q. Sure.
13     one of the studies included for that                13         (Exhibit Number 19-13 was
14     data is a no-brainer.                               14         marked for identification.)
15          However, she added data with a        02:05    15   BY MR. LASKER:                             02:06
16     longer latency; so she is actually now              16     Q. Again, my question is Dr. Zahm, in
17     covering all sorts of latency periods               17   her paper, does not report any --
18     that we can look at. And the longer, of             18   specifically any association or positive
19     course, we would have a latency period,             19   association between glyphosate and
20     the more powerful. If she had another       02:05   20   non-Hodgkin's lymphoma; correct?               02:07
21     study to add, it would become more                  21         MS. FORGIE: Take as much time as
22     powerful, but it is an incremental step             22     you want reading it.
23     going from one study that may be less               23         THE WITNESS: It looks like this is
24     informative to two studies that are more            24     a study specifically analyzed for 2,4-D
25     informative to three studies that are     02:05     25     and some more general pesticide            02:07

                                           Page 224                                                     Page 225
 1      exposures.                                          1   published case control study, looking at
 2   BY MR. LASKER:                                         2   that Nebraska data that was then pooled into
 3      Q. My question to you is: In the                    3   De Roos 2003, does not report any
 4   published paper addressing the Nebraska data           4   association between glyphosate-based
 5   that was pooled in De Roos 2003, the          02:07    5   herbicides and non-Hodgkin's lymphoma;           02:08
 6   investigators, Zahm, et al., do not report             6   correct?
 7   any association between glyphosate and                 7         MS. FORGIE: Objection. Object to
 8   non-Hodgkin's lymphoma; correct?                       8     the form, asked and answered. This is
 9          MS. FORGIE: Objection. Object to                9     the fifth time she's answered.
10      the form, and asked and answered.         02:08    10         You can answer it again.           02:09
11          You can answer it again.                       11         THE WITNESS: So the pooled data is
12          THE WITNESS: So the beauty of                  12     not what is being reported on here.
13      pooled studies is that I can do things             13     There's a difference between a study and
14      that I can't do in a single study. I               14     a study report. Usually when you do
15      presume that Sheila thought she could      02:08   15     these studies, they're very expensive.    02:09
16      not analyze certain types of pesticide             16     You collect a lot more data than what
17      based on what is 201 cases.                        17     you can report in one paper, and for
18          So that would be normal procedure              18     your career, you better publish more
19      to then make this data available for a             19     than one paper.
20      larger pooled study for pesticide       02:08      20         There's always the issue of common      02:09
21      exposures that are less common.                    21     and less common exposures; so when I
22   BY MR. LASKER:                                        22     collect as extensively as I can any kind
23      Q. My question was -- and I still I'm              23     of occupational exposure, I might or
24   not sure I've gotten -- I still haven't               24     might not have the statistical power to
25   gotten an answer. Dr. Zahm, in her           02:08    25     investigate every of those exposures in 02:09



                                                                                                                  57
                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 59 of 806

                                             Page 226                                                       Page 227
 1      my study that is relatively limited                    1   BY MR. LASKER:
 2      since there are only 201 white males as                2      Q. Dr. Ritz, in her published paper,
 3      cases.                                                 3   case controlled paper, looking at the
 4          So in that case, I provide this                    4   Nebraska data that was subsequently pulled
 5      data for a collaborative effort and       02:10        5   into De Roos 2003, Dr. Zahm does not report      02:10
 6      Dr. De Roos' paper is such a                           6   any association between glyphosate and
 7      collaborative effort where then I                      7   non-Hodgkin's lymphoma; correct?
 8      provide them with a lot more data than I               8          MS. FORGIE: Objection. Object to
 9      would be -- you see that she is the                    9      the form and asked and answered. This
10      second author here, and Dr. Blair is the 02:10        10      will be, like, the eighth or ninth time 02:10
11      last author. So they would have had                   11      she's answered the same question.
12      access to more data than this paper is                12          You can answer it again.
13      actually reporting on.                                13          THE WITNESS: This data in the Zahm
14          MR. LASKER: I'm going to have the                 14      publication from 1990 is not the data
15      reporter mark that answer again. I'm        02:10     15      that was pooled into this pooled study.   02:11
16      going to ask the question one more time               16      This is data specifically for one type
17      to see if I can get an answer. If not,                17      of application. What I imagine Dr. Zahm
18      we'll just have to address this with the              18      provided to Dr. De Roos is a much more
19      Court later.                                          19      extensive dataset and the De Roos study
20          MS. FORGIE: I object to the           02:10       20      is based on that more extensive dataset. 02:11
21      statements about not getting an                       21   BY MR. LASKER:
22      answer --                                             22      Q. The De Roos study is looking at
23          MR. LASKER: That's fine. Just                     23   187 cases in its pooled analysis and
24      object.                                               24   113 cases in its analysis of multiple
25          MS. FORGIE: It's unfair.             02:10        25   pesticides from Nebraska; correct?          02:11


                                             Page 228                                                       Page 229
 1      A. 113, yes.                                           1         THE WITNESS: I see a citation to a
 2      Q. And the Zahm published paper had,                   2      Williams paper and a Hardell paper.
 3   would you say, over 200 cases of                          3   BY MR. LASKER:
 4   non-Hodgkin's lymphoma; correct?                          4      Q. Number 51 --
 5      A. 201.                          02:11                 5      A. And 51.                        02:13
 6      Q. Okay. De Roos and her                               6      Q. -- and number 8 is the McDuffie
 7   co-investigators in the 2003 paper discuss                7   paper; correct?
 8   their findings with respect to glyphosate in              8      A. Oh, 8, yes.
 9   their conclusion -- in the concluding                     9      Q. So they cite to the McDuffie paper
10   section; correct? Or I guess in their        02:12       10   and the Hardell paper; correct?              02:13
11   discussion section?                                      11      A. Yes.
12      A. Yes.                                               12         MS. FORGIE: Objection.
13      Q. And on page 7 of 9, the                            13   BY MR. LASKER:
14   paragraph -- sort of the second                          14      Q. And they state that these few
15   paragraph from the end of the bottom of the      02:12   15   suggested findings provide some impetus for        02:13
16   second column on page 7 is where De Roos and             16   further investigation into the potential
17   her co-investigators discuss their findings              17   health effects of glyphosate; correct?
18   with respect to glyphosate; correct?                     18      A. It seems like they are citing
19      A. This one? The second to the last.                  19   Williams here.
20      Q. Glyphosate --                     02:12            20      Q. I understand that.                 02:13
21      A. Yeah, yeah.                                        21         The conclusion that De Roos and her
22      Q. In that discussion, they talk about                22   co-investigators provide in their discussion
23   the -- they cite to the Hardell paper, and               23   in their paper after reviewing the other
24   they cite to the McDuffie paper; correct?                24   epidemiological studies they cite, Hardell
25          MS. FORGIE: Objection.                02:13       25   and McDuffie, after they've done their          02:14



                                                                                                                       58
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 60 of 806

                                            Page 230                                                     Page 231
 1   analysis as well for the pooled data from                1    BY MR. LASKER:
 2   the U.S. case controlled studies, was that               2       Q. They do not list glyphosate; right?
 3   these were suggested findings that provide               3           MS. FORGIE: Wait. She hasn't
 4   some impetus for further investigation into              4       finished her answer. Please let her
 5   the potential health effects of glyphosate; 02:14        5       finish.                         02:15
 6   correct?                                                 6           THE WITNESS: I'm looking for the
 7          MS. FORGIE: Object to the form.                   7       glyphosate. No, that's the general
 8          THE WITNESS: The way I read this                  8       statement.
 9      is that they are commenting on Hardell                9    BY MR. LASKER:
10      and McDuffie.                       02:14            10       Q. Okay.                          02:15
11   BY MR. LASKER:                                          11       A. But you would need to look at the
12      Q. They do not -- De Roos and her                    12    list of what she considers potentially
13   co-authors do not anywhere in their paper               13    carcinogenic which is on Table 1, and you
14   state that their study in combination with              14    will see that glyphosate was one of them
15   the earlier epidemiological studies supports 02:14      15    because it got a .3.                   02:15
16   a conclusion that there has been shown a                16       Q. In her -- in De Roos' discussion,
17   causal association between glyphosate and               17    if I can direct you to page 6 of 9, she has
18   NHL, do they?                                           18    data there for combined pesticide use,
19          MS. FORGIE: Object to the form.                  19    Table 5.
20          THE WITNESS: Well, they're            02:14      20           Do you see that?                 02:16
21      actually saying, "Our results indicate               21       A. Yes.
22      increased NHL incidents by number of                 22       Q. And one of the analyses that they
23      pesticides used only for the subgroup of             23    conduct is a combined analysis of atrazine
24      potentially carcinogenic ones," and then             24    and dicamba; correct?
25      they list them.                   02:15              25       A. Yes.                          02:16

                                            Page 232                                                     Page 233
 1      Q. And as it happens, their findings                  1   versus 36 and 61 for glyphosate. So it's
 2   for their logistic regression and their                  2   not the same people.
 3   hierarchical regression for atrazine and                 3       Q. Right. I wasn't suggesting it's
 4   dicamba combined are almost identical to                 4   the same people.
 5   their findings for glyphosate alone;         02:16       5          The hierarchical regression          02:17
 6   correct?                                                 6   analysis, the conclusion for atrazine and
 7          MS. FORGIE: Object to the form.                   7   dicamba combined was a 1.6 odds ratio which
 8          THE WITNESS: I don't know what you                8   is the same odds ratio reported for
 9      mean by "identical."                                  9   glyphosate; correct?
10   BY MR. LASKER:                              02:16       10          MS. FORGIE: Object to the form.          02:17
11      Q. Well, for atrazine and dicamba in                 11          THE WITNESS: Well, yeah, I mean,
12   their logistical regression, they had an                12       when we do these kind of analyses, a lot
13   odds ratio of 2.1 which is the same odds                13       of odds ratios might be the same.
14   ratio as glyphosate had in logistical                   14   BY MR. LASKER:
15   regression; correct?                    02:17           15       Q. And the confidence interval for the 02:18
16      A. Yes, but odds ratio of 2.1 or .7 or               16   hierarchical regression analysis for
17   .3 you can find all over this table.                    17   atrazine and dicamba combined is, again,
18      Q. And the confidence interval for the               18   virtually identical to the odds ratio for
19   logistic regression analysis for 2.1 was                19   the hierarchical regression analysis for
20   marginally significant and very similar to      02:17   20   glyphosate; correct?                      02:18
21   the confidence interval for glyphosate                  21          MS. FORGIE: Object to the form.
22   alone; correct?                                         22          THE WITNESS: Not surprising given
23      A. Correct. But you can see that it                  23       the assumptions they made for the
24   is based on very different data. It's based             24       hierarchical regression.
25   on 31 cases and 60 controls in that category 02:17      25   ///



                                                                                                                    59
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 61 of 806

                                           Page 234                                                      Page 235
 1   BY MR. LASKER:                                          1      tables you absolutely cannot compare.
 2      Q. And in discussing those odds                      2      The result for atrazine and dicamba
 3   ratios, 2.1 for the logistic regression                 3      both, it's what we call an interaction
 4   analysis that is just statistically                     4      term, and what she is comparing here is
 5   significant and a 1.6 for the hierarchical   02:18      5      they seem to be indicative super          02:19
 6   regression analysis that's not significant              6      additivity and results from logistic
 7   in connection with atrazine and dicamba on              7      regression.
 8   page 6 in their study, and it is in the text            8         And what this next sentence is
 9   right above the words "Discussion," De Roos             9      referring to, such as for atrazine and
10   states that those findings were "probably     02:18    10      dicamba, were probably misleading. So         02:19
11   misleading due to imprecision of estimates             11      the misleading is the super additivity
12   noting that these results did not hold up              12      and not the effect estimate.
13   following shrinkage and hierarchical                   13   BY MR. LASKER:
14   regression analysis according to our prior             14      Q. Let's go on to the Lee study just
15   distribution of complete exchangeability";     02:19   15   briefly. That's Lee 2004.                 02:20
16   correct?                                               16         MS. FORGIE: Are we putting these
17      A. That's what this says. I mean, the               17      away?
18   text.                                                  18         MR. LASKER: For now, yes.
19      Q. And to the extent that -- I take it              19         (Exhibit Number 19-14 was
20   you would not view the identical -- or not    02:19    20         marked for identification.)          02:20
21   nearly identical odds ratios reported for              21   BY MR. LASKER:
22   glyphosate in the same study as being                  22      Q. The Lee study is another pooled
23   probably misleading; correct?                          23   analysis here using two of the three studies
24         MS. FORGIE: Object to the form.                  24   that were used in De Roos 2003; correct?
25         THE WITNESS: You are comparing two 02:19         25      A. Correct.                        02:20


                                           Page 236                                                      Page 237
 1      Q. The Lee study reporting its results               1   upon all the exposures. It's not specific
 2   does not adjust for exposures to other                  2   to glyphosate; correct?
 3   pesticides; correct?                                    3      A. No. The one for glyphosate has six
 4          MS. FORGIE: Object to the form.                  4   exposed cases and 12 exposed controls, and
 5          THE WITNESS: I have to check that. 02:21         5   you already have age, vital status, and       02:22
 6   BY MR. LASKER:                                          6   state in there. So if you do it two by two
 7      Q. Table 3 on page 300.                              7   by two table, then you have no more
 8      A. The Lee study does not give you an                8   subjects --
 9   effect estimate for glyphosate. It gives                9      Q. I'm sorry --
10   you a stratified analysis by asthmatics and   02:21    10      A. -- in one of these.               02:22
11   non-asthmatics for glyphosate.                         11      Q. We're not connecting here --
12      Q. And in that stratified analysis,                 12      A. Table number 3.
13   they do not adjust for exposures to other              13          MS. FORGIE: Wait, let her finish.
14   pesticides; correct?                                   14   BY MR. LASKER:
15          MS. FORGIE: Object to the form.       02:21     15      Q. All of the adjustments in this        02:22
16      Asked and answered.                                 16   entire study, and there's a whole lot of
17          You can answer it again.                        17   adjustments they do with stratification on
18          THE WITNESS: That seems to be                   18   Tables 2 and Table 3, none of the odds
19      correct, and I would be very surprised              19   ratios anywhere in this study are adjusted
20      if they did because they had only six    02:21      20   for exposures to other pesticides; correct? 02:22
21      cases among asthmatics. If you throw                21          MS. FORGIE: Objection. Object to
22      any more variable into that model, you              22      form. Asked and answered.
23      will explode it.                                    23          You can answer it again.
24   BY MR. LASKER:                                         24          THE WITNESS: The glyphosate
25      Q. Well, the adjustment model is based 02:22        25      estimates are estimates among             02:22



                                                                                                                    60
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 62 of 806

                                             Page 238                                                     Page 239
 1      non-asthmatics and asthmatics. When you                1   to other pesticide; correct?
 2      split your data in that way, you limit                 2          MS. FORGIE: Objection. Object to
 3      the way you can adjust. In this case,                  3      the form. Asked and answered.
 4      when you have asthmatics with six                      4          You can answer it again.
 5      glyphosate exposed cases and 12            02:23       5          THE WITNESS: None of the pesticide 02:23
 6      controls, there's absolutely no way -- I               6      results are concomitantly adjusted, and
 7      don't even know how they adjust for age                7      it's not a surprise because they are
 8      vital status and state without exploding               8      stratifying by asthma status, and in
 9      their model.                                           9      order to compare one model with another,
10   BY MR. LASKER:                              02:23        10      they have to adjust for exactly the same 02:24
11      Q. Okay. Dr. Ritz, that wasn't my                     11      variables or else you can't compare the
12   question, and that doesn't answer my                     12      models.
13   question in the slightest.                               13          And the intent here is to compare
14         MS. FORGIE: I object to that                       14      models for asthmatics with models for
15      commentary. She's answered it twice.         02:23    15      non-asthmatics. If you put different    02:24
16         MR. LASKER: We'll mark this answer                 16      adjustments variables in there, you
17      as well.                                              17      don't know whether you see a difference
18   BY MR. LASKER:                                           18      or not.
19      Q. It's a very simple question.                       19          MR. LASKER: We're going to have to
20   There's two tables here, Table 2 and Table 3 02:23       20      mark that answer again and ask one more     02:24
21   with a whole lot of reported odds ratios,                21      time because I can't get a yes or no
22   not only for glyphosate, but for other                   22      answer to a question. I'll ask it one
23   pesticides, for other exposures, for                     23      more time.
24   combined herbicides. None of those odds                  24   BY MR. LASKER:
25   ratios include any adjustment for exposure       02:23   25      Q. None of the odds ratios in the Lee 02:24


                                             Page 240                                                     Page 241
 1   study were adjusted for exposure to other                 1   Yes or no?
 2   pesticides; correct?                                      2         MS. FORGIE: Objection.
 3         MS. FORGIE: Objection. Object to                    3         No. She's not required to give a
 4      the form. Asked and answered. As you                   4      yes or no answer, and you know that.
 5      just stated, this is like the seventh   02:24          5         MR. LASKER: Frankly, she is.             02:25
 6      time.                                                  6         MS. FORGIE: No, she's not. Don't
 7         You can answer it again.                            7      do this. Objection. Object to the
 8         THE WITNESS: This study intends to                  8      form. Object to asked and answered for
 9      look at a stratified analysis of                       9      the seventh time.
10      non-asthmatics and asthmatics. If I       02:24       10         You're not required to give a yes      02:25
11      really want to compare the effects                    11      or no answer. You can answer again.
12      estimates between these two groups of                 12   BY MR. LASKER:
13      people and I want to assess whether                   13      Q. I'm asking for a yes or no answer.
14      glyphosate has the same effect in one                 14   If you can't give a yes or no answer, you
15      group than in the other, I have to       02:25        15   can just state that and we'll move on and       02:25
16      automatically adjust for the same                     16   we'll deal with it later for the judge.
17      variables. They already are adjusting                 17         MS. FORGIE: Objection.
18      for age, vital status, and state,                     18         THE WITNESS: My answer will not
19      therefore, there is no way they could                 19      change.
20      also adjust for everything else.        02:25         20   BY MR. LASKER:                              02:25
21   BY MR. LASKER:                                           21      Q. My question to you is am I correct
22      Q. So if the answer is, yes, that's                   22   that the Lee study in reporting the odds
23   fine, but I need an answer for the record.               23   ratios for all the odds ratios reported does
24   Am I correct that the Lee study does not                 24   not adjust for the exposure to other
25   adjust for exposure to other pesticides?      02:25      25   pesticides?                           02:25



                                                                                                                     61
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 63 of 806

                                            Page 242                                                       Page 243
 1         MS. FORGIE: Objection. Object to                   1      includes Nebraska and we seem to have
 2      the form and asked and answered.                      2      agreed that that has a longer latency
 3         You can answer it again.                           3      and gives you more opportunity to
 4         THE WITNESS: This is such a                        4      investigate this question.
 5      general question that it's not         02:26          5   BY MR. LASKER:                             02:27
 6      answerable. But in order to inform you                6      Q. And it also includes the data in
 7      what is done in this study, I state it                7   Cantor that has the latency period that you
 8      again. This study intends to compare                  8   believe is too short; correct?
 9      effect estimates between asthmatics and               9      A. I never said that I believed it is
10      non-asthmatics. In order to do so, the 02:26         10   too short, but it does include the Iowa and    02:27
11      authors had to adjust for exactly the                11   Minnesota data that's in the Cantor study.
12      same variables in the pesticide models.              12      Q. Let's move on to the McDuffie
13      The variables they adjusted for are age,             13   study.
14      vital status, and state.                             14          MS. FORGIE: Are we finished with
15         MR. LASKER: Mark that and we'll           02:26   15      this?                            02:27
16      move on.                                             16          MR. LASKER: Yeah.
17   BY MR. LASKER:                                          17          (Exhibit Number 19-15 was
18      Q. The issue with latency that you                   18          marked for identification.)
19   raised and we've discussed before from the              19   BY MR. LASKER:
20   same pool data would also exist to the        02:26     20      Q. Dr. Ritz, for the record this is    02:27
21   extent that it concerns you or not with the             21   the McDuffie study which is the case control
22   Lee study; correct?                                     22   study from Canada; correct?
23         MS. FORGIE: Object to the form.                   23      A. Yes.
24         THE WITNESS: I'm not sure what you                24      Q. And the authors describe McDuffie,
25      mean by issue. However, this study         02:26     25   et al., describe their analysis in this   02:28

                                            Page 244                                                       Page 245
 1   study as exploratory; correct?                           1   BY MR. LASKER:
 2           MS. FORGIE: Object to the form.                  2      Q. During the point in time, and I
 3           THE WITNESS: Where do they say                   3   think you mentioned this -- well, at -- in
 4       that?                                                4   the method section -- strike that.
 5   BY MR. LASKER:                              02:28        5          Do you know based upon your review         02:29
 6       Q. On page 1161 in the second                        6   of this study whether glyphosate was
 7   column about two-thirds of the way down. Do              7   specified in the hypothesis when they were
 8   you see the sentence starting "We report                 8   conducting this study?
 9   results"?                                                9          MS. FORGIE: Object to the form.
10       A. Yes.                         02:28               10          THE WITNESS: I wouldn't know that. 02:29
11       Q. "We reported results."                           11   BY MR. LASKER:
12       A. Uh-huh.                                          12      Q. Okay. So you cannot state, then,
13       Q. And McDuffie, et al., describe                   13   whether or not the glyphosate findings would
14   their analysis in this study as exploratory;            14   be considered by the investigators McDuffie,
15   correct?                            02:28               15   et al., to be exploratory; correct?         02:29
16           MS. FORGIE: Objection. Object to                16          MS. FORGIE: Object to the form.
17       the form.                                           17          THE WITNESS: That's not correct
18           THE WITNESS: What they're stating               18      because what I -- when I design a study
19       is that they investigated a number of               19      and a study questionnaire, I have to
20       different chemicals and exposures and,      02:28   20      decide which chemical agents to specify, 02:29
21       therefore, some of the analyses to                  21      meaning, to name or to want to
22       unspecified agents should be considered             22      investigate. So in my preparation for a
23       exploratory. I don't know what they                 23      study, I have to be very clear about
24       mean by unspecified agents.                         24      what kinds of pesticides I'm asking
25   ///                                                     25      about, and I would call that            02:30



                                                                                                                      62
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 64 of 806

                                             Page 246                                                   Page 247
 1     specification.                                         1      reading it.
 2         So if they hadn't been interested                  2   BY MR. LASKER:
 3     in glyphosate, they wouldn't have                      3      Q. And you don't know sitting here
 4     investigated it, and they wouldn't have                4   today whether or not based upon this and
 5     asked it in a questionnaire.           02:30           5   based upon however they prepared this          02:31
 6   BY MR. LASKER:                                           6   information, whether the findings that they
 7     Q. They state, however, in presenting                  7   report with respect to glyphosate should be
 8   the data, and they do present data on                    8   considered exploratory; correct?
 9   various different chemical agents, and they              9         MS. FORGIE: Objection. Asked and
10   have a whole list of them, that they are     02:30      10      answered. Object to the form.           02:31
11   presenting results for chemical agents and              11         You can answer it again.
12   exposures that were not specified in the                12         THE WITNESS: All I can tell you I
13   hypothesis; correct?                                    13      don't consider this exploratory.
14         MS. FORGIE: Object to the form.                   14   BY MR. LASKER:
15     Asked and answered. You can answer it         02:30   15      Q. Okay. The McDuffie case control          02:31
16     again.                                                16   study did not adjust for exposure to other
17         THE WITNESS: They refer to a                      17   pesticides; correct?
18     number of chemical agents and exposures               18      A. In what table?
19     that were not specified. The way that                 19      Q. Any of the tables.
20     might happen is that when you have a         02:30    20      A. That's not correct. Table 6 and 7     02:31
21     questionnaire, you have open questions                21   seem to be adjusting for chemicals.
22     and you don't specify the name of the                 22      Q. 6 and 7 are dealing with various
23     chemical, but people decide to write                  23   medical variables?
24     them in. I have no idea what they mean                24      A. And dicamba and Aldrin and
25     by unspecified, but that's one way of      02:30      25   Mecoprop.                            02:32

                                             Page 248                                                   Page 249
 1      Q. With respect to the tables that                    1   report and just so the record is clear, for
 2   report any findings with respect to                      2   the two ever/never odds ratios for the
 3   glyphosate, none of those findings are                   3   glyphosate that McDuffie reports, they find
 4   adjusted for exposures to other pesticides;              4   odds ratios of 1.26 in one model and 1.2 in
 5   correct?                            02:32                5   the other model, and neither of those odds    02:34
 6         MS. FORGIE: Object to the form.                    6   ratios are statistically significant by the
 7         THE WITNESS: Which table are we                    7   95 percent confidence interval; correct?
 8      talking about?                                        8      A. Well, if we want to play the
 9   BY MR. LASKER:                                           9   P-value game, that's correct, but the values
10      Q. Well, for glyphosate, it would be       02:32     10   are 1.26 and 1.20. One adjusted; one not.    02:34
11   Tables 2 and Table 8 as far as I know. But              11   But that's an ever/never.
12   you should make sure that you agree with                12      Q. Right. And the -- you mention in
13   that. Take your time.                                   13   your report that there was separate analyses
14      A. 2 and --                                          14   of the McDuffie data that, first of all,
15         MS. FORGIE: 8.                     02:33          15   separated out association for glyphosate     02:34
16         THE WITNESS: These tables seem to                 16   with and without malathion; correct? I
17      adjust for age and province.                         17   think that's your expert report at page 18.
18   BY MR. LASKER:                                          18      A. Where's that?
19      Q. Just so the record is clear in the                19      Q. In your expert report at page 18.
20   odds ratios that are reported for glyphosate 02:33      20         MR. WISNER: Do you want to go off 02:35
21   in the McDuffie study, the investigators do             21      the record while we fix this?
22   not adjust for exposure to other pesticides;            22         MR. LASKER: If we can. I don't
23   correct?                                                23      know that we can. Let's wait until the
24      A. That seems correct.                               24      end of this question.
25      Q. The -- as you note in your expert      02:33      25         MS. FORGIE: What was the question 02:35



                                                                                                                  63
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 65 of 806

                                          Page 250                                                     Page 251
 1      again?                                              1   odds ratio of 0.92 with a confidence
 2          MR. LASKER: Now I'm losing track                2   interval of 0.54 to 1.55; correct?
 3      of these things. Oh, okay.                          3      A. Correct.
 4   BY MR. LASKER:                                         4      Q. And in your report you also point
 5      Q. So in your expert report you note     02:35      5   to a separate analysis that you say McDuffie 02:37
 6   that there was a separate analysis of the              6   conducted which looked at glyphosate
 7   McDuffie data that separated out the                   7   exposure mixed with dicamba exposure;
 8   association for glyphosate with and without            8   correct, in your expert report?
 9   co-exposure to malathion; correct?                     9      A. Where is that?
10      A. Yes, that's the Hohenadel paper.      02:36     10      Q. Right above --                   02:37
11      Q. The Hohenadel study is a stratified             11      A. Above? Yes.
12   analysis like we were discussing earlier in           12      Q. Okay. And I take it that that --
13   your testimony here today; correct?                   13   your discussion there is based upon -- and
14          MS. FORGIE: Object to the form.                14   correct me if I'm wrong -- Table 2 in the
15          THE WITNESS: It's not a stratified 02:36       15   McDuffie paper?                         02:37
16      analysis. It's what we would call an               16      A. It's the McDuffie paper.
17      interaction model testing.                         17      Q. Look at Table 2.
18   BY MR. LASKER:                                        18          MS. FORGIE: You can look at
19      Q. In that interaction model testing               19      whatever you want.
20   when, and I think you report this, you note 02:36     20   BY MR. LASKER:                             02:38
21   this in your expert report, when Hohenadel            21      Q. You'll see the numbers that you
22   looked at the McDuffie data and looked at             22   cite in your expert report on Table 2 for
23   exposures -- farmers who were exposed to              23   dicamba and dicamba individual. Do you see
24   glyphosate alone without co-exposure to               24   those?
25   malathion, they found or they reported an     02:36   25      A. Yes.                         02:38


                                          Page 252                                                     Page 253
 1      Q. So in your report when you are                   1      Q. -- model, second model for
 2   stating that there was an elevated odds                2   Mecoprop?
 3   ratio for dicamba exposure mixed with                  3      A. Yeah, but it's an effect estimate
 4   glyphosate exposure, that is relying upon              4   of 1.26 and 1.32, and it's only
 5   that footnote G in Table 2; correct?          02:38    5   statistically significant after the        02:39
 6      A. Correct. That's what it was.                     6   adjustment.
 7      Q. And footnote G states that the odds              7      Q. Okay. And then for Mecoprop there
 8   ratio that you cite for mixed exposure for             8   is a 2.23 or 2.33 odds ratio --
 9   dicamba and glyphosate also involves mixed             9      A. Correct.
10   exposures to dicamba and 2,4-D and Mecoprop; 02:39    10      Q. -- statistically significant to      02:39
11   correct?                                              11   both measure and for dicamba even in the
12      A. That's what it says in the                      12   dicamba alone for their more highly adjusted
13   footnote.                                             13   odds ratio it's 1.68 marginally
14      Q. And unlike for glyphosate, McDuffie             14   statistically significant; correct?
15   reported statistically significant increased 02:39    15      A. Yes.                           02:40
16   risks of non-Hodgkin's lymphoma separately            16      Q. And you cannot tell from this data
17   associated with exposures to each of the              17   when you're looking at the mixed exposures
18   three pesticides 2,4-D, dicamba, and                  18   for dicamba when they're mixed for 2,4-D
19   Mecoprop; correct?                                    19   Mecoprop and glyphosate, you cannot
20      A. That's in table --                02:39         20   attribute the difference between dicamba         02:40
21      Q. It's actually in Table 2. They                  21   alone and this dicamba mixture to
22   have separate odds ratios reported for 2,4-D          22   glyphosate, can you?
23   that is statistically significant in                  23          MS. FORGIE: Object to the form.
24   their --                                              24          THE WITNESS: You can never do that
25      A. Yes.                           02:39            25      in an individual anyhow. When you're          02:40



                                                                                                                  64
                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 66 of 806

                                             Page 254                                                     Page 255
 1      doing these kind of analyses, you have                 1      saying. I'm saying there is dicamba
 2      mixed exposures. If a person is exposed                2      that is of the kind Banvel and Target
 3      to two compounds, then it can be either                3      which includes glyphosate and then
 4      one compound or the other or both                      4      there's dicamba overall. So one is a
 5      together that are responsible for the     02:40        5      subgroup of the other. And you can        02:41
 6      event.                                                 6      actually see that when you're looking at
 7   BY MR. LASKER:                                            7      the number of exposed cases and exposed
 8      Q. But in this case, it's not one or                   8      controls. Dicamba is the
 9   the other or two. There's actually four                   9      all-encompassing over label and then
10   different chemicals when you're stating that 02:41       10      they're breaking it down with and        02:42
11   there was in your expert report -- and let's             11      without glyphosate, et cetera, mixtures.
12   go back to your expert report. You state                 12   BY MR. LASKER:
13   that McDuffie reported that when glyphosate              13      Q. The et cetera is the important
14   exposure was mixed with dicamba, the risk                14   point, but let me make sure I understand.
15   was increased.                         02:41             15   Is it your testimony that or Banvel or      02:42
16          Do you see that?                                  16   Target is a mixed exposure with glyphosate?
17      A. Yes.                                               17          MS. FORGIE: Objection. Object to
18      Q. And, in fact, what McDuffie was                    18      the form and mischaracterizes her
19   reporting is that when dicamba exposure also             19      testimony.
20   included mixed exposures to glyphosate,          02:41   20          THE WITNESS: So it says in the        02:42
21   2,4-D and Mecoprop, there was an increase as             21      footnote, "dicamba is a major chemical
22   compared to the dicamba alone; correct?                  22      class, includes Banvel and Target and a
23          MS. FORGIE: Object to the form.                   23      mixture of dicamba glyphosate, Rustler,
24      Mischaracterizes.                                     24      or a mixture of dicamba 2,4-D and
25          THE WITNESS: That's not what I'm          02:41   25      Mecoprop.                         02:42

                                             Page 256                                                     Page 257
 1   BY MR. LASKER:                                            1      1.88, and the dicamba, Banvel and Target
 2     Q. And then Dynel, Killex; correct?                     2      is 1.68.
 3         MS. FORGIE: Object to the form.                     3   BY MR. LASKER:
 4         THE WITNESS: Dynel DS, and Killex.                  4      Q. And the difference -- in your
 5   BY MR. LASKER:                             02:42          5   expert report you state that the difference     02:43
 6     Q. So the mixed exposure would be in                    6   going up to that higher number is because
 7   Rustler for dicamba and glyphosate; correct?              7   there was including mixtures with
 8     A. There are several mixtures.                          8   glyphosate, but that higher number actually
 9   There's the mixture of dicamba and                        9   also reflects exposures to 2,4-D and
10   glyphosate in Rustler and then there's the     02:42     10   Mecoprop; correct?                        02:43
11   mixture of dicamba with 2,4-D and Mecoprop.              11          MS. FORGIE: Objection. Object to
12     Q. So for the 1.68 odds ratio, that's                  12      the form and asked and answered.
13   dicamba alone; correct?                                  13          You can answer it again.
14     A. That's the overall dicamba. That's                  14          THE WITNESS: I'm not sure that I
15   not dicamba alone. That's not -- that's      02:43       15      understand what you're trying to get at. 02:43
16   dicamba with everything.                                 16      In this table, dicamba exposure was the
17     Q. And your understanding is dicamba                   17      footnote G is the overall
18   with everything is 1.68 and dicamba alone is             18      encompassing -- all-encompassing
19   the 1.88?                                                19      exposure. The individual dicamba
20     A. No.                          02:43                  20      herbicide Banvel or Target is the one       02:44
21         MS. FORGIE: Object to the form.                    21      that's reported below. The number of
22         THE WITNESS: It's the opposite.                    22      cases is lower, and the number of
23         MS. FORGIE: Okay. That's what I                    23      controls is lower, but, in essence, the
24     thought.                                               24      number of 26 and 50s included in the
25         THE WITNESS: Dicamba overall is            02:43   25      larger category above which is 73 and        02:44



                                                                                                                     65
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 67 of 806

                                              Page 258                                                      Page 259
 1      131.                                                    1   BY MR. LASKER:
 2   BY MR. LASKER:                                             2      Q. So the odds ratio of 1.92 that you
 3      Q. My question is very simple. In                       3   cite in your expert report as glyphosate
 4   your expert report, you state that the odds                4   exposure mixed with dicamba is the odds
 5   ratio of 1.92 was an odds ratio of          02:44          5   ratio that McDuffie reports for dicamba and 02:45
 6   glyphosate exposure mixed with dicamba. And                6   dicamba mixtures including glyphosate 2,4-D
 7   am I correct in my reading of this table                   7   and Mecoprop; correct?
 8   that that 1.92 odd ratio is, in fact,                      8          MS. FERGIE: Objection. Object to
 9   dicamba with mixtures that include                         9      the form. Also asked and answered.
10   glyphosate but also Mecoprop and 2,4-D?           02:44   10          You can answer it again.           02:45
11         MS. FORGIE: Objection. Object to                    11          THE WITNESS: Dicamba here is a
12      the form and also asked and answered.                  12      super category for several mixtures, and
13         You can answer it again.                            13      it's stated under footnote G. And we
14         THE WITNESS: The larger group                       14      can see that that's the case because
15      encompasses everything including           02:44       15      there are more NHL cases and more             02:45
16      glyphosate.                                            16      controls in that category than in the
17   BY MR. LASKER:                                            17      category below.
18      Q. And Mecoprop and 2,4-D; correct?                    18          MR. LASKER: I'm going to mark this
19      A. It's the largest group.                             19      answer as well.
20      Q. Yes. And you have to answer the          02:45      20   BY MR. LASKER:                              02:45
21   question or there's no answer on the record.              21      Q. I'm going to ask the question again
22      A. Yes. It's the larger group.                         22   because I think it's a simple question, but
23         MS. FORGIE: Wait, wait. So get a                    23   I'm not getting an answer?
24      format back that's question and answer                 24          MS. FORGIE: I'm objecting to that
25      so I can get my objections in.          02:45          25      commentary. You're badgering the             02:46


                                              Page 260                                                      Page 261
 1      witness when you do that.                               1   glyphosate under heading G in this footnote.
 2          MR. LASKER: You can object as much                  2     Q. The mixture also includes which you
 3      as you want.                                            3   don't mention in your report 2,4-D and
 4          MS. FORGIE: I will.                                 4   Mecoprop; correct?
 5   BY MR. LASKER:                             02:46           5         MS. FORGIE: Objection. Asked and 02:46
 6      Q. The odds ratio of 1.92 that you                      6     answered. Object to the form.
 7   report in your expert report as the odds                   7         You can answer again.
 8   ratio for glyphosate mixed with dicamba is                 8         THE WITNESS: It is a mixture
 9   as reported, in fact, in the study McDuffie                9     exposure. Some people were exposed to a
10   an odds ratio for dicamba and dicamba          02:46      10     mixture of dicamba and glyphosate.         02:47
11   mixtures with glyphosate but also with 2,4-D              11     Others might have been exposed to a
12   and Mecoprop; correct?                                    12     mixture of dicamba with something else,
13          MS. FORGIE: Objection. And I                       13     but it says the major chemical classes
14      object to the form. And I object to the                14     included Banvel and Target, and it
15      fact this is the eighth time you've     02:46          15     refers to these two as major and being a 02:47
16      asked her. You're badgering this                       16     mixture of dicamba and glyphosate.
17      witness. It's not fair.                                17   BY MR. LASKER:
18          You can answer again.                              18     Q. Banvel and Target do not have
19          THE WITNESS: The reason why I'm                    19   glyphosate in them, do they?
20      referring to this is because this is a  02:46          20         MS. FORGIE: Objection. Asked and 02:47
21      mixture exposure, and that's very                      21     answered.
22      clearly stated in my report.                           22         You can answer it again.
23   BY MR. LASKER:                                            23         THE WITNESS: The way it states it
24      Q. Your report --                                      24     dicamba is a major chemical class,
25      A. The mixture includes dicamba and         02:46      25     includes Banvel and Target and a mixture 02:47



                                                                                                                       66
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 68 of 806

                                           Page 262                                                     Page 263
 1      of dicamba and glyphosate. That's what               1   Table 8, I believe, of exposures based upon
 2      I said.                                              2   days, less than two days or more than two
 3   BY MR. LASKER:                                          3   days for purposes for glyphosate; correct?
 4      Q. So is it your understanding and the               4      A. Yes.
 5   basis of your expert report that Banvel and 02:47       5      Q. You do not cite to this analysis,      02:48
 6   Target include glyphosate?                              6   unless I missed it, anywhere in your expert
 7          MS. FORGIE: Objection. Object to                 7   report; correct?
 8      the form. Asked and answered. You're                 8      A. I think I'm referring to it in my
 9      badgering the witness. This is                       9   Bradford Hill analyses. Yes. However, the
10      completely unfair.                   02:47          10   effect as to --                      02:49
11          I'll let you answer it again.                   11      Q. Can you show me where you are?
12          THE WITNESS: What I said is that                12      A. Yes. Page 23. Bradford Hill
13      dicamba is a major chemical class and               13   evaluations.
14      what they refer to here is that dicamba             14         However, the effect estimates for
15      wasn't dicamba alone, but it was under      02:47   15   longer or more extensive use in several         02:49
16      this rubric of dicamba G exposed. They              16   studies were larger between two and three,
17      subsumed multiple agents that were mixed            17   and that includes this estimate.
18      with dicamba.                                       18      Q. So if you were referring to this at
19   BY MR. LASKER:                                         19   page 23, you would need to refer to the
20      Q. McDuffie provides an analysis in        02:48    20   McDuffie paper?                          02:49
21   her expert report. I'm not sure that fully             21      A. Yes.
22   answered on the last question but I'm going            22      Q. You do not in your discussion of
23   to move on so I can get through this                   23   the McDuffie paper --
24   deposition for now at least.                           24      A. Point that out.
25          McDuffie provides an analysis on       02:48    25      Q. Point that out; correct?            02:49

                                           Page 264                                                     Page 265
 1      A. I guess I didn't.                                 1   get the same kind of effect estimate.
 2         MS. FORGIE: When you get to a good                2      Q. I'm not sure I got the answer to my
 3      breaking point, let's take a short                   3   question, though.
 4      break, please.                                       4         In your opinion, does the analysis
 5         MR. LASKER: Okay. Let's just get 02:50            5   that McDuffie provides in Table 8 of less      02:51
 6      through this.                                        6   than or equal to two days' exposure versus
 7         MS. FORGIE: That's fine.                          7   greater than two days, in your opinion, does
 8   BY MR. LASKER:                                          8   that provide evidence of a dose response for
 9      Q. In your opinion, does this analysis               9   glyphosate?
10   on Table 8 of less than or equal to two days 02:50     10         MS. FORGIE: Objection. Object to         02:51
11   versus greater than two days provide                   11      the form. Also asked and answered. She
12   evidence of a dose response for glyphosate?            12      just answered that.
13      A. This is not supposed to give a dose              13         You can answer it again.
14   response. This is an analysis where you're             14         THE WITNESS: The intent of this
15   trying to separate out people who are       02:50      15      analysis is not dose response. The       02:51
16   completely unexposed to this agent and                 16      intent of this analysis is to
17   people who had minimal exposure versus                 17      distinguish between types of people who
18   reasonable exposure two days per year. And             18      use and did not use glyphosate.
19   in doing so, you can actually see that                 19   BY MR. LASKER:
20   there's very little confounding due to any   02:50     20      Q. And do I understand correctly then      02:51
21   other variable because for minimal exposure            21   that you do not interpret the data reported
22   the effect estimate is 1. So even if I                 22   in this table as providing evidence of a
23   would compare as done in De Roos, the people           23   dose response?
24   with more than two days of exposure to the             24         MS. FORGIE: Objection. Asked and
25   people of less than two days, I would still 02:51      25      answered.                         02:51



                                                                                                                   67
                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 69 of 806

                                            Page 266                                                      Page 267
 1         You can answer it again.                           1   is a dose effect.
 2         THE WITNESS: I see this as an                      2   BY MR. LASKER:
 3      indicator that a better exposure                      3      Q. And so I get your opinions because
 4      assessment that defines glyphosate use                4   that what we're here for. In your opinion,
 5      not as ever/never which is the worst or 02:51         5   does the data presented on Table 8 for         02:52
 6      the most simple category you can get but              6   glyphosate provide evidence of a dose
 7      as a reasonable amount, more than two                 7   response for glyphosate and non-Hodgkin's
 8      days per year, we don't know how many                 8   lymphoma?
 9      days those are, but that that category                9          MS. FERGIE: Objection. Asked and
10      provides you with some indication that   02:52       10      answered. This is the fifth time.        02:53
11      there is an effect.                                  11          You can answer it again.
12   BY MR. LASKER:                                          12      A. So, again, this is not a formal
13      Q. So I think I understand you, but I                13   dose response analysis, but it is a very
14   just want to make sure that I'm clear. Am I             14   clever analysis and one that I really enjoy
15   correct then in my understanding that you do 02:52      15   looking at because, first of all, they are   02:53
16   not interpret the data on Table 8 in                    16   splitting up people who don't use glyphosate
17   McDuffie as presenting evidence of a dose               17   and then the group of people who do use it
18   response glyphosate and non-Hodgkin's                   18   and the casual users, whether -- versus the
19   lymphoma?                                               19   more frequent or more intense users, and in
20         MS. FERGIE: Objection. Object to 02:52            20   that sense, you can say that at the higher     02:53
21      the form. Also asked and answered.                   21   doses there is actually an effect.
22         You can answer it again.                          22   BY MR. LASKER:
23      A. There's no formal analysis of a                   23      Q. Okay. I'm still trying to get an
24   dose response. However, the more than two               24   answer to this question because I don't
25   days per year category suggests that there  02:52       25   think I have it.                      02:53

                                            Page 268                                                      Page 269
 1          In your opinion, does the data                    1          THE WITNESS: I have criteria for
 2   presented in Table 8 in the McDuffie paper               2      those response. You may have your own.
 3   provide evidence of a dose response for                  3      In this case, there is a high use of
 4   glyphosate and non-Hodgkin's lymphoma?                   4      glyphosate associated clearly with an
 5          MS. FORGIE: Objection. I object          02:53    5      odds ratio of 2.12 with NHL.             02:54
 6      to the form, and especially I object to               6   BY MR. LASKER:
 7      the fact that she's answered this five                7      Q. Does this Table 8 in the McDuffie
 8      or six times now. Again, you're                       8   meet your criteria to be interpreted as
 9      badgering the witness just because you                9   providing evidence of a dose response for
10      don't like the answer.                02:54          10   the glyphosate in non-Hodgkin's lymphoma?         02:55
11          You can answer it again.                         11          MS. FORGIE: Objection. Asked and
12          THE WITNESS: Okay. So clever                     12      answered.
13      analysis, splitting up unexposed and                 13          THE WITNESS: This results provides
14      exposed, selecting out people who are                14      evidence that with intensity and
15      maybe occasional users, looking at those 02:54       15      frequency, whatever this means, two days 02:55
16      who have probably regular intense use.               16      per year, there is indeed an effect for
17      Among those with regular and intense                 17      glyphosate compared to people who are
18      use, we see an effect for glyphosate.                18      using either none or using occasionally
19   BY MR. LASKER:                                          19      less than two times a year.
20      Q. That wasn't my question. My              02:54    20          MR. LASKER: I'm going to mark this 02:55
21   question is: Does this data in Table 8 from             21      answer, and again, I'm going to ask the
22   McDuffie, in your opinion, present evidence             22      question again because I still don't get
23   of a dose response for glyphosate?                      23      answers to my questions.
24          MS. FORGIE: Objection. Asked and                 24   BY MR. LASKER:
25      answered.                          02:54             25      Q. Based upon your criteria, whatever 02:55



                                                                                                                     68
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 70 of 806

                                              Page 270                                                         Page 271
 1   criteria you use in your professional work,                 1   BY MR. LASKER:
 2   does the data presented in Table 8 in the                   2      Q. Dr. Ritz, we were talking about
 3   McDuffie paper provide evidence of a dose                   3   Table 8 in the McDuffie paper, and I'm
 4   response effect for glyphosate in                           4   correct, am I not, that the McDuffie paper
 5   non-Hodgkin's lymphoma?                      02:55          5   does not provide any analysis of the         03:13
 6          MS. FORGIE: Objection. This is,                      6   intensity of the exposures to glyphosate in
 7      like, the eighth time you've asked the                   7   this population; correct?
 8      same exact question, and she's answered                  8          MS. FORGIE: Object to form.
 9      it seven or eight times. This is really                  9          THE WITNESS: That is incorrect.
10      badgering the witness. I'm going to let 02:55           10      They are actually distinguishing between 03:14
11      her answer it one more time.                            11      irregular and regular users, and in the
12          THE WITNESS: I just repeat myself.                  12      category of regular users, they see an
13      We are distinguishing unexposed people                  13      increased risk.
14      from irregular users, minimal users, and                14   BY MR. LASKER:
15      regular users. In the regular use       02:56           15      Q. So regular users is greater than      03:14
16      group, we see an effect.                                16   two days per year; correct?
17          MR. LASKER: Okay. Mark that                         17      A. Yes.
18      answer.                                                 18      Q. So if somebody were to use
19          Let's take a break.                                 19   glyphosate for a half-hour in the spring in
20          THE VIDEOGRAPHER: We are off the            02:56   20   the driveway and then a half-hour in the       03:14
21      record at 2:56 p.m.                                     21   fall and another half-hour in the summer,
22          (Recess taken from 2:56 p.m. to                     22   that would be three times a year, and they
23          3:13 p.m.)                                          23   would be greater than two days a year;
24          THE VIDEOGRAPHER: We are back on                    24   correct?
25      the record at 3:13 p.m.               03:13             25      A. I don't venture to say that because 03:14


                                              Page 272                                                         Page 273
 1    they're measuring here in days, and when I                 1          You can answer it again.
 2    do my pesticide studies, we actually ask how               2          THE WITNESS: These investigators
 3    many hours per day, and then we average                    3       asked people to report occupational
 4    across to come to eight-hour workday and add               4       exposures, and when you ask about
 5    all of that up. How they exactly did that     03:14        5       occupational exposures, you usually        03:15
 6    is not described here, but that's how we                   6       refer to a workday. So I would
 7    would do it.                                               7       interpret this as two workdays per year.
 8       Q. Okay. But you don't know how the                     8   BY MR. LASKER:
 9    investigators in this study calculated day                 9       Q. Okay. So your interpretation --
10    of exposure; correct?                   03:15             10   it's not set forth in the study, but your    03:15
11           MS. FORGIE: Objection. Asked and                   11   interpretation of this table is that greater
12       answered.                                              12   than two days means a full two-day -- each
13           THE WITNESS: These investigators                   13   day would be a full workday of exposure?
14       give you a more than two day per year                  14          MS. FORGIE: Objection. Asked and
15       category, and I imagine they did this in 03:15         15       answered. Also mischaracterizes her        03:16
16       order to distinguish between irregular                 16       testimony.
17       users who they classify as more than                   17          THE WITNESS: I, as a pesticide
18       zero and less than two days.                           18       exposure assessment epidemiologist,
19    BY MR. LASKER:                                            19       would specifically ask people to report
20       Q. My question, though, is these         03:15         20       how many hours, how many days, how many          03:16
21    investigators do not indicate and you don't               21       weeks, how many years they would be
22    have any information as to how they                       22       having used these specific agents and
23    determine a day of exposure; correct?                     23       then categorize it according to the days
24           MS. FORGIE: Objection. Asked and                   24       or hours or years.
25       answered.                         03:15                25   ///




                                                                                                                           69
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 71 of 806

                                            Page 274                                                    Page 275
 1   BY MR. LASKER:                                           1      again.
 2      Q. I understand what you would do.                    2         MS. FORGIE: Yes, it is.
 3   That's not my question. I'm trying to find               3   BY MR. LASKER:
 4   out what McDuffie and her group did.                     4      Q. McDuffie and her investigators in
 5         They do not state in their paper -- 03:16          5   this published paper never state that they   03:17
 6   they do not define a day as being an                     6   defined a day of exposure as a full workday
 7   eight-hour exposure day, do they?                        7   of exposure; correct?
 8         MR. FORGIE: Objection. Asked and                   8         MS. FORGIE: Objection. Asked and
 9      answered.                                             9      answered. You're badgering the witness.
10         THE WITNESS: I have to check.           03:16     10      She's already told you how she          03:17
11      They actually asked extensive questions              11      interprets it.
12      including histories, pesticide spill,                12         You can answer it again.
13      protective equipment, et cetera. So                  13         THE WITNESS: Yes, actually they're
14      given that they asked all this, and they             14      saying on page 1157, "We created dose
15      were after workplace exposures, I would 03:17        15      response levels based on days per year     03:17
16      interpret this as two workdays.                      16      of personally mixing or applying
17   BY MR. LASKER:                                          17      selected herbicides, insecticide,
18      Q. McDuffie does not, anywhere in this               18      fungicides, and fumigants."
19   paper, state that they define a day as a                19         So days per year of personally
20   workday of exposure, do they?               03:17       20      mixing or applying, that's workplace      03:18
21         MS. FORGIE: Objection. Asked and                  21      types of exposures.
22      answered. She just testified as to                   22   BY MR. LASKER:
23      exactly how she interprets that meaning.             23      Q. I understand, but they don't state
24         MR. LASKER: Okay. That's not the                  24   a minimum time period in a day for it to be
25      question I asked. I'll ask the question 03:17        25   quantified as a day of exposure; correct?     03:18

                                            Page 276                                                    Page 277
 1         MS. FORGIE: Objection. Asked and                   1   the Canadian case control study that was
 2     answered. She's told you exactly two or                2   analyzed by McDuffie; correct?
 3     three times how she interprets that.                   3      A. Can I have the exhibit?
 4         You can answer it again.                           4      Q. Sure.
 5         THE WITNESS: I think I answered          03:18     5      A. Thank you.                       03:19
 6     it.                                                    6      Q. This is 19-16.
 7         MS. FORGIE: You can answer it                      7         (Exhibit Number 19-16 was
 8     again.                                                 8         marked for identification.)
 9         THE WITNESS: So they are trying to                 9         THE WITNESS: It's called the North
10     distinguish between regular users and      03:18      10      American Pooled Project. On page 5, we 03:19
11     occupational regular users who are                    11      see that it is encompassing those
12     mixing and applying pesticides and                    12      states, yes.
13     people who might be for one day in their              13   BY MR. LASKER:
14     life applying glyphosate.                             14      Q. And this is the analysis at that
15   BY MR. LASKER:                            03:18         15   2015 ISEE conference that you cite to in      03:19
16     Q. Dr. Ritz, let's talk about the                     16   your expert report; correct?
17   North American pooled project analysis by               17      A. Yes.
18   Pahwa in 2015.                                          18      Q. When did you -- you provided this
19         MS. FORGIE: Are we putting this                   19   slide deck or at least it was provided to us
20     away?                            03:18                20   as an additional material considered after   03:20
21         MR. LASKER: For now, yeah.                        21   your rebuttal expert report.
22   BY MR. LASKER:                                          22         When did you first see this slide
23     Q. And this is analysis which was a                   23   deck?
24   pooled analysis of the case control studies             24      A. I saw it after the deposition of
25   that were pooled in De Roos 2003 and also       03:19   25   Dr. Blair, and there was reference to this.  03:20



                                                                                                                  70
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 72 of 806

                                               Page 278                                                     Page 279
 1      Q. Did you -- had you seen this slide                    1      A. Correct.
 2   deck prior to the time you prepared your                    2      Q. And they have two analyses that
 3   initial expert report in this case?                         3   they present in this table. Their odds
 4      A. No.                                                   4   ratio A which is adjusted for age, sex,
 5      Q. Okay. And I take it you saw it        03:20           5   state, province, emphatic or hematopoietic      03:21
 6   then sometime before you reviewed the                       6   cancer in a first-degree relative, use of a
 7   rebuttal -- I'm sorry, before you prepared                  7   proxy respondent, and use of personal
 8   your rebuttal exert report, your second                     8   protective equipment; correct?
 9   expert report?                                              9      A. Yes.
10      A. Yes.                          03:20                  10      Q. And then odds ratio B would adjust 03:22
11      Q. Have you read Dr. Neugut's                           11   for those factors just listed and also
12   deposition?                                                12   adjusts for 2,4-D, dicamba and malathion;
13      A. Yes.                                                 13   correct?
14      Q. Did you see this slide deck before                   14      A. Correct.
15   you read Dr. Neugut's deposition or after?     03:20       15      Q. For the ever/never analysis of the     03:22
16      A. I wouldn't be able to tell.                          16   pooled data from the U.S.-based and
17      Q. So may have been before or may have                  17   Canadian-based case control studies, when
18   been after, you're not sure?                               18   adjusted for the use of 2,4-D, dicamba and
19      A. I don't know.                                        19   malathion, they report an odds ratio of 1.13
20      Q. If I can refer you to page 10 of     03:21           20   with a confidence interval of 0.84 to 1.51; 03:22
21   this presentation, the NAPP presentation,                  21   correct?
22   they provide data or odd ratios for their                  22      A. Yes.
23   ever/never analysis both overall for the                   23      Q. And for their various subtypes of
24   glyphosate and non-Hodgkin's lymphoma and                  24   non-Hodgkin's lymphoma, in their adjusted
25   also for various subtypes of NHL; correct?      03:21      25   model adjusting for the use of 2,4-D,        03:22


                                               Page 280                                                     Page 281
 1   dicamba, and malathion, they report varying                 1          MS. FORGIE: Objection. I object
 2   odds ratios, one of which is below 1, three                 2      to the form.
 3   of which are above 1, but all of which are                  3          MR. LASKER: That's fine.
 4   not statistically significant; correct?                     4          THE WITNESS: That's an odds ratio
 5      A. Well, I wouldn't evaluate this          03:23         5      that's lower than 1.6 and the confidence 03:24
 6   according to statistical significance                       6      interval includes the 1.
 7   especially in a subgroup analysis where I'm                 7   BY MR. LASKER:
 8   splitting the data in this way. The way I                   8      Q. Okay. So when they adjusted for
 9   would evaluate it is whether there's                        9   the use of 2,4-D, dicamba, and Malathion,
10   considerable change in effect estimates and        03:23   10   their odds ratio for diffuse large B cell   03:24
11   width of the confidence interval.                          11   lymphoma went down and was no longer
12      Q. Okay. So follicular lymphoma for                     12   statistically significant; correct?
13   their odds ratio that's adjusted for the use               13          MS. FORGIE: Objection. Object to
14   of 2,4-D, dicamba, and malathion, they find                14      the form.
15   an odds ratio of 0.69; correct?              03:23         15          THE WITNESS: It fluctuated. It        03:24
16      A. That's what they state, yes.                         16      went from 1.6 to 1.23, but the
17      Q. And that was a reduction in the                      17      confidence interval basically
18   odds ratio when they adjusted for these                    18      overlapping.
19   exposures to other pesticides; correct?                    19   BY MR. LASKER:
20      A. Correct.                        03:23                20      Q. And for the odds ratio with          03:24
21      Q. For diffuse large B cell lymphoma                    21   adjustment for 2,4-D, dicamba, and
22   when they adjusted for 2,4-D, dicamba, and                 22   Malathion, the confidence interval went from
23   malathion, they report an odds ratio of                    23   .81 to 1.88 including a null hypothesis of
24   1.23. That's not statistically significant;                24   1.0; correct?
25   correct?                             03:24                 25      A. Including the null value in a        03:24



                                                                                                                       71
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 73 of 806

                                             Page 282                                                        Page 283
 1   formal statistical test.                                   1      before, the confidence intervals widen
 2      Q. And SLL, I knew I was going to get                   2      when you add other variables into the
 3   to this one. What does SLL stand for?                      3      model, and it does include null to null
 4      A. Small lymphocytic lymphoma.                          4      value.
 5      Q. For that odds ratio there is not a    03:25          5   BY MR. LASKER:                               03:26
 6   meaningful change when they adjusted for                   6      Q. And in your original expert report
 7   exposures to other pesticides; correct?                    7   before you had seen this data, you had
 8          MS. FORGIE: Objection. Object to                    8   discussed the fact that the Pahwa NAPP data
 9      the form.                                               9   should be considered in conducting any
10          THE WITNESS: It almost -- it          03:25        10   meta-analysis of the website data; correct? 03:26
11      basically stays the same. The                          11         MS. FORGIE: Object to the form.
12      confidence interval widens as one would                12         THE WITNESS: Where is that stated?
13      expect when you put additional variables               13   BY MR. LASKER:
14      in a model.                                            14      Q. That is on page 16, 15 and 16,
15   BY MR. LASKER:                             03:25          15   where you're talking about the NAPP data.          03:26
16      Q. And then for the other category you                 16   And, first of all, just to be clear, in your
17   have an odds ratio that drops from 1.66 to                17   expert report for the NAPP data you are
18   1.51 with adjustments for 2,4-D, dicamba,                 18   reporting data that is not adjusted for
19   and Malathion, and that adjusted odds ratio               19   exposures to 2,4-D, dicamba, and Malathion;
20   is 0.87 to 2.6 which includes the null value 03:25        20   correct?                              03:27
21   of 1.0; correct?                                          21      A. I have to go to the abstract to
22          MS. FORGIE: Object to the form.                    22   confirm that.
23          THE WITNESS: Well, the odds ratio                  23         So what's the question?
24      changes from 1.66 to 1.51 which is                     24      Q. In your expert report before you
25      almost the same. And as I stated         03:26         25   had seen the data adjusted for exposures to 03:27


                                             Page 284                                                        Page 285
 1   2,4-D, dicamba, and Malathion, you had                     1   adjusted for exposures to other pesticides;
 2   suggested that the NAPP data had not been                  2   correct?
 3   included in the meta-analysis that had been                3      A. I think they did, but can you show
 4   performed for glyphosate and non-Hodgkin's                 4   me where that's stated.
 5   lymphoma; correct?                       03:27             5      Q. In your expert report actually at     03:29
 6      A. That is correct. They have not                       6   page 16. We went through that earlier.
 7   been included anywhere, and that's what this               7      A. Okay.
 8   sentence says.                                             8      Q. Correct?
 9      Q. And under the methodology that both                  9      A. Yes.
10   Chang and Delzell used and that the IARC          03:28   10      Q. If we were to conclude the NAPP          03:29
11   scientists used in conducting their                       11   data into the meta-analysis using the
12   meta-analyses, when there was a subsequent                12   methodology that was used by Chang and
13   pooled analysis of case control data, they                13   Delzell and using the methodology that was
14   included that subsequent study, and they                  14   used by IARC, we would use the odds ratio
15   removed the earlier studies from their        03:28       15   for the NAPP of 1.13; correct?              03:29
16   meta-analysis; correct?                                   16          MS. FORGIE: Object to the form.
17         MS. FORGIE: Object to the form.                     17          THE WITNESS: No. This is not a
18         THE WITNESS: That would usually be                  18      valid model in my mind because you have
19      how you do it.                                         19      to show me that 2,4-D, dicamba, and
20   BY MR. LASKER:                             03:28          20      Malathion are actually related to        03:29
21      Q. And in both the Chang and Delzell                   21      glyphosate use and also are independent
22   meta-analysis and the analysis that IARC did              22      risk factor for NHL. So if you're
23   with its working group for their                          23      telling me dicamba is an independent
24   meta-analysis, they used the odds ratios                  24      risk factor for NHL, then yes. Also it
25   that were -- where they had them that were       03:28    25      should be removed.                   03:30



                                                                                                                         72
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 74 of 806

                                             Page 286                                                     Page 287
 1          Also I would not accept this model                 1   BY MR. LASKER:
 2       because we would not want to adjust for               2      Q. In their methodology the both for
 3       the use of proxy respondents or personal              3   the IARC meta-analysis and for the NAPP,
 4       protective equipment because those two                4   they used the data point presented in each
 5       variables are indicators for exposure    03:30        5   of the studies that were available for     03:31
 6       mismeasurement. You cannot adjust a                   6   glyphosate and non-Hodgkin's lymphoma;
 7       model for exposure mismeasurement.                    7   correct?
 8       These are confounded and shouldn't be in              8      A. That's how you conduct
 9       the models.                                           9   meta-analysis.
10   BY MR. LASKER:                             03:30         10      Q. They did not exclude any of the       03:31
11       Q. I understand, and I'm going to get                11   analyses; correct?
12   to your opinions about the NAPP and how they             12          MS. FORGIE: Object to the form.
13   did their analysis. The IARC in conducting               13          THE WITNESS: They did not exclude
14   its meta-analysis did not reach any                      14      one of the studies.
15   conclusions with respect to the individual     03:30     15   BY MR. LASKER:                            03:31
16   studies as to whether or not they found                  16      Q. And they did not -- so for their
17   those studies to be internally valid;                    17   purposes -- and I understand you will have
18   correct? They just used the data that was                18   your own interpretation how you do a
19   presented?                                               19   meta-analysis when we talk about that in a
20       A. I don't --                    03:30               20   moment, but following their methodology, if     03:31
21          MS. FORGIE: Object to the form.                   21   this study was available to them, they would
22          THE WITNESS: I don't believe that                 22   use as they did with every other study what
23       IARC would use estimates that they don't             23   was reported as the most adjusted odds ratio
24       believe are valid. I wouldn't.                       24   which in this case was reported as 1.13;
25   ///                                                      25   correct?                           03:31


                                             Page 288                                                     Page 289
 1          MS. FORGIE: Object to the form.                    1   correct?
 2          THE WITNESS: I don't want to                       2         MS. FORGIE: Object to the form.
 3      venture into what people would be doing                3      Mischaracterizes.
 4      if. I would not recommend to use this                  4         THE WITNESS: When we are
 5      preliminary data that has obvious         03:32        5      scientists to present results, we       03:32
 6      problems to replace studies that have                  6      sometime like to present results that
 7      been published and peer-reviewed.                      7      are provocative and also have
 8   BY MR. LASKER:                                            8      discussions. So I would consider this
 9      Q. I'm sorry. This is the data except                  9      one of those slides where we can then
10   for the fact that we now have adjusted odds      03:32   10      discuss how to run the analysis one way      03:33
11   ratios which you had not seen when you                   11      or another.
12   prepared your expert report. This is the                 12         These kind of discussions often
13   same NAPP analysis that you had put forth as             13      feed into final analyses that are
14   a basis for your expert opinion; correct?                14      published in the literature because the
15          MS. FORGIE: Objection.               03:32        15      authors then are aware of criticism from 03:33
16      Mischaracterizes her report.                          16      the scientific community. That's the
17          THE WITNESS: I have not used these                17      whole reason to present these.
18      slides. I have used an abstract.                      18   BY MR. LASKER:
19   BY MR. LASKER:                                           19      Q. I'm just a little confused now
20      Q. But it was an abstract that         03:32          20   because prior to seeing this data adjusted     03:33
21   resulted in the presentation at the exact                21   for the pesticides, you were opining, and
22   same conference where the abstract was                   22   you had earlier in this deposition I
23   presented, and this is -- the exhibit we                 23   thought, that the NAPP data presented at
24   have, 19-16, is a presentation that went                 24   Brazil at that ISEE conference should be
25                                                            25   considered as part of the analysis of the     03:33
     along with that abstract at that conference; 03:32



                                                                                                                     73
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 75 of 806

                                           Page 290                                                    Page 291
 1   epidemiologic literature, didn't you?                   1      is informed. That's what this table is
 2      A. The abstract I saw, yes. But I'm                  2      all about, and had I been there, I would
 3   not referring to this table.                            3      have made comments about this kind of
 4      Q. Okay. So while you believe that                   4      table.
 5   the NAPP data that was prepared and            03:33    5   BY MR. LASKER:                              03:35
 6   presented in a one-paragraph abstract for               6      Q. I just want to be clear now if I
 7   this presentation should be considered, you             7   understand your position. Is it your
 8   do not believe that it would be appropriate             8   position, then, that the NAPP data is too
 9   to consider the full data that was actually             9   preliminary to be considered as part of an
10   presented at that conference because it is    03:34    10   expert analysis, or is it your opinion that   03:35
11   preliminary; is that correct?                          11   the NAPP data in the abstract that came out
12         MS. FORGIE: Object to the form.                  12   before this conference should be considered
13         THE WITNESS: So any data that we                 13   but that the data presented at the
14      are presenting and not putting into a               14   conference should not?
15      paper version is preliminary including     03:34    15          MS. FORGIE: Objection.                03:35
16      the abstract that went to this                      16      Mischaracterizes her testimony.
17      conference. The only reason why I like              17          THE WITNESS: It's all the same
18      the abstract is because it referred to              18      data. It's just a question of which
19      existing data, existing studies that I              19      analyses you believe more or not.
20      had read that I understood. The          03:34      20   BY MR. LASKER:                              03:35
21      methodology and the way they were                   21      Q. And is it my -- is it your
22      performed. However, when we are                     22   testimony then that while you believe in the
23      presenting tables at conferences, what              23   data that was presented in the abstract and
24      we are doing is allowing input into                 24   you think that should be considered as
25      analyses from a scientific audience that 03:34      25   reliable evidence, epidemiological evidence 03:35


                                           Page 292                                                    Page 293
 1   for glyphosate and non-Hodgkin's lymphoma,              1      reviewer agree or not agree with.
 2   you do not believe that the data that was               2   BY MR. LASKER:
 3   actually presented at that conference should            3      Q. And am I correct in my
 4   be considered as reliable evidence, separate            4   understanding that your concern with respect
 5   epidemiological evidence regarding           03:35      5   to presenting the data from the NAPP for -- 03:36
 6   glyphosate and NHL?                                     6   as compared to data that controls for 2,4-D,
 7         MS. FORGIE: Object to the form.                   7   dicamba, and Malathion versus data that does
 8         THE WITNESS: Again, I want to say                 8   not control for 2,4-D, dicamba, and
 9      the same data.                                       9   Malathion, that you believe it is more
10   BY MR. LASKER:                            03:36        10   reliable to look to the data that does not   03:37
11      Q. So in your expert report, you                    11   control for 2,4-D, dicamba, and Malathion?
12   stated that we should consider the NAPP data           12          MS. FORGIE: Object to the form and
13   in our analysis; correct?                              13      object to mischaracterizing her
14      A. Yes.                                             14      testimony.
15      Q. Okay. And so it's fair to say that 03:36         15          THE WITNESS: I never talked about 03:37
16   you also agree that we should consider the             16      reliability. That's not at issue here.
17   data that was actually presented from the              17      What is at issue is validity of the
18   NAPP in its conference in our analysis;                18      model, and I disagree with the validity
19   correct?                                               19      of this model, and I would suggest
20         MS. FORGIE: Object to the form.         03:36    20      additional sensitivity analyses         03:37
21         THE WITNESS: That's different.                   21      concerning this.
22      The data, the way it's presented,                   22   BY MR. LASKER:
23      contains a lot of what we would call                23      Q. And am I correct in my
24      sensitivity analyses and ways of                    24   understanding that -- well, let me ask this:
25      presenting the data that I would as a    03:36      25   Do you have concerns of the validity of the 03:37



                                                                                                                 74
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 76 of 806

                                            Page 294                                                    Page 295
 1   NAPP model for all of the data presented or             1   does not adjust for dicamba, 2,4-D, and
 2   only for the data presented that adjusts for            2   Malathion; is that correct?
 3   exposures to 2,4-D, dicamba, and Malathion?             3         MS. FORGIE: Object to the form.
 4          MS. FORGIE: Object to the form.                  4         THE WITNESS: I have validity
 5          THE WITNESS: I have validity            03:37    5      concerns about this whole table as I       03:38
 6      concerns about this one table, and I                 6      just told you because I would suggest
 7      would like to see additional analyses                7      that, first of all, proxy respondents
 8      before I would make up my mind.                      8      and personal protective equipment should
 9   BY MR. LASKER:                                          9      not be entered in the model to begin
10      Q. Do you have validity concerns for        03:38   10      with.                            03:38
11   the data presented in the abstract that you            11   BY MR. LASKER:
12   relied upon in your expert report before you           12      Q. That information, and I'll just --
13   saw this data?                                         13   I don't have time to go through this, but if
14      A. The validity concerns are not                    14   that information was in the abstract that
15   considering the data. The validity concerns 03:38      15   they controlled for that, would you have        03:39
16   are with respect to this one subanalyses               16   concerns with the data and the information
17   that I consider a sensitivity analysis.                17   presented in the abstract that you relied
18      Q. Which subanalyses are you talking                18   upon in your original expert report?
19   about?                                                 19         MS. FORGIE: Object to the form and
20      A. The one adjusting for three           03:38      20      also asked and answered.                03:39
21   additional pesticides.                                 21         You can answer it again.
22      Q. So that's -- so I understand. So                 22         THE WITNESS: I can only refer to
23   you do not have -- I'm just making sure I              23      this table in front of me that states
24   understand this. You do not have validity              24      very clearly what they adjusted for, and
25   concerns with respect to the NAPP data that 03:38      25      I would have asked as a conscientious       03:39

                                            Page 296                                                    Page 297
 1      reviewer to remove these two variables               1      Q. Yeah.
 2      and tell me whether it makes a                       2      A. Oh, yeah.
 3      difference.                                          3      Q. So the duration and frequency and
 4   BY MR. LASKER:                                          4   lifetime days analysis for the NAPP is drawn
 5      Q. And do you have greater concern for 03:39         5   from the Nebraska and the Canadian case         03:40
 6   the validity of the odds ratios that adjusts            6   control data because we don't have all -- we
 7   for 2,4-D, dicamba, and Malathion than for              7   don't have the full data for Iowa,
 8   the odds ratios that do not?                            8   Minnesota. We don't have any data for
 9         MS. FORGIE: Objection. Object to                  9   Kansas to conduct those analyses; correct?
10      the form. Asked and answered.              03:39    10          MS. FORGIE: Object to the form.        03:40
11         You can answer it again.                         11          THE WITNESS: If those Xs mean
12         THE WITNESS: That's a question I                 12      there's no data, then that seems to be
13      cannot answer because I don't know what             13      the case.
14      the results would be if we did this                 14   BY MR. LASKER:
15      differently.                      03:39             15      Q. Okay. If we can go then to           03:41
16   BY MR. LASKER:                                         16   page 26, and I want to start just with the
17      Q. Okay.                                            17   first column which is proxy and
18      A. And that's what we do in                         18   self-respondents, and we'll talk about the
19   epidemiology. We try all sorts of things               19   self-respondents only in a second. But for
20   and see how the data behaves.                03:39     20   the -- they provide information in this      03:41
21      Q. Okay. For the analysis for                       21   table for frequency with respect to days per
22   duration of exposure and days of exposure,             22   year, duration, and also lifetime days;
23   the NAPP basically had data on duration --             23   correct?
24   if you look at page 7.                                 24      A. Yes.
25      A. Page 7?                         03:40            25      Q. And when we do the frequency            03:41



                                                                                                                   75
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 77 of 806

                                               Page 298                                                      Page 299
 1   analysis -- and this is not particularly                    1      A. Yes.
 2   surprising since the Canadian case control                  2      Q. But in the McDuffie paper they
 3   study was a large driver of this -- we have                 3   don't report duration; correct?
 4   a somewhat similar finding to what is                       4      A. No.
 5   reported in the McDuffie paper; correct?       03:42        5      Q. When they look at that data for        03:42
 6         MS. FORGIE: Object to the form.                       6   duration, we find that there is a lower
 7         THE WITNESS: Frequency more than                      7   incidence of NHL with a, at least
 8      two days per year and odds ratio of 1.73                 8   numerically, with greater duration of use of
 9      or 1.77 counts as similar to 2, yes.                     9   glyphosate; correct? Goes from either 1.28
10   BY MR. LASKER:                             03:42           10   to 0.94 or 1.17 to 0.78; correct?          03:43
11      Q. For duration -- so it's a different                  11      A. There's basically no difference.
12   measure -- correct? -- of how many years                   12      Q. When we look at lifetime days, so
13   they actually used glyphosate; correct?                    13   this is actually figuring out the total
14      A. Yes.                                                 14   amount of exposure that an individual in the
15      Q. McDuffie does not provide any           03:42        15   study would have -- correct? -- that last     03:43
16   indication of the duration of use in her                   16   category?
17   analysis in her study; correct?                            17      A. It's not the total amount. It's
18         MS. FORGIE: Object to the form.                      18   duration times intensity, and that could be
19         THE WITNESS: She doesn't provide                     19   seven years used minimally or -- and that
20      tables. That doesn't mean that they      03:42          20   would give you a seven or seven days used at 03:43
21      didn't have it. Did they have it?                       21   the two workdays per year as we discussed.
22   BY MR. LASKER:                                             22   We don't know.
23      Q. In the McDuffie paper?                               23      Q. Just to be clear because your
24      A. No. In the data.                                     24   answer had the word "seven years," and I
25      Q. They did have it in the data, yes. 03:42             25   want to make sure we understand this. The        03:44


                                               Page 300                                                      Page 301
 1   lifetime days analysis is less than seven                   1   years, had no effect. So if you're using
 2   days in a lifetime of exposure to glyphosate                2   duration as number of years, you are very
 3   or greater than seven days of exposure to                   3   likely to wipe out any intensity effect.
 4   glyphosate in the lifetime; correct?                        4      Q. Well, the intensity just to be
 5           MS. FORGIE: Object to the form.         03:44       5   fair, the duration would include all the     03:45
 6           THE WITNESS: What they call                         6   days within each year -- the lifetime days
 7       lifetime days is similar to pack years.                 7   has both factored into it. It has the days
 8       So it's a product of the number of years                8   per year, and it has the duration of time;
 9       times the days per year.                                9   correct?
10   BY MR. LASKER:                              03:44          10          MS. FORGIE: Objection. Object to        03:45
11       Q. And when they did this analysis                     11      the form.
12   using that same McDuffie data and also the                 12          THE WITNESS: It's not correct
13   Nebraska data was added to it, and they                    13      because number of days per year has two
14   looked at total lifetime days of exposure to               14      categories. It has the greater than
15   glyphosate and they looked at that higher        03:44     15      zero and less than two which we agreed       03:45
16   category, the highest category they reported               16      on were the occasional users and then
17   of greater than seven lifetime days of                     17      the two or more or better two -- more
18   exposure to glyphosate, they had an odds                   18      than two. So when you're calculating
19   ratio of either 1.08 or 1.06 for glyphosate                19      number of years times number of day per
20   and non-Hodgkin's lymphoma; correct?               03:44   20      year, you're actually mixing a lot of    03:45
21       A. They call it lifetime days, but                     21      different things together. It's a
22   it's not days in a lifetime. It's this                     22      really bad measure. So if you don't
23   product of years times number of days per                  23      believe it is duration low level chronic
24   year; so it's more like a pack year, and I'm               24      exposure, if you think it's intensity,
25                                                              25      you have to have a high level of         03:46
     not surprised because duration, number of         03:45



                                                                                                                       76
                            TSG Reporting - Worldwide                  877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 78 of 806

                                             Page 302                                                     Page 303
 1       exposure, then lifetime days is really                1      of years -- days per year which is not
 2       not a good measure.                                   2      really a frequency but an intensity,
 3   BY MR. LASKER:                                            3      seems to have an effect.
 4       Q. Is it your opinion that there could                4   BY MR. LASKER:
 5   be intense exposure to glyphosate that is      03:46      5      Q. And your belief that this is an      03:47
 6   less than seven days of exposure in a                     6   intensity is based upon your understanding
 7   lifetime?                                                 7   of what a day of exposure means?
 8       A. Yes.                                               8      A. Correct.
 9       Q. And, in your opinion, when you look                9         MS. FORGIE: Objection.
10   at this analysis --                   03:46              10   BY MR. LASKER:                             03:47
11       A. It's not seven days per lifetime.                 11      Q. And for day of exposure, would that
12   It's seven lifetime days as defined by this              12   be different -- defined differently for a
13   product.                                                 13   lifetime day, each day and that day of
14       Q. Okay. And you would agree that                    14   exposure as compared to a frequency day?
15   when this data is analyzed for pack year       03:46     15         MS. FORGIE: Object to the form.          03:47
16   type analysis or lifetime days analysis,                 16         THE WITNESS: So these frequencies
17   there's no indication of any greater risk of             17      go from zero to who knows what; correct?
18   non-Hodgkin's lymphoma in the group that has             18      Number of days per year. And when you
19   the greater than seven days lifetime                     19      multiply those by years, then you could
20   exposure; correct?                       03:47           20      have very high intensity days with a low 03:48
21          MS. FORGIE: Object to the form.                   21      number of years landing in the lower
22       Mischaracterizes her testimony.                      22      category, or you could have the
23          THE WITNESS: Well, lifetime days                  23      opposite. So there's a lot of potential
24       seem to be a measure that doesn't show a             24      for exposure misclassification in terms
25       dose response here. However, frequency       03:47   25      of who's a regular user and who is not.    03:48

                                             Page 304                                                     Page 305
 1   BY MR. LASKER:                                            1      And the one with the larger span will
 2      Q. And without knowing more about how                  2      weight the other to nothing or to
 3   a defined exposure for frequency days, there              3      whatever that is.
 4   could be exposure misclassification                       4         So what we're seeing in duration
 5   throughout this entire analysis in duration, 03:48        5      year gets reflected in lifetime years    03:49
 6   in frequency, and in lifetime days; correct?              6      only in lifetime years it's even more
 7          MS. FORGIE: Object to the form.                    7      misclassified because it mixes intensity
 8          THE WITNESS: Well, duration is                     8      with duration.
 9      defined as duration, but we don't know                 9   BY MR. LASKER:
10      what the intensity is. So that would      03:48       10      Q. At the time you prepared your           03:49
11      just be a measure of duration. It could               11   original expert report in this case, were
12      be a very low intensity; it could be a                12   you aware of the fact that the NAPP had
13      very high intensity. It's just                        13   conducted this further analysis of duration
14      duration.                                             14   and lifetime days exposure to glyphosate?
15          On the other hand, frequency which 03:48          15         MS. FORGIE: Object to the form.          03:49
16      I call intensity in this case                         16         THE WITNESS: At what time?
17      distinguishes the high use from the low               17         MS. FORGIE: Asked and answered.
18      occasional use. There's no duration in                18   BY MR. LASKER:
19      this. We can only assume how it relates               19      Q. At the time you prepared your
20      to duration, but they're not showing us 03:49         20   expert report in this case.              03:49
21      data that relates frequency and                       21      A. I hadn't seen this.
22      duration. And then this made-up                       22      Q. Okay. Also on this page there is a
23      lifetime days is a product of years,                  23   sensitivity analysis for proxy respondents,
24      number of years times number of days per              24   use of proxy respondents; correct?
25      year. So a product of the two above.       03:49      25      A. You mean the same table?               03:50



                                                                                                                    77
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 79 of 806

                                            Page 306                                                          Page 307
 1       Q. Yes.                                              1      the record at 3:51 p.m.
 2       A. The same table distinguishes                      2          (Recess taken from 3:51 p.m. to
 3   between proxy and self and self-respondents.             3          4:02 p.m.)
 4   So it's not really a stratified analysis.                4          THE VIDEOGRAPHER: We are back on
 5   It's a sensitivity analysis.              03:50          5      the record at 4:02 p.m. This marks the 04:03
 6       Q. Right. That's what I said. It's a                 6      beginning of videotape number 4 in the
 7   sensitivity analysis; correct?                           7      deposition of Beate Ritz.
 8       A. Yeah, yeah.                                       8   BY MR. LASKER:
 9       Q. When they conducted their                         9      Q. Dr. Ritz, I'd like to direct you to
10   sensitivity analysis, they found that for       03:51   10   Exhibit 19-7, which is the Eriksson study.       04:04
11   the never/ever category the odds ratio for              11   I just have a few questions.
12   self-respondents only for glyphosate and                12          MS. FORGIE: Do we have it?
13   non-Hodgkin's lymphoma and all of the case              13          MR. LASKER: She's got it.
14   control studies pooled in North America,                14   BY MR. LASKER:
15   U.S. and Canada, was 0.95 with a confidence 03:51       15      Q. We previously discussed the fact          04:04
16   interval of 0.69 to 1.32; correct?                      16   that --
17       A. That's what they're reporting.                   17          MS. FORGIE: Hold on a second.
18       Q. And that is, in fact, the -- if                  18          MR. LASKER: Let's go off the
19   we're looking at the -- just a second.                  19      record.
20   Okay. Let's talk about the Eriksson paper. 03:52        20          THE VIDEOGRAPHER: We're off the                04:04
21          Let's change. I'm sorry. I got                   21      record at 4:03 p.m.
22   this note. I just completely ignored it.                22          (Recess taken from 4:03 p.m. to
23          THE VIDEOGRAPHER: This marks the                 23          4:03 p.m.)
24       end of videotape number 3 in the                    24          THE VIDEOGRAPHER: We are back on
25       deposition of Dr. Beate Ritz. We're off 03:52       25      the record at 4:03 p.m.                04:04


                                            Page 308                                                          Page 309
 1   BY MR. LASKER:                                           1      odds ratio below 1, and there are odds
 2      Q. Dr. Ritz, we were talking about the                2      ratios above 1, and there are lots of
 3   Eriksson study. I think earlier we                       3      analyses that are including the same
 4   established that the only odds ratio in this             4      subjects. So if you want to do odds
 5   paper or the only table that includes odds     04:04     5      ratio counting, you need to discount the 04:06
 6   ratios in this paper that were adjusted for              6      ones that are using the exact same data
 7   the pesticide exposure is table 7 where the              7      on the exact same people.
 8   multi-variate analysis is presented on                   8   BY MR. LASKER:
 9   page 1661; correct?                                      9      Q. Correct. And when you do that, the
10      A. Yes.                          04:05               10   vast majority of these odds ratios reported   04:06
11      Q. Now, when you look at the other                   11   in Eriksson are above 1.0; correct?
12   odds ratios in these other tables that are              12          MS. FORGIE: Object to the form.
13   not adjusted for other pesticide exposures,             13          THE WITNESS: Again, that's not how
14   virtually every odds ratio for every                    14      I look at this. I look at this as odds
15   compound and every chemical that is analyzed 04:05      15      ratios reported for different agents for 04:06
16   is reported at above 1.0; is that correct?              16      different purposes. One is a yes/no,
17      A. That's a very simplified statement                17      ever/never. Other purposes are
18   because a lot of the odds ratios are right              18      intensity or duration measures, and
19   around 1.                                               19      splitting up groups into less and higher
20      Q. Virtually every single one of the      04:05      20      intensity, you can see how nicely dose    04:06
21   odds ratios that are reported in this paper             21      response patterns are starting to
22   are above 1.0; correct?                                 22      emerge. And the lower odds -- the lower
23         MS. FORGIE: Object to the form.                   23      exposure odds ratios usually include a
24         THE WITNESS: Again, there are lots                24      close to 1, and the confidence intervals
25      of odds ratio hover above 1. There are     04:05     25      include 1.                         04:07



                                                                                                                         78
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 80 of 806

                                            Page 310                                                     Page 311
 1   BY MR. LASKER:                                           1   Correct?
 2      Q. Let me ask you this question                       2      A. Yes.
 3   generally: If you have a case control                    3      Q. So if you have all chemicals in a
 4   study, and you are -- I think you refer to               4   study where you have elevated odds ratios,
 5   this in your expert report at page 8 when      04:07     5   one of the things you would be concerned       04:08
 6   you're talking about the fact that the De                6   about, in general, is the possibility of
 7   Roos 2003 study had odds ratios below 1 and              7   recall bias; correct?
 8   above 1. And one of the things you stated                8          MS. FORGIE: Object to the form.
 9   there is that if you have odds ratios in a               9          THE WITNESS: In general, if it's
10   case control study for multiple agents and      04:07   10      all chemicals, yes, but in this study I 04:08
11   they're all above 1, you would have a                   11      see a lot of odds ratios that are around
12   concern for -- about recall bias; is that               12      1 or even below 1 reported, and many of
13   correct?                                                13      the odds ratios are duplicate analyses
14          MS. FORGIE: Object to the form.                  14      in terms of a dose response. So there's
15   BY MR. LASKER:                             04:07        15      an analysis of an ever/never, and then   04:08
16      Q. And you can look at page 8 on your                16      for the same people we are now
17   expert report.                                          17      categorizing them in several categories
18      A. Where is it?                                      18      to explore a dose response.
19      Q. At the very top you stated, "If                   19          In that case I would expect that
20   recall bias existed, you would expect all     04:07     20      the overall estimate is somewhere a      04:09
21   pesticides reported to show an association              21      weighted average of the categories that
22   with the outcome and not just one among many            22      I'm looking at. And in many cases you
23   since the tendencies to recall better and               23      can see that the specificity increases.
24   more exposures than controlled would not be             24      That's why we do this. So the
25   expected to be specific to one chemical."      04:08    25      specificity of exposure increases with   04:09


                                            Page 312                                                     Page 313
 1      intensity or duration of use, and that's              1   mark as --
 2      informative. When it doesn't, then it                 2          MS. FORGIE: Are we putting this
 3      actually dissuades me that this agent is              3       away?
 4      actually contributing.                                4          MR. LASKER: Yeah.
 5   BY MR. LASKER:                              04:09        5          MS. FORGIE: Thank you.                 04:10
 6      Q. Dr. Ritz, if you look at Table 5 in                6          MR. LASKER: So this is 19-17.
 7   the Eriksson study which looks at                        7          (Exhibit Number 19-17 was
 8   insecticides total, DDT, mercurial seed                  8          marked for identification.)
 9   dressing, pyretrine, other, every single                 9   BY MR. LASKER:
10   odds ratio reported in that table is above     04:09    10       Q. Dr. Ritz, this is a slide deck that 04:11
11   1; correct?                                             11   unfortunately we received in this form.
12         MS. FORGIE: Object to the form.                   12   It's a little bit difficult to read, but
13         THE WITNESS: The confidence                       13   this is a slide deck you produced to us in
14      intervals, many of them include the 1,               14   response to our document subpoena.
15      and it is a table of subtypes meaning       04:10    15          I take it this is a slide deck     04:11
16      we're now going into very, very small                16   you've used in training in teaching of your
17      subgroups with very low exposures. So                17   class; correct?
18      essentially a lot of these estimates are             18       A. Yes.
19      non-informative.                                     19       Q. And the glyphosate case control
20   BY MR. LASKER:                              04:10       20   studies that we've been discussing are what 04:11
21      Q. Let's skip over to --                             21   are called retrospective in that they take
22      A. And some are actually below 1.                    22   individuals with NHL or without NHL, and
23   Clearly below 1.                                        23   then they look back in time and ask them
24      Q. Let's skip over to the De Roos 2005               24   about their prior exposures; correct?
25   cohort study. First of all, I'd like to     04:10       25          MS. FORGIE: Object to the form.          04:11



                                                                                                                    79
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 81 of 806

                                           Page 314                                                     Page 315
 1         THE WITNESS: They are case control                1   strike that. Let me just make clear. In
 2      studies in which cases and controls                  2   the literature you reviewed, in the case
 3      report their lifetime use of pesticides.             3   control studies you reviewed for glyphosate,
 4   BY MR. LASKER:                                          4   are all of those containing exposure
 5      Q. So retrospective analyses; correct? 04:12         5   information retrospective?                  04:12
 6         MS. FORGIE: Object to the form.                   6          MS. FORGIE: Object to form. Asked
 7         THE WITNESS: It's not an analysis                 7      and answered.
 8      that's retrospective. It's the exposure              8          You can answer it again.
 9      assessment that's retrospective.                     9          THE WITNESS: They had
10   BY MR. LASKER:                              04:12      10      questionnaire that were sent out to        04:13
11      Q. So the exposure amendment in the                 11      cases and controls asking them about
12   case control studies are retrospective;                12      lifetime exposure. In that sense it's a
13   right?                                                 13      retrospective exposure assessment.
14      A. Correct. Not always. In this one.                14   BY MR. LASKER:
15   In these because they're questionnaire         04:12   15      Q. And it is true as you teach your        04:13
16   based. They're case control studies that               16   students -- and this is on page 2. It's the
17   follow records, and they not retrospective.            17   top slide on the right -- that retrospective
18      Q. In the case control studies, is it               18   often is considered a less reliable design
19   your testimony that there are glyphosate               19   in an epidemiologist study; correct?
20   case control studies that are not           04:12      20          MS. FORGIE: Object to the form.          04:13
21   retrospective in their gathering of exposure           21          THE WITNESS: Well, that is a very
22   data?                                                  22      broad statement.
23      A. Not in the literature that I                     23   BY MR. LASKER:
24   reviewed.                                              24      Q. I'm just asking about the statement
25      Q. Okay. Strike that. Or don't           04:12      25   you make in your slide presentation --          04:13

                                           Page 316                                                     Page 317
 1       A. Where is it?                                     1   highest to lowest, and I try to debunk it.
 2       Q. -- to your students. It is the top               2      Q. And just to be clear, the "this"
 3   slide on the left on page 2. "Retrospective             3   because that won't be on the record, you
 4   is often considered a less reliable design."            4   start on page 1 with your Table 1, which is
 5   Is that correct?                       04:13            5   a listing of validity ranking from highest       04:15
 6       A. Yes. And that does not refer as a                6   to lowest, and this is, I take it, what is
 7   judgment to case control studies but to the             7   generally presented in the scientific
 8   term "retrospective," and this is not to say            8   literature as the ranking of study designs
 9   that it really is a lesser way and a less               9   by validity; correct?
10   reliable design. That's why it's in quotes. 04:14      10      A. Correct.                        04:15
11   This is to stimulate my students to think              11          MS. FORGIE: Object to the form.
12   about the advantages of this kind of                   12          THE WITNESS: Well, this is how
13   exposure assessment.                                   13      many people think about epidemiologic or
14       Q. And on page 5 in your slide deck                14      medical trials and designs, yes.
15   for your students in the top right for       04:14     15   BY MR. LASKER:                               04:15
16   discussing cohort studies, you state that              16      Q. And in this ranking, randomized
17   cohort studies are generally most accepted             17   clinical trials are the highest, and
18   in scientific community; correct?                      18   prospective cohort studies are directly
19       A. Again, that is to stimulate                     19   below that; correct?
20   discussion about is that really a criterion 04:14      20      A. That's correct.                    04:15
21   we should be using as epidemiologists even             21      Q. And there is a term for "nested
22   if the scientific community equates cohort             22   case control study." That is a case control
23   studies with higher study quality. One of              23   study that is conducted within a cohort;
24   the things I do in my class is I start with            24   correct?
25   this where there is that validity ranking     04:14    25      A. Yes. Sometimes it's used for             04:15



                                                                                                                   80
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 82 of 806

                                            Page 318                                                    Page 319
 1   population-based case control study as long              1   2005 published AHS study of glyphosate by De
 2   as you know what the source of controls was.             2   Roos; correct?
 3      Q. Okay. And in this sort of general                  3      A. Yes.
 4   ranking in the scientific community of                   4      Q. You mentioned this study in your
 5   design validity, where would a non-nested       04:16    5   report at page 21. You can go to that. And 04:17
 6   case control study fit in this ranking?                  6   you present right above that chart the odds
 7      A. Right below case control study.                    7   ratio for the De Roos 2005 study for
 8      Q. So a case control study would be                   8   glyphosate and non-Hodgkin's lymphoma as
 9   below nested case control study and above                9   1.2; correct?
10   time series analysis?                   04:16           10      A. Yes.                          04:17
11      A. Correct.                                          11      Q. And if you look at De Roos in
12      Q. Okay. The one cohort study that we                12   Table 2 on page 51, the odds ratio that you
13   have for glyphosate and non-Hodgkin's                   13   report in your expert report is the odds
14   lymphoma or the one cohort analysis is from             14   ratio that is minimally adjusted, only
15   the Agricultural Health Study; correct?       04:16     15   adjusted for age; correct?                04:18
16      A. Correct.                                          16      A. I report two -- I report 1.2 and
17      Q. So let's look to that now.                        17   next to it the 1.1.
18      A. Just for the record, I'm using this               18      Q. I'm sorry. Got it. My mistake.
19   to stimulate discussion because I disagree              19          And you mention in your expert
20   with this ranking presented in Table 1.       04:16     20   report that the confidence interval for the    04:18
21      Q. So this is 19-18.                                 21   finding in the De Roos study is wide, 0.7 to
22         (Exhibit Number 19-18 was                         22   1.9, which you describe as a wide confidence
23         marked for identification.)                       23   interval; correct?
24   BY MR. LASKER:                                          24      A. Yeah. And they're exactly the
25      Q. And for -- so Exhibit 19-18 is the 04:17          25   same.                              04:18

                                            Page 320                                                    Page 321
 1      Q. And this confidence interval, if                   1   studies that we've been discussing; correct?
 2   you were to calculate the CLR for the De                 2          MS. FORGIE: Object to the form.
 3   Roos study to measure the width of the                   3          THE WITNESS: For a cohort study
 4   confidence interval, for the De Roos study               4      this is a rather wide confidence
 5   1.9 to 0.7. That is, again, somewhat below 04:19         5      interval especially if you look at some 04:19
 6   3; correct?                                              6      more common cancers. It should be
 7      A. Slightly, yeah.                                    7      better. Yes, the one for all cancer.
 8      Q. And that confidence limit ratio is                 8      It's .9 to 1.1. That's a nice
 9   actually narrower than the CLR for the case              9      confidence interval.
10   control studies for adjusted odds ratios     04:19      10   BY MR. LASKER:                            04:20
11   that we've been reporting that we've been               11      Q. I understand that. But I'd like to
12   talking about; correct?                                 12   ask you with respect to the case control
13         MS. FORGIE: Object to the form.                   13   studies. Would it be correct to my
14         THE WITNESS: Again, that's not the                14   understanding that the confidence interval
15      only criteria to evaluate statistical  04:19         15   for glyphosate and non-Hodgkin's lymphoma in 04:20
16      significance or confidence interval or               16   the De Roos 2005 study is not wide as
17      any meaning that these estimates might               17   compared to the odds ratios for glyphosate
18      have.                                                18   and non-Hodgkin's lymphoma reported in the
19   BY MR. LASKER:                                          19   case control studies?
20      Q. I understand. I'm just trying to     04:19        20          MS. FORGIE: Object to the form.        04:20
21   get an understanding because in your report             21      Asked and answered.
22   you discuss this confidence interval as                 22          You can answer it again.
23   being wide, and, in fact, this confidence               23          THE WITNESS: These confidence
24   interval is narrower than the confidence                24      intervals might be comparable. However,
25   interval that appears in the case control    04:19      25      it's even more important that the       04:20




                                                                                                                  81
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 83 of 806

                                             Page 322                                                     Page 323
 1      confidence interval safely includes the                1   of itself fair to say does not report a
 2      overall meta-analytic point estimate of                2   positive association between glyphosate and
 3      1.45.                                                  3   non-Hodgkin's lymphoma; correct?
 4   BY MR. LASKER:                                            4          MS. FORGIE: Object to the form.
 5      Q. I'm sorry. I have no idea what       04:20          5          THE WITNESS: A 1.2 to 1.1 is still 04:21
 6   that is. It seems like a meta conference                  6      a positive association.
 7   interval that was reported by --                          7   BY MR. LASKER:
 8      A. No, I'm talking about the point                     8      Q. In your opinion, does the De Roos
 9   estimate falling nicely into this wide                    9   2005 cohort study provide evidence that
10   confidence interval for NHL. So this study 04:21         10   supports the hypothesis that glyphosate         04:22
11   does not contradict the meta-analysis.                   11   causes non-Hodgkin's lymphoma?
12   That's what I'm saying.                                  12      A. It contributes very little.
13      Q. So the meta-analysis number you're                 13      Q. Okay. But that's not quite
14   reporting, you're discussing here, is the                14   answering my question.
15   meta-analysis number from the --            04:21        15          Do you believe that the De Roos         04:22
16      A. From several --                                    16   2005 cohort study provides some evidence,
17          MS. FORGIE: Wait for the question.                17   even if you think it's little, in favor of
18   BY MR. LASKER:                                           18   an opinion that there's an association
19      Q. -- from the IARC meta-analysis and                 19   between glyphosate and non-Hodgkin's
20   the Chang and Delzell meta-analysis that did 04:21       20   lymphoma?                                04:22
21   not include the NAPP data; correct?                      21          MS. FORGIE: Object to the form.
22          MS. FORGIE: Object to the form.                   22      Also, asked and answered.
23          THE WITNESS: Yes, that's correct.                 23          You can answer it again.
24   BY MR. LASKER:                                           24          THE WITNESS: This study does not,
25      Q. And the De Roos 2005 study in and        04:21     25      in the way it's reported here and in the 04:22

                                             Page 324                                                     Page 325
 1      way I see these data, does not                         1   Health Study has used in numerous different
 2      contribute very much to the discussion.                2   epidemiological studies that were being
 3   BY MR. LASKER:                                            3   published at the same time that you were
 4      Q. Okay. And the Table 3 analysis, I                   4   serving on that outside advisory committee;
 5   take it, which sets forth the various risk  04:22         5   correct?                            04:23
 6   ratios based upon two measures of exposure,               6          MS. FORGIE: Object to the form.
 7   either cumulative exposure days or intensity              7          THE WITNESS: An exposure measure
 8   weighted exposure days, am I correct in my                8      for one pesticide is not exactly the
 9   understanding that you do not believe this                9      same as an exposure measure for another
10   data contributes much to the analysis of      04:23      10      pesticide, and I think we agreed today    04:24
11   glyphosate and non-Hodgkin's lymphoma?                   11      that it depends on when these pesticides
12         MS. FORGIE: Object to the form.                    12      were used and where they were used and
13      Also, asked and answered.                             13      whether use changed. There's no other
14         You can answer it again.                           14      pesticide for which use changed in the
15         THE WITNESS: These tables are much 04:23           15      same way that I can think of, at least   04:24
16      more complex to analyze because we're                 16      as for glyphosate, during the general
17      now getting into a discussion over                    17      baseline enrollment of these farmers.
18      appropriate exposure assessment which I               18          THE REPORTER: I'm so sorry. My
19      don't think is -- the exposure measures               19      computer just rebooted.
20      that are used here to derive these total 04:23        20          MR. LASKER: How much did we miss
21      cut points are most likely                            21      and what do we have to do?
22      misclassified.                                        22          THE REPORTER: No, I've got it all
23   BY MR. LASKER:                                           23      the writer. I just need to go off and
24      Q. Now, these exposure measures are                   24      reboot.
25   the same exposure measures the Agricultural      04:23   25          MS. FORGIE: Why don't we take a



                                                                                                                     82
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 84 of 806

                                              Page 326                                                     Page 327
 1      short break.                                            1      I answer.
 2         THE VIDEOGRAPHER: We're off the at                   2   BY MR. LASKER:
 3      4:23 p.m.                                               3      Q. Yes.
 4         (Recess taken from 4:23 p.m. to                      4         MS. FORGIE: If you understand the
 5         4:47 p.m.)                    04:47                  5      question, you can answer.                04:48
 6         THE VIDEOGRAPHER: We are back on                     6         THE WITNESS: So you're saying
 7      the record at 4:47 p.m.                                 7      there's correlation between pesticide
 8   BY MR. LASKER:                                             8      use and the AHS?
 9      Q. Dr. Ritz, we were looking at De                      9   BY MR. LASKER:
10   Roos 2005. I'd like to actually direct you  04:47         10      Q. I'm saying that for every pesticide 04:48
11   to Table 1 on page 50.                                    11   that they looked at, and there's, I think,
12      A. Yeah, I'm there.                                    12   ten pesticides listed on Table 1, they found
13      Q. And that table, at the bottom,                      13   that with glyphosate use and with greater
14   presents data from this cohort on                         14   glyphosate use, there was greater use of
15   co-exposures for glyphosate and other common 04:47        15   these other pesticides; correct?            04:48
16   pesticides or exposures in individuals not                16         MS. FORGIE: Object to the form.
17   exposed to glyphosate; correct?                           17         THE WITNESS: These pesticides
18      A. Yes.                                                18      correlate with glyphosate, yes.
19      Q. Okay. And for every pesticide in                    19   BY MR. LASKER:
20   this cohort, they found that as there was   04:48         20      Q. So you have a correlation between         04:49
21   increased use of glyphosate, there was also               21   increased glyphosate use and use of these
22   increased use of these other pesticides;                  22   other pesticides; correct?
23   correct?                                                  23      A. That's how it looks like.
24         MS. FORGIE: Object to the form.                     24      Q. And if I understand correctly, if
25         THE WITNESS: I'm confused. Should 04:48             25   any of these other pesticides are, in fact,    04:49

                                              Page 328                                                     Page 329
 1   risk factors for NHL, that would introduce a               1      showing.
 2   differential confounding so that you'd have                2         So all of these pesticides are
 3   a greater confounding of your glyphosate                   3      perfect indicators of glyphosate use.
 4   measure with higher glyphosate exposure as                 4   BY MR. LASKER:
 5   compared to lower glyphosate exposure;            04:49    5      Q. Okay. My question -- I'm going to        04:50
 6   correct?                                                   6   try to understand this, your answer, but let
 7          MS. FORGIE: Object to the form.                     7   me just make sure I understand this.
 8          THE WITNESS: Not necessarily.                       8         Given this data showing that there
 9      This really depends on how you look at                  9   is increased correlation between glyphosate
10      glyphosate data in terms of, first of     04:49        10   exposure and exposure -- strike that.        04:50
11      all, is it -- is any of these other                    11         Given this data that there's an
12      pesticides really a -- you said that,                  12   increased correlation with use of other
13      NHL risk factor.                                       13   pesticides and glyphosate with increasing
14          (Simultaneous cross-talk                           14   use of glyphosate, is one possibility given
15          interrupted by the reporter.)       04:50          15   this data that there is -- if any of these  04:51
16          MS. FORGIE: Wait, wait.                            16   other pesticides are associated with
17          THE WITNESS: Are they correlated                   17   non-Hodgkin's lymphoma, that there is
18      with glyphosate exposure, but then                     18   increased confounding for higher doses of
19      couldn't you imagine that even a true                  19   glyphosate exposure?
20      risk factor for NHL that's correlated      04:50       20         MS. FORGIE: Object to the form.          04:51
21      with glyphosate has two different                      21         THE WITNESS: So it's not increased
22      meanings. One, it might be a risk                      22      confounding. It's some -- it can be
23      factor that's on its own, but it also                  23      some type of confounding. It can also
24      could be an indicator for pesticide use,               24      be a proxy for the exposure. It was all
25                                                             25      highly correlated exposures. That's the 04:51
        glyphosate, and that's what this is also 04:50



                                                                                                                      83
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 85 of 806

                                             Page 330                                                      Page 331
 1      case. You have to decide whether it's a                1      other pesticide, or are there one or two
 2      confounder or a proxy.                                 2      or three carcinogens, all of them
 3   BY MR. LASKER:                                            3      contributing to the risk of NHL, and how
 4      Q. Okay. And if the pesticides are                     4      do we put those together in a model if
 5   confounders and we determined that, for the 04:51         5      we -- if they're highly correlated, we    04:52
 6   purposes of this question, that they are                  6      put them all three in the model, then
 7   independent causes of non-Hodgkin's                       7      they will just split variance, and none
 8   lymphoma, and you were to compare the odds                8      of them will show anything.
 9   ratio for glyphosate exposure for the lowest              9   BY MR. LASKER:
10   exposed to the highest exposed, you could       04:51    10      Q. And if we have that situation, the 04:52
11   have confounding -- if you don't control --              11   real challenge we have, if I understand you
12   adjust for those other exposures, you could              12   correctly, is, let's say, if we have four
13   have confounding that would inflate the odds             13   pesticides, we have glyphosate and we have
14   ratio for the higher glyphosate exposure as              14   three other pesticides, and they are often
15   compared to the lower glyphosate exposure.       04:52   15   used together, and you have this situation     04:53
16          That's possible; correct?                         16   with a correlated, and you have positive
17          MS. FORGIE: Object to the form.                   17   associations popping out with each of the
18          THE WITNESS: So confounding is                    18   different chemicals, then am I correct in my
19      always a possibility especially with                  19   understanding that it is difficult to reach
20      highly correlated exposures. So the       04:52       20   a determination as to whether all of them      04:53
21      intellectual challenge here is to decide              21   are, in fact, associated with increased risk
22      how to treat these variables. Are they                22   of NHL or one of them is and which one is;
23      truly confounders in the sense that we                23   correct?
24      are assuming that glyphosate has no                   24          MS. FORGIE: Object to the form.
25      effect and all the effect comes from the 04:52        25          THE WITNESS: That's not what I'm          04:53


                                             Page 332                                                      Page 333
 1     saying. I'm saying that the data and                    1      A. That would be the hypothetical
 2     the mass will not help you. What you                    2   study in glyphosate production workers.
 3     have to do is design a study in which                   3      Q. I'm sorry. I misspoke. My
 4     you can distinguish between these three                 4   question was: Has there been, in fact, an
 5     exposures -- four exposures, and make up 04:53          5   epidemiological study conducted that you've 04:54
 6     your mind what to call these individual                 6   reviewed that would allow you to tease out
 7     agents. Are they truly risk factors                     7   that fact between the different pesticide
 8     increasing the risk of NHL, or are they                 8   exposures?
 9     not.                                                    9         MS. FORGIE: Object to the form.
10         If all four of them are risk       04:54           10         THE WITNESS: That depends on which 04:54
11     factors, and they are highly correlated                11      study we are talking about because
12     so every time one person is exposed to                 12      confounding is a study-specific issue.
13     one, they're also exposed to all three                 13      So in some studies, one of these
14     others, then you don't have a study that               14      pesticides may be a confounder. In
15     you can actually -- from which you then      04:54     15      another study, it might not be, and that 04:55
16     can come with a conclusion on one of                   16      would depend on the timing of exposure.
17     them.                                                  17         So for this study, the AHS where we
18         All you can say is all four of them                18      only have farmers who are coming for a
19     seem to increase risk of NHL.                          19      pesticide exam at baseline. Right?
20   BY MR. LASKER:                             04:54         20      That's how they were enrolled. They       04:55
21     Q. And has there been a study, to your                 21      came to an exam in Iowa or North
22   mind, that has allowed -- that would allow               22      Carolina to get their pesticide
23   one to parse that out?                                   23      application license.
24     A. Yes.                                                24         So we know from the beginning that
25     Q. Which study would that be?              04:54       25      this is a cohort that will have multiple 04:55



                                                                                                                      84
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 86 of 806

                                            Page 334                                                       Page 335
 1       pesticide exposures, and a lot of them               1      40-some pesticides, the effect of
 2       will be highly correlated. In other                  2      glyphosate is still apparent.
 3       populations, it might not be as much of              3   BY MR. LASKER:
 4       a problem because certain farmers may                4      Q. And is that in the hierarchical
 5       just use glyphosate and nothing else.     04:55      5   regression analysis?                     04:56
 6   BY MR. LASKER:                                           6      A. That is in the logistic regression,
 7       Q. I understand.                                     7   and I stated before that I do not think that
 8          My question to you, though, is:                   8   the hierarchical is the way to go for many
 9   You've reviewed all the epidemiologic                    9   reasons because it makes all these
10   literature; so if there is a study, that's 04:55        10   assumptions about carcinogenicity of            04:56
11   fine. You can let me know what study that               11   substances we don't know anything about.
12   is.                                                     12      Q. Other than De Roos 2003, is there a
13          Is there an epidemiological study                13   study that you believe allows you to tease
14   that you've identified in the literature                14   out the effects of glyphosate versus another
15   that allows you to distinguish between         04:55    15   pesticide to determine which of those are        04:56
16   glyphosate and other pesticides that are                16   risk factors and which of those are just
17   potentially being used by that population to            17   correlated?
18   determine whether all of them are risk                  18      A. I believe that the Eriksson study
19   factors, one of them is a risk factor, or               19   also made multiple adjustments and
20   distinguish between them?                  04:56        20   glyphosate survived those, but it is real      04:57
21          MS. FORGIE: Object to the form.                  21   study to study. We could go through all of
22       Also asked and answered.                            22   them.
23          THE WITNESS: Well, I think the De                23      Q. The De Roos 2005, in their dose
24       Roos 2003 study is actually a very good             24   response analysis, as they performed their
25       example where even after we adjust for      04:56   25   analysis for cumulative exposure days, they 04:57


                                            Page 336                                                       Page 337
 1   reported risk ratios of below 1 for the                  1          MS. FORGIE: Wait, let her finish.
 2   higher tertiles of exposure for cumulative               2          THE WITNESS: -- whatever we're
 3   exposure days and also intensity-weighted                3      assuming is the introduction of
 4   exposure days; correct?                                  4      glyphosate and the first person in this
 5      A. That's how it looks like.          04:57           5      cohort having used it. Some of these       04:58
 6      Q. The number of days of exposure to                  6      farmers -- or actually the bulk of these
 7   glyphosate in the exposed members of the AHS             7      farmers were less than 45 -- 40 years --
 8   cohort in the highest exposure group was                 8      50 years of age when they were enrolled.
 9   significantly higher than the reported days              9      So I don't think they might have used
10   of exposure to glyphosate in any of the case 04:58      10      glyphosate -- well, depends on the age      04:59
11   control studies; correct?                               11      they started farming; right?
12          MS. FORGIE: Object to the form.                  12   BY MR. LASKER:
13          THE WITNESS: I'm actually very                   13      Q. Yes.
14      surprised to see this number. I can't                14      A. So it could be 1975 to enrollment.
15      imagine anybody was spraying glyphosate 04:58        15   So that would be -- the latest enrollment is 04:59
16      on a daily basis for seven years.                    16   1997; so we have 22 years maximum.
17   BY MR. LASKER:                                          17      Q. Okay. And is it your testimony
18      Q. The data in this study for De Roos                18   that you believe that the data presented in
19   would span 27 years of potential glyphosate             19   this table with the maximum, and it is the
20   use; correct?                        04:58              20   single maximum exposure of 2,678 days, do          04:59
21          MS. FORGIE: Object to the form.                  21   you believe that that data point is
22          THE WITNESS: It would be -- no.                  22   incorrect?
23      It would be use between -- let's see.                23          MS. FORGIE: Object to the form.
24   BY MR. LASKER:                                          24          THE WITNESS: I have no idea, but
25      Q. Between --                      04:58             25      I'm very surprised to see it. On the     04:59



                                                                                                                      85
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 87 of 806

                                            Page 338                                                      Page 339
 1      other hand, these are farmers who are                 1   you're now having is a situation where you
 2      high intensive users of pesticides; so                2   don't know anything about what people in
 3      maybe there's something to it.                        3   1993 did. You know who changed in 1995 to
 4   BY MR. LASKER:                                           4   glyphosate-intensive farming, but you would
 5      Q. Am I correct that the 2005AHS data      04:59      5   not know who was interviewed in 1993 also       05:01
 6   presents data for exposures that are                     6   changed to glyphosate-intensive farming.
 7   significantly more intense than any of the               7   You would keep them in the low exposure even
 8   exposures that are assessed in any of the                8   though they may have changed to a much
 9   case control studies that we've talked                   9   higher level.
10   about; correct?                       05:00             10      Q. My question was not that, though;     05:01
11         MS. FORGIE: Object to the form.                   11   so let me ask my question again and see what
12      A. So now we are coming to the                       12   the answer is. Am I correct in my
13   exposure assessment that was done in 1993 to            13   understanding that the cohort that was
14   1997. As we know in 1995-'6 there was a big             14   analyzed in the De Roos study had
15   change in glyphosate use due to genetically   05:00     15   significantly more intense exposures both by 05:01
16   modified crops. So the individuals who were             16   cumulative exposure days and to intensity
17   enrolled in 1993 would report general use               17   measure to glyphosate than any of the
18   among farmers where glyphosate is just one              18   individuals who were assessed in the case
19   among several herbicides; right? Could be               19   control studies we've been discussing?
20   2,4-D. Could be atrazine, could be all      05:00       20         MS. FORGIE: Object to the form.        05:01
21   sorts of thing. And then we have this big,              21      Also asked and answered.
22   big switch in 1995, and you're still                    22         You can answer again.
23   enrolling these farmers, and now they have              23         THE WITNESS: So I'm having a hard
24   started to use modified crops, and they're              24      time comparing them because the other
25   using glyphosate at a huge amount. And what 05:00       25      studies had more than two days. That     05:02


                                            Page 340                                                      Page 341
 1      could also be a hundred days; right? So               1   controls. We have a cutoff of 10 days
 2      plus those were days per year. Here we                2   cumulative for the Eriksson study, and we
 3      have a cumulative exposure meaning this               3   have a cutoff in the De Roos 2005 cohort
 4      could be an average that's actually less              4   that goes 1 to 20 days cumulative for the
 5      than what was reported in the other      05:02        5   low exposure group, 21 days to 56 days for       05:03
 6      studies depending on the number of                    6   the mid exposure group, and 57 days to
 7      years.                                                7   2,678 days in the high exposure group;
 8   BY MR. LASKER:                                           8   correct?
 9      Q. The two data points we have from                   9      A. Correct.
10   Eriksson, it was ten days -- more than ten   05:02      10         MS. FORGIE: Object to the form.          05:03
11   days or less than ten days; correct?                    11         THE WITNESS: Over 22 years.
12      A. Yes, but I'm not sure that it was                 12   BY MR. LASKER:
13   ten days per year or ten days cumulative.               13      Q. And my question -- and for the
14      Q. Okay. I'll represent, and if I'm                  14   Eriksson study, you'd have that same time
15   wrong, the court will know and everybody        05:02   15   period generally, the number of years of       05:03
16   will know that it was ten days cumulative.              16   exposure -- of potential exposure; correct?
17         The NAPP data we just looked at                   17         MS. FORGIE: Object to the form.
18   reported seven days cumulative as the cutoff            18         THE WITNESS: That was --
19   point; correct?                                         19   BY MR. LASKER:
20         MS. FORGIE: Object to the form.        05:02      20      Q. The 2008 study?                    05:03
21         THE WITNESS: That was the                         21      A. I have to look. When did they get
22      cumulative, yes.                                     22   their cases? 1993? So it's shorter. It's
23   BY MR. LASKER:                                          23   actually shorter because the cases were
24      Q. So we have a cutoff of seven days                 24   ascertained in the early '90s and these
25   cumulative for the NAPP U.S.-based case         05:03   25   cases were ascertained after.             05:04



                                                                                                                     86
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 88 of 806

                                            Page 342                                                      Page 343
 1      Q. And we're not going to go back. I                  1   to glyphosate but to all the pesticides that
 2   don't think that's correct, but we'll move               2   they analyzed; correct?
 3   on and address that later.                               3          MS. FORGIE: Object to the form.
 4         The cumulative exposure in the                     4          THE WITNESS: What was that.
 5   De Roos study, measured in the De Roos study 05:04       5   BY MR. LASKER:                               05:05
 6   for glyphosate associated with non-Hodgkin's             6      Q. The measure of intensity that the
 7   lymphoma was significantly greater than the              7   Agricultural Health Study uses is a measure
 8   cumulative exposure measures in any of the               8   that they have validated not only for
 9   case control studies; correct?                           9   glyphosate but for all the different
10         MS. FORGIE: Object to the form.        05:04      10   pesticides that they're analyzing; correct?     05:05
11         THE WITNESS: Again, this is a                     11          MS. FORGIE: Object to the form.
12      measure that's cumulative over 22 years,             12          THE WITNESS: They actually did not
13      and it is not a measure of intensity.                13      validate that for all the pesticides.
14   BY MR. LASKER:                                          14      They used two or three pesticides for
15      Q. Okay. And the intensity-weighted       05:04      15      the validation procedure, and I wouldn't 05:05
16   exposure days that was presented, that is               16      call that validated because they are
17   based upon an analysis of intensity in the              17      only measuring biomarkers over a very
18   AHS that looks at mixing status, application            18      short period of time, and they are
19   method, equipment repair status, and                    19      saying that these short time periods
20   personal protective equipment; correct?      05:04      20      cannot be set to be the same as a          05:05
21      A. Yes.                                              21      lifetime exposure.
22      Q. And that is a measure that has been               22          In fact, we tried in my own studies
23   looked at and validated through the                     23      for occupational exposures to pesticides
24   De Roos -- through the AHS to try and                   24      to reproduce these intensity measures
25   measure the intensity of exposures not only   05:05     25      and compared them with very simple             05:06

                                            Page 344                                                      Page 345
 1      measures. So we went through all the                  1      measures of, you know, how many times
 2      trouble of weighing in exactly the same               2      per year did you apply, or how many days
 3      way. We asked the same questions, and                 3      per year did you apply made no
 4      it made just about no difference whether              4      difference.
 5      you used a very simple measure such as       05:06    5   BY MR. LASKER:                              05:07
 6      in Eriksson and Hardell, et cetera, or                6      Q. In your discussion of the 2005
 7      you used this very complicated measure.               7   De Roos dose response analysis in your
 8   BY MR. LASKER:                                           8   expert report at page 23, you state that the
 9      Q. When you say the measure that was                  9   investigators' decision to conduct their
10   used in Eriksson and Hardell you're assuming 05:06      10   dose response analysis with comparisons only 05:07
11   the measure they used because they don't                11   between low, mid, and high exposure without
12   report it in those studies; correct?                    12   an unexposed group reduces the exposure
13          MS. FORGIE: Object to the form.                  13   contrast between the three dose groups;
14      Mischaracterizes her prior testimony.                14   correct?
15      Asked and answered.                    05:06         15      A. Where do I say that?                05:07
16          You can answer it again.                         16      Q. Page 23. Right above
17          THE WITNESS: No, because what                    17   industry-sponsored studies.
18      Eriksson describes is very similar to                18      A. Yes.
19      the methods that I know I used. So we                19      Q. "This type of approach also reduces
20      had several measures that we tried with 05:06        20   any remaining exposure contrast."             05:08
21      and without protective equipment, with               21      A. Yes.
22      and without frequency of applications,               22      Q. The exposure contrast, though, in
23      et cetera. We are using -- we tried to               23   the De Roos study were greater than the
24      use everything in the same way as the                24   contrast between the exposure groups in the
25      AHS and going back to fairly simple         05:06    25   McDuffie study and the Eriksson study;           05:08



                                                                                                                     87
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 89 of 806

                                           Page 346                                                     Page 347
 1   correct?                                                1   exposures over time; right?
 2         MS. FORGIE: Object to the form.                   2         MS. FORGIE: Object to the form.
 3         THE WITNESS: That's an assumption,                3         THE WITNESS: It's a case control
 4      and the assumption is that there's not a             4      study so they would ask cases and
 5      major exposure misclassification in the 05:08        5      controls to remember their lifetime       05:09
 6      way I described before.                              6      exposure which, by definition, would be
 7   BY MR. LASKER:                                          7      prior to the onset of the cancer, yeah.
 8      Q. Okay. This exposure                               8   BY MR. LASKER:
 9   misclassification, to the extent that                   9      Q. So if the Eriksson study is asking
10   Eriksson analyzed data exposures going into 05:08      10   that question after 1997 for all past       05:09
11   the 1990s, if that's the case, they gathered           11   exposures and using that data for their
12   their data after 1997, would that same issue           12   analysis, would they have the same
13   arise with the Eriksson study?                         13   misclassification problem that you believe
14      A. If they gathered it after 1997, no,              14   exists for the AHS study?
15   because then they would have actually        05:09     15      A. No, it would not.                 05:09
16   already gotten past the change.                        16      Q. The -- there has been a further
17      Q. Well, they --                                    17   analysis of the Agricultural Health Study
18         MS. FORGIE: Wait. Let her finish.                18   data, and you address this in your rebuttal
19         THE WITNESS: The problem is that                 19   report. This is the document we received
20      this study had the change happen in the 05:09       20   from Dr. Blair presenting data from 2013.       05:10
21      middle of the enrollment period.                    21         Let me ask first at the time that
22   BY MR. LASKER:                                         22   you prepared your initial expert report in
23      Q. The Eriksson study would be looking              23   this matter, had you seen that 2013AH
24   back over time so it would be a                        24   analysis?
25   questionnaire and be asking about prior      05:09     25      A. First time I was aware of it was in 05:10


                                           Page 348                                                     Page 349
 1   that attachment to Dr. Blair's statements.              1   to the time you read Dr. Neugut's
 2      Q. Okay. But were you -- did you see                 2   deposition?
 3   that attachment -- had you seen that                    3          MS. FORGIE: Object to the form.
 4   attachment at the time you prepared your                4          THE WITNESS: I really don't know.
 5   initial expert report in this matter?      05:10        5   BY MR. LASKER:                           05:11
 6          MS. FORGIE: Object to the form.                  6       Q. The 2013 -- why don't we mark that
 7          THE WITNESS: I don't believe so or               7   analysis.
 8      else I would have known because the                  8          (Exhibit Number 19-19 was
 9      deposition was after -- when was it? Do              9          marked for identification.)
10      we have a date?                    05:10            10          MS. FORGIE: Tell me which version
11   BY MR. LASKER:                                         11       you're using.
12      Q. We do have a date. I'll represent,               12          MR. LASKER: March, 2013.
13   and counsel can correct me if I'm wrong, the           13          MS. FORGIE: So the earlier one.
14   deposition was taken before your expert                14          MR. LASKER: The later one.
15   report was submitted. That doesn't mean you 05:11      15          MS. FORGIE: Oh, the later one, I'm
16   saw it then?                                           16       sorry.
17      A. No, exactly. I don't think I saw                 17          THE WITNESS: Are there more than
18   any depositions prior to my expert report,             18       one.
19   so that's fine.                                        19          MR. LASKER: There's February and
20      Q. And do you recall whether you saw        05:11   20       March. The data doesn't change.        05:12
21   the AHS2013 data prior to -- you obviously             21          MS. FORGIE: I object to that
22   saw it prior to the time you did your                  22       comment. It does change. You know it.
23   rebuttal report.                                       23          MR. LASKER: I don't think it
24      A. Yes.                                             24       changes actually, but maybe I'm wrong.
25      Q. Do you recall if you saw it prior     05:11      25   ///



                                                                                                                   88
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 90 of 806

                                           Page 350                                                     Page 351
 1   BY MR. LASKER:                                          1      yet. She needs some time to read a
 2      Q. The -- Dr. Blair in his deposition                2      couple pages before and after, so give
 3   testified that the 2013 data, although for              3      her a minute, please.
 4   the glyphosate it is reported in a                      4         THE WITNESS: What are we talking
 5   dose-response analysis that includes a never 05:12      5      about?                          05:14
 6   exposure category and then three exposure               6   BY MR. LASKER:
 7   categories, he calculated that the                      7      Q. On page 172 Dr. Blair is -- I'm
 8   ever/never risk ratio for glyphosate and NHL            8   asking him some questions about the 2013
 9   in this 2013 data would be about 0.9. Do                9   data.
10   you recall that?                      05:13            10         Do you see that?                 05:14
11          MS. FORGIE: Object to the form.                 11      A. Yes.
12      Mischaracterizes the testimony.                     12      Q. I ask him the question at line 11.
13          THE WITNESS: I don't recall that.               13   "This 2013 cohort study finds no
14   BY MR. LASKER:                                         14   association -- no evidence of association
15      Q. Okay. Let's look at Dr. Blair's       05:13      15   between exposure to glyphosate and            05:14
16   deposition. I think we marked it as an                 16   non-Hodgkin's lymphoma; correct?"
17   exhibit.                                               17         And Dr. Blair answers, "Correct."
18          MS. SHIMADO: 6.                                 18         Do you see that?
19   BY MR. LASKER:                                         19      A. Yes.
20      Q. I'm going to hand it to you. It's 05:13          20      Q. And then I ask Dr. Blair, "And         05:14
21   Exhibit 6 after we find it.                            21   based upon the data that's set forth here,
22          And Dr. Blair on page -- it's 172.              22   if you look at individuals who had no
23   We're looking at the 2013 cohort study data;           23   exposure to glyphosate, which is that first
24   correct?                                               24   row, and you look at the three categories of
25          MS. FORGIE: Well, she's not there       05:14   25   individuals who did have exposure to          05:14

                                           Page 352                                                     Page 353
 1   glyphosate, if we were to do an ever/never              1   those numbers. But if we were to look at
 2   analysis of glyphosate and non-Hodgkin's                2   page 34 in the 2013 study for glyphosate, do
 3   lymphoma, the relative risk here would be               3   you see that data?
 4   something below 1.0; correct? About 0.9?"               4      A. Yes.
 5          "Answer: That's a reasonable guess 05:15         5      Q. And if we were to calculate from         05:15
 6   I think, yes."                                          6   this data an ever/never risk ratio for
 7          Do you see that?                                 7   glyphosate and non-Hodgkin's lymphoma, do
 8      A. Yes.                                              8   you agree with Dr. Blair that the risk ratio
 9      Q. Do you have any reason to disagree                9   would be about 0.9?
10   that if one were to do an ever/never        05:15      10         MS. FORGIE: Object to the form.           05:16
11   analysis of the 2013AHS data for glyphosate,           11      Asked and answered.
12   the risk ratio that would be reported would            12         You can answer again.
13   be something on the order of 0.9?                      13         THE WITNESS: Again, it would be
14          MS. FORGIE: Object to the form.                 14      hovering somewhere around the 1.
15          THE WITNESS: I would have to look 05:15         15      However, I don't think that these         05:16
16      at the data, but, in general, I don't               16      categories are sufficiently well
17      believe any of those analyses because I             17      established to even make this
18      don't believe the exposure assessment.              18      comparison.
19      So it doesn't matter.                               19   BY MR. LASKER:
20   BY MR. LASKER:                            05:15        20      Q. Okay. But just so the record is        05:16
21      Q. I understand that, but let me just               21   clear, we have the non- -- the never use is
22   make sure I understand and see if you agree            22   the reference of 1.0; correct?
23   with what the numbers would be, and                    23      A. That's the reference, correct.
24   obviously others will decide whether or not            24      Q. And in the exposure groups, we have
25   those numbers are the -- the significance of 05:15     25   odds ratios of either below 1 or just at 1;   05:16



                                                                                                                   89
                          TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 91 of 806

                                             Page 354                                                      Page 355
 1   correct?                                                  1   about the 2013 analysis relates to the
 2          MS. FORGIE: Object to the form.                    2   imputation method that was used; correct?
 3      Asked and answered.                                    3      A. That's correct.
 4          You can answer it again.                           4      Q. And the AHS investigators -- and
 5          THE WITNESS: Well, the relative          05:16     5   just to be clear, the issue with the       05:17
 6      risks here which they are not odds                     6   imputation method is in their second phase
 7      ratios --                                              7   of gathering information on pesticide
 8   BY MR. LASKER:                                            8   exposures. They had, I think, 36 percent of
 9      Q. I'm sorry.                                          9   individuals who responded to the first
10      A. -- are actually hovering around the 05:16          10   survey who didn't respond to the second;        05:18
11   1.                                                       11   correct?
12      Q. So the relative risks are either                   12          MS. FORGIE: Object to the form.
13   0.8, 0.9, or 1.0 for use of glyphosate as                13          THE WITNESS: So the AHS is a
14   compared to non-use of glyphosate as the                 14      cohort study that has, because there's
15   data is reported here; correct?            05:17         15      so many people to be interviewed, a long 05:18
16          MS. FORGIE: Object to the form.                   16      period of enrollment which is about four
17      Asked and answered.                                   17      or five years. And by the time the last
18          You can answer again.                             18      person was enrolled, they pretty much
19          THE WITNESS: Well, the relative                   19      decided they had to update their
20      risks are rate ratios hover around the 1 05:17        20      exposures because they realized that       05:18
21      and the confidence intervals include the              21      exposures change.
22      1, but they go out to 1.4.                            22          So in the next phase starting in
23   BY MR. LASKER:                                           23      1999, I believe, through 2003, they
24      Q. The -- in your rebuttal report, you                24      tried to recontact all these farmers who
25   state one of the main concerns you have         05:17    25      they enrolled in the first phase, and    05:18


                                             Page 356                                                      Page 357
 1      yes, among those that they reached                     1      Q. Used that as well to impute for
 2      again, that was about 62 percent.                      2   them?
 3   BY MR. LASKER:                                            3      A. Yes.
 4      Q. And because of that, the AHS                        4      Q. And the AHS investigators have used
 5   investigators used an imputation method to       05:19    5   that same imputation method for every           05:19
 6   impute what the values would be, the                      6   pesticide study that they have published
 7   exposure values would be for the individuals              7   that includes data from the phase 2 surveys;
 8   who did not respond to the second phase                   8   correct?
 9   questionnaire based upon the prior                        9         MS. FORGIE: Object to the form.
10   information that they had from those          05:19      10         THE WITNESS: Yes. They used a              05:20
11   individuals and the information they had                 11      general method of imputation for all
12   from the 60 plus percent of subjects who                 12      pesticides, whether or not these
13   responded to both questionnaires; correct?               13      pesticides were actually still in use or
14          MS. FORGIE: Object to the form.                   14      not, and whether or not the use changed
15          THE WITNESS: From what I                05:19     15      over time specifically between the first 05:20
16      understand is they basically used the                 16      and the second survey.
17      baseline information to impute the                    17   BY MR. LASKER:
18      follow-up.                                            18      Q. So every publication that has come
19   BY MR. LASKER:                                           19   out of the AHS that looks at pesticides
20      Q. So is it your understanding then      05:19        20   since they've had this phase 2 exposure        05:20
21   that they did not use data from the 60 some              21   information, all of the published studies,
22   odd percent who responded to both                        22   all the peer-reviewed published studies from
23   questionnaires --                                        23   the AHS have used this same imputation
24      A. Oh, yes, because they used the                     24   method that was used in the 2013 analysis
25   baseline for all of them.               05:19            25   included glyphosate; correct?               05:20



                                                                                                                      90
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 92 of 806

                                             Page 358                                                      Page 359
 1         MS. FORGIE: Object to the form.                      1   study; is that correct?
 2      Asked and answered. It mischaracterizes                 2          MS. FORGIE: Object to the form.
 3      her prior testimony.                                    3      Also asked and answered. She's answered
 4         You can answer it again.                             4      this twice.
 5         THE WITNESS: They used one single 05:21              5          You can answer it a third time.      05:22
 6      imputation method to apply to every                     6          THE WITNESS: Again, this
 7      single pesticide whether the pesticide                  7      imputation method is one and the same
 8      has been banned and supposedly not been                 8      imputation method for every single
 9      used since '72 which is DDT and lindane                 9      exposure, and there are big differences
10      shortly after, or whether it's a       05:21           10      between the exposures, the timing of the 05:22
11      pesticide that came on the market and                  11      exposure and, therefore, the validity of
12      went and was gone by 1993 when they                    12      this method. So every other paper that
13      started this study or whether it's a                   13      comes out has to be judged by how valid
14      pesticide which is unique such as                      14      this method is, not only for the
15      glyphosate that changed use in the        05:21        15      pesticide but also the outcome.          05:22
16      middle of their inrollment period. And                 16   BY MR. LASKER:
17      they're using the same method for all of               17      Q. I understand that. But I just want
18      these pesticides.                                      18   to make sure that I'm clear that every paper
19   BY MR. LASKER:                                            19   that has come out of the AHS and including
20      Q. Just so I understand, every          05:21          20   all the papers that have been peer-reviewed 05:22
21   publication that's come out of the AHS since              21   and published from the AHS have used the
22   the second phase data was incorporated into               22   same imputation method that is used in the
23   their analysis, every peer-reviewed                       23   2013 study; is that correct?
24   published study has made use of this general              24          MS. FORGIE: Object to the form.
25   imputation method that was used in the 2013 05:21         25      Asked and answered. She's answered it        05:22


                                             Page 360                                                      Page 361
 1      four times now.                                         1   AHS looking at pesticides since that second
 2         You can answer it again.                             2   survey was conducted has used the imputation
 3         THE WITNESS: So it's a perfectly                     3   methodology that is used in the 2013 study?
 4      fine imputation method for something                    4           MS. FORGIE: Objection. I object
 5      like DDT that supposedly hasn't changed        05:22    5      to the form also. You are badgering the 05:24
 6      since 1972, and it's a perfectly fine                   6      witness now. This is the sixth time
 7      method for any pesticide that was                       7      you've asked the exact same question,
 8      discontinued in use since 1993 because                  8      the exact same question.
 9      what would change over time since 1993?                 9           MR. LASKER: And one of these times
10      Nothing. Right? Because supposedly all 05:23           10      I'll get an answer.                05:24
11      the exposures you could ever have had                  11           MS. FORGIE: Wait. Don't do that.
12      for this pesticide would have been                     12      You've gotten answers. You're badgering
13      recorded at baseline. This is not the                  13      the witness. I object to that. Don't
14      case for any exposure that changed and                 14      do that.
15      especially not for an exposure that        05:23       15           MR. LASKER: Mark the record here. 05:24
16      changed dramatically. There's only one                 16           MS. FORGIE: Good. Please do.
17      I'm aware of in this study, and that was               17           MR. LASKER: I'm going to ask it
18      glyphosate for which that changed.                     18      again because it's a pretty simple
19   BY MR. LASKER:                                            19      question.
20      Q. Just so I understand this            05:23          20   BY MR. LASKER:                             05:24
21   correctly, and I think you'll agree with me               21      Q. Am I correct -- and it's a question
22   on this, but I just need to understand this               22   that has a yes or no. There may be an
23   for the record, am I correct that every                   23   explanation you want to give afterwards.
24   study that has been published by the AHS,                 24   But it's a yes or no question. Am I correct
25   every peer-reviewed published paper from the 05:23        25   that every peer-reviewed publication from       05:24



                                                                                                                      91
                           TSG Reporting - Worldwide                  877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 93 of 806

                                          Page 362                                                   Page 363
 1   the AHS that has come out since that phase 2          1   did a study in which they tried to test
 2   exposure data was collected has used the              2   their imputation methodology and to look at
 3   same imputation that is used in the 2013              3   how well it performed with respect to the
 4   study that included the glyphosate data?              4   different pesticides; correct?
 5         MS. FORGIE: Objection. You are         05:24    5          MS. FORGIE: Object to the form.        05:25
 6      really badgering this witness. This is             6          THE WITNESS: It was a very special
 7      now like the eighth time. I'm counting.            7      type of pesticide they looked at. It
 8      Objection. Asked and answered.                     8      wasn't glyphosate from what I recall.
 9         You can answer it again.                        9   BY MR. LASKER:
10         THE WITNESS: There is no yes or no 05:25       10      Q. Let me ask you about the study.        05:25
11      answer to this. And, also, I don't                11   Maybe we're not talking about the same
12      know. Because, for example, if you're             12   study. The Heltshe study?
13      assessing lindane and DDT, you don't              13      A. Yeah, Heltshe.
14      need an imputation method because you             14          (Exhibit Number 19-20 was
15      have all the data you want which is the 05:25     15          marked for identification.)       05:26
16      data you collected at baseline.                   16   BY MR. LASKER:
17         However, for any pesticide still in            17      Q. This will be Exhibit 19-20. This
18      use where you have no updated pesticide           18   Exhibit 19-20 by Heltshe entitled, "Using
19      information, you would use this                   19   Multiple Imputation to Assign Pesticide Use
20      imputation method. Whether that's an      05:25   20   for Non-Responders in the Follow-Up            05:26
21      appropriate method is a totally                   21   Questionnaire in the Agricultural Health
22      different question. For glyphosate, I             22   Study"; correct?
23      don't believe so.                                 23      A. Yes.
24   BY MR. LASKER:                                       24      Q. And in this study, they reported
25      Q. And the AHS investigators actually 05:25       25   that their imputation methodology, and they 05:26


                                          Page 364                                                   Page 365
 1   report this in their abstract, that the               1      Q. And they compared that to the
 2   distribution of prevalence and days per year          2   actual data because they had actual data
 3   of use for specific pesticides were similar           3   from those individuals; correct?
 4   across observed and imputated in the holdout          4          MS. FORGIE: Object to the form.
 5   sample.                               05:26           5          THE WITNESS: They have actual data 05:27
 6         Do you see that?                                6      from those individuals that they are
 7         MS. FORGIE: Take your time.                     7      putting in the holdout sample, correct.
 8   BY MR. LASKER:                                        8   BY MR. LASKER:
 9      Q. It's towards the bottom in the                  9      Q. And they then used that analysis to
10   abstract.                             05:27          10   check on the accuracy of their imputation     05:27
11      A. Oh, in the abstract.                           11   method. And if you look at figure 2 on
12         Yes, they're using the data to                 12   page 414, they measure the relative errors
13   predict the data.                                    13   on page 414 for -- it's got to be 40 maybe,
14      Q. Right. And what they did in this               14   I didn't count them, but 40 different
15   analysis is they took of the people who had 05:27    15   pesticides starting with methyl bromide on     05:28
16   responded to the second phase, they randomly         16   the top down to coumaphos on the bottom;
17   selected 20 percent of them; correct?                17   correct?
18         MS. FORGIE: Object to the form.                18      A. Yes.
19         THE WITNESS: Yes.                              19      Q. And for each of those pesticides
20   BY MR. LASKER:                               05:27   20   they checked to see how well their          05:28
21      Q. And then they used their imputation            21   imputation methodology worked; correct?
22   method to predict what the imputation method         22      A. Correct.
23   would say was the exposure experience of             23      Q. And for glyphosate, they found that
24   that 20 percent holdout sample; correct?             24   their imputation methodology worked about in
25      A. That's correct.                    05:27       25   the middle of the pack for all of these     05:28



                                                                                                                92
                         TSG Reporting - Worldwide               877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 94 of 806

                                             Page 366                                                    Page 367
 1   specifically identified pesticides as far as              1   pesticides that they were analyzing, they
 2   how well their imputation methodology works;              2   found that glyphosate was about in the
 3   correct?                                                  3   middle of the pack for prevalence as far as
 4         MS. FORGIE: Object to the form.                     4   how well the imputation methodology worked;
 5         THE WITNESS: Well, it's not the          05:28      5   correct?                            05:29
 6      middle of the pack. It's in relative                   6          MS. FORGIE: Object to the form and
 7      error on the left of the zero. So they                 7      asked and answered.
 8      are underestimating.                                   8          You can answer it again.
 9   BY MR. LASKER:                                            9          THE WITNESS: I don't think this
10      Q. But there's also one, two, three,      05:29       10      answers to what I've just tried to       05:29
11   four, five at the top. I've done the                     11      explain. They can only use to predict
12   counting. I think there's maybe 17 that are              12      from data they actually have; so we
13   more relative error, maybe 20 that have less             13      don't still know anything about the
14   relative error. But if you want to do the                14      people for whom they don't have the
15   counting, you can.                      05:29            15      follow-up data.                     05:30
16      A. But this is a prevalence, and we                   16          They are just assuming that those
17   are talking about a relative error to                    17      people behaved in the same way as the
18   predict a ever/never, and 75 percent of all              18      people they have data for.
19   people at baseline already reported use. So              19   BY MR. LASKER:
20   you can get, you know, this number very          05:29   20      Q. I understand.                    05:30
21   easily just because of the high prevalence.              21          And the people they have data for
22      Q. But my question to you is: In this                 22   would be people who cover this period that
23   published paper from the AHS in which                    23   you're concerned about where glyphosate
24   they're checking the validity of their                   24   exposure increased. The folks who responded
25   imputation methodology for the individual        05:29   25   to the second survey and the first survey,     05:30

                                             Page 368                                                    Page 369
 1   that's the hold-out sample; correct? The                  1   representative sample of the 38 percent.
 2   20 percent?                                               2      Q. Okay. I understand that. That's a
 3          MS. FORGIE: Objection. Object to                   3   different question, but I want to get at
 4      the form. And asked and answered.                      4   this issue of changes in glyphosate use over
 5          You can answer it again.          05:30            5   time.                             05:31
 6          THE WITNESS: This was done within                  6          The individuals who responded to
 7      the 62 percent who answered twice.                     7   the first survey and the second survey would
 8   BY MR. LASKER:                                            8   obviously have gone through that period for
 9      Q. Right.                                              9   glyphosate -- correct? -- where there was
10      A. These 62 percent, as they describe      05:30      10   expanded use?                          05:31
11   in here, are actually different in many ways             11      A. Only a small number would have gone
12   from the 30-some percent that did not --                 12   through -- no. Okay. We have 1993 through
13   38 percent that did not answer. So they are              13   1997. So the 62 percent supposedly come
14   using the 62 percent who are very different              14   from that whole time period; correct?
15   in many ways, and they actually              05:30       15      Q. And the second phase because they       05:32
16   acknowledging that they're also different in             16   responded to the second phase as well.
17   pesticide use to predict what would have                 17      A. Right.
18   happened to 38 percent that they did not                 18      Q. So '97 to 2001 as well. So for
19   have that second answer from.                            19   62 percent, they have exposure data that
20          It's easy to predict from people    05:31         20   spans before that first phase period and     05:32
21   who are answering and are -- and are                     21   then also into the 1990s during that period
22   captured because they want to be captured.               22   where glyphosate use was impacted by GMOs;
23   They could be younger. They could be more                23   correct?
24   educated. All of that is described in here.              24      A. So some of these people, at
25   So the people, 62 percent is not a          05:31        25   baseline, would have reported use prior to    05:32



                                                                                                                    93
                           TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 95 of 806

                                            Page 370                                                      Page 371
 1   1995, and some would have responded past                 1   glyphosate, potentially, I think we talked
 2   1995.                                                    2   about 20-plus years; correct?
 3     Q. And they had that data?                             3         MS. FORGIE: Objection.
 4         MS. FORGIE: Wait. Let her finish                   4     Mischaracterizes the testimony, and I'll
 5     her answer.                          05:32             5     object to the form.                  05:33
 6         MR. LASKER: Well, I mean --                        6         THE WITNESS: So potential for
 7         MS. FORGIE: No. She gets to                        7     exposure. We really don't know how far
 8     finish her answer.                                     8     it goes back because none of the Eghal
 9         THE WITNESS: So some people                        9     study papers actually describe for
10     changed, and other people didn't. Some 05:32          10     glyphosate how much in, you know, the         05:33
11     of this error is because some people                  11     past these people reported use.
12     changed, and it was a very simple                     12   BY MR. LASKER:
13     change. So what they're talking about                 13     Q. Okay. And what they're trying to
14     here is a change from yes, no.                        14   measure in the second phase is how much
15         There's only 25 percent at baseline 05:32         15   exposure there was from the end of the first   05:33
16     who did not report glyphosate use. So                 16   phase to the second phase -- correct? --
17     that's the only group that could have                 17   which is a much shorter time period?
18     actually reported a change. Everybody                 18         MS. FORGIE: Objection.
19     else stayed the same if you say yes, no.              19     Mischaracterizes the study itself.
20     That tells us nothing about the amount     05:33      20         THE WITNESS: So what they're             05:33
21     of use.                                               21     trying to do is to update the exposure
22   BY MR. LASKER:                                          22     information. Of course, the update is
23     Q. Okay. Let me just break this down.                 23     much more drastic in terms of amounts
24   First of all, in the original phase 1 study,            24     that somebody who reported in 1993 still
25   we are looking at exposures over -- for      05:33      25     use glyphosate but increased use in 1995     05:34


                                            Page 372                                                      Page 373
 1      enormously and then responds again.                   1   reflected in Table -- or Figure 2 on
 2      Right.                                                2   page 414; correct?
 3   BY MR. LASKER:                                           3          MS. FORGIE: Objection. Object to
 4      Q. And so for the 62 percent that                     4      the form. Also asked and answered.
 5   responded to the questionnaire, that would      05:34    5      She's answered this question at least        05:35
 6   be information that you'd get from their                 6      three times.
 7   second survey response; correct?                         7          You can answer again.
 8          MS. FORGIE: Objection. Asked and                  8          THE WITNESS: And there are at
 9      answered and object to the form as well.              9      least two wrong statement here. First
10          You can answer again.              05:34         10      of all, that's not correct for all the    05:35
11          THE WITNESS: You get updated                     11      pesticides. The pesticides that did not
12      information from these people who                    12      have this extreme change don't have this
13      respond. However, to then use that data              13      problem. This problem only has occurred
14      to predict how many people would use                 14      because glyphosate use changed
15      what who did not respond is a big step. 05:34        15      dramatically.                         05:35
16   BY MR. LASKER:                                          16          Second, this imputation method is a
17      Q. And I understand that step, and                   17      method that not only is used for a
18   that's a step that we have for all of the               18      prevalence of glyphosate yes/no, but to
19   pesticides, but for glyphosate, in looking              19      also impute the amount used. And what
20   at the individuals who responded at least      05:34    20      they're showing you in this little graph 05:35
21   and who had gone through that period of                 21      is just a prevalence yes/no. That's the
22   increased use that you're talking about,                22      least you could do and the least piece
23   that introduced whatever error it would                 23      of information you can have about this
24   introduce into the imputation methodology,              24      method actually working.
25   and for those people, that error is        05:35        25          Plus it makes the assumption that        05:36



                                                                                                                    94
                          TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 96 of 806

                                           Page 374                                                       Page 375
 1      the 62 percent are representative of the             1      can say that because when you have such
 2      38 percent, and we have to make that                 2      a high prevalence of use to begin with,
 3      assumption, and it's not right. They're              3      75 percent, then it is like a couple
 4      stating that in this paper that it's not             4      value where you're asking, well, how
 5      correct.                           05:36             5      much agreement is there in a measure         05:37
 6   BY MR. LASKER:                                          6      when 98 percent say no, I never used
 7      Q. Within the 62 percent that                        7      this pesticide, and 2 percent do use it,
 8   responded when the AHS investigators looked             8      and then you're, you know, getting --
 9   to see for prevalence how well the                      9      okay, now next time around 4 percent say
10   imputation methodology worked, including the 05:36     10      yes, but the 94 percent or the           05:37
11   fact that for those 62 percent, it spanned             11      75 percent are the overwhelming group
12   over that period when glyphosate use was               12      that is consistent.
13   expanding, the -- they found that the error            13         So because they already said yes at
14   in that 62 percent through the use of that             14      the baseline, they will consistently be
15   imputation method when they tested it for    05:36     15      predicted in the future because a yes is 05:37
16   glyphosate was somewhere in the middle of              16      a yes.
17   the pack for all the pesticides that they              17   BY MR. LASKER:
18   analyzed, and that's reflected on Figure 2;            18      Q. The concern that you are raising
19   correct?                                               19   now about glyphosate and this imputation
20          MS. FORGIE: Objection. Object to     05:36      20   methodology is not raised as a concern by         05:37
21      the form. You're badgering the witness.             21   the investigators, Dr. Heltshe and others,
22      This is now about the fifth time you've             22   who presented the data for their validation
23      asked that same exact question.                     23   study of the imputation method in which they
24          You can answer it again.                        24   presented glyphosate data along with the
25          THE WITNESS: I don't believe you      05:37     25   other pesticides; correct?                05:38


                                           Page 376                                                       Page 377
 1          MS. FORGIE: Object to the form.                  1   they made might be holding for most of these
 2          THE WITNESS: I don't understand                  2   pesticide, but they themselves actually say
 3      this question. Could you repeat?                     3   that certain assumptions might be incorrect,
 4   BY MR. LASKER:                                          4   including the missing at random assumption
 5      Q. The AHS investigators, including      05:38       5   that they're making in this imputation, and     05:39
 6   Dr. Heltshe, conducted a validation test of             6   I'm saying that for glyphosate because of
 7   their imputation methodology in this                    7   the time -- the exposure period change and
 8   publication; correct?                                   8   the huge increase in glyphosate and that
 9          MS. FORGIE: Object to the form.                  9   happening in the middle of the first
10          THE WITNESS: What? A validation         05:38   10   enrollment period, this is not the method to 05:39
11      method? No.                                         11   test this.
12   BY MR. LASKER:                                         12      Q. I understand that that's what
13      Q. The investigators of the AHS study,              13   you're saying.
14   including Dr. Heltshe, published this paper            14          My question is: Dr. Heltshe and
15   in 2002 presenting their data on how well    05:38     15   the other investigators who published this      05:39
16   the imputation methodology worked through              16   analysis and presented the data on
17   the analyses that they conducted in this               17   glyphosate in Figure 2 and also the findings
18   paper for various pesticides; correct?                 18   for the other pesticides -- so in glyphosate
19          MS. FORGIE: No. Object to the                   19   relative error to be in the middle of the
20      form.                          05:38                20   pack, they do not anywhere in this            05:39
21          THE WITNESS: This is a 2012 paper.              21   publication state that this finding for
22   BY MR. LASKER:                                         22   glyphosate alone is not reliable; correct?
23      Q. Sorry.                                           23          MS. FORGIE: Objection. That's the
24      A. And they conducted this method                   24      exact question you just asked twice.
25   under lots of assumptions. The assumptions 05:39       25      She's answered --                    05:40



                                                                                                                     95
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 97 of 806

                                               Page 378                                                      Page 379
 1         MR. LASKER: It's not the exact                         1         MS. FORGIE: Objection. Object to
 2      question. You're coaching the witness.                    2      the form. Asked and answered.
 3      You're coaching witness. I'm asking a                     3         You can answer again.
 4      different question.                                       4         THE WITNESS: These authors
 5         MS. FORGIE: I'm not coaching the          05:40        5      investigated lots of pesticides. They     05:41
 6      witness. I object. I object to the                        6      are not making any reference to any
 7      form. Asked and answered.                                 7      single pesticide. They are just
 8         You can answer it again.                               8      treating them as if they are equal in
 9         MR. LASKER: I'll ask the question                      9      terms of their method.
10      again because I can't imagine how you're 05:40           10   BY MR. LASKER:                             05:41
11      going to remember it at this point.                      11      Q. They do not state that their method
12   BY MR. LASKER:                                              12   does not work for glyphosate in this
13      Q. Dr. Heltshe and her                                   13   analysis; correct?
14   co-investigators who presented this analysis                14         MS. FORGIE: Objection. Asked and
15   in checking on the validation -- checking on 05:40          15      answered.                         05:41
16   the imputation methodology that they used                   16         You can answer again.
17   and reported the relative errors for all of                 17         THE WITNESS: In this paper, they
18   these various pesticides, including                         18      are not stating anything specific for
19   glyphosate, showing glyphosate to be in the                 19      any of the pesticides.
20   middle of the pack for the different         05:40          20   BY MR. LASKER:                             05:41
21   pesticides looked at in the AHS, nowhere in                 21      Q. Well, that's not true. In
22   this publication do they state that there is                22   Figure 2, they have specific information on
23   a different concern about glyphosate that                   23   each of the pesticides. In Figure 1, they
24   should be taken into account in analyzing                   24   report specific information -- or Table 3,
25   the results that they present; correct?      05:41          25   I'm sorry. They present specific            05:41

                                               Page 380                                                      Page 381
 1   information for specific pesticides;                         1   a relative error for glyphosate that was in
 2   correct?                                                     2   the middle of the pack for all the
 3         MS. FORGIE: Objection. It's not                        3   pesticides that they are -- for which
 4      appropriate to tell the witness one of                    4   they're using the imputation methodology;
 5      her answers is not true.               05:41              5   correct?                               05:42
 6         Objection. Also object to the                          6           MS. FORGIE: Objection. You're
 7      form. Asked and answered.                                 7       badgering the witness. You've asked her
 8         You can answer again.                                  8       the same question so many times.
 9         THE WITNESS: I may have misspoken.                     9           You may answer it again.
10      What I tried to do is answer your          05:42         10           THE WITNESS: I think you don't         05:42
11      questions in terms of whether the                        11       understand what I'm getting at, and I'm
12      authors actually commented on glyphosate                 12       sorry that I can't express myself in
13      being different. They did not comment                    13       more lay terms or whatever I need to do,
14      on these pesticides being one or the                     14       but this is not the same as a validation
15      other different. They are, of course,      05:42         15       study of the imputation method, and the     05:43
16      producing all of these data for all of                   16       authors clearly state that this multiple
17      the pesticides they imputed.                             17       imputation makes lots assumptions and
18   BY MR. LASKER:                                              18       that, you know, for simplicity of
19      Q. And the data that they presented                      19       modeling, they only used a single set of
20   and they decided to present to the world in      05:42      20       observed complete data, et cetera,       05:43
21   this peer-reviewed publication so that                      21       et cetera.
22   people could understand their imputation                    22           So it is not -- and they also say
23   methodology when they're reading these AHS                  23       that some of these assumptions may not
24   studies that all now use this imputation                    24       be correct and may have to be updated.
25   methodology, the data they presented showed         05:42   25   ///



                                                                                                                        96
                            TSG Reporting - Worldwide                  877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 98 of 806

                                               Page 382                                                          Page 383
 1   BY MR. LASKER:                                                1   the 2013 study was not appropriate for
 2      Q. Can you point to anything in the                        2   glyphosate?
 3   published literature, in the AHS website,                     3         MS. FORGIE: Object to the form.
 4   anywhere, anyone other than you has stated                    4         THE WITNESS: I can't remember.
 5   that the imputation methodology that the AHS 05:43            5   BY MR. LASKER:                            05:44
 6   study is using is uniquely inappropriate for                  6      Q. In the -- in your role on the
 7   glyphosate?                                                   7   executive -- I'm sorry. Not the executive,
 8         MS. FORGIE: Object to the form.                         8   the external advisory committee for the AHS
 9         THE WITNESS: Well, I haven't                            9   to the present, have you ever heard anybody
10      looked; so I don't know.               05:43              10   say that the imputation method that they're 05:45
11   BY MR. LASKER:                                               11   using for the phase 2 respondents is not
12      Q. You're not aware of any statement                      12   appropriate for glyphosate?
13   from any of the AHS investigators that the                   13         MS. FORGIE: Object to the form.
14   imputation method that they are using for                    14         THE WITNESS: This is a 2012 paper.
15   their phase 2 results are not appropriate     05:44          15      We have not met since they started doing 05:45
16   for glyphosate; correct?                                     16      this. So nobody could have objected.
17         MS. FORGIE: Object to the form.                        17   BY MR. LASKER:
18         THE WITNESS: I don't understand                        18      Q. And there is nothing in the draft,
19      why they should be doing this if they                     19   the 2013 document that you've reviewed, that
20      haven't published on glyphosate.          05:44           20   includes the glyphosate data that says       05:45
21   BY MR. LASKER:                                               21   anything about the imputation methodology
22      Q. Are you aware -- and I deposed                         22   being inappropriate for glyphosate; correct?
23   Dr. Blair. In Dr. Blair's deposition when I                  23         MS. FORGIE: Objection to the form.
24   deposed him, did he at any point state that                  24      Mischaracterizes the draft manuscript.
25   the imputation method that was being used in 05:44           25         THE WITNESS: As far as I know,           05:45


                                               Page 384                                                          Page 385
 1     this manuscript actually does refer back                    1      the record at 5:54 p.m.
 2     to the imputation method, and there was                     2   BY MR. LASKER:
 3     some back and forth between authors                         3      Q. Dr. Ritz, in your role as the chair
 4     about how to present it.                                    4   of the external advisory committee to the
 5   BY MR. LASKER:                             05:45              5   AHS, have you spoken with anyone at the AHS          05:54
 6     Q. Right.                                                   6   to share the opinion that you've been
 7         But in that back and forth, is                          7   offering here today that the imputation
 8   there any specific discussion that for                        8   method that they're using is inappropriate
 9   glyphosate the method is not appropriate?                     9   for glyphosate?
10         MS. FORGIE: Objection. Do you            05:46         10         MS. FORGIE: Objection. Asked and 05:54
11     want her to review to find it?                             11      answered.
12         MR. LASKER: If you want to take a                      12         You can answer again.
13     break, we can do that.                                     13         THE WITNESS: I have not talked to
14         MS. FORGIE: No, we're not going to                     14      them about glyphosate.
15     take a break.                      05:46                   15   BY MR. LASKER:                             05:55
16         THE WITNESS: So am I supposed to                       16      Q. In your rebuttal report at page 7,
17     look.                                                      17   you're talking about -- bottom of page 7,
18         MR. LASKER: Let's take a break.                        18   you're talking about the differences between
19         MS. FORGIE: You're not going to                        19   peer-reviewed and unpublished -- a
20     look during the break, though.           05:46             20   peer-reviewed paper and the unpublished          05:55
21         THE VIDEOGRAPHER: We're off the                        21   manuscript for the Agricultural Health Study
22     record at 5:46 p.m.                                        22   2013 analysis; correct?
23         (Recess taken from 5:46 p.m. to                        23      A. I think I do. Where is it?
24         5:54 p.m.)                                             24      Q. Bottom of page 7, continuing to
25         THE VIDEOGRAPHER: We are back on               05:54   25   page 8.                           05:55




                                                                                                                             97
                             TSG Reporting - Worldwide                   877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 99 of 806

                                           Page 386                                                     Page 387
 1      A. Oh, yes.                                          1         THE WITNESS: This is the
 2      Q. All right. One of the things that                 2      insecticide paper. Fungicide and
 3   you state is that there is a footnote in the            3      fumigant, right.
 4   2013 AHS analysis that includes glyphosate              4   BY MR. LASKER:
 5   that states that numbers do not sum to       05:55      5      Q. And if you look at the              05:56
 6   totals due to missing data; correct?                    6   corresponding tables in the peer-reviewed
 7      A. Correct.                                          7   published literature -- published study in
 8      Q. Now, the manuscript that was the                  8   2014 and you look at the same footnotes that
 9   2013 draft was subsequently published                   9   you were looking at in the 2013 study on
10   without herbicide data, so without the       05:55     10   those same tables, the peer-reviewed          05:57
11   glyphosate data in 2014; correct?                      11   published article in 2014 likewise has the
12      A. There is a 2014 paper, and I went                12   footnote that says that the number of cases
13   to that, yes.                                          13   do not total -- do not equal the total NHL
14         MR. LASKER: So let's mark that.                  14   cases because of missing data; correct?
15      This is 19-21.                      05:56           15      A. Where is that?                    05:57
16         (Exhibit Number 19-21 was                        16      Q. If you look at page 6, footnote 2.
17         marked for identification.)                      17      A. The subtype, yeah. The subtypes
18   BY MR. LASKER:                                         18   due to missing data.
19      Q. And 19-21 -- Exhibit 19-21 is the                19      Q. If you look at page 10 for the dose
20   2014 publication that was the subsequent       05:56   20   response analyses of NHL, in general,          05:57
21   revisions to the actual -- the 2013 study              21   footnote 2, the same statement, "The number
22   but without the herbicide data and                     22   of cases do not sum the total number of NHL
23   substituted in fungicide and fumigant data;            23   cases because of missing data"; correct?
24   correct?                                               24      A. Yes.
25         MS. FORGIE: Object to the form.         05:56    25      Q. So that statement which appears         05:58

                                           Page 388                                                     Page 389
 1   both in the peer-reviewed published 2014                1   pesticides that stayed in the analysis?
 2   paper and the 2013 draft; correct?                      2          MS. FORGIE: Object to the form.
 3         MS. FORGIE: Object to the form.                   3          THE WITNESS: That's not what I
 4         THE WITNESS: Well, it probably                    4      said. I said that it's not exactly
 5     refers to different types of data       05:58         5      referring to the same data or missing     05:59
 6     because missing data are defined by what              6      data because, by definition, they have
 7     you're looking at, and this manuscript                7      to be different.
 8     looked at the subpopulation of                        8   BY MR. LASKER:
 9     pesticides; so the missing data must be               9      Q. Okay. But the fact that there is
10     different.                        05:58              10   missing data noted in the 2013 paper is not    05:59
11   BY MR. LASKER:                                         11   something that will prevent that paper from
12     Q. This study looked at some of the                  12   being published in a peer-reviewed
13   same pesticides -- I know that the                     13   literature; correct?
14   herbicides are dropped out, but it looked at           14          MS. FORGIE: Object to the form.
15   some of the same pesticides as the 2013        05:58   15          THE WITNESS: It depends on what          05:59
16   draft; correct?                                        16      missing data does, and obviously here
17     A. Yes. It overlaps in terms of all                  17      nobody in the peer review community
18   pesticides, but this paper should have less            18      thought that it was an issue.
19   missing data because it dropped out the                19   BY MR. LASKER:
20   herbicides. The missing herbicide data        05:58    20      Q. Okay. You also state in your         05:59
21   should not be affecting this.                          21   expert report on page 8, you talk about
22     Q. So is it your testimony, just so I                22   page 19 in the March 15, 2013, draft, and if
23   understand, is that you think that the                 23   you can go to that --
24   herbicide, there's more missing data for the           24      A. Well, we --
25   glyphosate than there were for other         05:59     25      Q. I'm sorry. In your rebuttal report 05:59



                                                                                                                   98
                          TSG Reporting - Worldwide                877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 100 of 806

                                            Page 390                                                        Page 391
 1   on page 8 as another concern that you raise               1   question raised in the draft if you would
 2   about the unpublished 2013 paper, you point               2   have pointed out the above-mentioned
 3   to a comment that appears on page 19                      3   problems -- and let me make sure, let me see
 4   about -- in the section that starts                       4   if this is one of them. This data I had
 5   "although this is a large prospective study, 06:00        5   gotten closer to publication. So let me       06:01
 6   there are limitations," and then there is a               6   first ask this. The comment that you're
 7   reference in the 2013 draft that you talk                 7   pointing out in the March 15, 2013, draft
 8   about need to add a paragraph of exposure                 8   following "although this is a large
 9   assessment, discuss the information on our                9   prospective study," is that a comment that
10   exposure scale in relation to the monitoring 06:00       10   in your mind will lead you to conclude that 06:01
11   work, discuss the likely magnitude of                    11   this study should not be published in
12   misclassification and its likely impact on               12   peer-reviewed literature, specifically that
13   the estimates of relative risk"; correct.                13   comment?
14      A. Correct.                                           14          MS. FORGIE: Object to the form.
15      Q. And you mention this as another          06:00     15       Asked and answered.                   06:01
16   indication of why the 2013 analysis was not              16          You can answer it again.
17   something that would have withstood peer                 17          THE WITNESS: This statement was
18   review; correct?                                         18       specific to glyphosate, not to anything
19         MS. FORGIE: Objection.                             19       that's published.
20         THE WITNESS: This I cite because           06:00   20   BY MR. LASKER:                              06:01
21      I'm asked to review glyphosate.                       21       Q. The comment in the draft that
22   BY MR. LASKER:                                           22   you're referring to is not discussing
23      Q. Okay. You stated that in the next                  23   glyphosate; correct?
24   paragraph for the above-stated reasons                   24          MS. FORGIE: Object to the form.
25   including the fact that there's this        06:00        25          THE WITNESS: The comment is                06:01


                                            Page 392                                                        Page 393
 1      probably more general, but my idea is                  1   this is a large prospective study" is the
 2      that they took glyphosate out because                  2   same statement that appears in the draft at
 3      that was the one that had most of the                  3   page 19 where you are mentioning this
 4      problems.                                              4   concern that was being raised -- this
 5   BY MR. LASKER:                            06:02           5   comment that was raised in the draft          06:02
 6      Q. And if you can look at the 2014                     6   document; correct?
 7   paper again, and you can go to the very end               7          MS. FORGIE: Object to the form.
 8   of the paper on page 15 above the section --              8      Misstates the draft.
 9   above the conclusion, do you see where                    9          THE WITNESS: There are two things
10   conclusion is in the same column?            06:02       10      conflated: One is the statement that      06:03
11      A. Yeah, uh-huh.                                      11      was commented on, and the other is the
12      Q. The paragraph above that which                     12      comment.
13   starts, "Although this is a large                        13   BY MR. LASKER:
14   prospective study."                                      14      Q. The comment that you note that
15          Do you see that?               06:02              15   appears in the draft of potential limitation 06:03
16      A. Yes.                                               16   in the 2013 study, that is, in fact,
17      Q. And that is the same language that                 17   discussed in the peer-reviewed published
18   appeared in the draft in 2013, the same                  18   study in 2014; correct?
19   start of that paragraph; correct?                        19          MR. BAUM: Object to the form.
20          MS. FORGIE: Object to the form.        06:02      20      Again, mischaracterizes the draft.       06:03
21          THE WITNESS: What was the                         21          THE WITNESS: So, again, the
22      question?                                             22      statement I pulled out, I'm referencing
23   BY MR. LASKER:                                           23      this early -- this sentence that starts
24      Q. The phrase that starts in the                      24      on this paragraph in order to tell you
25   peer-reviewed published study, "Although        06:02    25      which comment I'm referring to. The         06:03



                                                                                                                       99
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 101 of 806

                                             Page 394                                                      Page 395
 1      comment I'm referring to states, "Need                 1      paragraph, plus what this statement or
 2      to add a paragraph of exposure                         2      this comment requests inserts in the
 3      assessment, discuss the information on                 3      message section, and I haven't reviewed
 4      exposure scale in relation to monitoring               4      the message section.
 5      work, discuss the likely magnitude of      06:03       5   BY MR. LASKER:                             06:04
 6      misclassification and its likely impact                6      Q. In making this criticism in your
 7      on the estimates of RR." None of that                  7   expert rebuttal report of the 2013 draft, am
 8      could be done in this publication                      8   I correct that you did not compare this
 9      because they're not publishing on                      9   comment with what was actually included in
10      glyphosate.                        06:04              10   the 2014 peer-reviewed published study?          06:04
11   BY MR. LASKER:                                           11          MS. FORGIE: Object to the form.
12      Q. But the comment that they're saying                12          THE WITNESS: I would not need to
13   -- the note they're saying about what needs              13      do that because the peer-reviewed study
14   to be added to the manuscript was, in fact,              14      does not address glyphosate, and it is
15   added to the manuscript as it was published     06:04    15      with glyphosate that I have this problem 06:04
16   in 2014; correct? That's what the rest of                16      and not with these other pesticides.
17   that paragraph does. It responds exactly to              17   BY MR. LASKER:
18   that comment.                                            18      Q. Okay. The -- I want to make sure I
19          MS. FORGIE: Object to the form.                   19   talked about it. I think there's one study
20          THE WITNESS: I have --               06:04        20   that I did not talk about. I don't think    06:05
21          MS. FORGIE: Wait. Also asked and                  21   I'm going to have time to go through it in
22      answered.                                             22   detail, but there was a case control study
23          You may answer it again.                          23   in France by Dr. Orsi, and that I know you
24          THE WITNESS: I can't read it this                 24   have certain concerns about that I don't
25      fast. I would have to read the whole      06:04       25   think we'll have time to go through in        06:05


                                             Page 396                                                      Page 397
 1   detail. But am I correct that that case                   1   correct?
 2   control population in France, the                         2         MS. FORGIE: Object to the form.
 3   investigators reported an odds ratio for                  3         THE WITNESS: I remember that
 4   glyphosate of 1.0 that was not statistically              4      table, and my problem was that self --
 5   significant?                         06:05                5      was excluding the proxies is that you're 06:06
 6          MS. FORGIE: Object to the form.                    6      actually excluding the sickest
 7          THE WITNESS: They are reporting                    7      individuals who died before they could
 8      that for NHL. They also had other                      8      be interviewed. So the difference
 9      outcomes for which the odds ratios were                9      between the two estimates might be that
10      slightly different including multiple      06:05      10      you're actually throwing out the people 06:06
11      myeloma and some sub groups.                          11      who are the sickest.
12   BY MR. LASKER:                                           12   BY MR. LASKER:
13      Q. But for NHL in the French case                     13      Q. Just so I understand for the NAPP
14   control study, they reported an odds ratio               14   data for pooling together all the case
15   of 1.0; is that correct?                06:05            15   control studies in U.S. and Canada control   06:07
16      A. With a wide confidence interval and                16   adjusted for those three other pesticides,
17   very few exposed subjects.                               17   the odds ratios and the two ways that they
18      Q. Okay. And then for the NAPP data                   18   reported it were either 1.13 or 0.95;
19   which would be the pooled data of all the                19   correct?
20   case control studies in Canada and the U.S.      06:06   20         MS. FORGIE: Object to the form.       06:07
21   for their ever/never analysis when they                  21      Asked and answered.
22   adjusted for three pesticides, they reported             22         You can answer it again.
23   an odds ratio for glyphosate and                         23      A. Those are reported for models that
24   non-Hodgkin's lymphoma of 1.13 or for                    24   included three pesticides that I am
25   self-respondents only an odds ratio of 0.95; 06:06       25   questioning whether or not they should be     06:07



                                                                                                                    100
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 102 of 806

                                            Page 398                                                      Page 399
 1   included, and the model that didn't include              1      new data unless somebody can show me
 2   these pesticides was 1.43 and also for a                 2      that the exposure assessment for
 3   subgroup analysis with intensity of                      3      glyphosate was not severely
 4   exposures more than two days per year it                 4      misclassified.
 5   actually didn't change at all.            06:07          5   BY MR. LASKER:                            06:08
 6     Q. I understand that you have --                       6      Q. I understand that. But the odds
 7         MS. FORGIE: Let me ask a question.                 7   ratio reported in that data, and I
 8     How much time do we have left, please?                 8   understand you have reasons why you don't
 9         THE VIDEOGRAPHER: 11 minutes.                      9   want to rely upon that was, according to
10         MS. FORGIE: Okay, so you'll let us 06:07          10   Dr. Blair, around 0.9 and you agree it's     06:08
11     know when seven hours is up, please.                  11   somewhere around 1.10; correct?
12   BY MR. LASKER:                                          12          MS. FORGIE: Object to the form.
13     Q. For the De Roos 2005 cohort study,                 13      Also asked and answered.
14   they reported a never/ever use risk ratio               14          You can answer it again.
15   adjusted for other exposures of 1.1;         06:07      15          THE WITNESS: That was my answer.           06:08
16   correct?                                                16      I don't think I have to repeat myself.
17     A. Yes.                                               17   BY MR. LASKER:
18     Q. And in the 2013 AHS data the                       18      Q. And for the Swedish study for
19   never/ever odds ratio, you said, would be               19   Eriksson in the multi-regressional analysis,
20   somewhere around 1.0. Dr. Blair said it         06:08   20   they had an odds ratio of glyphosate         06:09
21   would be around 0.9; correct?                           21   non-Hodgkin's lymphoma of 1.5; correct?
22         MS. FORGIE: Objection.                            22          MS. FORGIE: Object to the form.
23     Mischaracterizes her testimony.                       23          THE WITNESS: It was about 1.5 in a
24         THE WITNESS: So I would not rely                  24      multi-variated adjusted, yes. 1.53,
25     on De Roos, and I would not rely on the 06:08         25      yes.                            06:09


                                            Page 400                                                      Page 401
 1   BY MR. LASKER:                                           1        MS. FORGIE: Object to the form.
 2      Q. We discussed now there was -- the                  2     Mischaracterizes the testimony -- the
 3   Cocco study very small. The Hardell study                3     studies.
 4   was very small. But the four largest study               4        THE WITNESS: That's not correct.
 5   populations then would be that French study, 06:09       5     We would have to go study by study. For 06:10
 6   the NAPP study, the Eriksson study, and the              6     example, 1.35 is not hovering around 1.
 7   De Roos or the AHS cohort. Those are the                 7   BY MR. LASKER:
 8   four largest datasets; correct?                          8     Q. 1.13, 1.0, 1.1 --
 9          MS. FORGIE: Object to the form.                   9     A. There was a 2 --
10          THE WITNESS: Orsi is the wrong one 06:09         10        MS. FORGIE: Wait, wait. There's           06:10
11      to mention. I don't think that Orsi is               11     no question.
12      one we should be looking because the                 12   BY MR. LASKER:
13      power was very low and it's a case                   13     Q. For ever/never use; correct?
14      control study that's hospital-based.                 14        MS. FORGIE: Object to the form.
15      There are lots of problems with          06:09       15     Asked and answered.                     06:10
16      hospital-based controls.                             16        THE WITNESS: Can we go back to De
17   BY MR. LASKER:                                          17     Roos 2003 and check that?
18      Q. Okay. You would -- and I know you                 18   BY MR. LASKER:
19   don't agree with -- you have concerns about             19     Q. Let's -- well, the NAPP includes --
20   all of those numbers. But for all of these 06:09        20   pools all the data that's in De Roos and in    06:10
21   adjusted odds ratios you have as they're                21   McDuffie; correct?
22   reported by the investigators, you have odds            22     A. Well, you asked me about all these
23   ratios that are bordering around 1.0 when               23   substudies before.
24   adjusted for other exposures to pesticides;             24     Q. In your expert report you discuss
25   correct?                            06:10               25   biological plausibility; correct?          06:10



                                                                                                                   101
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 103 of 806

                                             Page 402                                                      Page 403
 1      A. Yes.                                                1       and I believe that mischaracterizes the
 2      Q. And you discuss in there data                       2       deposition testimony, but you can show
 3   points for some studies on genotoxicity and               3       her a portion from that.
 4   oxidative stress; correct?                                4          THE WITNESS: Do you want to show
 5      A. Where's that?                      06:11            5       me?                            06:11
 6      Q. It's the last page of your expert                   6    BY MR. LASKER:
 7   report, I believe.                                        7       Q. No.
 8      A. It's the regular expert?                            8          MS. FORGIE: Object to the form.
 9      Q. Yes.                                                9          THE WITNESS: Then I can't comment.
10      A. The first one.                    06:11            10    BY MR. LASKER:                              06:11
11          MR. WISNER: Second to last page?                  11       Q. Do you have an independent opinion
12          MR. LASKER: Yes.                                  12    as to whether or not the glyphosate
13          THE WITNESS: Yes.                                 13    mutagenicity studies present evidence that
14          MR. WISNER: Page 24.                              14    glyphosate or glyphosate-based formulations
15   BY MR. LASKER:                               06:11       15    is mutagenic?                         06:12
16      Q. First of all, let me ask you, and I                16          MS. FORGIE: Object to the form.
17   don't know if you've read Dr. Portier's                  17          THE WITNESS: It has never been a
18   deposition. He goes through the genotox                  18       point of discussion. It's genotoxicity,
19   studies in some detail. Dr. Portier                      19       not mutagenicity.
20   testified that in his review of all of the    06:11      20    BY MR. LASKER:                              06:12
21   glyphosate studies, he did not find evidence             21       Q. So sitting here today, do you have
22   from those studies showing that glyphosate               22    any opinion one way or the other as to
23   is mutagenic. Do you agree with his                      23    whether or not glyphosate is mutagenic?
24   assessment?                                              24          MS. FORGIE: Object to the form.
25          MS. FORGIE: Object to the form,           06:11   25       Asked and answered.                     06:12

                                             Page 404                                                      Page 405
 1         You can answer it again.                            1         You can answer it again.
 2         THE WITNESS: It's beside the point                  2      A. I was not evaluating mutagenicity
 3     because the topic here is genotoxicity                  3   here. I was evaluating genotoxicity, and my
 4     and oxidative stress and not                            4   statement is about genotoxicity, not
 5     mutagenicity.                      06:12                5   mutagenicity.                        06:13
 6   BY MR. LASKER:                                            6      Q. Okay. And last document I'll show
 7     Q. Do you have an opinion as to                         7   you -- and we'll have a statement for the
 8   whether glyphosate is mutagenic?                          8   record -- is the 2017 slide deck.
 9         MS. FORGIE: Objection. Asked and                    9         MR. LASKER: Has been marked as an
10     answered.                         06:12                10   exhibit?                          06:13
11         You can answer it again.                           11         MS. SHIMADO: Yes.
12         THE WITNESS: Mutagenicity is                       12         MR. LASKER: This will be my last
13     affect in bacteria. Genotoxicity we can                13      question. I have a question on one of
14     assess in human cells and animals, and I               14      the slides in there.
15     believe that the studies that looked at 06:12          15         MR. WISNER: Exhibit 5.               06:13
16     genotoxicity showed that there is                      16         MR. LASKER: Yeah, 19-5.
17     genotoxicity as I report.                              17         THE WITNESS: My slide deck?
18   BY MR. LASKER:                                           18   BY MR. LASKER:
19     Q. Do you have any opinion one way or                  19      Q. Yeah, it's this one.
20   the other as to whether or not glyphosate is 06:12       20      A. Got it.                     06:13
21   mutagenic? Yes or no.                                    21      Q. And slide 16 in your slide deck --
22         MS. FORGIE: Objection. She                         22         MS. FORGIE: You mean page 16?
23     doesn't need to give yes or no. You're                 23         MR. LASKER: Page 16, slide 16.
24     badgering the witness. You've asked her                24      The number 16 on the slide.
25     three times now.                    06:13              25         THE WITNESS: Oh, yeah, the Ames            06:14



                                                                                                                   102
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 104 of 806

                                             Page 406                                                     Page 407
 1      test.                                                  1          6:32 p.m.)
 2   BY MR. LASKER:                                            2          THE VIDEOGRAPHER: We are back on
 3      Q. Right.                                              3      the record at 6:32 p.m.
 4          So you present data here on the                    4   BY MR. LASKER:
 5   Ames test for assessing carcinogens, and you 06:14        5      Q. Dr. Ritz, in your opinion, can        06:32
 6   report data that for truly carcinogenic                   6   scientific studies looking at the issues of
 7   compounds and truly non-carcinogenic                      7   genotoxicity and oxidative stress standing
 8   compounds and positive and negative on the                8   alone provide evidence that can establish
 9   Ames test; correct?                                       9   that a compound causes cancer in humans?
10      A. That's correct.                   06:14            10          MS. FORGIE: Object to the form.         06:32
11      Q. My question is: The data in this                   11          THE WITNESS: These are two
12   table, is that data that you made up, or is              12      criteria that are used by IARC to
13   that data --                                             13      establish carcinogenicity, but they are
14      A. Not even my data. It's actually                    14      just two criteria within the animal
15   Dr. Olson who loves to make these up.            06:14   15      study -- within the mechanistic study      06:32
16      Q. So this is all made-up data?                       16      section. There are several others.
17      A. Yes.                                               17   BY MR. LASKER:
18          MR. LASKER: Okay. Let's take a                    18      Q. And you would agree that
19      break. I've got about four minutes                    19   genotoxicity and oxidative stress studies by
20      left. I'm going to see if I've got any 06:14          20   themselves would not be sufficient for you      06:32
21      questions after that point, and I've got              21   to be comfortable reaching an opinion of
22      a comment for the record.                             22   carcinogenicity; correct?
23          THE VIDEOGRAPHER: We're off the                   23          MS. FORGIE: Object to the form.
24      record at 6:14 p.m.                                   24          THE WITNESS: I cannot subtract
25          (Recess taken from 6:14 p.m. to        06:14      25      from what I know about animal studies,       06:32


                                             Page 408                                                     Page 409
 1     mechanism, and human studies, and I                     1        MS. FORGIE: I'm not going to
 2     would never start with a genotoxicity                   2     respond to that. I believe her expert
 3     study. Because I'm an epidemiologist, I                 3     report speaks for itself.
 4     always start with human data.                           4        MR. LASKER: You just responded.
 5         MR. LASKER: I want to make a               06:33    5        MS. FORGIE: That's not a response. 06:34
 6     statement for the record, and then I'll                 6     Just a statement.
 7     suspend my questioning. There's a                       7        MR. LASKER: Second, we marked a
 8     couple of issues here.                                  8     number of points in the transcript where
 9         One is I mentioned earlier on the                   9     the witness would not respond to a
10     record, Dr. Ritz earlier in the          06:33         10     simple yes-or-no question and kept going 06:34
11     deposition suggested, and I don't know                 11     into soliloquies on issues that were not
12     whether she does or she does not, that                 12     part of the question. We marked that in
13     she might have opinions regarding the                  13     the transcript numerous times.
14     animal cancer bioassays.                               14        By doing so, the witness, I think,
15         I have reviewed her expert reports 06:33           15     intentionally was eating into our        06:34
16     multiple times. I don't see any mention                16     questioning time. As a result of that,
17     of animal cancer bioassays. To the                     17     we have not had sufficient time to
18     extent that plaintiff's counsel -- and                 18     explore Dr. Ritz's opinions both on the
19     we don't have to discuss this now -- but               19     studies that we actually at least
20     if there's going to be the position of     06:33       20     mentioned or discussed somewhat in          06:34
21     plaintiffs that they're reserving the                  21     passing or in connection with some of
22     right for Dr. Ritz to offer opinion                    22     the studies, some of the smaller studies
23     testimony regarding animal cancer                      23     like Hardell and Cocco and also the Orsi
24     bioassays, we'll move to strike all that               24     study where we did not have time to ask
25     testimony.                          06:33              25     questions pretty much at all, and also    06:34



                                                                                                                   103
                           TSG Reporting - Worldwide                 877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 105 of 806

                                        Page 410                                                  Page 411
 1     the numerous issues dealing with the              1   about them.
 2     Eriksson study in particular and the              2       MS. FORGIE: And for the record,
 3     other studies where because of the                3   how much time is left of his seven
 4     witness' refusal to answer questions, we          4   hours, or has he used it all? He's out.
 5     did not have time to go through all      06:35    5   Could I just have a statement on the        06:35
 6     those questions.                                  6   record that he's out?
 7         I will raise an option for                    7       THE VIDEOGRAPHER: Yeah. He's at
 8     plaintiff's counsel that if plaintiff's           8   seven hours.
 9     counsel is agreeing to further                    9       MS. FORGIE: Okay. Of course, we
10     questioning at this time for us to ask   06:35   10   don't agree at all with your            06:36
11     those questions, we are prepared to stay         11   characterization. In fact, there were
12     longer to do so.                                 12   multiple times, I would guess hundreds
13         If plaintiff's counsel is not                13   of times where you asked the same
14     prepared to provide us the time                  14   question over and over and over again,
15     necessary to ask those questions and get 06:35   15   and that's what ate up into your time.      06:36
16     Dr. Ritz's opinions, we reserve our              16   I wrote down at least three times where
17     right, and I'm only going to be                  17   you asked the same question ten times.
18     suspending my questioning at this point          18       Simply because you don't like the
19     in time to go back to the Court to get           19   answer doesn't give you the right to ask
20     additional time because significant      06:35   20   the same question over and over again.        06:36
21     portions of time, in our opinion, were           21   That's what ate up your time, and I'm
22     taken up because the witness would not           22   not going to agree to any further time.
23     answer a simple yes-or-no question, and          23   You can do whatever you want.
24     we've marked those in the record, and            24       That's outrageous.
25     the Court can reach its own conclusions 06:35    25       MR. LASKER: As I said, the Court          06:36

                                        Page 412                                                  Page 413
 1    will be able to look at the transcript.            1   be able to read that, and the Court will
 2    The witness didn't answer the questions;           2   be able to decide whether or not the
 3    so of course, I had to ask them again.             3   witness was responsive to questions.
 4        MR. WISNER: Just for the record, a             4       MS. FORGIE: The court certainly
 5    large portion of the time during this    06:36     5   will.                          06:37
 6    deposition was eaten up by yourself                6       MR. LASKER: Also one more thing I
 7    commenting on the proprietary or                   7   want on the record as well. There was
 8    responsiveness of the witness' answer,             8   objections to virtually every question,
 9    which, quite frankly, is both                      9   other than what is your name, by
10    argumentative, a waste of the testimony 06:36     10   plaintiff's counsel which also ate into   06:37
11    because it would never be admissible in           11   the time.
12    court, and a large portion of your                12       MS. FORGIE: And I'll respond to
13    commentary was also eaten up.                     13   that. You make incredibly compound,
14        So I think at this point -- how               14   complex questions which are
15    much time are you saying you want? Just 06:36     15   objectionable. I have to object to       06:37
16    curious. What's the amount of time                16   questions as to form if I want to
17    you're asking for?                                17   preserve them, which I do, and you make
18        MR. LASKER: I probably need                   18   these declaratory statements beforehand
19    another two hours or so.                          19   about all kinds of things; so that's why
20        MR. WISNER: Okay.                   06:37     20   I had to object, and the Court can look    06:37
21        MS. FORGIE: All right. So I have              21   at that as well.
22    a few questions.                                  22       Okay. I have a few questions,
23        MR. LASKER: And further                       23   Doctor.
24    commentary, I'm going to respond to.              24
25    It's in the transcript. The Court will 06:37      25           EXAMINATION                      06:37



                                                                                                          104
                        TSG Reporting - Worldwide            877-702-9580
     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 106 of 806

                                             Page 414                                                     Page 415
 1   BY MS. FORGIE:                                             1   the meta-analyses pooled analyses. You also
 2       Q. Dr. Ritz, can you explain how you                   2   go to the original literature and check all
 3   went about arriving at your opinions as                    3   the references they have because normally
 4   expressed in your report?                                  4   every paper refers to papers in this same
 5       A. Yes. When I'm asked to write a       06:38          5   area prior -- that was published prior. So   06:39
 6   report of a review paper, I use standard                   6   you do that to make sure that you have all
 7   methods common to epidemiology which is I go               7   the information that you need.
 8   to PubMed, and I put in search terms,                      8         In addition, I, of course, read not
 9   multiple search terms to find the biggest                  9   only the meta-analyses, the pooled analyses
10   amount of literature that I can on PubMed.    06:38       10   but also previous reports. I also read all  06:39
11           However, I know that certain search               11   of the different meta-analyses that kind of
12   terms don't work as well on PubMed; so we                 12   keep repeating information about the
13   also go to Google Scholar which usually                   13   singular studies. I read the singular
14   gives you a larger number of papers, and a                14   studies. I read the IARC report, and I read
15   lot of those then have to be weeded out      06:38        15   the EPA CARC report, and all of it together 06:39
16   because they're not relevant for the                      16   I used for my opinion.
17   question, but it at least allows you to                   17      Q. And you mentioned that you read the
18   check the literature very thoroughly. So                  18   CARC report. How did you decide how much
19   it's a lot of work, but you, you know, go                 19   weight, for example, to give the CARC
20   through it.                          06:38                20   report?                             06:39
21           Then in addition, you're going to                 21      A. The CARC report was not weighted
22   the published literature that is                          22   very heavily because the epidemiology
23   meta-analyses, pooled analyses to                         23   section was rather cursory, and the animal
24   cross-reference and make sure you haven't                 24   section, that one I actually studied more
25   missed anything that's mentioned in one of    06:39       25   intensively, seemed to make a lot of use of   06:40


                                             Page 416                                                     Page 417
 1   criteria that were contradictory in terms of               1   describes viewpoints, he calls them,
 2   which studies they were throwing out or                    2   according to which one can review the
 3   throwing in, but it stimulated me to go back               3   scientific literature. It's not just
 4   to some of the original studies they are                   4   epidemiology. It's all of science more or
 5   citing, but overall, it did not make a big   06:40         5   less.                                06:41
 6   impact on my assessment.                                   6          Although he meant it for
 7      Q. You mentioned you reviewed the IARC                  7   observational studies in order to help us
 8   monograph; is that correct?                                8   gauge how the data is performing, how the
 9      A. That's correct.                                      9   studies are performing in terms of causal
10      Q. Did you rely on the IARC monograph, 06:40           10   assessments because, as you may have           06:41
11   or did you form your own opinions?                        11   gathered while I was talking today, there is
12      A. I formed my own opinion. It is                      12   more to data than just, you know, numbers.
13   very interesting to read the IARC monograph               13   We have to put these data into context, and
14   because it summarizes information in an                   14   that's what his viewpoints do. They put
15   interesting way. However -- and I use it to 06:40         15   these data into context of validity,       06:41
16   cross check, and I use it to understand                   16   biologic plausibility, et cetera.
17   their argumentation.                                      17      Q. And with regard to glyphosate-based
18          It was published in 2015. There is                 18   formulations and non-Hodgkin's lymphoma, did
19   additional data that came out since.                      19   you perform a Bradford Hill analysis?
20      Q. Are you familiar with something         06:40       20      A. I did, and I talked about it in my 06:42
21   known as the Bradford Hill analysis?                      21   report.
22      A. Of course, yes. We teach that.                      22      Q. And what conclusion did you reach
23      Q. Can you explain briefly what it is?                 23   after performing your Bradford Hill
24      A. Well, Dr. Bradford Hill in the                      24   analysis?
25   early 1960s, wrote a commentary in which he       06:41   25      A. After that, I concluded that there 06:42



                                                                                                                  105
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 107 of 806

                                              Page 418                                                       Page 419
 1   is reasonable scientific certainty that NHL                1      Q. What is the difference?
 2   is associated with glyphosate use in these                 2      A. So a hazardous assessment is an
 3   data.                                                      3   assessment in which we are categorizing an
 4      Q. And did you also -- are you aware                    4   agent according to its ability to be toxic
 5   as to whether or not IARC also performed a        06:42    5   including being carcinogenic, but you can     06:43
 6   Bradford Hill analysis?                                    6   also assess reproductive toxicity or other
 7      A. I would presume they did.                            7   types of toxicity.
 8   Actually, they are talking about it; so I                  8         While a risk assessment is
 9   think they did.                                            9   something that regulatory agencies use in
10      Q. Okay. And what is your                06:42         10   order to come up with standard setting       06:43
11   understanding of the conclusion that the                  11   methods.
12   IARC reached with regard to their Bradford                12      Q. So would it be accurate --
13   Hill analysis?                                            13         THE VIDEOGRAPHER: I'm going to
14      A. Well, they used their Bradford Hill                 14      have to change tapes.
15   analysis in the way I just described to put 06:42         15         This marks the end of videotape      06:43
16   the different pieces together. First, they                16      number 4 in the deposition of Dr. Beate
17   might have done it work group for work                    17      Ritz. We're off the record at 6:43 p.m.
18   group, but they also do this as a whole                   18         (Recess taken from 6:43 p.m. to
19   group in which they are putting together the              19         6:45 p.m.)
20   human data, the animal data, the mechanistic 06:42        20         THE VIDEOGRAPHER: We are back on             06:45
21   data and put that in context of these                     21      the record at 6:45 p.m. This marks the
22   criteria that Bradford Hill suggested.                    22      beginning of videotape number 5 in the
23      Q. Is there a difference between                       23      deposition of Dr. Beate Ritz.
24   hazard assessment and risk assessment?                    24   BY MS. FORGIE:
25      A. Absolutely.                      06:43              25      Q. Doctor, we are discussing the        06:46


                                              Page 420                                                       Page 421
 1   difference between -- we were discussing                   1   BY MS. FORGIE:
 2   what a hazardous assessment is.                            2      Q. And did you read the deposition of
 3          Do you recall that before we                        3   Dr. John Acquavella in this case?
 4   changed tapes?                                             4      A. Yes, I did.
 5      A. Yes, I do.                      06:46                5      Q. From reading that deposition, is it 06:47
 6      Q. Would it be fair to say that a                       6   your understanding that Dr. Acquavella is an
 7   hazardous assessment gives you an idea, in                 7   epidemiologist?
 8   general, as to whether or not a particular                 8      A. Yes.
 9   product is capable of causing a disease?                   9      Q. Is it also your understanding that
10          MR. LASKER: Object to the form.          06:46     10   Dr. Acquavella was a -- is a former employee 06:47
11          THE WITNESS: A hazard assessment                   11   of Monsanto?
12      is a general evaluation of an agent's                  12      A. Yes.
13      potential to be toxic in different ways.               13      Q. And is it also your understanding
14   BY MS. FORGIE:                                            14   that he is a -- that Dr. Acquavella is a
15      Q. And in this case, would it be         06:46         15   current consultant to Monsanto?             06:47
16   accurate to say that a hazard assessment                  16         MR. LASKER: Objection to form.
17   determines whether or not glyphosate is                   17         THE WITNESS: I read that in the
18   capable of causing non-Hodgkin's lymphoma?                18      deposition, I believe, and I met him
19          MR. LASKER: Objection to form.                     19      while he was an employee of Monsanto at
20          THE WITNESS: So, in fact, this         06:46       20      some of these meetings.               06:47
21      what IARC is performing is a hazardous                 21   BY MS. FORGIE:
22      assessment. They are making a                          22      Q. Do you recall reading what
23      categorical -- they're taking a                        23   Dr. Acquavella said about IARC's hazard
24      categorical approach with a conclusion                 24   assessment?
25      of carcinogenicity.                  06:47             25      A. Yes. I understood his testimony as 06:47



                                                                                                                      106
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 108 of 806

                                               Page 422                                                     Page 423
 1   stating that IARC got the hazard assessment                  1         THE WITNESS: So since IARC based
 2   right but that there are questions about the                 2     its evaluation on NHL and quotes a
 3   risk assessment.                                             3     positive association with NHL, I assume
 4         MR. LASKER: Objection to form.                         4     that that was what he meant.
 5   BY MS. FORGIE:                             06:47             5   BY MS. FORGIE:                           06:48
 6      Q. So Dr. Acquavella's testimony was                      6     Q. Can you look at Exhibit 16, please.
 7   that IARC got it right in that in                            7         MR. LASKER: Which one is that?
 8   categorizing glyphosate as 2A; is that                       8         MS. FORGIE: It's the Brazil slide
 9   correct?                                                     9     show, slide deck, PowerPoint, whatever
10         MR. LASKER: Objection to form.             06:48      10     you want to call it.               06:49
11      Mischaracterizes the testimony.                          11         THE WITNESS: Yeah.
12         THE WITNESS: I did understand from                    12   BY MS. FORGIE:
13      reading his testimony that he actually                   13     Q. And on that, can you turn to the
14      referred to a correct hazard assessment,                 14   Section 26, page 26, "Proxy Versus
15      and if he meant correct, then he would       06:48       15   Self-Respondent," please.                06:49
16      have included the assessment of                          16     A. Yes.
17      carcinogenicity in terms of a 2A.                        17         MR. LASKER: Page 26?
18   BY MS. FORGIE:                                              18         MS. FORGIE: Yes. This one.
19      Q. And likewise, it would be correct                     19     "Proxy Versus Self-Respondents."
20   that in agreeing with IARC's hazard            06:48        20         MR. LASKER: Thanks.                  06:49
21   assessment, he would have agreed that                       21         MS. FORGIE: Do you have it?
22   glyphosate is capable of causing                            22         MR. LASKER: I do.
23   non-Hodgkin's lymphoma; is that correct?                    23   BY MS. FORGIE:
24         MR. LASKER: Object to the form.                       24     Q. Okay. Do you see the section where
25      Mischaracterizes testimony.              06:48           25   they're talking about frequency of greater    06:49

                                               Page 424                                                     Page 425
 1   than two days per year?                                      1   discussed earlier by the defense counsel?
 2          Do you see that?                                      2          MR. LASKER: Objection to form.
 3      A. Yes.                                                   3          THE WITNESS: Absolutely. It's
 4      Q. And what is the odds ratio there                       4      much more important to look at higher
 5   for proxy and self-respondents?                 06:49        5      intensity because oftentimes that is     06:50
 6      A. So for proxy and self-respondents,                     6      where we see effects when we're
 7   meaning for everyone, it's 1.73 with a                       7      evaluating carcinogens.
 8   confidence interval of 1.02 to 2.94.                         8   BY MS. FORGIE:
 9      Q. And is that odds ratio controlled                      9      Q. And with regard to the seven -- the
10   for use of 2,4-D, dicamba, and malathion?           06:50   10   category greater seven lifetime days, years, 06:51
11      A. Yes, it is.                                           11   number of years times number of days per
12      Q. And are those the only three                          12   year.
13   pesticides that you're aware of that are                    13          Do you see that?
14   associated as risk factors for non-Hodgkin's                14      A. Yes.
15   lymphoma?                                 06:50             15      Q. And it looks like the odds ratio     06:51
16      A. I am aware that 2,4-D is a 2B                         16   has actually gone down in that section.
17   category according to IARC. Malathion is a                  17          Do you see that?
18   2A. I'm not aware that dicamba is                           18      A. Yes. The odds ratio hovers around
19   categorized.                                                19   the 1.
20      Q. Okay. And with the 1.73 odds               06:50      20      Q. Can you explain why the odds ratio       06:51
21   ratio, is that statistically significant?                   21   is lower for that category than for the
22      A. It is.                                                22   greater than 2 category where the odds ratio
23      Q. And is the greater than two days of                   23   is 1.73?
24   use per year category there more important                  24      A. Yeah. These are two different --
25                                                               25   very different measures. One is the         06:51
     than the never/ever use category that was          06:50



                                                                                                                    107
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 109 of 806

                                           Page 426                                                    Page 427
 1   intensity, and the other is duration, and               1   what really is an interesting finding in
 2   the lifetime days is the product of duration            2   terms of worker health.
 3   and intensity meaning that, in essence, I am            3      Q. And one last question. You see
 4   watering out any intensity via duration.                4   there's two categories here, proxy and
 5          I can get the same numbers with a     06:51      5   self-respondents category A and              06:52
 6   very low intensity over long duration as                6   self-respondents only category B.
 7   with a shorter duration and a higher                    7          Do you see that?
 8   intensity. So that measure really is more               8      A. Yes, I see that.
 9   closely related to duration than to                     9      Q. Do you see that under greater than
10   intensity.                          06:52              10   two days of use per year, while the odds       06:53
11      Q. And does that explanation -- how                 11   ratio goes up from 1.73 for proxy and
12   does that tie into whether or not this                 12   self-respondents to 1.77 for
13   information tells you -- what information              13   self-respondents only, it is not
14   this gives you about glyphosate-based                  14   statistically significant for
15   formulations causing non-Hodgkin's lymphoma? 06:52     15   self-respondents only.                   06:53
16      A. So in terms of occupational                      16          Do you see that?
17   epidemiology, we are very interested in high           17      A. Yes, I see that.
18   level exposures which we often have a much             18      Q. Is there any way to -- what happens
19   better way in assessing a much more reliable           19   when you take out the proxy group?
20   way in assessing and also believe that high 06:52      20      A. You are pretty much reducing sample 06:53
21   intensity exposures are really what we have            21   size, and when you reduce sample size, you
22   to worry about, and we have to protect                 22   automatically lose statistical power to show
23   workers from.                                          23   a statistically significant effect. So
24          So I would think that the high                  24   that's what happens here.
25   intensity more than two days per year is      06:52    25      Q. With regard to if you remove           06:53


                                           Page 428                                                    Page 429
 1   proxies from the category, is there any                 1      Q. And you also have seen abstracts
 2   reason you would want to include proxies?               2   and posters with regard to a Canadian
 3      A. Well, the one reason I can think of               3   presentation?
 4   is that proxies are responding because the              4      A. Yes.
 5   self-respondent isn't available which means    06:53    5      Q. Have you also seen a slide show,        06:54
 6   the self-respondent would be too sick to                6   abstracts, or posters related to an IARC
 7   answer or dead.                                         7   presentation?
 8          So what you're doing is you're                   8      A. To the IARC presentation, yes.
 9   pretty much removing the sickest individuals            9      Q. And did any of the information --
10   if you're removing the proxy respondents.      06:54   10   with regard to your expert report, you, I     06:54
11      Q. Okay. And then can you turn -- oh,               11   believe, testified that you only used the
12   a couple more questions about the NAPP                 12   Brazil abstract when you were drafting your
13   study.                                                 13   expert report; is that correct?
14          You were shown Exhibit 16. Do you               14      A. That's correct.
15   see at the bottom where it says, on the     06:54      15      Q. So with regard to all of the other     06:55
16   front page, it says Sao Paulo Brazil?                  16   materials related to the NAPP study, all
17      A. Yes.                                             17   these other slide shows, other abstracts,
18      Q. Okay. So is it your understanding                18   other posters, did any of them affect or
19   this is a PowerPoint presentation that                 19   change your opinion as stated in your expert
20   accompanied the Brazil presentation?         06:54     20   report?                              06:55
21      A. That's what I understand.                        21      A. The only way it changed my opinion
22      Q. Were you also made -- or have you                22   is that it solidified the opinion that there
23   also seen slide shows with regard to a                 23   is, in fact, carcinogenicity to go after.
24   presentation in Canada?                                24      Q. In assessing the risk of cancer in
25      A. Yes, I was shown that.             06:54         25   glyphosate, is there any potential bias in    06:55



                                                                                                                108
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 110 of 806

                                           Page 430                                                      Page 431
 1   controlling for concurrent pesticide use?              1   one by one by one in order to assess their
 2      A. Yes. It's always a problem with                  2   affect on household counts.
 3   concurrent exposures. We haven't really                3      Q. Doctor, you were asked many
 4   found a mathematical way to get around it.             4   questions about your criticisms of the draft
 5   There is probably none to get around it.     06:55     5   manuscripts of unpublished AHS data.          06:56
 6         If exposures are highly correlated,              6          Do you recall those questions?
 7   you have to sit down and ask the question is           7      A. Yes.
 8   it more or less likely that these exposures            8      Q. You've made several criticisms of
 9   are independent risk factors or indicators             9   the draft manuscripts and the unpublished
10   or proxies for the actual exposure under     06:56    10   glyphosate data with regard to the AHS       06:57
11   investigation?                                        11   study; is that correct?
12         So when you're putting these in the             12      A. That's correct.
13   same statistical model, then something                13      Q. With regard to those criticisms of
14   occurs that we call co-linearity, and what            14   the AHS study, have you ever publicly made
15   that means is that there's some technical    06:56    15   those criticisms prior to being retained in 06:57
16   term. These variables split the variants or           16   this litigation?
17   the explained variants. And in essence, if            17      A. Yes.
18   you put enough highly correlated variables            18      Q. And in what format is that?
19   into the same model, none of them will                19      A. Well, in my teaching. When I teach
20   explain anything anymore. All of them will 06:56      20   my students about the cohort design, I warn 06:57
21   go towards the one.                                   21   them against the limitations of cohorts
22         I've seen that multiple, multiple               22   because I think I pointed out that this
23   times in air pollution studies where the air          23   validity slide in the beginning of one of my
24   pollutants are highly correlated, and this            24   slide shows is there to actually cause
25   is what you see. Therefore, you are going     06:56   25   discussion with my students about these      06:57


                                           Page 432                                                      Page 433
 1   blanket validity statements in terms of                1   talking about retro and prospective data
 2   studies.                                               2   collection and what the problems are, and
 3          So I'm using the AHS study and the              3   then I'm showing them the composition of the
 4   loss to follow up as a good example of what            4   cohort and data collection progress in
 5   to be careful of when you're conducting a    06:57     5   different phases and specifically on page 6, 06:59
 6   cohort study.                                          6   I show them a slide that was given to me
 7      Q. And, Doctor, I'd like you to turn                7   during phase 2 data collection in which I
 8   to Exhibit 17, please.                                 8   point out how many people are actually not
 9      A. Yes.                                             9   completing phase 2 in different parts of
10      Q. And, Doctor, do you see a date on     06:58     10   phase 2.                             06:59
11   this slide presentation?                              11         And I'm then directing them to the
12      A. Yeah. That was on my old slides                 12   issue of exposure assessment being
13   from fall 2012.                                       13   incomplete when you have a time varying
14      Q. So this was approximately four                  14   exposure that you cannot capture at a second
15   years before you were retained as an expert 06:58     15   time of follow-up.                       06:59
16   in this litigation; is that correct?                  16      Q. So, Doctor, is it accurate to state
17      A. That's correct.                                 17   that approximately four years before being
18      Q. And, Doctor, in Exhibit 17, these               18   retained as an expert in this litigation,
19   slide presentations that you use in your              19   you were teaching -- you were using the AHS
20   teaching at UCLA, do you have criticisms of 06:58     20   problems, exposure assessment problems you          06:59
21   the AHS study incorporated in there?                  21   described with the AHS cohort study as it
22      A. I believe so.                                   22   relates to glyphosate as a teaching tool to
23      Q. Can you point those out, please?                23   your students as to how not to conduct an
24      A. So what I'm doing here is                       24   epidemiological study?
25   introducing the AHS cohort to the students    06:58   25      A. Not as not to conduct but what to        06:59



                                                                                                                  109
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 111 of 806

                                           Page 434                                                   Page 435
 1   be careful of when you're conducting studies            1        MS. FORGIE: I'm not going to allow
 2   that otherwise seem so perfect.                         2     any time. No more questions. I'm
 3      Q. Doctor, you were asked a lot of                   3     sorry.
 4   questions today, and you were shown a lot of            4        MR. WISNER: Let him have one
 5   documents. Do any of the documents or        07:00      5     follow-up.                    07:01
 6   questions that you were asked change your               6        MS. FORGIE: You guys are a lot
 7   opinion as expressed in your expert report              7     nicer than me.
 8   that to a reasonable degree of scientific               8
 9   certainty glyphosate causes non-Hodgkin's               9            FURTHER EXAMINATION
10   lymphoma?                             07:00            10   BY MR. LASKER:                             07:01
11      A. I still stand to my conclusions as               11      Q. Dr. Ritz, you provided your slide
12   cited.                                                 12   deck for teaching students in fall of 2012.
13      Q. And, Doctor, same question, in                   13   Do you have any other slide decks of your
14   other words, you were asked a lot of                   14   teaching of your students that mention the
15   questions and shown a lot of documents       07:00     15   AHS study?                             07:01
16   today. Do any of them change your opinion              16      A. Yes. Many. Every year.
17   to a reasonable degree of scientific                   17      Q. Okay. I will for the record object
18   certainty glyphosate-based formulations                18   to the fact --
19   including Roundup cause non-Hodgkin's                  19      A. It's the same slide deck. It's
20   lymphoma?                             07:00            20   updated.                            07:01
21      A. Nothing changes my opinion.                      21          MR. LASKER: I'll ask those slide
22          MS. FORGIE: That's it.                          22      decks be produced if they refer to the
23          MR. LASKER: I have one follow-up                23      AHS study. Obviously, we understand all
24      question. It's not going to take me                 24      slide decks deal with case control
25      five seconds.                     07:00             25      studies or cohort studies is over the     07:01

                                           Page 436                                                   Page 437
 1     top, but if she has other slide decks                 1        THE VIDEOGRAPHER: This concludes
 2     that refer to AHS, that seems pretty                  2     today's proceedings in the deposition of
 3     squarely in line --                                   3     Dr. Beate Ritz. The total number of
 4         MR. WISNER: To the extent they're                 4     videotapes used today was five, and
 5     different than the one you have.          07:01       5     we're off the record at 7:02 p.m.       07:02
 6         MS. FORGIE: He just said it's the                 6        (Time noted: 7:02 p.m.)
 7     same.                                                 7
 8         MR. LASKER: I don't know.                         8
 9         THE WITNESS: It is the same.                      9
10         MR. LASKER: I don't understand           07:01   10
11     that. I don't know if you've looked at               11           ____________________________
12     them or not. You can look at them. If                12           Beate Ritz, MD, PhD
13     they're the exact same slide deck,                   13
14     that's fine. But if they're not the                  14
15     exact same slide deck, we ask they be       07:02    15     Subscribed and sworn to before me
16     produced. And you don't have to commit               16     this   day of      , 2017.
17     to that. You can look at them.                       17
18         THE WITNESS: Fine.                               18     ___________________________________
19         MS. FORGIE: She said they're the                 19     (Notary Public)
20     same. I believe her. All right. Done? 07:02          20
21         MR. LASKER: I'm sorry. We're off                 21     My Commission expires: ____________
22     the record.                                          22
23         (Testimony continues on the                      23
24         following page in order to                       24
25         include jurat.)                 07:02            25




                                                                                                              110
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     Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 112 of 806

                                        Page 438                                                    Page 439
 1                                                   1   NAME OF CASE: In re: Roundup
          CERTIFICATE                                2   DATE OF DEPOSITION: September 18, 2017
 2   STATE OF CALIFORNIA:                            3   DEPONENT: BEATE RITZ, MD, PHD
 3                                                   4        1. To clarify the record.
                                                              2. To conform to the facts.
 4      I, LISA MOSKOWITZ, CSR, RPR, CRR, CLR,       5        3. To correct transcription error.
 5                                                   6   Page _______ Line _______ Reason _______
     NCRA Realtime Systems Administrator,
                                                         From_____________________ to________________
 6   Certified Shorthand Reporter, do hereby         7

 7                                                       Page _______ Line _______ Reason _______
     certify:                                        8   From_____________________ to________________
 8      That the witness whose deposition is         9   Page _______ Line _______ Reason _______
 9                                                       From_____________________ to________________
     hereinbefore set forth was duly sworn, and     10
10   that such deposition is a true record of the        Page _______ Line _______ Reason _______
                                                    11   From_____________________ to________________
11   testimony given by such witness.               12   Page _______ Line _______ Reason _______
12      I further certify that I am not related          From_____________________ to________________
                                                    13
13   to any of the parties to this action by             Page _______ Line _______ Reason _______
14                                                  14   From_____________________ to________________
     blood or marriage, and that I am in no way     15   Page _______ Line _______ Reason _______
15   interested in the outcome of this matter.           From_____________________ to________________
16                                                  16
        IN WITNESS WHEREOF, I have hereunto set
                                                         Page _______ Line _______ Reason _______
17   my hand this 19th day of September, 2017.      17   From_____________________ to________________
                                                    18   Page _______ Line _______ Reason _______
18
                                                         From_____________________ to________________
19                                                  19

20                                                       Page _______ Line _______ Reason _______
                                                    20   From_____________________ to________________
21    _________________________________________     21   Page _______ Line _______ Reason _______
22                                                       From_____________________ to________________
      LISA MOSKOWITZ, CSR 10816, RPR, CRR, CLR      22
23    NCRA Realtime Systems Administrator                Page _______ Line _______ Reason _______
                                                    23   From_____________________ to________________
24                                                  24   Page _______ Line _______ Reason _______
25                                                       From_____________________ to________________
                                                    25




                                                                                                         111
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        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 113 of 806


                                                                                                        Page 1

         A             accurately (1)          addressed (2)          1:24 2:15 438:5,23        165:4 168:9,10,11
a.m (15)               91:18                   27:3 48:1              admissible (1)            171:4 176:9 185:2
2:6 8:2,17 72:20,21    acknowledging (1)       addressing (2)         412:11                    195:13 205:15
  72:22,24 96:15,17    368:16                  26:5 224:4             advantages (1)            248:12 292:16
  96:18,20 144:17,18   Acquavella (8)          adds (3)               316:12                    293:1,1 302:14
  144:19,21            24:10,22 25:8 421:3,6   168:3 175:18,19        advice (1)                352:22 353:8
Aaron (1)                421:10,14,23          adheres (1)            31:12                     360:21 399:10
5:24                   Acquavella's (2)        42:15                  advising (3)              400:19 402:23
abbreviated (1)        24:16 422:6             adjust (23)            13:18 26:15,16            407:18 411:10,22
181:8                  act (1)                 152:11 216:15 218:11   advisor (1)             agreed (6)
ability (3)            152:22                    218:12 236:2,13      14:6                    95:16 125:8 243:2
55:25 170:10 419:4     acting (1)                238:3,7 239:10       advisory (20)             301:15 325:10
able (25)              169:16                    240:16,20,25         18:24 20:17 21:6,17       422:21
29:14 42:12 51:7       action (1)                241:24 242:11          21:23,25 22:17 23:2   agreeing (2)
  54:25 78:14 80:23    438:13                    247:16 248:17,22       23:8,9,11,17 24:1     410:9 422:20
  91:18 102:18         ACTIONS (1)               279:10 286:2,6         25:5,18 32:2,10       agreement (1)
  118:25 120:19        1:7                       295:1 330:12           325:4 383:8 385:4     375:5
  122:8 124:12 126:9   active (3)                334:25               affect (3)              agrees (1)
  136:17 145:5         17:7 22:2 77:25         adjusted (60)          404:13 429:18 431:2     61:25
  173:22 174:23        activities (2)          152:9,10,18 153:9,13   affiliated (1)          agricultural (22)
  176:16 181:14        25:22,25                  153:15 154:16,21     14:20                   6:23 20:18 23:19 24:3
  184:16 212:12        activity (1)              157:6,12,21,21       age (17)                  27:12 31:8 32:19
  278:16 412:1 413:1   25:17                     158:11,12,21,25      152:13 179:5 180:5        141:13,17 146:18
  413:2                acts (1)                  159:3,14 179:3         187:20 188:24,25        147:1 149:21
above-mentioned (1)    159:18                    180:4,22 181:18        189:10,14 237:5         199:20 200:17
391:2                  actual (10)               215:2,18 217:1,19      238:7 240:18            201:8 202:19
above-stated (1)       135:22 148:6 160:16       237:19 239:6 240:1     242:13 248:17           318:15 324:25
390:24                   181:9 209:2 365:2,2     242:13 248:4           279:4 319:15 337:8      343:7 347:17
absolutely (4)           365:5 386:21            249:10 253:12          337:10                  363:21 385:21
235:1 238:6 418:25       430:10                  279:4,18,24 280:13   aged (1)                agriculture (1)
  425:3                acutely (1)               280:18,22 281:8      189:14                  149:14
abstract (20)          150:6                     282:6,19 283:18,25   agencies (1)            ahead (2)
38:4,20 283:21         add (6)                   285:1 287:23         419:9                   90:18 127:18
  288:18,20,22,25      132:14 222:21 272:4       288:10 289:20        Agency (1)              AHS (71)
  290:2,6,16,18          283:2 390:8 394:2       295:24 308:6,13      6:11                    20:23 23:12 25:18
  291:11,23 294:11     added (6)                 319:14,15 320:10     agent (8)                 26:16 27:2,2,17,23
  295:14,17 364:1,10   171:22 215:4 222:15       396:22 397:16        42:7,15,16 171:8          28:9,14,17 29:17
  364:11 429:12          300:13 394:14,15        398:15 399:24          203:7 264:16 312:3      30:12 31:5 32:3,6
abstracts (7)          adding (2)                400:21,24              419:4                   32:11,16,23 33:14
37:8,18,22 38:12       173:9 219:12            adjusting (9)          agent's (1)               124:2,20 150:18
  429:1,6,17           addition (2)            105:10 106:12 152:13   420:12                    151:2 319:1 327:8
accept (2)             414:21 415:8              216:14 220:20        agents (12)               333:17 336:7
32:7 286:1             additional (15)           240:17 247:21        18:14 244:22,24           342:18,24 344:25
accepted (1)           26:18 69:17 72:7 82:2     279:25 294:20          245:20 246:9,11,18      347:14 355:4,13
316:17                   175:17 215:23         adjustment (8)           262:17 273:22           356:4 357:4,19,23
access (2)               219:12,13 277:20      151:21,24 159:12         309:15 310:10           358:21 359:19,21
220:19 226:12            282:13 293:20           216:23 236:25          332:7                   360:24 361:1 362:1
accompanied (1)          294:7,21 410:20         238:25 253:6         ago (3)                   362:25 366:23
428:20                   416:19                  281:21               33:7,8 98:2               374:8 376:5,13
account (4)            additivity (2)          adjustments (6)        agree (42)                378:21 380:23
151:21 193:2,14        235:6,11                214:21 237:15,17       41:3 46:21 67:2,25        382:3,5,13 383:8
  378:24               address (10)              239:16 282:18          68:7,25 71:6 80:11      385:5,5 386:4
accuracy (1)           27:6 32:4 39:13 83:25     335:19                 88:14 93:8,14 94:20     398:18 400:7 431:5
365:10                   84:16 144:10          adjusts (3)              94:25 105:22            431:10,14 432:3,21
accurate (3)             226:18 342:3          279:12 294:2 296:6       106:10 130:2 147:4      432:25 433:19,21
419:12 420:16 433:16     347:18 395:14         Administrator (4)        148:16 149:11           435:15,23 436:2


                                    TSG Reporting - Worldwide    877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 114 of 806


                                                                                                        Page 2

AHS's (1)                 338:25 370:20           305:13,23 306:4,5,7   49:21 50:17 56:8        404:1,11 405:1
32:18                     373:19 412:16           306:10 308:8          57:18 58:24 59:16       410:4,23 411:19
AHS2013 (1)               414:10                  311:15 314:7          60:1,2 61:20 63:19      412:2,8 428:7
348:21                  amounts (1)               318:10,14 324:4,10    64:22 65:17 66:8      answerable (1)
air (2)                 371:23                    335:5,24,25 342:17    68:5,20 69:13 70:16   242:6
430:23,23               analyses (35)             345:7,10 347:12,17    71:1,19 81:9 91:10    answered (134)
al (4)                  22:10,21 23:20 24:16      347:24 349:7 350:5    93:20 101:19          44:18 45:11,23 46:12
224:6 243:25 244:13       24:24 28:10 49:9        352:2,11 355:1        102:13 103:8,21         47:6 57:17 58:23
   245:15                 50:8,8 115:21 185:6     357:24 358:23         104:17 105:17           59:15 61:19 63:18
Alaska (1)                231:22 233:12           364:15 365:9          106:19 111:10           64:21 65:16 66:17
3:5                       244:21 249:13           377:16 378:14         112:13 120:25           67:11 68:19 69:12
Alavanja (2)              254:1 263:9 279:2       379:13 385:22         121:15 123:20           70:15,25 71:17
7:4 21:8                  287:11 289:13           386:4 389:1 390:16    124:12,17 126:19        90:17 91:9 93:19
Aldrin (1)                290:25 291:19           396:21 398:3          126:23 127:1,9,22       100:5 101:18
247:24                    292:24 293:20           399:19 416:21         128:16 130:21           102:12 103:7,20
algorithm (1)             294:7 297:9 309:3       417:19,24 418:6,13    137:18 149:10           104:15 106:18
75:2                      311:13 314:5            418:15                158:1 162:12 202:3      111:9 112:12
algorithms (1)            352:17 376:17         analyze (5)             203:3 209:18            120:23 121:14,24
29:8                      387:20 414:23         40:1 43:19 44:14        210:19 212:3            123:2,18 124:16
all-encompassing (2)      415:1,9                 224:16 324:16         215:14 217:15           125:19 127:10
255:9 257:18            analysis (149)          analyzed (11)           218:3 219:5 220:14      128:14 130:20
allow (9)               23:4 25:7 46:24 47:11   60:6 88:17 91:7         220:23 222:6            137:17 149:9
42:22,24 48:3 52:15       47:17,20 52:25 54:2     223:24 277:2          224:11,25 225:10        157:25 162:11
   189:9 207:25           54:8,22,23 69:20        302:15 308:15         226:15,17,22            202:1,1 203:2
   332:22 333:6 435:1     70:6 126:4 138:17       339:14 343:2          227:12 231:4            209:17 210:18
allowed (2)               138:22 139:14           346:10 374:18         236:17 237:23           211:5,17 212:2
190:7 332:22              155:12 159:12         analyzing (6)           238:12,16 239:4,20      218:2 219:4 220:13
allowing (3)              163:10,14,19          45:19 48:14 145:2       239:22 240:7,22,23      221:8 222:4 224:10
190:10,13 290:24          165:12 170:11,12        343:10 367:1          241:4,11,11,13,14       225:8,9 227:9,11
allows (5)                170:21 199:8            378:24                241:18 242:3            236:16 237:22
46:9 111:4 334:15         206:11 210:13,23      and/or (2)              246:15 247:11           238:15 239:3 240:4
   335:13 414:17          211:1,19,22 212:22    145:14 169:7            257:13 258:13,20        241:8 242:2 246:15
alongside (1)             212:22 214:8,9        Andrus (2)              258:21,24 259:10        247:10 257:12
136:20                    215:17 216:21         3:3 9:1                 259:19,23 260:18        258:12 259:9 261:6
alternate (4)             217:8 219:10          Angeles (5)             261:7,22 262:11         261:21 262:8,22
97:12,17,18 99:6          227:23,24 230:1       1:17 2:12 3:13 8:1,14   265:2,13 266:1,22       265:11,12,25
alternative (21)          231:23 232:19         animal (44)             267:11,24 268:10        266:21 267:10
50:25 51:12 94:18         233:6,16,19 234:4,6   33:19 54:21,23 55:14    268:11 269:21           268:7,25 269:12
   95:2 97:6,23,24,24     234:14 235:23           56:2 59:21 60:14      270:11,18 273:1         270:8 272:12,25
   98:5,12 99:18          236:10,12 240:9         62:15 63:7 71:24      275:12 276:4,7          273:15 274:9,22
   100:10 101:4,15,22     243:25 244:14           73:5,7,17 74:5,8,11   295:21 296:11,13        275:9 276:2,5
   102:16 103:14,17       250:6,12,16 251:5       74:12,15,20 75:21     299:24 315:8            295:20 296:10
   104:3,12,24            262:20,25 263:5         76:8,16 77:3,4,5      321:22 323:23           305:17 315:7
amendment (1)             264:9,14 265:4,15       78:6,8,21 79:5,19     324:14 327:1,5          321:21 323:22
314:11                    265:16 266:23           79:22 80:1,14,20      329:6 339:12,22         324:13 334:22
amendments (2)            267:13,14 268:13        81:5,23 150:24        344:16 352:5            339:21 344:15
18:24 19:17               271:5 276:17,23,24      407:14,25 408:14      353:12 354:4,18         353:11 354:3,17
America (1)               277:14 278:23           408:17,23 415:23      358:4 359:5 360:2       358:2 359:3,3,25,25
306:14                    279:15 280:7            418:20                361:10 362:9,11         362:8 367:7 368:4,7
American (3)              284:13,22 286:13      animals (3)             367:8 368:5,13,19       372:9 373:4,5
6:16 276:17 277:10        288:13 289:10,25      77:8 82:23 404:14       370:5,8 372:10          377:25 378:7 379:2
Ames (3)                  291:10 292:13,18      announced (1)           373:7 374:24 378:8      379:15 380:7
405:25 406:5,9            294:17 296:21         35:7                    379:3,16 380:8,10       385:11 391:15
amount (11)               297:4 298:1,17        answer (173)            381:9 385:12            394:22 397:21
185:10 209:23 210:1       300:1,11 302:10,16    11:4 16:16 23:23        391:16 394:23           399:13 401:15
   266:7 299:14,17        302:16 304:5            35:13 44:19 46:13     397:22 399:14,15        403:25 404:10


                                     TSG Reporting - Worldwide     877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 115 of 806


                                                                                                         Page 3

answering (2)          approval (4)              126:20 128:14         assessed (5)              212:13 223:8,18,19
323:14 368:21          201:7,11 202:13,22        130:20 137:17         38:15,16 199:1 338:8      224:7 225:4 227:6
answers (5)            approved (4)              149:9 157:25            339:18                  230:17 249:15
269:23 351:17 361:12   199:20 200:16 202:19      162:11 202:1 203:2    assessing (13)            250:8 310:21 323:2
  367:10 380:5           208:16                  209:17 210:18         48:9 122:23 123:14        323:6,18 351:14,14
anticipated (1)        approximately (3)         211:5,17 212:2,15       125:15 149:12           423:3
14:25                  8:17 432:14 433:17        218:2 219:3 220:12      199:9 203:5 210:14    associations (3)
anybody (4)            arbitrarily (1)           221:8,9 222:4           362:13 406:5          71:23 104:8 331:17
25:5 112:22 336:15     94:24                     224:10 225:8 227:9      426:19,20 429:24      assume (7)
  383:9                area (3)                  236:16 237:22         assessment (46)         27:24 146:7 197:4
anymore (3)            12:2 55:2 415:5           239:3 240:4 241:8     24:5 27:2 49:2,3          202:17 210:12
17:7 221:12 430:20     areas (2)                 242:2 246:5,15          52:18 62:12,13,15       304:19 423:3
apparent (1)           38:13 39:25               247:9 257:12            62:17 65:3 145:15     assumed (1)
335:2                  argue (4)                 258:12 259:9            175:12 182:12         211:14
appear (3)             67:19 82:20 83:5          260:16 261:5,20         183:8 220:9 266:4     assumes (1)
92:12 161:14 162:8       95:11                   262:8 265:11,24         273:18 314:9          165:19
appeared (2)           arguing (1)               266:21 267:9            315:13 316:13         assuming (7)
23:13 392:18           94:4                      268:24 269:11           324:18 338:13         143:17 144:2 191:22
appears (6)            argument (1)              270:7 272:11,24         352:18 390:9 394:3      330:24 337:3
114:17 320:25 387:25   143:2                     273:3,14 274:8,11       399:2 402:24 416:6      344:10 367:16
  390:3 393:2,15       argumentation (1)         274:14,21,25 275:8      418:24,24 419:2,3,8   assumption (10)
appendix (1)           416:17                    276:1 295:20,25         420:2,7,11,16,22      130:9,18 200:12,21
134:8                  argumentative (1)         296:10 305:17           421:24 422:1,3,14       201:17 346:3,4
application (3)        412:10                    315:6 321:21            422:16,21 433:12        373:25 374:3 377:4
227:17 333:23 342:18   Aristei (2)               323:22 324:13           433:20                assumptions (15)
applications (2)       2:11 3:10                 334:22 339:21         assessments (4)         130:22,25 202:5
36:23 344:22           arriving (1)              344:3,15 353:11       22:16 26:23 29:6          207:10 215:23
apply (4)              414:3                     354:3,17 358:2          417:10                  216:8,10 217:10
215:4 345:2,3 358:6    arsenicals (1)            359:3,25 361:7        Assign (1)                233:23 335:10
applying (5)           149:16                    362:8 367:7 368:4     363:19                    376:25,25 377:3
185:18 275:16,20       article (9)               372:8 373:4 374:23    assistant (1)             381:17,23
  276:12,14            5:15 86:14,18,24 87:3     377:24 378:7 379:2    13:14                   asthma (1)
appoint (1)              88:5 97:4 114:18        379:14 380:7 381:7    associated (15)         239:8
37:19                    387:11                  385:10 390:21         33:15 51:23 124:13      asthmatics (7)
appointed (1)          articles (6)              391:15 394:21           128:11 142:3          236:10,21 238:1,4
21:6                   77:5 78:6 80:14 82:14     397:21 399:13           145:11 150:15           239:14 240:10
appointment (1)          83:1 86:12              401:15,22 403:25        151:2 252:17 269:4      242:9
21:10                  ascertained (2)           404:9,24 411:13,17      329:16 331:21         ate (3)
appoints (1)           341:24,25                 414:5 431:3 434:3,6     342:6 418:2 424:14    411:15,21 413:10
37:19                  aside (2)                 434:14                association (66)        atrazine (9)
approach (4)           39:8 113:10             asking (19)             8:22 48:17 50:10,11     231:23 232:3,11
44:12 160:2 345:19     asked (148)             10:18 28:7 50:4 62:19     64:6 65:11 66:12        233:6,17 234:7
  420:24               21:9,15 44:17 45:11       74:18 104:23 123:6      67:5 68:10 69:7         235:2,9 338:20
approached (1)           45:22 46:11 47:6        157:17 174:21           70:8,18,19 71:3       attachment (3)
21:7                     57:16 58:23 59:14       241:13 245:24           87:9 91:19 101:7      348:1,3,4
appropriate (15)         61:18 63:17 64:20       315:11,24 346:25        110:6 111:7 120:8     attend (2)
83:14 105:22 106:23      65:15 66:16 67:11       347:9 351:8 375:4       120:19 121:21         26:2 38:22
  125:11 128:8,25        68:18 69:11 70:14       378:3 412:17            122:8,24 123:15       attorneys (8)
  159:15 290:8           70:24 71:16 90:17     aspect (1)                125:15 131:3,6        3:3,4,11,19 4:4,11
  324:18 362:21          91:9 93:18 100:5      174:16                    142:12,18 143:5         10:22 81:13
  380:4 382:15 383:1     101:18 102:12         assess (13)               147:5 148:11,18       attributable (1)
  383:12 384:9           103:7,20 104:15       101:23 120:19 122:8       149:1 165:14,18,19    194:24
appropriately (1)        106:17 111:9            144:7 151:25 167:6      166:2,19 167:15       attribute (2)
110:22                   112:12 120:22,24        176:16 184:12,21        168:21 170:17         195:4 253:20
appropriateness (1)      121:13,23 123:2,18      240:13 404:14           171:8 174:1,3         audience (1)
159:21                   124:16 125:19           419:6 431:1             176:19 185:7 195:6    290:25


                                    TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 116 of 806


                                                                                                         Page 4

August (1)                401:16 407:2         2:10 3:10,14 9:3,3        199:3 222:8 225:18    bird (1)
17:19                     410:19 416:3           199:4,25 393:19         266:3 301:17          193:12
author (3)                419:20               Bayesian (5)              310:23 321:7          birds (3)
199:14 226:10,11        background (3)         105:19,24 106:4,22        426:19                193:10 194:20 198:12
authors (9)             168:3 176:6,13           115:21                beyond (5)              bit (9)
23:7 157:22 242:11      backwards (2)          bearing (1)             15:2 79:13 162:22       26:25 90:12 113:2
  243:24 289:15         142:24 186:7           8:11                      197:18 222:12           146:5 177:22 178:1
  379:4 380:12          bacteria (1)           Beate (17)              bias (71)                 198:24 204:12
  381:16 384:3          404:13                 1:16 2:9 5:3,11 6:6     28:16,19,20 29:1,19       313:12
automatically (2)       bad (6)                  8:7 10:7 96:22          29:24 30:4,7,8,14     Blair (19)
240:16 427:22           96:7,9 108:21 150:2      203:14,21 306:25        31:14 47:10,14,21     5:24 35:21 146:15,17
available (7)             182:11 301:22          307:7 419:16,23         48:15 49:6 50:7         147:4 148:10,16
184:1 203:7 208:2       badgering (13)           437:3,12 439:3          64:10 65:13 66:14       226:10 277:25
  224:19 287:5,21       65:22 259:25 260:16    beauty (2)                67:7 68:12 69:9         347:20 350:2,22
  428:5                   262:9 268:9 270:10   218:5 224:12              70:11,21 71:13 84:3     351:7,17,20 353:8
Avenue (2)                275:9 361:5,12       beginning (6)             84:4 98:24 130:9,14     382:23 398:20
3:20 4:5                  362:6 374:21 381:7   96:21 203:20 307:6        130:18 131:7,10,10      399:10
average (9)               404:24                 333:24 419:22           131:11,12,13,16,17    Blair's (3)
189:7,24 192:17,25      balance (1)              431:23                  131:21,25 132:20      348:1 350:15 382:23
  194:2 212:7 272:3     61:10                  Behalf (1)                133:9,11,12,16        blanket (1)
  311:21 340:4          balanced (1)           5:13                      134:19 135:8,8,10     432:1
avoid (3)               62:7                   behaved (1)               135:15,17 138:24      blood (2)
104:20 134:21 140:16    bang (1)               367:17                    139:4,6,25 140:1,5    188:5 438:14
aware (16)              22:16                  behaves (1)               140:10,12,15,20,24    board (1)
24:20 30:19 33:3 35:6   banned (1)             296:20                    141:2,4,18 310:12     36:9
  183:10 184:11         358:8                  belief (1)                310:20 311:7          body (1)
  289:15 305:12         Banvel (9)             303:5                     429:25                50:18
  347:25 360:17         255:2,15,22 257:1,20   believe (52)            biases (3)              Boffetta (1)
  382:12,22 418:4         261:14,18,25 262:5   16:21 17:5 18:23 69:4   47:18 88:23 130:25      15:15
  424:13,16,18          based (25)               70:7,17,21 76:15      big (9)                 Bologna (1)
                        40:8 59:18 63:3 69:4     84:7 106:22 124:11    30:19 31:22 173:19      34:7
          B               224:17 227:20          132:5 158:3,17          338:14,21,22 359:9    bomb (1)
B (12)                    232:24,24 236:25       179:24 182:5,19         372:15 416:5          187:14
5:7 6:1 7:1 114:22        245:5 247:4,5          215:8 221:22 243:8    biggest (2)             book (1)
  115:17 116:11,19        251:13 263:1           263:1 286:22,24       205:11 414:9            99:4
  132:7 279:10            269:25 275:15          290:4,8 291:19,22     bioaccumulate (1)       books (1)
  280:21 281:10           279:16 303:6           292:2 293:9 301:23    150:3                   137:6
  427:6                   314:16 324:6           323:15 324:9          bioassay (4)            bordering (1)
back (55)                 340:25 342:17          335:13,18 337:18      74:20 75:22 76:9        400:23
14:7 17:20 30:3 31:21     351:21 356:9 423:1     337:21 347:13           79:20                 bottle (1)
  57:4 59:19 70:5       baseline (13)            348:7 352:17,18       bioassays (17)          185:16
  72:23 96:6,19,25      22:8 171:12 175:18       355:23 362:23         73:5,8,18 74:6,15       bottom (13)
  113:12 128:3            325:17 333:19          374:25 402:7 403:1      76:16 77:3 78:8       114:11 124:22 156:4
  142:11 144:20,23        356:17,25 360:13       404:15 409:2            79:5,23 80:1 81:5       186:5,6,8 228:15
  146:18 148:13,20        362:16 366:19          421:18 426:20           81:24 83:1 408:14       326:13 364:9
  149:22 154:11,12        369:25 370:15          429:11 432:22           408:17,24               365:16 385:17,24
  156:14 165:5 178:7      375:14                 436:20                biologic (2)              428:15
  184:7 189:19 192:3    basic (2)              believed (1)            73:19 417:16            Boulevard (3)
  203:18 207:2          47:11 167:10           243:9                   biological (8)          2:12 3:12 8:14
  213:19 215:12         basically (5)          benefit (1)             73:25 74:19 75:6,18     boys (1)
  216:12 217:4,13       281:17 282:11 296:23   11:1                      75:20 76:23 187:3     34:2
  254:12 258:24           299:11 356:16        best (3)                  401:25                bracket (1)
  270:24 307:4,24       basis (4)              40:22 114:24 145:3      biologically (3)        77:9
  313:23 326:6 342:1    185:19 262:5 288:14    better (13)             192:14 193:1 194:15     Bradford (10)
  344:25 346:24           336:16               38:2 41:18 87:5         biomarkers (2)          263:9,12 416:21,24
  371:8 384:1,3,7,25    Baum (8)                 164:20 184:20         24:17 343:17              417:19,23 418:6,12


                                    TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 117 of 806


                                                                                                              Page 5

  418:14,22               122:17 129:20,21          179:6 180:6 189:2,4   care (4)                    126:5 133:17 134:2
brain (1)                   175:14 200:24           189:15,22 190:13       12:16,18 13:5 138:3        134:13 135:22
12:25                       202:24 301:18           190:18 192:13         career (2)                  136:11 137:15
Brazil (6)               calculation (4)            194:20 197:21,22       16:24 225:18               139:7,8 170:13
38:23 289:24 423:8        110:3 111:4 201:1         197:22 279:6 321:7    careful (3)                 171:24 177:7
  428:16,20 429:12          203:9                   347:7 407:9 408:14     19:12 432:5 434:1          186:13 190:9 198:7
break (15)               calibrating (2)            408:17,23 429:24      carefully (2)               204:7,9 215:7,10
27:22 73:2 144:14         105:9 106:11           cancers (11)              191:8 197:6                216:20 224:17
  177:21 184:24          California (8)           29:15 90:6,15 103:4,5   Carolina (1)                226:3 227:23,24
  203:11 264:4            1:2,17 2:13,14 3:13       150:21 188:6           333:22                     228:3 232:25
  270:19 326:1              8:11,15 438:2           189:11 196:17         carrying (1)                236:21 237:4 238:5
  370:23 384:13,15       call (22)                  197:1 321:6            39:19                      255:7 257:22
  384:18,20 406:19        36:11 37:17 81:18      candidate (1)            case (111)                  259:15 311:22
breaking (4)                110:1 127:17,24       33:1                     1:6 8:9,12 44:5 51:22      314:2 315:11
72:12 143:9 255:10          135:15 153:4,5       Cantor (46)                 52:13,18 54:4 78:10      341:22,23,25 347:4
  264:3                     157:9 159:23 235:3    6:8 178:13,22 179:10       79:4 97:10 100:18        387:12,14,22,23
Brent (2)                   245:25 250:16           180:4,20 181:2,4,20      107:25 117:12         casual (1)
3:15 9:5                    292:23 300:6,21         182:3,5 183:13,15        124:3 133:13           267:18
briefly (2)                 304:16 332:6            184:9,9 186:9,12         134:25 136:1          catching (1)
235:15 416:23               343:16 423:10           187:24 189:18            137:10 139:22          215:10
bring (2)                   430:14                  192:2 194:10             140:4,11,13,25        categorical (7)
82:3,4                   called (7)                 198:17 200:22            141:2,4 146:15         58:10,12,14 61:9
broad (7)                 10:8 109:5 133:5          201:19 202:25            149:3 161:19             164:21 420:23,24
27:21 28:3,5 29:20          152:25 170:5 277:9      204:9 205:2,18           168:19 169:3,17,21    categories (13)
  148:24 149:2              313:21                  212:11 213:16            171:22 173:9 175:6     63:21 66:18 67:13,15
  315:22                 calls (4)                  214:11,16,23 215:2       177:3 182:4 188:13       68:17 165:15
broadly (2)               25:23 26:5 104:1          217:2,16 218:4,20        190:21 193:9             301:14 311:17,21
29:9 78:20                  417:1                   219:7,9,14 221:16        194:19 197:14            350:7 351:24
bromide (1)              camp (1)                   221:19 222:9 243:7       208:21 218:10            353:16 427:4
365:15                    106:21                    243:11                   223:4,7 225:1 226:4   categorization (1)
build (1)                Canada (6)              capable (5)                 227:3 230:2 238:3      164:24
170:3                     183:13 243:22 306:15    136:21 185:21 420:9        243:21 247:15         categorize (1)
bulbs (1)                   396:20 397:15           420:18 422:22            254:8 259:14 269:3     273:23
96:1                        428:24               capture (6)                 276:24 277:1 278:3    categorized (1)
bulk (1)                 Canadian (4)             190:9,11,20 193:9          279:17 284:13          424:19
337:6                     277:1 297:5 298:2         198:6 433:14             287:24 297:5,13       categorizing (3)
business (1)                429:2                captured (4)                298:2 304:16           311:17 419:3 422:8
36:14                    Canadian-based (1)       194:17,19 368:22,22        305:11,20 306:13      category (32)
busy (1)                  279:17                 capturing (3)               310:3,10 311:19        27:25 62:8 63:15
22:13                    cancer (80)              192:4 193:1 198:11         313:19 314:1,12,16       116:24 131:11
buying (1)                12:18,19 13:5 16:1     CARC (6)                    314:18,20 315:2          185:18 232:25
208:15                      27:24 28:21,24,25     80:18 82:13 415:15         316:7 317:22,22          257:25 259:12,16
                            29:4,9,10,13 41:19      415:18,19,21             318:1,6,7,8,9 320:9      259:17 266:6,9,25
          C                 41:22 73:5,7,17      carcinogen (3)              320:25 321:12,19         271:12 272:15
C (7)                       74:5,15,20 75:22      62:9 150:10 188:10         330:1 336:10 338:9       282:16 299:16
 3:1 4:1 116:25 117:11      76:8,16 77:3,7,15    carcinogenic (5)            339:18 340:25            300:16,16 303:22
   117:20 438:1,1           78:8 79:5,20,23       18:15 230:24 231:13        342:9 346:11 347:3       306:11 350:6
calculate (14)              80:1 81:5,24 83:1       406:6 419:5              360:14 395:22            424:17,24,25
 102:18 104:5,6 113:3       90:13 91:6 100:2,3   carcinogenicity (9)         396:1,13,20 397:14       425:10,21,22 427:5
   129:7,13,25 163:20       102:6,9,10,25         75:15 90:3 187:16          400:13 420:15            427:6 428:1
   163:23 172:9             103:14,15 142:13        335:10 407:13,22         421:3 435:24 439:1    causal (27)
   180:12 205:20            142:22 143:15,18        420:25 422:17         case-by-case (1)          5:16 50:7,12 64:9
   320:2 353:5              143:20 145:22           429:23                 137:10                     65:12 66:13 67:6
calculated (2)              146:18 150:22        carcinogens (5)          cases (51)                  68:11 69:8 70:10,18
 272:9 350:7                168:2,4 170:11,13     149:24 150:12 331:2      29:4,9 123:11 124:1,5      71:3,23 88:1,21
calculating (7)             171:23,24 172:2         406:5 425:7              124:19 125:1,25          90:22 91:19 93:6


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 118 of 806


                                                                                                                Page 6

   111:6 120:8 121:10     438:6                    5:15 86:14                  251:22 252:8 259:3       114:21 116:2,12,18
   121:20 122:24         certify (2)              chart (2)                    263:5 277:15             116:23 117:1,12
   131:6 191:21           438:7,12                 154:17 319:6                390:20                   118:25 119:6,14
   230:17 417:9          cetera (12)              check (10)                cited (2)                   129:25 180:11,19
causally (1)              98:24 149:16 194:7,7     180:25 183:3 189:4        218:18 434:12              180:20 181:11,24
 124:13                    255:11,13 274:13          236:5 274:10           citing (2)                  212:15 213:3,10,14
causation (10)             344:6,23 381:20,21        365:10 401:17           229:18 416:5               213:16 214:7,10
 5:13 45:21 46:3,7         417:16                    414:18 415:2           City (1)                    320:2,9 438:4,22
   49:19 87:23 88:18     chain (1)                   416:16                  204:14                  CLRs (3)
   101:15,24 104:9        197:25                  checked (1)               clarify (2)               118:10 129:7,13
cause (21)               chair (8)                 365:20                    220:2 439:4             club (1)
 40:1 41:22 49:22         20:19,23 21:3,12,13     checking (3)              class (9)                 34:2
   50:21 51:7 97:11,13     21:15 25:17 385:3       366:24 378:15,15          47:11 49:17 115:17      co-adjustments (1)
   98:11,14 100:3        challenge (3)            chemical (11)                134:9 255:22           214:23
   101:3 102:8,9          50:1 330:21 331:11       245:20 246:9,11,18          261:24 262:13         co-authors (1)
   103:13,15 159:18      chance (31)                 246:23 255:21             313:17 316:24          230:13
   190:18 191:18          47:3,8,21 48:15 64:10      261:13,24 262:13       classes (1)              co-exposure (2)
   198:4 431:24            65:13 66:14 67:7          308:15 310:25           261:13                   250:9,24
   434:19                  68:12 69:9 70:11,21    chemicals (11)            classification (1)       co-exposures (1)
caused (10)                71:13 72:10 84:1,3      149:14,17,21,23,25        67:3                     326:15
 90:5,15 91:6 100:2        84:6,18 85:6 90:5         244:20 247:21          classify (1)             co-investigators (4)
   103:3,4 190:21          91:23 98:24 105:4         254:10 311:3,10         272:17                   228:7,17 229:22
   194:18 198:7 215:7      107:11 108:10             331:18                 clear (29)                  378:14
causes (13)                110:5 114:24 117:4     chicken (1)                15:3 21:16 53:15        co-linearity (1)
 87:20 100:20 102:25       118:8,17 190:20         150:25                      58:17 59:24 64:2       430:14
   143:17 145:18,22      Chang (4)                child (1)                    65:2 75:5 76:21       co-worker (1)
   152:21 188:10          284:10,21 285:12         77:14                       80:22 82:6,21 89:16    136:16
   215:8 323:11 330:7      322:20                 children (1)                 120:4 159:1 180:3     coaching (3)
   407:9 434:9           change (24)               12:25                       186:20 245:23          378:2,3,5
causing (7)               26:21,22 114:12         chlorines (1)                248:19 249:1          coauthor (1)
 100:13 187:11 191:9       241:19 280:10           150:1                       266:14 283:16          147:1
   420:9,18 422:22         282:6 306:21           choice (1)                   291:6 299:23 315:1    Cocco (18)
   426:15                  338:15 346:16,20        140:7                       317:2 353:21 355:5     122:4,6,20,22 123:7,7
cell (4)                   349:20,22 355:21       Christopher (1)              359:18                   123:8,9,13,21,24
 156:3 189:4 280:21        360:9 370:13,14,18      18:22                    clearly (9)                 124:10,18 125:13
   281:10                  373:12 377:7 398:5     chronic (3)                80:12 83:14 127:10         125:24 126:8 400:3
cells (2)                  419:14 429:19           198:13,25 301:23            162:23 260:22            409:23
 190:23 404:14             434:6,16               chunk (1)                    269:4 295:24          cofactors (1)
cellular (1)             changed (16)              205:11                      312:23 381:16          216:23
 188:12                   325:13,14 339:3,6,8     circle (2)                clever (2)               coffee (6)
certain (21)               357:14 358:15           70:5 154:11               267:14 268:12            142:12,20 143:14,23
 23:9 33:18 35:20          360:5,14,16,18         circles (1)               clinical (3)                143:25 144:4
   40:24 55:25 127:21      370:10,12 373:14        40:21                     12:11 13:5 317:17       cohort (40)
   150:21,25 179:11        420:4 429:21           circumstance (2)          clinically (1)            6:18 22:3,12 26:7,18
   186:25 192:11,15      changes (4)               97:9 192:16               89:8                       31:10 140:12,21,24
   202:5,12 209:23,25     282:24 349:24 369:4     circumstances (1)         close (5)                   141:1 144:7 312:25
   224:16 334:4 377:3      434:21                  136:15                    24:11 56:3 112:19          316:16,17,22
   395:24 414:11         characterization (1)     circumvented (1)             137:21 309:24            317:18,23 318:12
certainly (5)             411:11                   140:21                   closely (2)                 318:14 321:3 323:9
 35:4 73:13 81:16        characterize (1)         citation (1)               142:17 426:9               323:16 326:14,20
   195:13 413:4           14:19                    229:1                    closer (1)                  333:25 336:8 337:5
certainty (3)            charge (1)               citations (2)              391:5                      339:13 341:3
 418:1 434:9,18           18:4                     77:6,10                  CLR (38)                    350:23 351:13
certificate (2)          charged (1)              cite (12)                  1:23 2:14 110:1,2,3        355:14 398:13
 11:19 12:6               22:18                    74:3 217:25 228:23          110:16 111:3,4,12        400:7 431:20 432:6
Certified (1)            Charles (2)                 228:24 229:9,24           111:24 112:7             432:25 433:4,21


                                      TSG Reporting - Worldwide         877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 119 of 806


                                                                                                              Page 7

   435:25                  393:5,12,14,25         complete (3)             437:1                   conducting (20)
cohorts (1)                394:1,12,18 395:2,9     122:15 234:15 381:20   concluding (1)            25:8 27:23 36:14,24
 431:21                    403:9 406:22           completed (2)            228:9                     52:25 54:1,7 86:4
collaborative (2)        commentary (5)            11:4 26:13             conclusion (29)            129:22 145:2
 226:5,7                  238:15 259:25 412:13    completely (5)           48:16 56:24 57:7 58:1     163:13 170:20
colleagues (2)             412:24 416:25           133:19 143:18 262:10     59:1 61:8,16 62:3        173:25 195:10
 15:20 50:3              commented (2)              264:16 306:22           62:20,25 63:1,2,2        245:8 283:9 284:11
collect (2)               380:12 393:11           completing (1)            63:13 66:21 72:6         286:13 432:5 434:1
 225:16,22               commenting (2)            433:9                    88:9,18 128:9 228:9    confer (1)
collected (3)             230:9 412:7             complex (2)               229:21 230:16           58:12
 22:9 362:2,16           comments (1)              324:16 413:14            233:6 332:16 392:9     conference (20)
collection (3)            291:3                   complicated (1)           392:10 417:22           25:23 36:18,25 37:1,3
 433:2,4,7               Commission (1)            344:7                    418:11 420:24            37:21 38:2,3,23
collegial (1)             437:21                  composition (1)         conclusions (41)           277:15 288:22,25
 19:9                    commit (1)                433:3                   52:24 53:8,9,10,13,16     289:24 290:10,17
collegially (1)           436:16                  compound (5)              53:18,22 54:1 55:12      291:12,14 292:3,18
 14:20                   committee (23)            75:10 254:4 308:15       56:1,21 57:11,12,14      322:6
Collegium (7)             20:17,19,24 21:2,6,12     407:9 413:13            58:5,9,9,14,19,20      conferences (3)
 33:23 34:1,24 35:6,18     21:23 22:1,17 23:3     compounds (4)             59:8,12,17,22 60:3      37:9,14 290:23
   35:22 36:1              23:11,17 25:6 26:16     18:15 254:3 406:7,8      60:16,19,24 61:9,11    conferred (1)
Colorado (1)               31:12 32:2,11 36:18    comprehensive (1)         61:23 66:6 69:22        69:18
 3:6                       36:20 38:2 325:4        95:19                    70:2 88:2,7,21         confidence (112)
column (9)                 383:8 385:4            comprehensively (1)       286:15 410:25           43:9 64:11 65:14
 92:6 179:17,20 184:3    common (9)                199:1                    434:11                   66:15 67:9 68:14
   184:4 228:16 244:7     63:24 106:6 184:18      computer (1)            concomitantly (1)          69:10 70:13,23
   297:17 392:10           224:21 225:20,21        325:19                  239:6                     71:15 86:15 107:6
combination (1)            321:6 326:15 414:7     concept (5)             concur (11)                107:12,13,16,19,23
 230:14                  communicate (1)           39:24 167:3,5,8         52:24 53:9,25 57:12       108:2,6,8,13,14,17
combined (6)              137:22                    186:21                  58:4,19,20 59:12,21      108:20,24 109:5,8
 231:18,23 232:4         community (8)            conceptual (1)            66:5,9                   109:10,14,15,21,22
   233:7,17 238:24        32:19 95:15,15           169:12                 concurrent (3)             110:2,9,15 111:21
come (22)                  289:16 316:18,22       concern (20)             163:21 430:1,3            112:1,15,17 114:23
 15:14 27:9 36:24 57:7     318:4 389:17            131:14 133:13 189:17   concurring (2)             115:9 117:14 118:9
   60:16 61:8 69:23      comparable (1)             194:10,14 197:19       58:25 59:8                118:18,23 119:4,6,8
   88:8 96:2 128:3        321:24                    198:19,20,23          concurs (1)                119:14,17 130:7,12
   154:11 190:12         compare (13)               214:14,18 217:22       53:12                     130:16,23 131:4
   197:9 205:21 272:4     110:3 111:4 139:23        293:4 296:5 310:12    Conditional (1)            152:19 155:17
   332:16 357:18           181:25 235:1 239:9       375:18,20 378:23       115:3                     157:1 158:17
   358:21 359:19           239:11,13 240:11         390:1 393:4           conditioned (1)            159:16 160:19,20
   362:1 369:13            242:8 264:23 330:8     concerned (5)            117:5                     161:6,12 162:16,19
   419:10                  395:8                   138:22 194:5 214:15    conditioning (2)           178:25 180:12
comes (6)                compared (15)              311:5 367:23           105:10 106:12             212:24 213:2
 31:17 61:22 72:5         43:12,13 45:1 134:14    concerning (1)          conditions (1)             214:20,20,24
   170:25 330:25           215:2 254:22            293:21                  92:9                      216:18,19,24 217:5
   359:13                  269:17 293:6           concerns (14)           conduct (11)               217:7,11 232:18,21
comfortable (2)            303:14 321:17           25:6 217:17 242:21      28:9 35:8 54:22           233:15 249:7 251:1
 198:11 407:21             328:5 330:15             293:25 294:6,10,14      138:16 170:10            279:20 280:11
coming (9)                 343:25 354:14            294:15,25 295:5,16      231:23 287:8 297:9       281:5,17,22 282:12
 22:21 26:1 50:6 88:21     365:1                    354:25 395:24           345:9 433:23,25          283:1 306:15
   94:22 181:17          comparing (5)              400:19                conducted (17)             309:24 312:13
   197:11 333:18          170:25 175:13 234:25    conclude (4)             37:7,14 38:16 78:5        319:20,22 320:1,4,8
   338:12                  235:4 339:24            125:13 216:25 285:10     115:21 159:4             320:16,22,23,24
comment (21)             comparison (3)             391:10                  195:11 211:23            321:4,9,14,23 322:1
 57:25 159:2 349:22       171:10 182:10 353:18    concluded (3)             251:6 305:13 306:9       322:10 354:21
   380:13 390:3 391:6    comparisons (3)           65:9 67:25 417:25        317:23 333:5 361:2       396:16 424:8
   391:9,13,21,25         86:6 171:11 345:10      concludes (1)             376:6,17,24            confirm (2)


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 120 of 806


                                                                                                         Page 8

  213:20 283:22           176:19 184:17          contradictory (1)       conversation (1)        140:2,3,7,9,21
confirmed (2)             195:1 247:13 289:8      416:1                   32:13                  141:12,14 142:5
 74:24 75:14              290:9 292:12,16        contrast (4)            conversations (2)       143:16 144:11
confirms (1)              294:17                  345:13,20,22,24         28:8 30:12             145:6,7,18 149:7
 41:16                  considerable (1)         contribute (1)          convince (3)            150:16 151:3,22
conflated (1)            280:10                   324:2                   46:2 49:9 167:13       152:15,22,23 153:3
 393:10                 consideration (1)        contributes (4)         copy (1)                153:11,12 154:8,17
conform (1)              117:16                   42:7 89:6 323:12        82:8                   155:13,18,20,24
 439:4                  considered (23)            324:10                corner (1)              156:19 157:8,13
confounded (1)           16:10 17:11 33:6        contributing (2)         114:11                 158:13 159:5,19
 286:8                    43:17 107:20            312:4 331:3            correct (600)           160:11,25 161:17
confounder (19)           111:24 135:20          control (66)             11:16,17,21 13:7,11    162:9 163:6,10,14
 142:2,8 143:15 144:6     136:10 137:13           133:14 134:25 140:4      13:15,16,19,20,22     163:25 164:14
  146:4,11 151:12         159:8 244:22             140:11,13,25 141:2      13:23 15:4 20:20,21   165:20,21 166:20
  152:22 159:19           245:14 247:8             141:4 145:23            22:25 23:1 32:11      168:22 170:7,14,21
  167:7,14,23 168:19      277:20 283:9             149:18 163:5,8,13       33:24,25 35:18,22     171:17 172:2,16
  169:7,11,13,15          289:25 290:7 291:9       163:17 167:5 182:4      36:1,5,6,19 37:9,10   174:5 176:7,21
  330:2 333:14            291:12,24 292:4          203:24 223:4,8          39:16,21 40:2,12      177:8 179:1,2,8,13
confounders (8)           315:18 316:4             225:1 243:21            41:12,22 42:5,13      180:8,15,23 181:12
 145:6 163:9 165:13     considering (3)            247:15 276:24           43:1,3,22 44:16       182:22 185:10
  165:15 167:2 169:2     47:9,15 294:15            277:1 279:17            45:9,21 46:10 49:23   186:10,17,18,22
  330:5,23              considers (1)              284:13 293:8,11         50:21 51:24 52:3,4    187:5 188:6,14
confounding (41)         231:12                    297:6 298:2 306:14      52:19 53:2,6,10,19    189:24 191:1,4,21
 47:22 48:15 64:10      consistent (3)             310:3,10 313:19         56:18,19,25 57:15     192:7 193:3,5,18
  65:13 66:14 67:8       51:2 102:4 375:12         314:1,12,16,18,20       60:7 61:17 62:4,17    194:13 195:5
  68:13 69:9 70:12,22   consistently (1)           315:3 316:7 317:22      63:16 64:12,13,19     196:13,14,20
  71:14 142:2 143:3,3    375:14                    317:22 318:1,6,7,8      65:14 73:6 74:6,16    199:11 200:13,21
  144:11,25 145:8       constantly (1)             318:9 320:10,25         75:8 76:24 77:22      200:25 204:10,24
  151:22,25 152:12       216:9                     321:12,19 330:11        84:1,8,18 85:19,23    206:6,14,22 207:7
  163:2,6,13,17         consult (1)                336:11 338:9            86:17 87:10,20        207:11,20 208:5
  164:23 165:24          23:17                     339:19 342:9 347:3      89:20,20 90:6,15      209:1,5,15 211:3,15
  166:18 167:5,6        consultant (1)             395:22 396:2,14,20      91:7,19 92:13,18,24   211:25 212:19,20
  169:5,8 264:20         421:15                    397:15,15 400:14        93:17 94:18,19,20     212:25 213:12,17
  328:2,3 329:18,22     containing (1)             435:24                  95:3 97:14 98:15      214:11,12,13
  329:23 330:11,13       315:4                   controlled (5)            99:12 100:3 101:16    216:11 217:9
  330:18 333:12         contains (1)              227:3 230:2 295:15       102:10 103:18         219:21 221:18
confuse (1)              292:23                    310:24 424:9            104:13 105:14,23      223:5,20 224:8
 169:2                  context (18)             controlling (5)           107:7,8,13,22,25      225:6 227:7,25
confused (3)             71:5,24 88:23 93:3,22    165:13,24 166:16,17      108:10 109:6,10,11    228:4,10,18,24
 221:12 289:19 326:25     95:6,8 100:18 102:5      430:1                   109:16,24 110:6       229:7,10,17 230:6
connecting (1)            110:22 113:1           controls (30)             111:7 112:10 114:2    231:24 232:6,15,22
 237:11                   114:25 117:5            123:12 124:2,3,21        115:1,6,10,22,24,25   232:23 233:9,20
connection (5)            118:21 200:3             125:2 126:1,6           116:6,15 117:6        234:16,23 235:24
 37:7 54:4 212:11         417:13,15 418:21         133:19 135:1,22         118:10,20,25          235:25 236:3,14,19
  234:7 409:21          continents (1)             136:12 137:15           119:25 120:10,21      237:2,20 239:1
conscientious (1)        51:15                     139:7,9 140:7           121:12,22 122:4,10    240:2,24 241:21
 295:25                 continue (4)               215:18 216:20           122:25 123:16         242:22 243:8,22
consensus (1)            14:10 17:4,12 185:1       232:25 237:4 238:6      124:14 128:12         244:1,15 245:15,17
 216:12                 continues (2)              255:8 257:23            129:8,18 130:1,9,11   246:13 247:8,17,20
consequences (1)         93:24 436:23              259:16 293:6 314:2      130:18 131:7,18,22    248:5,23,24 249:7,9
 198:13                 continuing (1)             315:11 318:2 341:1      131:23 132:8 133:9    249:16 250:9,13
conservative (1)         385:24                    347:5 400:16            133:10,14,15,19       251:2,3,8,14 252:5
 159:23                 continuum (2)            convention (4)            134:11,15 135:3,4     252:6,11,19 253:9
consider (14)            95:21 97:25              41:6 85:10 107:16,19     135:12,22 136:12      253:14 254:22
 47:16 57:24 88:21      contradict (1)           conventional (1)          137:15 138:19,20      256:2,7,13 257:10
  151:12 160:1           322:11                   111:23                   138:25 139:16         258:7,18 259:7


                                     TSG Reporting - Worldwide      877-702-9580
       Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 121 of 806


                                                                                                         Page 9

260:12 261:4 263:3       383:22 385:22          137:24 298:9 431:2      cross (1)                88:22 95:18,24 96:6
263:7,25 266:15          386:6,7,11,24         couple (5)                416:16                  98:22 107:24
271:4,7,16,24            387:14,23 388:2,16     190:25 351:2 375:3      cross-reference (1)      110:21 116:19,22
272:10,23 275:7,25       389:13 390:13,14         408:8 428:12           414:24                  119:18,24 129:14
277:2,16 278:25          390:18 391:23         course (13)              cross-talk (1)           129:16,24 135:19
279:1,8,13,14,21         392:19 393:6,18        57:23 80:12 105:1        328:14                  136:9,11 137:12,14
280:4,15,19,20,25        394:16 395:8 396:1       129:2 195:16 208:3    CRR (4)                  138:18 139:16
281:12,24 282:7,21       396:15 397:1,19          222:19 371:22          1:23 2:14 438:4,22      142:17 145:25
283:10,20 284:5,6        398:16,21 399:11         380:15 411:9 412:3    CSR (4)                  146:1 158:19
284:16 285:2,8,15        399:21 400:8,25          415:8 416:22           1:23 2:14 438:4,22      164:20 167:7 169:9
286:18 287:7,11,25       401:4,13,21,25        court (25)               cumulative (16)          183:13,13 205:1
288:14 289:1             402:4 406:9,10         1:1 8:10,20 10:4,24      187:13 324:7 335:25     206:19,19 207:4
290:11 292:13,19         407:22 416:8,9           11:1,5 59:25 80:2        336:2 339:16 340:3    210:11,13,14 211:2
293:3,23 295:2           422:9,14,15,19,23        81:17,18,25 83:10        340:13,16,18,22,25    212:16,18 219:9,9
297:9,23 298:5,12        429:13,14 431:11         126:25 170:2             341:2,4 342:4,8,12    219:13 220:18
298:13,17 299:3,9        431:12 432:16,17         226:19 340:15         curious (2)              222:9,14,15 223:3
299:10,15 300:4,20       439:5                    410:19,25 411:25       79:13 412:16            224:4,19 225:2,11
301:9,12 302:20       correctly (11)              412:12,25 413:1,4     current (3)              225:16 226:5,8,12
303:8,17 304:6         134:7 142:20 160:10        413:20                 164:8,9 421:15          227:4,13,14,16
305:24 306:7,16          169:20 185:4 188:7    cover (1)                currently (2)            230:1 231:18
308:9,16,22 309:9        198:18 265:20          367:22                   20:22 132:7             232:24 238:2
309:11 310:13            327:24 331:12         covering (1)             Curriculum (1)           242:20 243:6,11
311:1,7 312:11           360:21                 222:17                   5:9                     246:8,8 249:14
313:17,24 314:5,14    correlate (1)            create (2)               cursory (1)              250:7,22 253:16
315:19 316:5,18        327:18                   135:9 176:17             415:23                  265:21 266:16
317:9,10,19,20,24     correlated (13)          created (1)              Curwin (1)               267:5 268:1,21
318:11,15,16 319:2     174:9 328:17,20          275:14                   24:7                    270:2 278:22
319:9,15,23 320:6        329:25 330:20         credible (9)             cut (1)                  279:16 280:8 283:7
320:12 321:1,13          331:5,16 332:11        64:9 65:12 66:13 67:7    324:21                  283:8,10,15,17,18
322:21,23 323:3          334:2 335:17 430:6       68:12 69:8 70:11,19   cutoff (4)               283:25 284:2,13
324:8 325:5 326:17       430:18,24                71:3                   340:18,24 341:1,3       285:11 286:18
326:23 327:15,22      correlation (9)          credited (1)             CV (10)                  287:4 288:5,9
328:6 330:16           174:13 175:5 177:11      34:8                     11:10,19 19:19,21       289:20,23 290:5,9
331:18,23 336:4,11       177:12,17 327:7,20    crews (1)                   20:2,15 33:22 36:16   290:13,19 291:8,11
336:20 338:5,10          329:9,12               201:10                     39:7 82:8             291:13,18,23 292:2
339:12 340:11,19      corresponding (1)        criteria (12)            cytotoxic (2)            292:9,12,17,22,25
341:8,9,16 342:2,9     387:6                    59:18 159:8 179:11       74:13 76:2              293:5,6,7,10 294:1
342:20 343:2,10       coumaphos (1)               269:1,8,25 270:1      cytotoxicity (1)         294:2,11,13,15,25
344:12 345:14          365:16                     320:15 407:12,14       82:25                   295:16 296:20,23
346:1 348:13          council (2)                 416:1 418:22                                   297:6,7,8,12 298:24
350:24 351:16,17       37:15,19                criterion (3)                      D              298:25 299:5
352:4 353:22,23       counsel (13)              47:9 125:23 316:20      D (9)                    300:12,13 302:15
354:1,15 355:2,3,11    8:23 9:15 55:16 79:23   critical (2)             5:1 111:20 114:22        304:21 309:6
356:13 357:8,25          81:21 96:10 348:13     50:2 140:14               115:18 116:12,20       314:22 322:21
359:1,23 360:23          408:18 410:8,9,13     critically (1)             117:2,2,16             324:1,10 326:14
361:21,24 363:4,22       413:10 425:1           197:6                   D.C (1)                  328:10 329:8,11,15
364:17,24,25 365:3    counselor (2)            criticism (2)            4:13                     332:1 336:18
365:7,17,21,22         36:4,7                   289:15 395:6            daily (1)                337:18,21 338:5,6
366:3 367:5 368:1     count (3)                criticisms (5)           336:16                   340:9,17 346:10,12
369:9,14,23 371:2      137:25 207:10 365:14     431:4,8,13,15 432:20    data (274)               347:11,18,20
371:16 372:7 373:2    counties (1)             critique (1)             22:9 27:13 41:15         348:21 349:20
373:10 374:5,19        51:16                    73:12                     42:17,21 43:20,21      350:3,9,23 351:9,21
375:25 376:8,18       counting (5)             critiquing (1)             44:14 45:8,19 46:8     352:11,16 353:3,6
377:22 378:25          133:6 309:5 362:7        73:11                     47:16 49:9,11 52:14    354:15 356:21
379:13 380:2 381:5       366:12,15             crops (2)                  69:23 70:7 71:24,25    357:7 358:22 362:2
381:24 382:16         counts (3)                338:16,24                 72:7 88:1,6,8,16,17    362:4,15,16 364:12


                                   TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 122 of 806


                                                                                                      Page 10

  364:13 365:2,2,5        298:8 299:12,20       19:3                   143:3 179:10           DEPONENT (1)
  367:12,15,18,21         300:1,2,3,7,9,14,17   debate (4)             definitely (4)         439:3
  369:19 370:3            300:21,22,23 301:6    31:6 80:25 89:9        123:25 144:12 150:11   deposed (2)
  372:13 375:22,24        301:6,7,13 302:1,6      215:24                 197:19               382:22,24
  376:15 377:16           302:11,12,16,19,23    debated (1)            definition (8)         deposition (42)
  380:16,19,25            303:1,18,20 304:3,6   215:24                 64:18,25 65:24 83:24   1:15 2:9 5:23 8:6,13
  381:20 383:20           304:23,24 305:14      debunk (2)               179:15 201:21          10:19,23 80:3,11
  386:6,10,11,22,23       324:7,8 335:25        50:5 317:1               347:6 389:6            81:10 82:2 83:12
  387:14,18,23 388:5      336:3,4,6,9 337:20    December (6)           definitions (2)          96:22 146:14
  388:6,9,19,20,24        339:16,25 340:1,2     200:14,25 201:12,22    84:2,6                   203:14,21 262:24
  389:5,6,10,16 391:4     340:10,11,11,13,13      202:17,22            degree (6)               277:24 278:12,15
  396:18,19 397:14        340:16,18,24 341:1    decide (14)            11:20,23 13:10 140:6     289:22 306:25
  398:18 399:1,7          341:4,5,5,6,7         41:4 50:13 105:1         434:8,17               307:7 348:9,14
  401:20 402:2 406:4      342:16 345:2 364:2      108:17 110:18        deliberately (1)         349:2 350:2,16
  406:6,11,12,13,14       398:4 424:1,23          169:12 187:15        67:12                    382:23 402:18
  406:16 408:4            425:10,11 426:2,25      245:20 246:23        Delzell (4)              403:2 408:11 412:6
  416:19 417:8,12,13      427:10                  330:1,21 352:24      284:10,21 285:13         419:16,23 421:2,5
  417:15 418:3,20,20    DDT (4)                   413:2 415:18           322:20                 421:18 437:2 438:8
  418:21 431:5,10       312:8 358:9 360:5       decided (6)            demarcation (1)          438:10 439:2
  433:1,4,7               362:13                18:13,17 26:19 150:2   196:12                 depositions (1)
dataset (3)             De (80)                   355:19 380:20        demonstrates (1)       348:18
177:12 227:19,20        6:12,20 22:24 32:25     deciding (1)           48:17                  derive (2)
datasets (1)              33:5 125:14,25        94:23                  Denmark (1)            165:17 324:20
400:8                     126:11 153:12,16      decision (1)           34:22                  describe (8)
date (13)                 154:3,12 181:1,3,8    345:9                  denominator (1)        37:6,11 243:24,25
8:15 188:11 199:9         181:24 182:2          decision-making (2)    184:18                   244:13 319:22
  200:15 202:18           184:10 203:24         94:2 95:25             department (2)           368:10 371:9
  208:12,23 210:16        205:16 212:15         deck (20)              12:15 14:2             described (5)
  211:13 348:10,12        213:14 214:9,18,22    131:24 132:5,19        depend (5)             272:6 346:6 368:24
  432:10 439:2            215:17 217:23           165:6 277:19,23      51:10 141:24 171:15      418:15 433:21
dated (1)                 218:23 219:1 220:7      278:2,14 313:10,13     177:10 333:16        describes (2)
6:11                      220:10,15 221:3,23      313:15 316:14        depended (1)           344:18 417:1
dates (3)                 222:7 224:5 225:3       405:8,17,21 423:9    23:7                   design (11)
149:21 209:7,7            226:6 227:5,18,19       435:12,19 436:13     dependent (2)          42:3,10 49:1 88:23
dating (2)                227:22 228:6,16         436:15               144:4 189:8              245:18 315:18
148:13,20                 229:21 230:12         decks (5)              depending (7)            316:4,10 318:5
DAVID (1)                 231:16 234:9          113:25 435:13,22,24    86:3 141:18 143:20       332:3 431:20
3:8                       235:24 264:23           436:1                  187:20 190:16        designing (3)
day (27)                  276:25 310:6          declaratory (2)          192:18 340:6         42:11,19,20
126:17 137:1,2            312:24 319:1,7,11     127:7 413:18           depends (19)           designs (2)
  197:14 208:2            319:21 320:2,4        Defendant (1)          115:13,14 117:21       317:8,14
  209:15 272:3,9,14       321:16 322:25         4:11                     131:9 136:3,14       detail (4)
  272:23 273:13           323:8,15 326:9        defense (1)              137:19,20 166:22     92:8 395:22 396:1
  274:6,7,19 275:6,24     334:23 335:12,23      425:1                    177:16 182:9 195:9     402:19
  275:25 276:13           336:18 339:14         defer (1)                205:5 209:19         determination (1)
  301:19 303:7,11,13      341:3 342:5,5,24      55:14                    325:11 328:9         331:20
  303:13,13,14            345:7,23 398:13,25    define (5)               333:10 337:10        determine (15)
  437:16 438:17           400:7 401:16,20       142:8 164:18 212:4       389:15               43:20 44:15 45:8 46:6
days (97)               dead (1)                  274:6,19             depicted (2)             47:1,25 48:3 121:20
192:11 263:2,2,3        428:7                   defined (8)            156:22 160:10            128:10 138:17
  264:10,11,18,24,25    deal (3)                86:1 144:6 275:6       depicting (2)            170:18 173:22
  265:6,7 266:8,9,25    28:15 241:16 435:24       302:12 303:12        156:17 161:4             272:23 334:18
  269:15 271:16,23      dealing (6)               304:3,9 388:6        depiction (9)            335:15
  272:1,18 273:12,20    39:7 54:14,15 76:2      defines (2)            153:7 155:23 156:16    determined (4)
  273:23 275:15,19        247:22 410:1          64:5 266:4               158:9 160:3,15       64:16 124:25 211:13
  296:22 297:4,21,22    dealings (1)            defining (2)             161:10,14 162:2        330:5


                                     TSG Reporting - Worldwide    877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 123 of 806


                                                                                                       Page 11

determines (1)            43:11,16 95:12        directed (1)           discussions (12)          347:19 383:19
420:17                    173:17,20 202:9       167:9                  27:4,11,16,20,22 28:4     393:6 405:6
determining (4)           225:13 239:17         directing (1)            28:13 29:16 74:2      documents (4)
46:23 121:9 194:23        253:20 257:4,5        433:11                   121:5 289:8,12        17:22 434:5,5,15
  201:23                  296:3 299:11 344:4    directly (1)           disease (21)            doing (21)
developed (1)             345:4 397:8 418:23    317:18                 5:21 42:8 87:9 89:7     46:1 49:8 60:22 78:19
105:19                    419:1 420:1           disagree (6)             134:3,14 141:11         78:23 103:12
development (1)         differences (2)         60:24,25 68:1 293:18     143:7 145:4,10,17       110:24 135:5
77:14                   359:9 385:18              318:19 352:9           145:21 165:14           136:25 162:17
developments (1)        different (82)          disclose (1)             187:4,11,19 188:5       167:9 186:8 254:1
107:1                   14:3 30:5 33:13 43:6    79:16                    198:5 201:24 215:9      264:19 288:3
devoted (2)               51:15,15,16,17        disclosed (2)            420:9                   290:24 382:19
105:9 106:11              55:21 72:2 85:20      79:15 80:9             diseased (1)              383:15 409:14
diagnosable (2)           86:3,10 90:12 106:8   disclosure (3)         133:17                    428:8 432:24
188:13 192:7              110:4 111:5 119:23    78:7,12 79:20          diseases (1)            dormant (2)
diagnose (1)              121:5 137:11          discontinued (1)       196:19                  189:4 190:23
187:4                     140:23 151:20,21      360:8                  disorders (1)           dose (25)
diagnosed (3)             151:23 153:6,8,13     discount (1)           34:9                    28:10 264:12,13
186:14 191:16 193:15      161:3 163:4 167:2     309:5                  dissertation (1)          265:8,15,23 266:17
diagnosing (2)            171:5,9,12 175:21     discounting (1)        197:3                     266:24 267:1,6,13
34:10 187:18              187:8,19 192:17       196:4                  dissuades (1)             268:3,23 269:9
diagnosis (9)             218:7,7,8 219:7       discovered (1)         312:3                     270:3 275:14
194:13 195:3 196:6        220:20 232:24         142:17                 distance (1)              302:25 309:20
  208:23 209:7,7,10       239:15 244:20         discuss (17)           160:23                    311:14,18 335:23
  209:14 211:7            246:9 254:10          37:6 56:16 80:20       distinguish (6)           345:7,10,13 387:19
dialogue (1)              292:21 298:11           100:16 168:18        265:17 272:16 276:10    dose-response (1)
95:23                     301:21 303:12           178:12 228:7,17        332:4 334:15,20       350:5
dicamba (83)              309:15,16 325:1         289:10 320:22        distinguished (1)       doses (2)
231:24 232:4,11           328:21 331:18           390:9,11 394:3,5     125:5                   267:21 329:18
  233:7,17 234:7          333:7 343:9 362:22      401:24 402:2         distinguishes (2)       double (1)
  235:2,10 247:24         363:4 365:14            408:19               304:17 306:2            90:19
  251:7,23,23 252:3,9     368:11,14,16 369:3    discussed (12)         distinguishing (2)      Dr (138)
  252:10,18 253:11        378:4,20,23 380:13    38:1 40:21 56:23       270:13 271:10           5:10 8:7 10:14 11:15
  253:12,18,20,21         380:15 388:5,10         57:13 242:19 283:8   distribution (10)         13:24 14:4,5,7,11
  254:14,19,22 255:1      389:7 396:10            299:21 307:15        94:6,22,23 95:20 99:2     14:15 15:3,15 16:2
  255:4,8,21,23,24        415:11 418:16           393:17 400:2           99:5,9 109:2 234:15     16:22 17:6,6 19:4,7
  256:7,9,11,13,14,15     420:13 425:24,25        409:20 425:1           364:2                   20:8,12 21:8 24:7
  256:16,17,18,25         433:5,9 436:5         discusses (2)          distributions (3)         24:10,16,22 25:8
  257:1,16,19 258:6,9   differential (9)        72:4 99:4              94:12 104:7 115:20        32:9,14,25 33:5
  259:4,5,6,11 260:8    28:20 133:12,22         discussing (13)        District (4)              34:21 35:17,21,25
  260:10,10,25            134:19 139:5,15       39:19 57:11 60:18      1:1,2 8:10,10             39:4,13 73:2 81:4
  261:10,12,16,24         141:9,19 328:2          234:2 250:12         divided (1)               81:22 83:23 86:24
  262:1,13,14,15,16     differently (3)           313:20 316:16        109:23                    87:6 89:15 91:25
  262:18 279:12,18      181:18 296:15 303:12      321:1 322:14         dividing (1)              92:15 93:8,14 94:15
  280:1,14,22 281:9     difficult (7)             339:19 391:22        111:14                    96:22,25 97:3 98:8
  281:21 282:18         145:16,21,25 146:2        419:25 420:1         Doctor (9)                99:3,23 103:1
  283:19 284:1            168:20 313:12         discussion (23)        413:23 419:25 431:3       104:19 105:7
  285:19,23 293:7,8       331:19                20:7,11 23:5 30:2,16     432:7,10,18 433:16      110:11 113:17,23
  293:11 294:3 295:1    difficulty (2)            56:20 77:18 212:17     434:3,13                114:18 126:14
  296:7 424:10,18       96:11 149:12              228:11,22 229:22     doctoral (5)              132:4 144:24
died (1)                diffuse (2)               231:16 234:9         11:20,23 13:19,21         146:15,17 147:4
397:7                   280:21 281:10             251:13 263:22          15:23                   148:10,16 178:10
diesel (4)              dinner (1)                316:20 318:19        document (12)             203:14,21,23 204:4
33:17,20 150:15,23      136:24                    324:2,17 345:6       1:6 38:5 39:6 66:20       223:5,7,16 224:25
difference (24)         direct (3)                384:8 403:18           76:12 132:11            226:6,10 227:2,5,17
40:17,24 41:1 42:1,25   231:17 307:9 326:10       431:25                 147:11 313:14           227:18 238:11


                                     TSG Reporting - Worldwide    877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 124 of 806


                                                                                                          Page 12

  243:20 271:2          drops (1)                 31:1 63:25 162:17      either (17)              31:21
  276:16 277:25         282:17                     368:20                 41:16 51:25 99:18      enrolling (1)
  278:11,15 306:25      DS (1)                   eat (1)                    106:21,24 111:5       338:23
  307:9 308:2 312:6     256:4                     177:24                    126:25 132:6 170:4   enrollment (6)
  313:10 326:9          due (15)                 eaten (2)                  254:3 269:18 299:9    325:17 337:14,15
  347:20 348:1 349:1    28:20 47:3 77:11          412:6,13                  300:19 324:7            346:21 355:16
  350:2,15,22 351:7       84:18 108:10           eating (1)                 353:25 354:12           377:10
  351:17,20 353:8         142:19 152:20           409:15                    397:18               entered (1)
  375:21 376:6,14         159:17 173:7 190:9     edited (1)              elapse (1)               295:9
  377:14 378:13           234:11 264:20           134:9                   187:1                  entire (2)
  382:23,23 385:3         338:15 386:6           educated (1)            elapsed (2)              237:16 304:5
  395:23 398:20           387:18                  368:24                  191:20 194:11          entitled (4)
  399:10 402:17,19      duly (2)                 effect (60)             elderly (1)              17:16 86:15 128:23
  406:15 407:5          10:9 438:9                40:2 43:17 49:23        138:5                     363:18
  408:10,22 409:18      duplicate (1)              50:21 51:8 55:6       elect (1)               Environmental (2)
  410:16 414:2          311:13                     88:24,25 89:5 97:22    36:13                   6:10 36:5
  416:24 419:16,23      Durable (1)                112:10 125:6,8        elected (2)             environmentally (1)
  421:3,6,10,14,23      86:16                      161:12 162:7 164:2     36:3 158:8              34:4
  422:6 435:11 437:3    duration (34)              169:3,4,6,16,17,21    element (1)             EPA (4)
draft (20)              296:22,23 297:3,22         170:6,9,18,24 171:6    122:1                   200:14 208:12,16
6:21 383:18,24 386:9      298:11,16 299:3,6,8      171:13,16 173:24      elevated (2)               415:15
  388:2,16 389:22         299:18 300:25            175:3 176:3,25         252:2 311:4            epi (2)
  390:7 391:1,7,21        301:2,5,8,23 304:5       177:6,15 196:20       elicit (1)               14:2 132:7
  392:18 393:2,5,8,15     304:8,9,11,14,18,20      235:12 236:9           37:14                  epidemiologic (24)
  393:20 395:7 431:4      304:22 305:4,8,13        240:14 242:9 253:3    Elyse (2)                42:20 43:1 45:7 46:7
  431:9                   309:18 312:1 426:1       263:10,14 264:22       4:15 10:1                 50:17,18 52:14
drafting (1)              426:2,4,6,7,9            265:1 266:11 267:1    emerge (1)                 56:17 62:4 64:17
429:12                  Dynel (2)                  267:21 268:18          309:22                    65:4,8 71:10,11
dramatically (2)        256:2,4                    269:16 270:4,16       emphasis (2)               97:2 122:7 144:9
360:16 373:15                                      280:10 301:1,3         116:4,14                  151:18 178:11
drastic (1)                        E               303:3 330:25,25       emphasizing (1)            188:17 191:14
371:23                  E (10)                     335:1 427:23           98:19                     290:1 317:13 334:9
draw (3)                 3:1,1 4:1,1 5:1,7 6:1   effects (15)            emphatic (1)            epidemiological (24)
55:25 88:7 94:9            7:1 438:1,1            74:14 76:3 77:12,13     279:5                   39:15 42:11 48:14
drawing (1)             Earl (1)                   77:15 80:16 82:9      employee (2)               59:10 60:4 61:17
58:13                    5:24                      197:10,11 198:25       421:10,19                 66:11 67:3 68:9
drawn (1)               earlier (14)               229:17 230:5          encompasses (1)            69:5,21,22 119:24
297:4                    150:14 189:2 193:15       240:11 335:14          258:15                    148:17 153:2
dressing (1)               212:9 230:15            425:6                 encompassing (2)           170:20 229:24
312:9                      250:12 284:15         efficient (1)            257:18 277:11             230:15 291:25
drew (1)                   285:6 289:22 308:3     114:13                 end-all (1)                292:5 325:2 333:5
59:17                      349:13 408:9,10       efficiently (1)          93:5                      334:13 433:24
Drexel (1)                 425:1                  48:2                   endeavor (1)            epidemiologist (16)
33:8                    earliest (1)             effort (2)               40:1                    47:25 49:18 61:1,1
drinkers (3)             208:12                   226:5,7                endeavors (2)              63:5 71:5 78:23
142:20 143:14 144:5     early (12)               efforts (1)              34:25 35:2                79:9,10 88:20
drinking (2)             147:2 150:8 193:10       31:9                   endpoint (1)               163:20 210:10
143:23,25                  193:12 194:20         Eghal (1)                129:11                    273:18 315:19
drive (2)                  198:12,24 215:9,10     371:8                  enjoy (1)                  408:3 421:7
3:5 84:22                  341:24 393:23         eight (2)                267:14                 epidemiologists (18)
driver (1)                 416:25                 207:12 270:9           enormously (1)           42:3 43:19,25 44:12
298:3                   easier (2)               eight-hour (2)           372:1                     44:14 47:10 50:1
driveway (1)             11:5 171:21              272:4 274:7            enrolled (5)               83:25 84:15,20,21
271:20                  easily (2)               eighth (5)               333:20 337:8 338:17       85:3,19 107:11
dropped (2)              41:3 366:21              104:16 227:10 260:15      355:18,25               163:4,8,12 316:21
388:14,19               easy (4)                   270:7 362:7           enrollees (1)           epidemiology (58)


                                      TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 125 of 806


                                                                                                             Page 13

   5:18 13:11,15 15:21      374:13 377:19          98:24 149:16 194:7,7       407:8                 excludes (2)
   16:4 27:24 30:18         381:1 439:5             224:6 243:25           exact (13)                107:21 131:4
   36:5 39:14,25 41:19   errors (2)                 244:13 245:15           120:23 202:2 270:8      excluding (2)
   41:20 46:2 52:2,5,8    365:12 378:17             255:11,13 274:13          288:21 309:6,7         397:5,6
   52:19 53:18 56:25     Esfandiary (3)             344:6,23 381:20,21        361:7,8 374:23        excuse (1)
   57:15,23 58:6,15,21    3:16 9:7,7                417:16                    377:24 378:1           96:10
   59:13 60:6,11 61:14   especially (9)           evaluate (15)               436:13,15             executive (2)
   61:22 62:14,21,24      33:11 69:16 119:13       22:20 24:4,12 30:23     exactly (23)              383:7,7
   63:12,14 64:4,17         138:5 268:6 280:7       38:18 60:15 85:4,6      27:21 44:9 75:24        exercise (1)
   69:2,15 70:3 71:21       321:5 330:19            110:21 167:20             78:19 82:18 93:12      130:4
   73:13 79:12,13           360:15                  176:24 195:14             120:14 139:18         exert (2)
   82:16 84:23 86:13     ESQ (11)                   280:5,9 320:15            165:21 168:25          115:19 278:8
   92:24 93:2,4 131:21    3:7,8,14,15,16,22,23    evaluated (3)               199:14 208:10         exhibit (67)
   187:9 189:22 196:2       4:7,8,14,15            57:21 123:22 140:14        239:10 242:11          5:9,10,15,16,19,23
   296:19 414:7          essence (4)              evaluating (8)              272:5 274:23 276:2       6:3,4,5,8,9,12,13,14
   415:22 417:4           45:3 257:23 426:3        46:18 60:10 88:1           319:24 325:8 344:2       6:15,16,18,20,21
   426:17                   430:17                  98:21 158:19 405:2        348:17 389:4             7:3,4 11:11,12 39:9
equal (6)                essential (1)              405:3 425:7               394:17                   39:12 86:20,21
 105:4 160:22 264:10      39:23                   evaluation (8)           exaggerate (2)              113:14 132:1,5
   265:6 379:8 387:13    essentially (1)           62:7 68:22,24 79:11      134:2,13                   147:17 148:1 155:8
equally (15)              312:18                    90:22 122:15           exam (2)                    156:9 157:4 166:10
 49:22 94:17 95:1 97:5   establish (3)              420:12 423:2            333:19,21                  178:15 199:24
   98:10 99:16,25         139:19 407:8,13         evaluations (1)          EXAMINATION (4)             200:4 203:25 204:1
   100:9 101:14 102:7    established (2)           263:13                   5:2 10:12 413:25           213:23 214:1
   102:19 103:2,18        308:4 353:17            event (2)                   435:9                    223:13 235:19
   104:2,11              estimate (33)             168:9 254:6             examined (2)                243:17 277:3,7
equals (3)                44:4,4,23 45:13 46:15   events (3)                10:9 92:7                  288:23 307:10
 97:4 99:23,24              46:23 88:25 117:13     18:6 190:19 197:25      example (32)                313:7 318:22,25
equates (1)                 117:16,20 119:15      eventually (1)            14:21 30:24 41:20          349:8 350:17,21
 316:22                     119:17 125:7           128:1                      86:5 111:13,19           363:14,17,18
equation (2)                153:15 164:3,4        ever/never (23)             116:24 117:2             386:16,19 405:10
 112:24 126:3               165:13,17 171:2        182:22 183:4,6,16          135:25 136:15            405:15 423:6
equipment (7)               181:19 191:9 194:2      184:13,18,21 185:6        142:10,15 143:21         428:14 432:8,18
 274:13 279:8 286:4         215:1 216:17            185:12 249:2,11           150:9 154:14          exist (1)
   295:8 342:19,20          235:12 236:9 253:3      266:5 278:23              160:14 164:8           242:20
   344:21                   263:17 264:22           279:15 309:17             168:17 170:8          existed (2)
equivalent (3)              265:1 311:20 322:2      311:15 350:8 352:1        174:13 175:9,11        147:7 310:20
 11:25 204:8 205:17         322:9                   352:10 353:6              181:1 182:11          existing (4)
Eric (5)                 estimates (33)             366:18 396:21             188:24 191:12,13       114:25 117:6 290:19
 4:14 9:24 10:16          43:9 46:17 97:22          401:13                    334:25 362:12            290:19
   103:23 199:25            114:21 115:17         everybody (7)               401:6 415:19 432:4    exists (2)
Eriksson (32)               116:2,11 118:16        61:24 62:2 135:6        examples (1)              91:19 347:14
 6:3 154:15,16,20           129:15,17 130:14        197:15 208:1            165:16                  expanded (1)
   155:1,5,16 156:12        152:9,11 158:25         340:15 370:18          excellent (1)             369:10
   161:22 178:18,21         159:3,9,14,21         evidence (34)             220:16                  expanding (2)
   196:10 306:20            162:15,19 234:11       45:9 61:10 72:8 88:16   exchange (1)              67:17 374:13
   307:10 308:3             237:25,25 240:12        92:11,17,21 93:10       15:23                   expect (7)
   309:11 312:7             242:9 263:14            93:16 94:9 99:11       exchangeability (1)       29:1,2,14 188:4
   335:18 340:10            280:10 286:23           105:13 106:15           234:15                     282:13 310:20
   341:2,14 344:6,10        312:18 320:17           131:6 264:12 265:8     exclude (12)                311:19
   344:18 345:25            390:13 394:7 397:9      265:22 266:17           45:20 46:9 52:15        expected (1)
   346:10,13,23 347:9    estimating (5)             267:6 268:3,22            57:20 107:11 108:2     310:25
   399:19 400:6 410:2     45:4,6 48:9 188:18,19     269:9,14 270:3            110:5 111:6,6 113:5   expenses (1)
error (11)               estimation (1)             291:25,25 292:4,5         287:10,13              137:4
 366:7,13,14,17           44:22                     323:9,16 351:14        excluded (1)             expensive (1)
   370:11 372:23,25      et (16)                    402:21 403:13           83:4                     225:15


                                      TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 126 of 806


                                                                                                          Page 14

   225:15                   430:20                 189:3 190:9,17,18       133:18 135:1 136:8      177:3
experience (1)           explained (2)             190:22 191:15,17        136:18 146:18         extreme (2)
 364:23                   91:16 430:17             191:23 193:7,17         149:12 151:14          191:13 373:12
experiment (3)           explaining (2)            194:1,13,18,21,25       152:14 163:21,24      extremely (2)
 90:24 94:4 99:7          49:20 50:20              195:4 196:18 198:4      164:9,10 174:9         50:2 69:2
experimentalists (1)     explains (3)              198:7,14 199:10,15      176:2,5 177:3,11      eyeball (1)
 63:8                     51:20 91:25 92:15        199:16 201:20,24        179:7,11,12 180:7      213:5
experiments (6)          explanation (6)           203:6 209:10,11,20      180:23 189:1 191:2
 74:12,24 75:14,23,25     51:5,12,20 110:5         210:4 211:13 215:8      191:8 192:4,10                   F
   76:1                     361:23 426:11          215:8 225:23            193:2 195:2,18        F (1)
expert (100)             explanations (1)          238:25 240:1,25         196:3,5 200:23         438:1
 5:10 6:5 20:13 37:5      50:25                    241:24 247:16           201:18,19 210:12      face (1)
   39:5 52:21 56:15      explode (1)               248:22 251:7,7          210:15,16 220:18       92:12
   57:10,24 58:18 59:9    236:23                   252:3,4,8 254:14,19     224:1,21 225:21,25    fact (45)
   66:2,4,25 73:3,8,16   exploding (1)             255:16 256:6            236:2,13 237:1,20      78:4 82:15 83:19 87:1
   76:13 79:8,10,19       238:8                    257:16,19 258:6         238:23 244:20           94:14 100:1,17
   80:6,22,24 81:4       exploratory (6)           259:4 260:21 261:9      246:12,18 248:4         103:3 110:4 122:22
   83:15,19 84:13         244:1,14,23 245:15       264:17,18,21,24         250:23 252:10,17        123:14 129:24
   86:25 87:17 107:7        247:8,13               265:6 266:3 272:10      253:17 254:2,20         140:18,19 142:19
   117:23,24 119:21      explore (2)               272:23 273:13,18        257:9 263:1 271:6       191:3 218:25 220:6
   131:17 142:2 152:1     311:18 409:18            274:7,20 275:6,7,25     273:4,5 274:15          221:2 254:18 258:8
   152:2 155:24          exposed (30)              286:5,7 296:22,22       275:21 280:19           260:9,15 268:7
   158:24 165:23          43:11,13 45:1 141:20     299:14 300:2,3,14       282:7 283:19,25         283:8 288:10
   182:21 183:9 186:2       150:11 164:11,12       300:18 301:24           285:1 294:3 308:13      305:12 306:18
   212:23 218:17            164:13 175:15,20       302:1,5,6,20 303:7      310:24 312:17           307:15 310:6
   248:25 249:17,19         176:11 209:14          303:11,14,24 304:3      313:24 326:16           320:23 327:25
   250:5,21 251:8,22        237:4,4 238:5          304:4 305:14 308:7      329:25 330:12,20        331:21 333:4,7
   254:11,12 257:5          250:23 254:2 255:7     309:23 311:25           332:5,5 333:8 334:1     343:22 374:11
   258:4 259:3 260:7        255:7 261:9,11         314:8,11,21 315:4       338:6,8 339:15          389:9 390:25
   262:5,21 263:6           262:16 268:14          315:12,13 316:13        342:25 343:23           393:16 394:14
   277:16,21 278:3,9        326:17 330:10,10       324:6,7,8,18,19,24      346:10 347:1,11         411:11 420:20
   283:6,17,24 285:5        332:12,13 336:7        324:25 325:7,9          355:8,20,21 359:10      429:23 435:18
   288:12,14 291:10         396:17                 328:4,5,18 329:10       360:11 370:25         factor (15)
   292:11 294:12         exposure (255)            329:10,19,24 330:9      398:4,15 400:24        143:4 146:3,6,8
   295:18 305:11,20       5:21 22:15 24:4 26:7     330:14,15 333:16        426:18,21 430:3,6,8     164:14 169:5
   310:5,17 319:13,19       27:1 29:18 30:6,13     335:25 336:2,3,4,6    express (2)               175:12,17 194:25
   345:8 347:22 348:5       30:19,22 31:13,19      336:8,10 337:20        91:12 381:12             285:22,24 328:13
   348:14,18 389:21         32:4,5 41:21 42:16     338:13 339:7,16       expressed (2)             328:20,23 334:19
   395:7 401:24 402:6       48:18 49:2,5 64:7      340:3 341:5,6,7,16     414:4 434:7            factored (1)
   402:8 408:15 409:2       70:9 87:9 124:7        341:16 342:4,8,16     extend (1)               301:7
   429:10,13,19             125:4 126:7,10,12      343:21 345:11,12       162:7                  factors (20)
   432:15 433:18            134:2,13 135:12,16     345:20,22,24 346:5    extensive (4)            32:19 33:14 48:1
   434:7                    135:19,21,25 136:9     346:8 347:6 350:6,6    227:19,20 263:15         145:4,10 151:6
expertise (3)               136:11 137:12,14       351:15,23,25            274:11                  163:22 164:11,13
 38:14 55:2 82:7            142:3,4 143:6          352:18 353:24         extensively (1)           187:20 189:5
experts (2)                 145:11,14 149:2,7      356:7 357:20 359:9     225:22                   215:19 279:11
 18:22 55:15                149:21 152:21          359:11 360:14,15      extent (10)               328:1 332:7,11
expires (2)                 159:17 165:14          362:2 364:23           34:23 41:2 170:18        334:19 335:16
 34:14 437:21               167:17,19,22 168:3     367:24 369:19           171:13 176:17           424:14 430:9
explain (16)                168:21 169:15          371:7,15,21 377:7       234:19 242:21         facts (3)
 51:2,6 84:12 86:25         171:22 174:15          390:8,10 394:2,4        346:9 408:18 436:4     49:21 50:20 439:4
   98:1 117:9 123:8         176:18 182:12,14       399:2 430:10          external (4)            faculty (4)
   126:7 132:22             182:22 184:13,21       433:12,14,20           20:17 25:18 383:8       14:3 16:22 33:1,6
   165:22 186:19            185:10,13,14,22      exposures (113)           385:4                 fair (12)
   367:11 414:2             186:17 187:1,4,10     24:13 30:21 31:18,24   extra (4)                31:7 46:5 47:4,20
   416:23 425:20            187:12,13 188:5,12     33:13,19,21 38:15      170:13 171:22,24         48:5 51:8 125:17


                                      TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 127 of 806


                                                                                                         Page 15

  260:17 292:15         federal (1)              finds (1)                 173:6                   56:10 57:1,16 58:7
  301:5 323:1 420:6      79:21                    351:13                  fix (1)                  58:22 59:5,14 60:8
fairly (5)              feed (1)                 fine (12)                 249:21                  61:5,18 62:5,22
 38:5 111:25 171:25      289:13                   68:5 72:18 226:23       Flaherty (3)             63:17 64:14,20 65:6
  172:4 344:25          feel (1)                    240:23 264:7 281:3     4:7 9:12,12             65:15,20 66:16
fall (4)                 204:5                      334:11 348:19         fluctuated (1)           67:10 68:15 69:11
 164:6 271:21 432:13    fellow (4)                  360:4,6 436:14,18      281:15                  70:14,24 71:16
  435:12                 33:23 35:17,21,25       finish (13)              focus (3)                72:11,16 73:9 74:7
fallen (1)              FERGIE (3)                61:5 65:20 119:10        32:23 77:12 175:3       74:22 75:9 76:4
 216:7                   259:8 266:20 267:9         126:15 127:13         fold (2)                 78:11 79:6 80:10
falling (1)             field (7)                   128:24 151:15          98:5 175:14             81:6 82:3 83:5,13
 322:9                   24:8,13 26:20,23 27:9      231:5 237:13 337:1    folks (1)                84:19 85:15,24
falls (2)                  88:4 125:5               346:18 370:4,8         367:24                  87:21 89:21 90:16
 42:16 159:24           fields (1)               finished (2)             follicular (1)           91:8,20 92:2,25
falsify (1)              136:23                   231:4 243:14             280:12                  93:18 95:4 97:15
 40:10                  fieldwork (2)            FIRM (1)                 follow (3)               98:16 99:13 100:4
familiar (3)             22:19 134:21             3:18                     22:18 314:17 432:4      100:23 101:17
 19:1 33:12 416:20      fifth (6)                first (65)               follow-up (13)           102:11 103:6,19
family (2)               103:22 123:19 221:9      13:21 15:2 21:5 22:10    28:21 29:3 141:8,9,10   104:14 105:15
 179:5 180:5               225:9 267:10             22:11,14,15,20 34:8      141:20 193:22         106:2,17 107:14
far (15)                   374:22                   34:10 54:2 75:4,17       356:18 363:20         108:11 109:17
 15:5,12 21:7 32:12     fight (1)                   79:2 89:15 108:16        367:15 433:15         110:7 111:8 112:11
  54:25 112:20,21        216:9                      118:1 127:5 175:10       434:23 435:5          113:9,13,19 114:5
  179:14 192:3          figure (7)                  178:12,18 186:8,16    followed (4)             114:14 115:2,11
  204:11 248:11          187:9 365:11 373:1         188:2 190:17           32:16,17 35:11          116:7,16 117:7
  366:1 367:3 371:7        374:18 377:17            194:12 199:20            204:20                118:11 119:1,10
  383:25                   379:22,23                200:15 201:7,11       following (7)            120:22 121:13,23
farm (1)                figuring (1)                202:18 208:2           29:12 32:22 194:6       122:11 123:1,17
 202:19                  299:13                     209:15 210:1,4,16        234:13 287:20         124:15 125:18
farmed (1)              file (1)                    211:13 214:19            391:8 436:24          126:15 127:5,13,16
 148:25                  83:9                       216:1 249:14          follows (2)              127:24 128:13,23
farmer (2)              filled (1)                  267:15 277:22          10:10 194:4             129:9 130:10,19
 136:19,20               12:24                      283:16 295:7          fooled (1)               131:8 132:14,23
farmers (24)            final (2)                   297:17 312:25          119:16                  133:2,20 134:17
 22:5 147:6 149:4        12:22 289:13               328:10 337:4          footnote (12)            135:13,23 136:13
  150:11,16 176:11      find (27)                   347:21,25 351:23       179:4 252:5,7,13        137:16 138:12
  176:13 201:11,20       19:14 29:4,9,14 50:25      355:9,25 357:15          255:21 257:17         139:1,17 140:8,22
  202:8,20 203:8           51:4 68:3 78:20          367:25 369:7,20          259:13 261:1 386:3    141:15 142:6,25
  208:10,14 250:23         87:16 90:9 99:3,10       370:24 371:15            387:12,16,21          143:8,12 144:15
  325:17 333:18            99:25 102:7 112:9,9      373:9 377:9 391:6     footnotes (1)            145:19 146:20
  334:4 337:6,7 338:1      138:4 148:25             402:10,16 418:16       387:8                   147:9,19,22 149:8
  338:18,23 355:24         232:17 249:3 274:3    first-degree (1)         forest (9)               151:4,15 153:19,22
farming (13)               280:14 299:6           279:6                    152:25 153:4 160:5,9    154:18 155:2,19
 31:4 147:6 148:12,19      350:21 384:11         fish (1)                    160:21 161:5,16       156:11,20,24
  150:25 151:1             402:21 414:9           77:13                      162:6,13              157:14,24 158:14
  200:22,23 201:18      finding (5)              fit (3)                  Forgie (527)             159:6 161:1,18
  202:12 337:11          34:9 298:4 319:21        63:15 64:18 318:6        3:7 5:5 8:25,25 9:16    162:10 163:15
  339:4,6                  377:21 427:1          fitting (1)                 9:23 14:17 16:15      164:15 165:7 166:4
fast (2)                findings (17)             163:9                      19:12 23:22 25:9      166:6,21 168:7,10
 25:3 394:25             32:18 51:6 114:24       five (11)                   26:8 28:2,18 30:10    168:23 169:24
favor (3)                  152:19 159:16          68:19 188:4,11             31:15 32:21 35:9,15   170:22 171:18
 113:6 216:7 323:17        228:8,17 229:15          190:13 195:24            38:10 40:3,13 41:23   172:3,12,17,22
Favorite (1)               230:3 232:1,5            200:2 268:7 355:17       43:4,23 44:17 45:10   173:1,18 174:6,17
 142:15                    234:10 245:13            366:11 434:25            45:22 46:11 47:5      174:20 175:8 176:8
February (2)               247:6 248:2,3            437:4                    48:20 49:24 51:9      176:22 177:9,23
 26:2 349:19               377:17                fivefold (1)                53:11,20 55:4,18      179:18 180:1,24


                                     TSG Reporting - Worldwide       877-702-9580
       Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 128 of 806


                                                                                                  Page 16

181:13 182:8,23         313:5,25 314:6        51:9 53:11,20 55:5    220:11 221:7 222:2     388:3 389:2,14
183:19 184:15,22        315:6,20 317:11       55:18 56:10 57:1,16   224:10 225:8 227:9     391:14,24 392:20
185:2,11 187:6          320:13 321:2,20       58:7,22 59:14 60:8    230:7,19 232:7         393:7,19 394:19
188:15 189:25           322:17,22 323:4,21    62:5 63:17 64:14,20   233:10,21 234:24       395:11 396:6 397:2
191:5 192:8 193:4       324:12 325:6,25       65:15 66:16 67:10     236:4,15 237:22        397:20 399:12,22
193:19 195:8            326:24 327:4,16       68:16 69:11 70:14     239:3 240:4 241:8      400:9 401:1,14
196:21 198:21           328:7,16 329:20       71:16 73:9 74:7,22    242:2,23 244:2,17      402:25 403:8,16,24
199:12 200:6,19         330:17 331:24         75:9 78:11,15 79:6    245:9,16 246:14        407:10,23 413:16
201:2,14,25 203:1       333:9 334:21          84:19 85:15,24        247:10 248:6           416:11 420:10,19
204:15 205:4,19         336:12,21 337:1,23    87:21 89:21 90:16     250:14 253:23          421:16 422:4,10,24
206:7,15 207:8,21       338:11 339:20         91:8,20 92:25 95:4    254:23 255:18          425:2
208:7 209:16            340:20 341:10,17      97:15 98:16 99:13     256:3,21 257:12      formal (3)
210:17 211:4,16         342:10 343:3,11       100:4 101:17          258:12 259:9          266:23 267:12 282:1
212:1 213:7,22          344:13 346:2,18       102:11 103:6,19       260:14 261:6 262:8   format (2)
215:20 218:1 219:2      347:2 348:6 349:3     104:14 105:15         265:11 266:21         258:24 431:18
219:22 220:11           349:10,13,15,21       106:2 107:14          268:6 271:8 281:2    formed (1)
221:6 222:1 223:21      350:11,25 352:14      108:11 109:17         281:14 282:9,22       416:12
224:9 225:7 226:20      353:10 354:2,16       110:7 111:8 112:11    283:11 284:17        former (2)
226:25 227:8            355:12 356:14         115:2,11 116:7,16     285:16 286:21         16:3 421:10
228:25 229:12           357:9 358:1 359:2     117:7 118:11 119:1    287:12 288:1 289:2   formulate (4)
230:7,19 231:3          359:24 361:4,11,16    122:11 123:2,17       290:12 292:7,20       40:5 44:21 48:7 52:7
232:7 233:10,21         362:5 363:5 364:7     124:15 125:18         293:12 294:4 295:3   formulates (1)
234:24 235:16           364:18 365:4 366:4    128:13 129:9          295:19 296:10         31:11
236:4,15 237:13,21      367:6 368:3 370:4,7   130:10,19 131:8       297:10 298:6,18      formulation (1)
238:14 239:2 240:3      371:3,18 372:8        133:11,20 134:17      300:5 301:11          200:16
241:2,6,17 242:1,23     373:3 374:20 376:1    135:13,23 136:13      302:21 303:15        formulations (5)
243:14 244:2,16         376:9,19 377:23       137:16 139:1,17       304:7 305:15          52:1 403:14 417:18
245:9,16 246:14         378:5 379:1,14        140:8,22 141:15       308:23 309:12          426:15 434:18
247:9 248:6,15          380:3 381:6 382:8     142:6,25 145:19       310:14 311:8         forth (10)
249:25 250:14           382:17 383:3,13,23    146:20 147:9 149:8    312:12 313:11,25      55:16 116:3,13
251:18 253:23           384:10,14,19          151:4 153:19          314:6 315:6,20         273:10 288:13
254:23 255:17           385:10 386:25         154:18 155:19         317:11 320:13          324:5 351:21 384:3
256:3,21,23 257:11      388:3 389:2,14        156:20,24 157:14      321:2,20 322:22        384:7 438:9
258:11,23 259:24        390:19 391:14,24      157:24 158:14         323:4,21 324:12      found (20)
260:4,13 261:5,20       392:20 393:7          159:6 161:2,18        325:6 326:24          33:17 40:11 82:11
262:7 264:2,7           394:19,21 395:11      162:10 163:15         327:16 328:7           92:8 94:16 95:1
265:10,24 268:5,24      396:6 397:2,20        164:15 166:4,21       329:20 330:17          97:4 100:9 101:13
269:11 270:6 271:8      398:7,10,22 399:12    168:23 169:24         331:24 333:9           113:24 147:5
272:11,24 273:14        399:22 400:9 401:1    170:22 171:18         334:21 336:12,21       250:25 286:16
274:8,21 275:2,8        401:10,14 402:25      172:3,18 173:1,18     337:23 338:11          306:10 326:20
276:1,7,19 281:1,13     403:8,16,24 404:9     174:6 175:8 176:8     339:20 340:20          327:12 365:23
282:8,22 283:11         404:22 405:22         176:22 177:9          341:10,17 342:10       367:2 374:13 430:4
284:17 285:16           407:10,23 409:1,5     180:24 181:8,13       343:3,11 344:13      four (18)
286:21 287:12           411:2,9 412:21        182:8,23 183:19       346:2 347:2 348:6     48:24 110:23 123:11
288:1,15 289:2          413:4,12 414:1        184:15 185:11         349:3 350:11           172:14 195:21
290:12 291:15           419:24 420:14         187:6 188:15          352:14 353:10          254:9 331:12 332:5
292:7,20 293:12         421:1,21 422:5,18     189:25 191:5 192:8    354:2,16 355:12        332:10,18 355:16
294:4 295:3,19          423:5,8,12,18,21,23   193:4,19 195:8        356:14 357:9 358:1     360:1 366:11 400:4
296:9 297:10 298:6      425:8 434:22 435:1    196:21 198:21         359:2,24 361:5         400:8 406:19
298:18 300:5            435:6 436:6,19        199:12 201:2,25       363:5 364:18 365:4     432:14 433:17
301:10 302:21         form (360)              203:1 205:4,19        366:4 367:6 368:4    fourth (1)
303:9,15 304:7         26:8 28:18 31:15       206:7,15 207:8,21     371:5 372:9 373:4     121:24
305:15,17 307:12        32:21 38:10 40:3,13   208:7 209:16          374:21 376:1,9,20    frame (1)
307:17 308:23           41:23 43:4,23 45:10   210:17 211:4,16       378:7 379:2 380:7     198:10
309:12 310:14           45:22 46:11 47:6      212:1 213:7 215:20    382:8,17 383:3,13    France (2)
311:8 312:12 313:2      48:6,20,25 49:24      218:2 219:2,22        383:23 386:25         395:23 396:2


                                   TSG Reporting - Worldwide   877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 129 of 806


                                                                                                      Page 17

frankly (2)              375:15                  407:7,19 408:2        165:25 166:2,17,20      342:6 343:1,9 350:4
 241:5 412:9                                   genotoxicology (1)      173:25 174:10           350:8 351:15,23
French (2)                        G            54:18                   176:3,25 177:13         352:1,2,11 353:2,7
 396:13 400:5          G (6)                   Germany (2)             178:23 180:13           354:13,14 357:25
frequencies (1)        252:5,7 257:17          11:16 14:8              182:6 183:25            358:15 360:18
 303:16                  259:13 261:1          getting (9)             184:13 185:8,10         362:4,22 363:8
frequency (14)           262:16                35:3 65:18,21 85:8      186:17 194:12           365:23 367:2,23
 269:15 297:3,21,25    game (1)                  226:21 259:23         195:12 199:10,19        369:4,9,22 370:16
  298:7 302:25 303:2   249:9                     324:17 375:8          201:4,12 202:8,11       371:1,10,25 372:19
  303:14 304:3,6,15    gather (1)                381:11                202:18 207:6 208:1      373:14,18 374:12
  304:21 344:22        26:6                    give (21)               208:14 209:24           374:16 375:19,24
  423:25               gathered (3)            78:22 81:6 83:16        212:18 213:15           377:6,8,17,18,22
frequent (1)           346:11,14 417:11          112:8 127:9 136:6     223:9,19 224:7          378:19,19,23
 267:19                gathering (3)             152:19 183:11         227:6 228:8,18,20       379:12 380:12
frequentist (2)        26:17 314:21 355:7        196:19 236:8 241:3    229:17 230:5,17         381:1 382:7,16,20
 106:4,21              gauge (1)                 241:10,14 264:13      231:2,7,14 232:5,14     383:2,12,20,22
friends (1)            417:8                     272:14 299:20         232:21 233:1,9,20       384:9 385:9,14
 14:16                 gene (1)                  351:2 361:23          234:22 236:9,11         386:4,11 388:25
front (4)              89:6                      404:23 411:19         237:2,3,24 238:5,22     390:21 391:18,23
 83:20 152:3 295:23    general (26)              415:19                240:14 245:6,13         392:2 394:10
  428:16               5:12 27:25 92:19        given (11)              246:3 247:7 248:3       395:14,15 396:4,23
fuel (1)                 93:15 135:19 136:9    108:9 158:4 165:16      248:10,20 249:3,15      399:3,20 402:21,22
 150:15                  137:11 149:20           202:8 233:22          250:8,24 251:6          403:12,14,23 404:8
full (9)                 163:3 197:13            274:14 329:8,11,14    252:4,9,14 253:19       404:20 418:2
 83:16,19 118:1          202:13 223:25           433:6 438:11          253:22 254:13,20        420:17 422:8,22
  216:22 273:12,13       231:7 242:5 311:6,9   gives (6)               255:3,11,16,23          429:25 431:10
  275:6 290:9 297:7      318:3 325:16          207:12 236:9 243:3      256:7,10 257:8          433:22 434:9
fully (7)                338:17 352:16           414:14 420:7          258:6,10,16 259:3,6   glyphosate's (1)
 152:10,18 157:12        357:11 358:24           426:14                260:8,11 261:1,10     101:7
  158:21 215:1,15        387:20 392:1 420:8    giving (1)              261:16,19 262:1,6     glyphosate-based (8)
  262:21                 420:12                162:15                  263:3 264:12 265:9    52:3 183:17 200:15
fumigant (2)           generally (16)          glean (1)               265:18 266:4,18         225:4 403:14
 386:23 387:3          27:18 30:18 40:4        123:10                  267:6,7,16 268:4,18     417:17 426:14
fumigants (1)            49:25 93:9,11 99:10   glyphosate (351)        268:23 269:4,10,17      434:18
 275:18                  146:25 188:3 197:1    20:9 22:25 24:17        270:4 271:6,19        glyphosate-intensiv...
fun (1)                  216:11 222:8 310:3      27:14 32:14 35:8      276:14 278:24         339:4,6
 78:24                   316:17 317:7            51:23,25 52:6,19      284:4 285:21 287:6    glyphosate-related ...
fundamental (2)          341:15                  59:13 60:5 62:12      292:1,6 298:13        52:1
 49:17 50:16           generate (3)              63:13 64:7,8,17       299:9 300:2,4,15,18   GMOs (1)
funding (2)            41:10 42:17,21            65:9 66:9 67:4 68:8   300:19 302:5          369:22
 34:25 35:3            generating (1)            69:6 70:3,6 71:12     305:14 306:12         go (61)
fungicide (2)          40:9                      73:6 77:22 80:17      313:19 314:19         15:24 17:20 35:4
 386:23 387:2          genetically (1)           82:10 87:19,19 90:2   315:3 318:13 319:1      40:22 43:25 47:17
fungicides (1)         338:15                    90:5,13,14 91:6       319:8 321:15,17         48:13 49:4 57:4
 275:18                genomic (1)               97:10,13 98:11,14     323:2,10,19 324:11      75:18 76:19 79:13
funny (1)              89:3                      100:1,2,7,12,20       325:16 326:15,17        81:13 90:18 96:6,12
 168:24                genotox (1)               101:3 102:6,6,8,9     326:21 327:13,14        113:8 126:18,24
further (14)           402:18                    102:25 103:3,4,13     327:18,21 328:3,4,5     127:18,21 137:3
 161:13,15 162:8,8     genotoxic (2)             103:15 119:24         328:10,18,21,25         156:13 161:13,14
  183:12 229:16        74:14 76:3                120:9,13,20 121:11    329:3,9,13,14,19        161:20 162:3
  230:4 305:13         genotoxicity (22)         121:21 122:9,24       330:9,14,15,24          177:21 192:5
  347:16 410:9         54:15,21 57:5 58:2        123:12,15 124:13      331:13 333:2 334:5      213:19 216:12
  411:22 412:23          59:20 60:12,13 74:3     125:16 128:11         334:16 335:2,14,20      222:12 235:14
  435:9 438:12           75:7,13 82:24 402:3     147:8 148:20 149:7    336:7,10,15,19          249:20 254:12
future (4)               403:18 404:3,13,16      152:5,20 153:3        337:4,10 338:15,18      283:21 295:13
 21:18 115:1 117:6       404:17 405:3,4          155:16 159:5,17       338:25 339:17           297:15 303:17


                                      TSG Reporting - Worldwide   877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 130 of 806


                                                                                                        Page 18

  307:18 319:5          Google (1)                411:12                166:1,19,23             52:3 150:8 183:17,24
  325:23 335:8,21       414:13                  guidelines (2)          Hashibe (2)               225:5 238:24
  342:1 354:22          Gotcha (1)              37:2,23                 16:5 17:6                 275:17 338:19
  389:23 392:7          18:19                   guys (5)                hazard (7)                388:14,20
  395:21,25 401:5,16    gotten (5)              9:16 155:3 174:21       418:24 420:11,16        hereinbefore (1)
  410:5,19 414:7,13     224:24,25 346:16          177:23 435:6            421:23 422:1,14,20    438:9
  414:19 415:2 416:3      361:12 391:5                                  hazardous (4)           hereunto (1)
  429:23 430:21         Grandjean (1)                    H              419:2 420:2,7,21        438:16
goes (14)               34:21                   H (3)                   head (9)                heterogeneity (1)
45:2 46:18 119:18       graph (1)               5:7 6:1 7:1             15:3,6 130:5 180:18     86:7
  126:3 136:22          373:20                  habit (1)                 180:19 181:15         hierarchical (18)
  162:24 168:14         graphs (1)              96:7                      184:17 186:6          213:9,11 214:8
  196:15 206:20         167:10                  habits (1)                197:16                  215:19,22 216:2,6
  299:9 341:4 371:8     great (3)               96:9                    heading (1)               217:6,12 232:3
  402:18 427:11         11:9 78:24 144:15       hairy (1)               261:1                     233:5,16,19,24
going (79)              greater (24)            156:3                   heads (1)                 234:5,13 335:4,8
14:24 22:4 26:20 38:4   183:15 184:12 264:11    half-hour (3)           197:17                  hierarchy (1)
  45:21 62:25 67:19       265:7 271:15,23       271:19,20,21            health (21)             217:24
  80:10 82:20 83:5,8      273:11 296:5 299:8    halfway (2)             6:23 12:4,5 20:18       high (15)
  84:13 85:7 87:16        300:3,17 301:14       36:21 188:2               23:19 24:3 27:12      119:16 126:11 269:3
  96:25 98:3 112:5        302:17,19 327:13      Hamburg (2)               31:8 34:5 141:13,17     301:25 303:20
  126:16,17,21,22,23      327:14 328:3 342:7    12:14,23                  195:19 229:17           304:13,17 338:2
  127:20,22,24 128:2      345:23 423:25         hand (6)                  230:5 318:15 325:1      341:7 345:11
  134:22 146:18           424:23 425:10,22      25:2 126:11 304:15        343:7 347:17            366:21 375:2
  147:16 149:6            427:9                   338:1 350:20            363:21 385:21           426:17,20,24
  162:22 163:3          Greenland's (1)           438:17                  427:2                 high-risk (5)
  175:16 183:10         99:3                    handed (1)              heard (2)               179:6,7,10 180:6,7
  184:7 186:10          Grindal (2)             132:4                   10:16 383:9             higher (18)
  190:25 200:1,10,11    4:3 9:13                handful (1)             heavily (3)             105:11 106:13 125:24
  208:4 213:4 220:24    group (42)              74:2                    115:10,18 415:22          189:13 257:6,8
  222:23 226:14,16      16:4 18:3,7,24 23:19    handled (4)             Hedlund (2)               267:20 300:15
  239:19 257:6            24:7 25:18 27:2,5     182:11,13 183:24        2:10 3:10                 309:19 316:23
  259:18,21 262:22        27:23 32:11 34:4        185:14                held (2)                  328:4 329:18
  269:20,21 270:10        60:11,13,14,22 61:2   happen (6)              2:10 8:13                 330:14 336:2,9
  282:2 286:11            61:22 62:24 63:12     25:20 126:22 134:22     Hello (1)                 339:9 425:4 426:7
  312:16 329:5 342:1      64:23 69:24 240:15      189:2 246:20          73:2                    highest (6)
  344:25 346:10           258:14,19,22            346:20                help (5)                300:16 317:1,5,17
  350:20 361:17           267:17 270:16         happened (3)            16:8 37:1,20 332:2        330:10 336:8
  378:11 384:14,19        274:4 284:23          107:4 199:15 368:18       417:7                 highlighting (1)
  395:21 406:20           302:18 336:8 341:5    happening (4)           helped (2)              148:9
  408:20 409:1,10         341:6,7 345:12        187:11 188:21,23        17:10 24:4              highly (19)
  410:17 411:22           370:17 375:11           377:9                 helping (1)             89:1 152:9 153:9,13
  412:24 414:21           418:17,18,19          happens (4)             16:6                      153:15 154:16
  419:13 430:25           427:19                216:22 232:1 427:18     helps (3)                 157:21 158:25
  434:24 435:1          group's (1)               427:24                218:9,9,11                159:2,13 253:12
gold (2)                152:5                   happy (4)               Heltshe (9)               329:25 330:20
139:20,23               groups (10)             51:19 160:7,8 218:12    7:3 363:12,13,18          331:5 332:11 334:2
Goldman (2)             18:10,16 60:10          hard (1)                  375:21 376:6,14         430:6,18,24
2:11 3:10                 188:18 240:12         339:23                    377:14 378:13         Hill (10)
good (16)                 309:19 345:13,24      Hardell (16)            hematopoietic (4)       263:9,12 416:21,24
8:4 10:14,15 11:2         353:24 396:11         6:4 156:1,2,7,17        150:21 196:17 197:1       417:19,23 418:6,13
  86:19 106:16 143:8    guess (11)                157:11,20 228:23        279:5                   418:14,22
  157:15 178:2 198:9    33:24 134:4 175:24        229:2,10,24 230:9     herbicide (6)           hinges (1)
  199:4 264:2 302:2       177:15 181:16           344:6,10 400:3        52:7 257:20 386:10      140:6
  334:24 361:16           183:5 207:12            409:23                  386:22 388:20,24      hint (1)
  432:4                   228:10 264:1 352:5    harder (3)              herbicides (10)         78:22


                                     TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 131 of 806


                                                                                                           Page 19

histories (1)           33:19 150:25                424:17 429:6,8        impacted (1)               78:1 180:10 184:9
274:12                  hypotheses (13)          IARC's (22)               369:22                    222:13 254:20
history (2)             94:18 95:3 98:5,13        20:8 52:18 53:10,16     impetus (2)                257:24 261:14
179:6 180:6               101:22,23 102:17          53:17 54:1,11 56:23    229:15 230:4              284:3,7,14 357:25
Hodgkin's (1)             102:20 104:3,4,24         56:24 57:14 58:4,8    important (6)              362:4 395:9 397:24
151:6                     105:2,3                   58:9,19,20 59:8,12     145:15 205:22 255:13      398:1 422:16
Hohenadel (3)           hypothesis (77)             59:22 60:3 159:12       321:25 424:24         includes (21)
250:10,11,21            39:20,23 40:5,9,11,15       421:23 422:20           425:4                  12:3 77:7 181:2,21
hold (3)                  40:15,16,24 41:3,6     idea (7)                 Importantly (2)            243:1,6 255:3,22
87:12 234:12 307:17       41:7,8,10,11,14,17      106:16 150:2 246:24      118:2,16                  260:25 261:2,25
hold-out (1)              41:21,25 42:4,6,8         322:5 337:24 392:1    imprecision (1)            263:17 281:6
368:1                     42:13,17,18,23 43:2       420:7                  234:11                    282:20 308:5 322:1
holding (3)               43:10,21 44:1,2,16     ideas (3)                improves (1)               350:5 357:7 383:20
114:25 117:4 377:1        45:9,20,25 46:9         18:5 22:15,16            219:13                    386:4 401:19
holdout (3)               47:2 48:4 51:22        identical (5)            imputated (1)           including (31)
364:4,24 365:7            92:18,22 93:11,17       232:4,9 233:18           364:4                   29:12,22 31:11 36:12
Hollingsworth (3)         97:6,10,12,18,18          234:20,21             imputation (49)            63:22 70:5 81:25
4:10 9:25 10:2            98:3,10 99:12,19       identification (21)       355:2,6 356:5 357:5       83:16 85:21 139:16
honor (1)                 100:10,12,19 101:2      11:13 39:10 86:22         357:11,23 358:6,25       187:20 208:15
34:11                     101:5,12,14,16            113:15 132:2 148:2      359:7,8,22 360:4         220:22 257:7
hope (1)                  102:15,17,24              155:9 156:10            361:2 362:3,14,20        258:15 259:6
184:20                    103:13,14,17,18           166:11 178:16           363:2,19,25 364:21       274:12 281:23,25
Hospital (1)              104:13,22,25              200:5 204:2 223:14      364:22 365:10,21         290:15 309:3
12:14                     105:14 106:16             235:20 243:18           365:24 366:2,25          359:19 374:10
hospital-based (2)        107:22 245:7              277:8 313:8 318:23      367:4 372:24             376:5,14 377:4
400:14,16                 246:13 281:23             349:9 363:15            373:16 374:10,15         378:18 390:25
hour (3)                  323:10                    386:17                  375:19,23 376:7,16       396:10 419:5
72:15,16 98:2           hypothesize (1)          identified (3)             377:5 378:16             434:19
hours (8)               41:5                      11:18 334:14 366:1        380:22,24 381:4,15    inclusion (1)
48:24 272:3 273:20      hypothetical (1)         identify (14)              381:17 382:5,14,25     138:18
  273:24 398:11         333:1                     8:23 9:19 17:23 39:20     383:10,21 384:2       incomplete (1)
  411:4,8 412:19                                    84:5 91:18 120:8        385:7                  433:13
household (1)                      I                131:16 145:3 166:1    impute (4)              incorporated (3)
431:2                   IARC (91)                   166:19 167:1           356:6,17 357:1          8:19 358:22 432:21
hover (2)                14:22 15:4,8,15,18,24      168:20 212:12           373:19                incorrect (4)
308:25 354:20             16:4,7,13,20,25        identifying (1)          imputed (1)              196:22 271:9 337:22
hovering (3)              17:6,9,18,24 18:20      145:9                    380:17                    377:3
353:14 354:10 401:6       18:23 19:4,17,21       ignored (1)              inappropriate (3)       increase (6)
hovers (1)                52:24 53:1,13,22        306:22                   382:6 383:22 385:8      33:18 89:7 190:14
425:18                    54:5,8,12,14,19        ignoring (1)             incentive (1)              254:21 332:19
huge (4)                  56:22 57:6,11 58:1      173:3                    135:2                     377:8
89:11 210:1 338:25        59:1,17,19 60:6,9      II (4)                   incidence (1)           increased (18)
  377:8                   61:15 62:20 63:12       149:15,19,19 150:12      299:7                   142:22 148:11 173:6
human (8)                 63:21 64:3,5,16        imagine (10)             incidents (1)              230:22 252:15
56:3 95:25 120:13         65:9,23 66:5,9,18       114:3 154:22 180:10      230:22                    254:15 271:13
  150:10 404:14           66:18,21 67:2,12,14       181:2 189:12          include (19)               326:21,22 327:21
  408:1,4 418:20          67:20,24 68:7,17,21       227:17 272:15          112:18 130:13 179:12      329:9,12,18,21
humans (1)                69:17,24 71:6 72:3        328:19 336:15           180:8 181:20             331:21 367:24
407:9                     72:4,7 80:18 82:12        378:10                  238:25 243:10            371:25 372:22
hundred (5)               150:9 152:4 284:10     immediately (1)            258:9 262:6 283:3     increases (4)
90:8,23 177:5,8 340:1     284:22 285:14           77:10                     301:5 309:23,25        176:6 219:15 311:23
hundreds (1)              286:13,23 287:3        immune (1)                 312:14 322:21            311:25
411:12                    322:19 407:12           189:5                     354:21 398:1 428:2    increasing (2)
husband (3)               415:14 416:7,10,13     impact (5)                 436:25                 329:13 332:8
136:23 137:2 138:3        418:5,12 420:21         170:10 171:25 390:12    included (20)           incredibly (1)
husbandry (2)             422:1,7 423:1             394:6 416:6            29:10 53:1 54:8 58:1    413:13


                                     TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 132 of 806


                                                                                                            Page 20

incremental (1)           115:20                  174:12 176:6            intermediate (1)            424:8
 222:22                  inform (1)             instruction (1)            143:6                   intervals (26)
independent (13)          242:6                  127:1                    intermediates (1)         43:9 86:16 107:7,12
 52:25 54:2,7,23 66:23   information (42)       insult (1)                 145:13                     108:13,14 110:10
   68:23 143:4 144:1      26:6,7,18 38:19        188:13                   internal (1)                112:17 114:23
   285:21,23 330:7         108:15,15 110:17     integrate (1)              91:17                      118:10,19,23 130:7
   403:11 430:9            113:3 135:12,17,21    16:6                     internally (1)              130:12,23 161:6,13
independently (1)          139:4,6 195:17       intellectual (1)           286:17                     162:16 214:25
 60:16                     247:6 272:22          330:21                   International (1)           216:24 217:11
indicate (2)               295:12,14,16         intends (5)                36:4                       283:1 309:24
 230:21 272:21             297:20 315:5 355:7    81:6 82:15 83:16         internet (1)                312:14 321:24
indicated (1)              356:10,11,17           240:8 242:8              113:24                     354:21
 179:4                     357:21 362:19        intense (6)               internships (1)          interview (2)
indicates (1)              371:22 372:6,12       267:19 268:16,17          15:24                    139:21,22
 162:23                    373:23 379:22,24       302:5 338:7 339:15      interpret (8)            interview-based (1)
indication (5)             380:1 390:9 394:3    intensity (34)             93:23 98:18 103:10       133:13
 112:8 266:10 298:16       415:7,12 416:14       269:14 271:6 299:18        108:13 265:21          interviewed (3)
   302:17 390:16           426:13,13 429:9        301:3,4,24 303:2,6        266:16 273:7            339:5 355:15 397:8
indicative (1)           informational (1)        303:20 304:10,12          274:16                 interviewing (1)
 235:5                    131:25                  304:13,16 305:7         interpretation (13)       22:4
indicator (2)            informative (21)         309:18,20 312:1          64:9 65:12 66:13 67:7   introduce (3)
 266:3 328:24             45:14 185:6,20          324:7 339:16              68:12 69:8 70:11        170:19 328:1 372:24
indicators (3)             186:13 214:17          342:13,17,25 343:6        99:15 130:7,16         introduced (3)
 286:5 329:3 430:9         217:20,25 218:20       343:24 398:3 425:5        273:9,11 287:18         138:24 149:18 372:23
individual (11)            218:22 219:1           426:1,3,4,6,8,10,21     interpreted (3)          introducing (1)
 137:21,25 139:3           220:10 221:5,13,20     426:25                   87:18 131:5 269:8        432:25
   191:15 251:23           221:23 222:10,11     intensity-weighted (...   interpreting (2)         introduction (2)
   253:25 257:19           222:24,25 223:1       336:3 342:15              66:24 130:23             6:18 337:3
   286:15 299:14           312:2                intensive (1)             interprets (3)           investigate (4)
   332:6 366:25          informed (5)            338:2                     274:23 275:11 276:3      210:5 225:25 243:4
individuals (16)          25:25 69:22 113:5     intensively (1)           interrupted (1)             245:22
 164:6 313:22 326:16       135:16 291:1          415:25                    328:15                  investigated (3)
   338:16 339:18         ingredient (1)         intent (3)                Interruption (1)          244:19 246:4 379:5
   351:22,25 355:9        78:1                   239:13 265:14,16          206:25                  investigation (5)
   356:7,11 365:3,6      ingredients (1)        intention (2)             interval (66)             134:4,15 229:16
   369:6 372:20 397:7     77:25                  35:7 81:3                 46:16,17 107:13,16         230:4 430:11
   428:9                 initial (5)            intentionally (1)           107:20,23 108:2,7      investigators (27)
inducing (1)              23:4 83:3 278:3        409:15                     108:20,24 109:10        22:14 38:7 39:2 51:16
 185:21                    347:22 348:5         interact (1)                109:14 110:16             142:16 158:12
inducted (1)             initiation (2)          22:5                       112:1,15 117:14           224:6 245:14
 34:15                    197:21,22             interaction (3)             119:4,6,8,14,17           248:21 272:9,13,21
industrial (2)           input (2)               235:3 250:17,19            130:17 131:4              273:2 275:4 345:9
 96:4 146:23              23:8 290:24           interacts (1)               155:18 157:1              355:4 356:5 357:4
industry-sponsored...    inrollment (1)          31:10                      158:17 160:19,20          362:25 374:8
 345:17                   358:16                interdisciplinary (1)       162:20 179:1              375:21 376:5,13
infer (1)                insecticide (2)         55:7                       212:24 213:2              377:15 382:13
 129:2                    275:17 387:2          interest (9)                214:20,20 216:18          396:3 400:22
Inference (1)            insecticides (1)        32:24 44:5 48:18,19        216:19 217:6,7         invited (5)
 5:17                     312:8                   142:4,5 167:17            232:18,21 233:15        14:20 15:7,15 34:12
inflate (1)              inserts (1)              171:9,15                  249:7 251:2 279:20        34:19
 330:13                   395:2                 interested (8)              280:11 281:6,17,22     inviting (1)
influence (1)            insofar (3)             21:10 29:23 33:2 34:5      282:12 306:16           15:13
 171:14                   27:8 95:22 170:23       146:25 246:2              319:20,23 320:1,4      involve (1)
influenced (2)           instance (7)             426:17 438:15             320:16,22,24,25         38:6
 118:8,17                 64:8 87:19 94:16      interesting (3)             321:5,9,14 322:1,7     involves (1)
influences (1)             138:11 168:4          416:13,15 427:1            322:10 396:16           252:9


                                      TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 133 of 806


                                                                                                       Page 21

Iowa (4)                jump (1)                  117:20 121:4          Lakewood (1)             114:7,16,19 115:5
 205:10 243:10 297:7     112:22                   125:22 127:5,17        3:6                     115:15 116:10,21
   333:21               June (2)                  132:9 136:6 144:4     landing (1)              117:22 118:13
irregular (3)            206:21 209:8             145:23 146:8,11,22     303:21                  119:2,20 121:6,18
 270:14 271:11 272:16   junior (3)                148:8,23,25 149:24    language (3)             122:2,19 123:5
irrelevant (1)           15:20 16:9 18:9          180:18 184:22          63:22,24 392:17         124:9 125:10
 196:4                  jurat (1)                 195:6,15 199:14,19    large (13)               126:13,16 127:11
ISEE (5)                 436:25                   204:11 208:6,8,17      90:9 91:1 124:19        127:14,19 128:1,5
 36:8 37:8 38:22                                  210:1,5,22 221:12        140:6 280:21          128:20 129:5,10
   277:15 289:24                   K              232:8 238:7 239:17       281:10 298:3 390:5    130:15 131:1,15
ISEE's (1)              Kansas (7)                241:4 244:23 245:5       391:8 392:13 393:1    132:3,16,18,25
 36:17                  204:14,21,23 206:4        245:10 247:3             412:5,12              133:4,7,24 134:23
issue (32)                220:2,4 297:9           248:11 249:23         larger (13)              135:18 136:5 137:8
 27:6 30:8 81:25 84:1   Kathryn (3)               266:8 272:8 278:19     90:9 91:1 176:13        138:9,13 139:12,24
   84:16 132:20         3:7 8:25 81:8             296:13 299:22            181:19 213:15         140:17 141:6,22
   133:16 134:24        keep (4)                  304:9 318:2 333:24       214:10 224:20         142:9 143:10,13
   135:10 141:13        113:11 127:6 339:7        334:11 335:11            257:25 258:14,22      144:13,22 146:13
   142:1 148:11           415:12                  338:14 339:2,3,5         263:16 305:1          147:3,12,16,21,23
   160:13 168:1         keeping (1)               340:15,16 344:19         414:14                148:3 150:13 151:8
   173:23 186:24        94:2                      345:1 349:4,22        largest (5)              151:16,17 154:1,24
   191:1 196:16         keeps (1)                 362:12 366:20          123:25 124:20 258:19    155:4,10,21 156:7
   212:10 215:6,6       128:2                     367:13 371:7,10          400:4,8               156:13,15,21 157:3
   225:20 242:18,25     kept (2)                  375:8 381:18          Lasker (588)             157:16 158:6,22
   293:16,17 333:12     189:4 409:10              382:10 383:25          4:14 5:4 9:24,24        159:10 161:9,24
   346:12 355:5 369:4   Killex (2)                388:13 395:23            10:13,17 11:14        163:1,18 165:3,10
   389:18 433:12        256:2,4                   398:11 400:18            14:23 16:18 19:13     166:7,12 167:24
issues (17)             kin (1)                   402:17 407:25            19:15 24:14 25:12     168:8,13 169:19,25
 28:15 39:14 47:21,21   135:11                    408:11 414:11,19         26:11 28:6,23 30:11   171:19 172:7,13,21
   47:22,23 48:15       kind (25)                 417:12 436:8,11          32:1 33:4 34:16       172:23 173:4,21
   55:17 80:5 84:14     21:10 36:9 41:3 44:1    knowing (1)                35:12,16 38:21        174:11,18,23 175:2
   174:2 192:1 193:13     49:5 64:24 68:25      304:2                      39:11 40:7,18 42:2    175:23 176:15
   407:6 408:8 409:11     99:6 131:10 135:17    knowledge (1)              43:18 44:8 45:5,16    177:1,14,25 178:9
   410:1                  137:4 140:23 141:1    38:13                      46:4,20 47:19 48:6    178:20 179:19,23
Italy (1)                 167:21 187:15         known (8)                  48:11 49:13 50:14     180:2 181:6,23
 34:7                     211:18 225:22         13:24 14:7 145:22          51:21 53:14,23        182:17 183:1 184:2
                          233:12 254:1 255:2      152:10 188:9             55:11 56:5,14 57:9    184:25 185:3 186:1
           J              265:1 289:12 291:3      195:12 348:8             58:3,16 59:2,6,23     187:22 189:16
Jeff (2)                  316:12 415:11           416:21                   61:3,12 62:1,10       190:3 191:11
 9:16,22                kinds (3)               knows (3)                  63:9 64:1,15 65:1,7   192:20 193:11
JEFFREY (1)             83:17 245:24 413:19     137:6 208:14 303:17        66:1,22 67:21 69:3    194:8 196:8 198:15
 3:23                   kitchen (1)             Krause (1)                 69:19 70:20 71:8      199:6,7,18,23 200:1
job (2)                 159:24                  14:4                       72:9,14,18 73:1,15    200:8,20 201:6,16
 1:25 199:3             knee-jerk (1)           Kurt (1)                   74:10 75:3,16 76:6    202:14 203:10,22
John (1)                88:3                    13:22                      79:1,17 80:21 81:11   204:3,17,22 205:8
 421:3                  knew (3)                                           81:16 82:21 83:9,18   206:1,10,17 207:2,3
judge (9)               14:1 21:20 282:2                   L               83:22 85:1,18 86:11   207:13,23 208:18
 68:4 80:23 83:19       know (112)              lab (4)                    86:23 88:13 90:1      210:7,24 211:9,21
   126:18 127:18,25     10:21 11:9 14:18 20:6    75:14,23,25 76:1          91:3,14,24 92:3,4     212:8 213:8,24
   128:3 182:13           25:2 27:20,21 34:19   label (2)                  93:7 94:13 96:13,24   214:2 217:3 218:15
   241:16                 34:24 35:2 36:2        64:24 255:9               98:6 99:8,20 100:14   219:18 220:1,23
judged (1)                39:6 48:22 49:16      labeled (1)                101:1 102:1,22        221:1,14 223:2,15
 359:13                   55:10 56:2 57:20       8:5                       103:11 104:10         224:2,22 226:14,23
judgment (1)              60:5,22 66:18 68:18   laboratory (1)             105:6,21 106:9        227:1,21 229:3,13
 316:7                    71:6 72:13 80:20       74:24                     107:5,18 109:3,20     230:11 231:1,9
July (3)                  81:19 87:5 94:1,8     lag (2)                    111:1 112:2 113:7     232:10 233:14
 17:20 206:21 209:8       105:25 107:2 114:5     193:8 196:11              113:11,16,21,22       234:1 235:13,18,21


                                     TSG Reporting - Worldwide      877-702-9580
      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 134 of 806


                                                                                                        Page 22

236:6,24 237:14         362:24 363:9,16      lead (2)                  12:25 156:3                199:24 203:25
238:10,16,18            364:8,20 365:8        187:4 391:10            level (9)                   351:12 436:3 439:6
239:19,24 240:21        366:9 367:19 368:8   learn (1)                 109:22 117:1 139:9         439:7,9,10,12,13,15
241:5,12,20 242:15      370:6,22 371:12       132:17                     149:1 169:12             439:16,18,19,21,22
242:17 243:5,16,19      372:3,16 374:6       leave (1)                   301:23,25 339:9          439:24
244:5 245:1,11          375:17 376:4,12,22    82:1                       426:18                lines (2)
246:6 247:2,14          378:1,9,12 379:10    leaves (1)               levels (3)                162:3,7
248:9,18 249:22         379:20 380:18         34:14                    151:21,23 275:15        Lisa (5)
250:2,4,18 251:20       382:1,11,21 383:5    lecture (2)              Liability (2)             1:23 2:13 8:21 438:4
254:7 255:12 256:1      383:17 384:5,12,18    48:22 115:16             1:4 8:8                    438:22
256:5 257:3 258:2       385:2,15 386:14,18   lectures (1)             license (1)              list (6)
258:17 259:1,18,20      387:4 388:11 389:8    114:1                    333:23                   19:25 153:9 230:25
260:2,5,23 261:17       389:19 390:22        led (1)                  licenses (1)                231:2,12 246:10
262:3,19 264:5,8        391:20 392:5,23       18:7                     12:8                    listed (19)
265:19 266:12           393:13 394:11        ledger (1)               life (1)                  19:22 74:25 75:1,4
267:2,22 268:19         395:5,17 396:12       137:5                    276:14                     76:1,2,10,11 120:7
269:6,20,24 270:17      397:12 398:12        Lee (10)                 lifelong (2)                122:3,21 123:23
271:1,14 272:19         399:5,17 400:1,17     6:14 235:14,15,22        30:22 31:18                128:10 133:9 156:2
273:8 274:1,17,24       401:7,12,18 402:12      236:1,8 239:25        lifetime (32)               156:18 202:11
275:3,22 276:15,21      402:15 403:6,10,20      240:24 241:22          31:4 297:4,22 299:12       279:11 327:12
276:22 277:13           404:6,18 405:9,12       242:22                   300:1,2,4,7,14,17     listing (2)
281:3,7,19 282:15       405:16,18,23 406:2   Leemon (2)                  300:21,22 301:6        119:23 317:5
283:5,13 284:20         406:18 407:4,17       4:19 9:9                   302:1,7,11,12,16,19   literature (57)
286:10 287:1,15         408:5 409:4,7        left (12)                   302:23 303:13          50:18 55:10 57:5
288:8,19 289:18         411:25 412:18,23      14:4 17:6,20 92:5          304:6,23 305:5,6,14      59:11,20 60:5,15,19
291:5,20 292:10         413:6 420:10,19         162:9 184:4,4 316:3      314:3 315:12             61:17 62:4 63:4
293:2,22 294:9          421:16 422:4,10,24      366:7 398:8 406:20       343:21 347:5             64:18 67:4 68:9
295:11 296:4,16         423:7,17,20,22          411:3                    425:10 426:2             69:5,15,17,21 70:6
297:14 298:10,22        425:2 434:23         legal (1)                light (1)                   71:10,11 73:21,23
300:10 302:3 303:4      435:10,21 436:8,10    8:19                     96:1                       75:19 76:17,19,20
303:10 304:1 305:9      436:21               lengthening (1)          light-bulb (1)              77:4,6,19 78:5,7,14
305:18 307:8,13,14   latency (64)             220:21                   96:2                       78:20 79:14 80:15
307:18 308:1 309:8    186:22,23,24 187:7,8   lesser (1)               liked (1)                   80:20 148:18 197:2
310:1,15 312:5,20       188:4,17 189:6,23     316:9                    199:2                      197:10 216:3
313:4,6,9 314:4,10      190:8,20 192:24      let's (44)               likelihood (4)              289:14 290:1
315:14,23 317:15        194:2,15 198:19       11:10 39:4,5 64:2        89:19,23,24 91:5           314:23 315:2 317:8
318:24 320:19           200:24 201:23           65:2 72:10 73:24      likewise (2)                334:10,14 382:3
321:10 322:4,18,24      202:24 203:9 204:6      76:19 81:13 109:13     387:11 422:19              387:7 389:13
323:7 324:3,23          204:8 205:15,17,23      130:6 131:24          limit (14)                  391:12 414:10,18
325:20 326:8 327:2      206:2,3,5 207:6,15      143:10 154:25          34:17 108:17 109:6,8       414:22 415:2 417:3
327:9,19 329:4          207:17,18,25 208:3      156:7 165:5 178:10       109:15,23 110:2       litigation (9)
330:3 331:9 332:20      208:20,21,24 209:2      182:19,19 188:9          111:14,15,21 115:9     1:4 8:8 20:13 32:17
334:6 335:3 336:17      209:4 211:1,23          192:11 199:23            180:12 238:2 320:8       53:6 206:24 431:16
336:24 337:12           214:15 215:3,5,6        203:23 235:14         limitation (1)              432:16 433:18
338:4 340:8,23          217:17,22 218:18        243:12 249:23          393:15                  little (15)
341:12,19 342:14        218:24 219:6,8,15       254:11 264:3,5        limitations (2)           26:25 90:11 146:5
343:5 344:8 345:5       219:20 220:7,22         270:19 276:16          390:6 431:21               167:10 177:21
346:7,22 347:8          221:3,21,24 222:12      306:20,21 307:18      limited (12)                178:1 195:15
348:11 349:5,12,14      222:16,17,19            312:21,24 318:17       34:13 63:15,23 64:3,5      198:24 204:12
349:19,23 350:1,14      242:18 243:2,7          331:12 336:23            67:17,23 105:12          264:20 289:19
350:19 351:6         latest (1)                 350:15 384:18            106:14 123:10            313:12 323:12,17
352:20 353:19         337:15                    386:14 401:19            124:7 226:1              373:20
354:8,23 356:3,19    LAW (1)                    406:18                lindane (2)              lives (1)
357:17 358:19         3:3                    letter (3)                358:9 362:13             96:1
359:16 360:19        lay (1)                  6:9 117:2 200:14        line (20)                LLP (2)
361:9,15,17,20        381:13                 leukemia (2)              7:10 56:16 160:22        9:25 10:2


                                  TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 135 of 806


                                                                                                          Page 23

Lockridge (2)             22:25 54:12,14 80:13       312:18 334:1            182:7 183:18           424:17
 4:3 9:13                   142:16 154:22            414:15,19 415:25        184:14 185:9         males (1)
logarithmic (6)             250:22,22 251:6          434:3,4,14,15 435:6     186:14 187:2         226:2
 160:11,13 161:8,11         300:14,15 327:11      lots (6)                   188:14 191:17        manmade (1)
   161:16 162:6             340:17 342:23          308:24 309:2 376:25       192:7,23 193:3,16    149:17
logistic (9)                363:7 374:8 378:21       379:5 381:17            223:10,20 224:8      manner (3)
 154:10 214:7 216:13        382:10 388:8,12,14       400:15                  225:5 227:7 228:4    108:21 114:13 216:12
   217:8 232:2,19           404:15 436:11         love (1)                   252:16 266:19        manuscript (8)
   234:3 235:6 335:6     looking (48)              86:18                     267:8 268:4 269:10   23:10 383:24 384:1
logistical (4)            19:19 45:18 47:23       loves (1)                  270:5 278:24           385:21 386:8 388:7
 212:21 215:17 232:12       51:1 73:3 77:20        406:15                    279:24 280:12,21       394:14,15
   232:14                   100:19 107:2 108:1    low (19)                   281:11 282:4 284:5   manuscripts (2)
long (13)                   110:9 112:15           86:15 105:11 106:13       287:6 292:1 300:20   431:5,9
 16:19,21 17:17 48:21       139:14 156:3             111:15 118:8,10,17      302:18 306:13        March (4)
   72:14 87:4 127:7         163:17 167:25            124:7 126:10            318:14 319:8         349:12,20 389:22
   161:20 190:16            172:10,15 173:25         301:23 303:20           321:15,18 323:3,11     391:7
   198:6 318:1 355:15       176:4 179:15             304:12,17 312:17        323:20 324:11        marginally (2)
   426:6                    185:15 189:8 192:3       339:7 341:5 345:11      329:17 330:8 342:7   232:20 253:13
longer (20)                 192:18 198:12            400:13 426:6            351:16 352:3 353:7   mark (24)
 31:21 177:22 190:8         206:11 210:10         lower (14)                 396:24 399:21        68:4 126:17 127:21
   190:19 193:25            214:6 225:1 227:3      92:10 109:9 111:15        417:18 420:18          128:2 147:17,19,21
   197:23 204:12,14         227:22 231:6             160:18 257:22,23        422:23 424:15          155:5 156:7 178:14
   204:25 205:3,23          253:17 255:6             281:5 299:6 303:21      426:15 434:10,20       199:23 203:24
   206:5,20 215:5           267:15 268:15            309:22,22 328:5       lymphomas (1)            220:23 226:15
   222:16,18 243:2          306:19 311:22            330:15 425:21          194:24                  238:16 239:20
   263:15 281:11            326:9 346:23          lowest (4)               lymphopoietic (2)        242:15 259:18
   410:12                   350:23 361:1           184:18 317:1,6 330:9     179:6 180:6             269:20 270:17
longest (2)                 370:25 372:19         lucky (1)                                         313:1 349:6 361:15
 195:17 204:20              387:9 388:7 400:12     164:16                            M              386:14
look (76)                   407:6                 lunch (6)                made-up (2)            marked (30)
 49:11 50:17 78:15       looks (9)                 177:21 178:1 184:23     304:22 406:16          5:8 6:2 7:2,9 11:12
   79:14 82:16 83:20      132:10 184:23 223:23       199:5 203:11,16       magnitude (2)            39:9 86:21 113:14
   88:6,22 94:5,11          312:7 327:23 336:5    lung (8)                 390:11 394:5             132:1 148:1 155:8
   95:18,19 109:5,7         342:18 357:19          145:22 168:2,4          main (2)                 156:9 166:10
   113:4 125:12 128:8       425:15                   170:11,13 171:22      151:25 354:25            178:16 200:5 204:2
   129:6 156:1 157:4,5   Los (5)                     171:24 172:2          major (6)                223:14 235:20
   160:16 174:2,8,9       1:17 2:12 3:13 8:1,14   lymphocytic (1)          255:21 261:13,15,24      243:18 277:8 313:8
   181:7,24 185:9        lose (1)                  282:4                    262:13 346:5            318:23 349:9
   195:20,20,24 197:5     427:22                  lymphoma (110)           majority (1)             350:16 363:15
   205:9 210:21          losing (1)                6:21 27:14 28:11        309:10                   386:17 405:9 409:7
   213:20 222:18          250:2                      32:20 33:15 51:24     making (16)              409:12 410:24
   231:11 240:9          loss (7)                    63:15 65:10 66:10     116:23 134:12 159:20   market (3)
   251:17,18 293:10       28:20 29:3 141:8,9,10      67:5 68:10 69:6        162:7 168:20          147:8 148:21 358:11
   296:24 299:5,12          141:19 432:4             70:4,10 71:13 77:22    171:10 175:4          marking (2)
   302:9 308:11          lot (39)                    97:11,14,20 98:12      187:24 214:16         11:10 127:20
   309:14,14 310:16       16:9 30:1,24 45:24         98:15 100:21 101:4     217:10,18 294:23      marks (9)
   312:6 313:23             46:1,17 49:8 89:12       101:8 119:25 120:9     377:5 379:6 395:6     96:15,21 200:14
   318:17 319:11            106:5 108:25 124:2       120:20 121:12,22       420:22                  203:12,19 306:23
   321:5 328:9 341:21       136:7 143:22,24          122:9,25 123:16       malathion (22)           307:5 419:15,21
   350:15 351:22,24         167:10 214:22            124:14 125:17         249:16 250:9,25        marriage (1)
   352:15 353:1 363:2       215:13 216:8 217:1       128:12 129:12          279:12,19 280:1,14    438:14
   365:11 384:17,20         225:16 226:8             147:7 148:12,19        280:23 281:9,22       mass (1)
   387:5,8,16,19 392:6      233:12 237:16            149:5 150:16 151:2     282:19 283:19         332:2
   412:1 413:20 423:6       238:21 292:23            151:6,10 174:1,4       284:1 285:20 293:7    master's (1)
   425:4 436:12,17          301:20 303:23            176:21 177:4,8         293:9,11 294:3        13:10
looked (23)                 308:18 311:11            178:24 180:13          295:2 296:7 424:10    match (1)


                                      TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 136 of 806


                                                                                                        Page 24

  38:12                  233:11 234:17           272:1 343:17            85:9 134:1 142:1         364:22,22 365:11
material (1)             242:25 244:24          mechanism (3)            249:12 261:3             373:16,17,24
277:20                   246:24 297:11          75:13 191:21 408:1       319:19 390:15            374:15 375:23
materials (2)            298:20 305:25          mechanisms (2)           400:11 408:16            376:11,24 377:10
49:17 429:16             348:15 370:6           62:17 76:11              435:14                   379:9,11 381:15
math (2)                 405:22                 mechanistic (8)         mentioned (23)            382:14,25 383:10
109:15 213:4            meaning (17)            60:13 71:25 77:4,6      25:13 49:14,15,16         384:2,9 385:8
mathematical (1)        53:21 86:3,10 91:12      78:6 80:15 407:15       73:11,17 74:4 75:1     methodological (1)
430:4                    97:23 108:22            418:20                  76:15 84:11 100:17     39:14
mathematically (1)       137:25 143:25          Mecoprop (15)            150:14 160:5           methodologies (1)
169:9                    167:14 190:6           247:25 252:10,19         178:18 206:19          23:18
matter (15)              245:21 274:23           253:2,7,19 254:21       211:11 245:3 319:4     methodology (28)
8:7 49:10 92:19 93:15    312:15 320:17           255:25 256:11           408:9 409:20           39:24 88:15 107:10
  96:5 135:19 136:9      340:3 424:7 426:3       257:10 258:10,18        414:25 415:17            284:9 285:12,13
  137:11 145:8          meaningful (2)           259:7 260:12 261:4      416:7                    287:2,20 290:21
  177:24 178:19         89:7 282:6              median (24)             mentioning (2)            361:3 363:2,25
  347:23 348:5          meanings (2)            204:6,8 205:1,15,17     194:9 393:3               365:21,24 366:2,25
  352:19 438:15         121:2 328:22             206:2 207:6,17,17      mentions (4)              367:4 372:24
Matthew (1)             means (17)               207:25 208:20          20:15 33:22 79:19         374:10 375:20
32:9                    29:12 64:3 66:4 78:12    209:2,11 211:1,7,23     87:6                     376:7,16 378:16
maximum (8)              90:7,23 99:15           217:17,22 218:18       mentor (3)                380:23,25 381:4
207:15,16 208:21,24      102:14,21 112:4         218:23 220:7 221:3     13:25 15:20 16:9          382:5 383:21
  209:4 337:16,19,20     167:12 188:8            221:21,24              mentored (2)            methods (15)
McDuffie (48)            269:15 273:12          medical (15)            13:22 14:3              24:5 26:22 27:5,9
6:15 228:24 229:6,9      303:7 428:5 430:15     11:16,19,20,24 12:3,6   mentoring (2)             32:4 47:11 51:17
  229:25 230:10         meant (4)                12:16,18,23 63:5       13:18 16:20               84:22 105:19
  243:12,21,24          121:16 417:6 422:15      88:4 95:15 197:9       mentorship (1)            106:11 163:5
  244:13 245:14          423:4                   247:23 317:14          16:14                     220:21 344:19
  247:15 248:21         measure (43)            medically (1)           mercurial (1)             414:7 419:11
  249:3,14 250:7,22     43:6,15 91:22,23        56:1                    312:8                   methyl (1)
  251:5,15,16 252:14     107:10 167:19,21       meet (1)                message (2)             365:15
  254:13,18 259:5        169:16,18,21 170:6     269:8                   395:3,4                 Mia (1)
  260:9 262:20,25        170:9,24 183:8         meeting (8)             met (6)                 16:5
  263:20,23 265:5        187:2 191:7 196:20     21:9 25:4,15 26:1       20:25 21:2 35:20 72:8   Michael (4)
  266:17 268:2,22        201:18 253:11           30:17 34:6 60:17        383:15 421:18          3:14,22 9:3,21
  269:7 270:3 271:3,4    298:12 301:22           69:24                  meta (1)                mid (2)
  274:4,18 275:4         302:2,24 304:11        meetings (4)            322:6                   341:6 345:11
  277:2 298:5,15,23      320:3 325:7,9 328:4    24:2 29:7 61:25         meta-analyses (5)       middle (13)
  299:2 300:12           339:17 342:12,13        421:20                 284:12 414:23 415:1     26:22 174:25 188:1
  345:25 401:21          342:22,25 343:6,7      meets (1)                415:9,11                 346:21 358:16
McHENRY (3)              344:5,7,9,11 365:12    179:11                  meta-analysis (19)        365:25 366:6 367:3
4:19 9:9,9               371:14 375:5 426:8     member (15)             115:10,19 159:4,13        374:16 377:9,19
McNair (2)              measured (2)            16:3,22 17:24 18:3,10    283:10 284:3,16,22       378:20 381:2
4:18 8:18               191:14 342:5             20:16,16 25:17          284:24 285:11          Mike (1)
MD (8)                  measurement (3)          32:10 34:12,14          286:14 287:3,9,19      9:16
1:16 2:9 5:3,11 6:7     118:23 119:3,5           36:10,17 55:7,23        322:11,13,15,19,20     mild (1)
  10:7 437:12 439:3     measurements (1)        members (5)             meta-analytic (1)       194:2
MDL (2)                 24:8                    23:9 34:13 36:11,24     322:2                   Miller (4)
1:5 8:11                measures (15)            336:7                  method (46)             3:18,22 9:21,21
mean (27)               43:7 98:13 184:20       membership (3)          40:8 41:9 52:12         million (1)
25:1 66:24 67:1 75:24    185:9 309:18 324:6     34:20 37:16,17           165:12 217:9 245:4     85:14
  89:18 90:4,13 91:4     324:19,24,25 342:8     memorial (1)             342:19 355:2,6         mind (11)
  108:7 114:22           343:24 344:1,20        18:13                    356:5 357:5,11,24      48:16 72:1 113:5
  150:18 158:20          345:1 425:25           mention (18)             358:6,17,25 359:7,8      201:17 217:20
  166:23 195:25         measuring (5)           73:4,7 74:9,15,18        359:12,14,22 360:4       220:9 285:18 294:8
  221:13 232:9          182:6 191:2 208:22       75:21 77:3 82:25        360:7 362:14,20,21       332:6,22 391:10


                                     TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 137 of 806


                                                                                                          Page 25

mine (2)                 misleading (4)         mixtures (7)            months (2)                nail (1)
12:4 159:9               234:11,23 235:10,11    255:11 256:8 257:7      30:25 192:12              138:11
miners (2)               mismeasurement (2)       258:9 259:6,12        morning (3)               name (6)
170:14 171:23            286:6,7                  260:11                8:4 10:14,15              8:18 10:16 245:21
minimal (6)              misread (1)            model (30)              mortality (1)               246:22 413:9 439:1
131:14 171:25 172:4      105:16                 157:10 158:18,21        29:11                     NAPP (38)
  264:17,21 270:14       misreading (2)           159:24 163:9          Moskowitz (5)             39:1 69:25 70:7 158:7
minimally (2)            67:12 68:17              236:22,25 238:9       1:23 2:13 8:21 438:4        158:11 183:12
299:19 319:14            misreport (1)            239:9 249:4,5           438:22                    184:11 278:21
minimize (1)             139:8                    250:17,19 253:1,1     motion (3)                  283:8,15,17 284:2
31:12                    misreports (1)           279:25 282:14         81:25 82:1 83:9             285:10,15 286:12
minimum (10)             138:8                    283:3 285:18 286:1    motions (4)                 287:3 288:13
187:10 188:4,11          missed (4)               286:7 293:18,19       81:2 82:4,5,19              289:23 290:5 291:8
  189:7,23 190:17        19:23 74:1 263:6         294:1 295:9 331:4,6   move (12)                   291:11 292:12,18
  192:24 193:21           414:25                  398:1 430:13,19       80:7 81:20 130:6            293:5 294:1,25
  197:4 275:24           missing (16)           modeling (1)              198:3,5 203:23            296:23 297:4
Minneapolis (1)          134:5 175:25 215:7     381:19                    241:15 242:16             305:12 322:21
4:6                       377:4 386:6 387:14    models (11)               243:12 262:23             340:17,25 396:18
Minnesota (7)             387:18,23 388:6,9     50:7 74:16 152:10,18      342:2 408:24              397:13 400:6
4:6 204:12,20 205:10      388:19,20,24 389:5      165:1 239:12,14,14    Moving (1)                  401:19 428:12
  219:20 243:11           389:10,16               242:12 286:9          177:20                      429:16
  297:8                  Mississippi (1)          397:23                multi-regressional (...   narrow (7)
minus (3)                32:9                   modern (2)              399:19                    86:15 111:21 116:2
89:3,4,11                misspoke (1)           43:24 84:21             multi-variate (5)           116:12 118:9,18,23
minute (2)               333:3                  modification (11)       155:12,15 157:10          narrower (4)
132:23 351:3             misspoken (1)          169:4,18 170:19,24        165:1 308:8             116:22 217:7 320:9
minutes (4)              380:9                    171:16 174:16         multi-variated (1)          320:24
72:17 200:2 398:9        misstated (1)            175:4 176:3,18        399:24                    narrowing (1)
  406:19                 30:6                     177:6,16              multi-varied (1)          217:10
mischaracterizatio...    Misstates (1)          modified (2)            154:21                    nature (1)
222:3                    393:8                  338:16,24               multiple (15)             101:6
mischaracterizes (24)    mistake (1)            modifier (7)            151:24 206:12 227:24      Nauen (2)
66:17 100:5 219:3        319:18                 169:6,16,21 170:6,9       262:17 310:10           4:3 9:13
  220:12 221:7           misunderstand (1)        171:6,13                333:25 335:19           NCI (1)
  254:24 255:18          63:25                  modifiers (2)             363:19 381:16           146:24
  273:15 288:16          misunderstanding (2)   169:3 173:24              396:10 408:16           NCRA (4)
  289:3 291:16           166:14 168:16          molecular (1)             411:12 414:9            1:24 2:14 438:5,23
  302:22 344:14          misunderstood (1)      55:8                      430:22,22               near (1)
  350:12 358:2 371:4     95:7                   moment (2)              multiply (1)              34:6
  371:19 383:24          misuse (1)             44:13 287:20            303:19                    nearly (1)
  393:20 398:23          95:9                   Monday (2)              multitude (1)             234:21
  401:2 403:1 422:11     mixed (15)             1:18 8:1                40:25                     Nebraska (24)
  422:25                 251:7 252:3,8,9        monitoring (2)          mutagenic (5)             181:21 204:13,19,25
mischaracterizing (2)     253:17,18 254:2,14    390:10 394:4            402:23 403:15,23            205:24 206:6,9,18
68:16 293:13              254:20 255:16         monograph (14)            404:8,21                  207:5,18 210:13
misclassification (21)    256:6 258:6 259:4     15:4,6 18:7 52:20       mutagenicity (6)            211:2,7,24 219:16
5:20 29:18,19 30:7,13     260:8 262:17            57:6 59:19 62:8,14    403:13,19 404:5,12          220:22 223:3 224:4
  30:20 31:13,18 32:5    mixes (1)                80:19 82:12 152:5       405:2,5                   225:2 227:4,25
  32:6 133:12 138:24     305:7                    416:8,10,13           myeloma (1)                 243:1 297:5 300:13
  139:11 185:23          mixing (5)             monologue (1)           396:11                    necessarily (10)
  303:24 304:4 346:5     275:16,20 276:12       126:21                                            23:6 29:1 95:17
  346:9 347:13            301:20 342:18         Monsanto (8)                      N                 115:12 141:16
  390:12 394:6           mixture (13)           4:11 9:25 10:2,17       N (3)                       158:20 164:1,20
misclassified (4)        253:21 255:23,24         24:10 421:11,15,19    3:1 4:1 5:1                 211:6 328:8
182:15 305:7 324:22       256:9,11 260:21,25    month (3)               N.W (1)                   necessary (3)
  399:4                   261:2,8,10,12,16,25   31:2 36:11 197:15       4:12                      83:10 190:18 410:15


                                     TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 138 of 806


                                                                                                          Page 26

need (32)                 423:2,3                  194:23 223:9,20         92:11,17,21 93:10     numerous (4)
48:12,13 68:4 80:24     NHLs (1)                   224:8 225:5 227:7       93:17 94:17 95:2      162:2 325:1 409:13
  81:19 89:9,12 96:12   194:17                     228:4 252:16            97:5,10 98:3,10         410:1
  139:20 154:19         nice (2)                   266:18 267:7 268:4      99:11,18 100:10,11
  167:8 169:12          111:25 321:8               269:10 270:5            100:19 101:2,12,14              O
  176:18,23 180:25      nicely (2)                 278:24 279:24           101:22 102:15,24      o'clock (1)
  181:17 186:25         309:20 322:9               284:4 287:6 292:1       103:13,17 104:3,12    199:25
  196:17 231:11         nicer (1)                  300:20 302:18           105:14 106:16         object (361)
  240:23 263:19         435:7                      306:13 318:13           107:21 112:18,19      26:8 28:18 31:15
  309:5 325:23          night (1)                  319:8 321:15,18         112:20,21 162:22        32:21 38:10 40:3,13
  360:22 362:14         136:24                     323:3,11,19 324:11      162:24 281:23,25        41:23 43:4,23 45:10
  381:13 390:8 394:1    nine (1)                   329:17 330:7 342:6      282:20 283:3,3          45:22 46:11 47:6
  395:12 404:23         30:25                      351:16 352:2 353:7    number (97)               48:6 49:24 51:9
  412:18 415:7          ninth (1)                  396:24 399:21         5:8 6:2 7:2 8:6,11,12     53:11,20 55:4,18
needed (3)              227:10                     417:18 420:18           11:12 34:13 39:9        56:10 57:1,16 58:7
21:14 106:24 209:24     NIOSH (1)                  422:23 424:14           62:9 74:1 83:24         58:22 59:14 60:8
needs (2)               24:7                       426:15 434:9,19         86:21 96:16,22          62:5 63:17 64:14,20
351:1 394:13            no-brainer (1)           non-informative (1)       113:14 114:14           65:15 66:16 67:10
negative (4)            222:14                   312:19                    117:2 124:3,16,25       68:15 69:11 70:14
85:13,23 90:20 406:8    nominate (1)             non-nested (1)            125:1,2 126:5,6         71:16 73:9 74:7,22
neither (2)             37:17                    318:5                     128:15 132:1 133:1      75:9 78:11 79:6
127:16 249:5            non (2)                  non-responders (2)        148:1 155:8 156:9       84:19 85:15,24
nested (2)              173:8 353:21             27:6 363:20               166:10 172:5            87:21 89:21 90:16
317:21 318:9            non-asthmatics (5)       non-toxic (1)             178:15 181:9,11         91:8,20 92:25 95:4
Neugut's (3)            236:11 238:1 239:15      210:3                     190:14 192:11           97:15 98:16 99:13
278:11,15 349:1           240:10 242:10          non-use (1)               200:4,6 203:13,20       100:4 101:17
never (16)              non-carcinogenic (1)     354:14                    204:1 214:21            102:11 103:6,19
35:20 85:5 87:22        406:7                    normal (3)                223:13 229:4,6          104:14 105:15
  136:22 150:19         non-differential (3)     162:4 216:13 224:18       230:22 235:19           106:2 107:14
  188:19 243:9          139:10,15 185:22         normally (2)              237:12 243:17           108:11 109:17
  253:24 275:5          non-differentially (1)   20:24 415:3               244:19 246:18           110:7 111:8 112:11
  293:15 350:5          182:16                   North (5)                 255:7 257:6,8,21,22     115:2,11 116:7,16
  353:21 375:6          non-epidemiologist...    6:16 276:17 277:9         257:24 277:7 300:8      117:7 118:11 119:1
  403:17 408:2          67:18                      306:14 333:21           300:23,25 301:2,13      122:11 123:1,17
  412:11                non-Hodgkin's (106)      Northern (2)              301:19,19 303:18        124:15 125:18
never/ever (4)          27:14 28:11 32:20        1:2 8:10                  303:21 304:24,24        128:13 129:9
306:11 398:14,19          33:15 51:24 63:14      Notary (1)                306:24 307:6 313:7      130:10,19 131:8
  424:25                  65:10 66:10 67:4       437:19                    318:22 322:13,15        133:20 134:17
new (2)                   68:9 69:6 70:4,10      note (6)                  336:6,14 340:6          135:13,23 136:13
34:14 399:1               71:12 77:21 97:11      248:25 250:5,20           341:15 349:8            137:16 139:1,17
NHL (46)                  97:13,20 98:12,14        306:22 393:14           363:14 366:20           140:8,22 141:15
64:8 87:20 100:13         100:21 101:3,7           394:13                  369:11 386:16           142:6,25 145:19
  120:13 150:22           119:25 120:9,20        noted (2)                 387:12,21,22            146:20 147:9 149:8
  165:25 166:2,17,20      121:11,22 122:9,25     389:10 437:6              405:24 409:8            151:4 153:19
  176:6,10,14 188:10      123:16 124:14          notes (2)                 414:14 419:16,22        154:18 155:19
  189:22 191:19           125:16 128:11          105:7 115:16              425:11,11 437:3         156:20,24 157:14
  194:13 204:7            129:12 147:6           noting (1)              numbers (12)              157:24 158:14
  218:19 230:18,22        148:12,19 149:5        234:12                  114:10 148:5 171:5        159:6 161:1,18
  259:15 269:5            150:16 151:2,9,10      null (72)                 181:15 251:21           162:10 163:15
  278:25 285:22,24        174:1,4 176:21         39:20,23 40:5,14 41:5     352:23,25 353:1         164:15 166:4,21
  292:6 299:7 313:22      177:4,7 178:23           41:7,8,10,14,16,20      386:5 400:20            168:23 169:24
  313:22 322:10           180:13 182:7             41:25 42:4,8,12,17      417:12 426:5            170:22 171:18
  328:1,13,20 331:3       183:17 184:14            42:18,22 43:2,10,20   numerical (1)             172:3,17 173:1,18
  331:22 332:8,19         185:8 186:14 187:2       44:1,1,15 45:9,20     34:17                     174:6 175:8 176:8
  350:8 387:13,20,22      188:14 191:16            45:25 46:9 47:2       numerically (1)           176:22 177:9
  396:8,13 418:1          192:7,23 193:3,15        48:3 51:22 89:19      299:8                     180:24 181:13


                                      TSG Reporting - Worldwide     877-702-9580
      Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 139 of 806


                                                                                                     Page 27

182:8,23 183:19        342:10 343:3,11         361:4 362:5,8 368:3   occurs (1)              2:10
184:15 185:11          344:13 346:2 347:2      371:3,18 372:8        430:14                  official (4)
187:6 188:15           348:6 349:3,21          373:3 374:20          odd (4)                 15:13 18:2 195:19
189:25 191:5 192:8     350:11 352:14           377:23 379:1,14       43:2 258:8 278:22         202:22
193:4,19 195:8         353:10 354:2,16         380:3,6 381:6           356:22                officially (2)
196:21 198:21          355:12 356:14           383:23 384:10         odds (155)              15:16 17:14
199:12 201:2,25        357:9 358:1 359:2       385:10 390:19         43:7 44:7,24 84:17      oftentimes (1)
203:1 205:4,19         359:24 361:4,13         398:22 404:9,22         89:5 109:13 118:6     425:5
206:7,15 207:8,21      363:5 364:18 365:4      420:19 421:16           151:20 153:1,10,16    oh (16)
208:7 209:16           366:4 367:6 368:3       422:4,10 425:2          154:3,6,7,9,16,21     27:19 76:25 132:13
210:17 211:4,16        371:5 372:9 373:3     objectionable (1)         155:15,17,22            170:3 181:17 184:6
212:1 213:7 215:20     374:20 376:1,9,19     413:15                    156:17 157:6,7,12       206:13 229:8 250:3
218:1 219:2,22         378:6,6 379:1 380:6   objections (2)            157:21 158:3,10,16      297:2 349:15
220:11 221:6 222:1     382:8,17 383:3,13     258:25 413:8              160:16,18 163:20        356:24 364:11
222:2 224:9 225:7      386:25 388:3 389:2    observational (6)         163:23 171:14           386:1 405:25
226:20,24 227:8        389:14 391:14,24      130:8,12,17,24 140:1      172:1 175:21            428:11
230:7,19 232:7         392:20 393:7,19         417:7                   178:22 179:3,21       okay (128)
233:10,21 234:24       394:19 395:11         observed (12)             180:4,21,21,22        11:5,9 12:6,10 14:15
236:4,15 237:21        396:6 397:2,20        64:6 65:11 66:12 67:6     182:20 183:16,23        14:24 20:1,4 21:5
238:14 239:2 240:3     399:12,22 400:9         68:11 69:7 70:8         213:10,15 217:19        37:5 52:11 53:4,24
241:7,8 242:1,23       401:1,14 402:25         90:5,15 91:6 364:4      218:21 232:13,13        59:24 62:2,11,21
244:2,16 245:9,16      403:8,16,24 407:10      381:20                  232:16 233:7,8,13       64:2 65:2 69:20
246:14 247:10          407:23 413:15,20      observer (2)              233:18 234:2,21         70:1 71:20 73:24
248:6 250:14           420:10 422:24         18:3,6                    237:18 238:21,24        79:17 84:12 85:2
253:23 254:23          435:17                observers (1)             239:25 241:22,23        90:11 96:13 99:22
255:17 256:3,21      objected (1)            18:8                      248:20 249:2,4,5        102:23 112:23
257:11 258:11        383:16                  obtain (1)                251:1 252:2,7,22        113:13 115:16
259:8 260:2,14,14    objecting (2)           77:20                     253:8,13 256:12         116:22 117:23
261:6 262:7 265:10   174:24 259:24           obtaining (1)             258:4,5 259:2,4         118:22 120:16
266:20 268:5,6       Objection (97)          87:7                      260:6,7,10 269:5        122:3 127:19
271:8 281:1,13       14:17 23:22 25:9 35:9   obvious (1)               279:3,10,19 280:2       132:13 141:23
282:8,22 283:11        35:15 44:17 47:5      288:5                     280:13,15,18,23         143:10 148:7 149:4
284:17 285:16          48:20 55:4 61:18      obviously (11)            281:4,10,20 282:5       154:25 160:3 165:8
286:21 287:12          62:22 68:15 70:24     38:4 60:2 137:10          282:17,19,23            172:8 173:13
288:1 289:2 290:12     81:8 83:7 93:18         170:2 200:10            284:24 285:14           176:16 177:2,20
292:7,20 293:12,13     106:17 120:22           214:22 348:21           287:23 288:10           183:7 184:6 196:15
294:4 295:3,19         121:13,23 123:1         352:24 369:8            296:6,8 298:8           202:15 206:18
296:9 297:10 298:6     174:20 218:1 221:6      389:16 435:23           300:18 306:11           210:8,25 212:9
298:18 300:5           222:1 224:9 225:7     occasional (3)            308:4,5,12,14,18,21     219:19 221:15
301:10 302:21          227:8 228:25          268:15 301:16 304:18      308:25 309:1,1,4,10     228:6 231:10
303:15 304:7           229:12 237:21         occasionally (1)          309:14,22,23 310:7      238:11 245:12
305:15 308:23          239:2 240:3 241:2,7   269:18                    310:9 311:4,11,13       247:15 250:3
309:12 310:14          241:17 242:1          occupation (2)            312:10 319:6,12,13      251:12 253:7
311:8 312:12           244:16 247:9          180:7 185:19              320:10 321:17           256:23 264:5
313:25 314:6 315:6     255:17 257:11         occupational (11)         330:8,13 353:25         267:23 268:12
315:20 317:11          258:11 259:8          12:4,5 34:4,8,9           354:6 396:3,9,14,23     270:17 272:8 273:9
320:13 321:2,20        260:13 261:5,20         225:23 273:3,5          396:25 397:17           274:24 278:5
322:22 323:4,21        262:7 265:10,24         276:11 343:23           398:19 399:6,20         280:12 281:8 285:7
324:12 325:6           266:20 267:9 268:5      426:16                  400:21,22 424:4,9       290:4 292:15
326:24 327:16          268:24 269:11         occupations (2)           424:20 425:15,18        296:17,21 297:15
328:7 329:20           270:6 272:11,24       179:7 202:6               425:20,22 427:10        302:14 305:22
330:17 331:24          273:14 274:8,21       occur (5)               offer (4)                 306:20 314:25
333:9 334:21           275:8 276:1 281:1     133:23 134:19 189:11    81:4 116:5,15 408:22      318:3,12 323:13
336:12,21 337:23       281:13 282:8            190:19 192:10         offering (3)              324:4 326:19 329:5
338:11 339:20          288:15 291:15         occurred (2)            79:25 81:23 385:7         330:4 337:17
340:20 341:10,17       296:9 301:10 303:9    187:17 373:13           offices (1)               340:14 342:15


                                  TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 140 of 806


                                                                                                        Page 28

  346:8 348:2 350:15    opinions (13)            137:12 158:20           270:22,23,25 307:1    pages (13)
  353:20 369:2,12       79:4,25 80:8 81:4,23     218:13 219:15           307:2,3,5,21,22,23    76:21,22 77:2 85:9
  370:23 371:13           83:16 267:3 286:12     220:22 255:4            307:25 326:3,4,5,7      114:8 123:9 124:6
  375:9 389:9,20          408:13 409:18          256:14,25 257:17        384:22,23,24 385:1      132:14 133:3
  390:23 395:18           410:16 414:3           278:23 311:20           406:24,25 407:1,3       148:10 166:13,15
  396:18 398:10           416:11                 322:2 416:5             419:17,18,19,21         351:2
  400:18 405:6          opportunity (2)        overlap (1)               437:5,6               Pahwa (2)
  406:18 411:9          24:22 243:3            54:11                   pack (10)               276:18 283:8
  412:20 413:22         opposed (2)            overlapping (1)         300:7,24 302:15         paid (2)
  418:10 423:24         162:5 173:15           281:18                    365:25 366:6 367:3    17:8 138:1
  424:20 428:11,18      opposite (3)           overlaps (1)              374:17 377:20         pair-wise (1)
  435:17                196:23 256:22 303:23   388:17                    378:20 381:2          86:5
old (2)                 option (1)             oversight (1)           page (141)              pancreatic (5)
148:23 432:12           410:7                  19:21                   5:2 7:10 39:13,18,19    142:13,22 143:15,18
older (1)               Orange (1)             overwhelming (1)          52:22,23 56:16,20       143:19
31:20                   3:21                   375:11                    58:18 59:9 66:19,25   panel (4)
Olson (1)               order (15)             oxidative (6)             74:9 77:1,1,5 84:7    21:17 23:8,9 24:2
406:15                  88:1 92:10 193:8       75:7,12 402:4 404:4       87:2 92:2,3 114:15    paper (66)
once (7)                  196:3 198:6 239:9      407:7,19                114:20 117:24         97:1 153:16 154:14
10:21 21:3 34:6 36:11     242:6,10 272:16                                118:3,4 119:21,22       154:20 158:5
  49:6 125:7 185:17       352:13 393:24                  P               120:2 124:6 125:12      223:17 224:4
oncologist (1)            417:7 419:10 431:1   P (17)                    128:7 132:19,24,25      225:17,19 226:6,12
13:7                      436:24               3:1,1 4:1,1 85:12,21      133:1,4 148:4,5,8       227:2,3 228:2,7,23
oncology (1)            organic (2)              85:22,22 90:3 93:25     152:1,3,24 154:17       228:24 229:2,2,7,9
77:7                    150:1,4                  95:16 97:4 99:22,24     155:12,23 156:23        229:10,23 230:13
one-paragraph (1)       organizers (4)           100:8 116:25            157:5 160:4 165:9       250:10 251:15,16
290:6                   37:1,3,21 38:3           117:10                  168:1,16,17 174:19      263:20,23 268:2
ones (9)                organizing (1)         P-value (73)              174:22 177:16           270:3 271:3,4 274:5
33:12 36:23 83:2        36:18                  84:7,10,24 85:4,6,11      178:24 179:16           274:19 275:5
  84:22 150:8 193:10    original (6)             86:2 87:2,6,17,23       182:21,24 183:9         290:15 298:5,23
  215:11 230:24         283:6 295:18 305:11      87:24 88:15,19 89:1     186:3,4,5,9,10          299:2 306:20 308:5
  309:6                   370:24 415:2 416:4     89:10,10,17,22          187:25 189:21           308:6,21 359:12,18
ongoing (5)             originally (1)           90:12,21,22 91:4,13     192:22 228:13,16        360:25 366:23
22:20 25:22,25 30:16    20:16                    91:16,21,22 93:9        231:17 234:8 236:7      374:4 376:14,18,21
  31:5                  Orsi (5)                 94:6,15,22 95:12,13     244:6 249:17,19         379:17 383:14
onset (3)               160:15 395:23 400:10     95:13,20,20 98:9,20     263:12,19 275:14        385:20 386:12
188:5 192:12 347:7        400:11 409:23          99:2,4,5,10 100:6       277:10 278:20           387:2 388:2,18
open (1)                outcome (18)             100:11 101:12,21        283:14 285:6            389:10,11 390:2
246:21                  28:22 48:19 49:3         102:5,8,18 103:1,16     296:24,25 297:16        392:7,8 414:6 415:4
opine (1)                 141:11,25 142:4        103:24 104:1,2,6,11     305:22 308:9 310:5    papers (9)
186:3                     143:4 167:16           105:4 107:17,24,25      310:16 315:16         54:20 55:20 56:12
opining (1)               168:22 175:18          108:16,19,21 109:1      316:3,14 317:4          147:2 216:4 359:20
289:21                    191:4,10 194:1         109:2,2 110:16          319:5,12 326:11         371:9 414:14 415:4
opinion (39)              195:4 201:24           111:17,22 117:10        345:8,16 350:22       paragraph (16)
45:21 49:19 51:7 53:4     310:22 359:15          119:13,13 249:9         351:7 353:2 365:12    92:6 118:1,15 152:4
  78:9,16 79:22 81:7      438:15               P-values (25)             365:13 373:2            188:1,2 228:14,15
  185:5 221:2 264:9     outcomes (3)           84:15 85:12,21 86:1,9     385:16,17,24,25         390:8,24 392:12,19
  265:4,7 267:4 268:1   38:15 220:19 396:9       86:14,15 88:6 89:4      387:16,19 389:21        393:24 394:2,17
  268:22 288:14         outrageous (1)           92:9,16,20 93:4,15      389:22 390:1,3          395:1
  291:10 302:4,9        411:24                   94:25 96:1 98:25        392:8 393:3 402:6     paragraphs (3)
  323:8,18 385:6        outside (2)              102:3 104:5,8,21        402:11,14 405:22      74:5 75:21 76:8
  403:11,22 404:7,19    32:16 325:4              105:11 106:13           405:23 423:14,17      parallel (1)
  407:5,21 408:22       overall (24)             118:9,18                428:16 433:5          150:5
  410:21 415:16         53:13,22 59:1 61:24    p.m (38)                  436:24 439:6,7,9,10   parameter (12)
  416:12 429:19,21        62:11 65:3 66:21     178:4,5,6,8 203:15,17     439:12,13,15,16,18    44:5 45:13,15,18
  429:22 434:7,16,21      72:6 88:7,22 98:23     203:17,19 270:21        439:19,21,22,24         46:19 84:24,25


                                    TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 141 of 806


                                                                                                         Page 29

  87:24 93:5 97:22      pediatrics (1)          329:3 434:2               273:17 274:12           362:1 364:16
  129:14,17             12:24                   perfectly (2)             308:7,13 325:8,10       369:15,16,20
parameters (13)         Pedram (2)              360:3,6                   325:14 326:19           370:24 371:14,16
44:4,24 45:4,7 46:15    3:16 9:7                perform (1)               327:7,10 328:24         371:16 382:15
  46:16,24 48:9 87:25   peer (11)               417:19                    331:1 333:7,19,22       383:11 433:7,9,10
  110:14 112:25         37:7,11,15,17,20,22     performed (5)             334:1 335:15 355:7    phases (1)
  124:25 126:5            38:6,9,17 389:17      284:4 290:22 335:24       357:6 358:7,7,11,14   433:5
paraphrasing (1)          390:17                  363:3 418:5             359:15 360:7,12       PhD (12)
87:12                   peer-reviewed (18)      performing (4)            362:17,18 363:7,19    1:16 2:10 5:3,11,25
Parkinson's (3)         288:7 357:22 358:23     417:8,9,23 420:21         368:17 375:7 377:2      6:7 10:7 11:25
29:22,25 32:24            359:20 360:25         period (70)               379:7 430:1             13:10 14:12 437:12
parse (1)                 361:25 380:21         17:13,24 21:21,22       pesticides (106)          439:3
332:23                    385:19,20 387:6,10      22:1,23 23:20 25:14   24:18 27:18 28:10       Phillip (1)
part (21)                 388:1 389:12            26:5,12 30:25           30:15 137:4 138:2     34:21
24:1 29:6 38:8 46:24      391:12 392:25           186:25 189:7,23         153:14 158:11         phone (3)
  52:17 60:13 111:20      393:17 395:10,13        192:24 193:25           165:25 166:18         9:11,15 36:10
  112:24 122:16         pending (1)               194:16 195:2,18         173:24 174:4          phosphates (1)
  126:2 127:6 128:19    201:15                    196:11,18 200:24        176:10,20 177:13      150:4
  129:4 142:7 143:1     people (55)               201:24 202:24           179:13 180:8,10       phrase (1)
  175:11 218:4 219:8    25:1 27:10 38:12 41:2     203:9 205:16,17         185:16,18 206:12      392:24
  289:25 291:9            164:17 185:23           207:6,15,17,18,25       227:25 230:23         physician (3)
  409:12                  189:13 190:11           208:3,21,24 209:4       236:3,14 237:20       12:9,11 34:8
participants (1)          194:20 205:6 216:1      209:11 211:1,23         238:23 240:2,25       picture (2)
29:13                     233:2,4 240:13          214:16 217:18,22        241:25 245:24         98:23 99:1
particular (4)            246:23 261:9            218:18,24 219:7,8       247:17 248:4,22       piece (3)
87:8 133:13 410:2         264:15,17,23,25         219:21 220:3,8          252:18 276:12         110:17,19 373:22
  420:8                   265:17 267:16,17        221:21,24 222:12        280:19 282:7 285:1    pieces (2)
particularly (2)          268:14 269:17           222:19 243:7            289:21 294:21         60:10 418:16
30:14 298:1               270:13 273:3,19         275:24 341:15           310:21 314:3          place (7)
parties (1)               276:13 288:3 309:7      343:18 346:21           325:11 326:16,22      34:6 93:12 187:3
438:13                    311:16 317:13           355:16 358:16           327:12,15,17,22,25      191:21 195:2
parts (5)                 339:2 355:15            367:22 369:8,14,20      328:12 329:2,13,16      210:12,15
47:1 72:2 129:1           364:15 366:19           369:21 371:17           330:4 331:13,14       placement (1)
  208:19 433:9            367:14,17,18,21,22      372:21 374:12           333:14 334:16         119:8
passing (1)               368:20,25 369:24        377:7,10                335:1 338:2 343:1     plaintiff's (8)
409:21                    370:9,10,11 371:11    periods (3)               343:10,13,14,23       20:13 55:16 81:3
pathology (2)             372:12,14,25          30:22 222:17 343:19       357:12,13,19            408:18 410:8,8,13
56:2,4                    380:22 397:10         person (9)                358:18 361:1 363:4      413:10
pathway (2)               433:8                 15:13 188:20,20,22        364:3 365:15,19       plaintiffs (15)
143:7 145:14            percent (55)              191:23 254:2            366:1 367:1 372:19    3:4,11,19 4:4 5:14 9:1
patients (3)            89:6,19 90:4,8,14,25      332:12 337:4            373:11,11 374:17        9:4,6,8,10,13,23
12:17,18 13:5             91:5 107:12,15          355:18                  375:25 376:18           18:22 81:21 408:21
pattern (1)               108:2,6,8,18 109:21   personal (5)              377:18 378:18,21      plausibility (9)
51:2                      110:15,16 131:4       14:14 279:7 286:3         379:5,19,23 380:1     73:19,25 74:20 75:6
patterns (1)              206:4,5,8 207:4         295:8 342:20            380:14,17 381:3         75:18,20 76:23
309:21                    211:24 214:19         personally (2)            388:9,13,15,18          401:25 417:16
Paulo (1)                 249:7 355:8 356:2     275:16,19                 389:1 395:16          plausible (2)
428:16                    356:12,22 364:17      pest (1)                  396:22 397:16,24      192:14 193:1
pay (3)                   364:24 366:18         149:17                    398:2 400:24          play (3)
17:10,11,12               368:2,7,10,12,13,14   pesticide (52)            424:13                170:25 211:20 249:8
paying (1)                368:18,25 369:1,13    6:22 27:24 30:18        petition (1)            played (1)
35:4                      369:19 370:15           136:8 152:14 176:2    80:2                    114:3
payment (1)               372:4 374:1,2,7,11      176:5 177:2 180:23    phase (25)              playing (1)
17:16                     374:14 375:3,6,7,9      223:25 224:16,20      22:3 26:5,17 27:7       125:5
PC (1)                    375:10,11               231:18 239:1,5          355:6,22,25 356:8     please (16)
2:11                    perfect (2)               242:12 272:2            357:7,20 358:22       8:23 9:18 10:4 16:17


                                     TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 142 of 806


                                                                                                       Page 30

  61:6 147:15 231:4     99:23 114:18              329:14 330:19         23:16                    288:23 289:23
  264:4 351:3 361:16    pooled (25)             possible (12)           preamble (2)             290:6,10 291:13,23
  398:8,11 423:6,15     6:16 184:9 218:5        60:19,23 62:9 98:13     18:25 19:17              292:3,17,22 294:1,2
  432:8,23                219:10 224:5,13,20      150:10 152:12         predates (1)             294:11 295:17
plot (8)                  225:2,11 227:15,15      192:14 198:8          193:17                   308:8 317:7 318:20
152:25 153:4 160:5        227:23 230:1            208:25 210:16,21      predict (7)              337:18 342:16
  160:22 161:5,16         235:22 276:17,24        330:16                364:13,22 366:18         375:22,24 377:16
  162:6,14                276:25 277:10         possibly (2)              367:11 368:17,20       378:14 380:19,25
plots (1)                 279:16 284:13         145:13 150:22             372:14               presenting (15)
160:9                     306:14 396:19         posters (3)             predicted (1)          22:14,15 53:5,7 158:2
plus (9)                  414:23 415:1,9        429:2,6,18              375:15                   161:16 246:7,11
54:12 56:1 179:22       pooling (4)             potential (29)          prefer (3)               266:17 290:14,23
  181:19 219:15         183:12 184:10 220:17    28:16 31:13 32:5,18     189:21,23 192:24         292:25 293:5
  340:2 356:12            397:14                  110:6 111:6 122:23    pregnancy (2)            347:20 376:15
  373:25 395:1          pools (2)                 151:22 152:21         30:24 77:14            presents (2)
point (56)              222:9 401:20              159:18 163:5,22       pregnant (1)           326:14 338:6
37:24 43:8 46:16,17     poorly (1)                164:9 186:17          31:3                   preserve (1)
  46:23 57:13 65:21     11:8                      187:16 194:12         preliminary (4)        413:17
  72:12 73:16 75:17     popping (1)               199:10,16 201:23      288:5 290:11,15        president (2)
  88:15 89:12 98:4      331:17                    203:6 229:16 230:5      291:9                36:12,12
  114:20 117:13         population (20)           303:23 336:19         premise (1)            presume (5)
  119:15,16 127:21      31:4 90:24 143:21         341:16 371:6          135:5                  167:8 176:12 194:18
  134:10,11 143:9         144:3 171:2,5,11        393:15 420:13         preparation (1)          224:15 418:7
  154:23 162:15,19        175:16 176:4,11         429:25                245:22                 presumed (1)
  168:15 175:4,24         189:8,10 192:18       potentially (5)         prepared (12)          197:8
  187:17,23 192:21        197:12,13 206:23      137:13 230:24 231:12    80:4 247:5 278:2,7     presumes (1)
  201:1,23 202:23         209:3 271:7 334:17      334:17 371:1            288:12 290:5         185:13
  209:13 245:2 251:4      396:2                 power (31)                305:10,19 347:22     presuming (4)
  255:14 263:24,25      population-based (1)    110:3 111:5 112:9         348:4 410:11,14      201:3 208:11 209:20
  264:3 287:4 322:2,8   318:1                     120:7 121:20 122:1    preparing (1)            209:21
  337:21 340:19         populations (6)           122:14,16,18          23:20                  pretty (11)
  378:11 382:2,24       143:22,24 171:1           124:24,24 125:4,9     present (31)           37:3 51:18 94:3
  390:2 403:18 404:2      202:13 334:3 400:5      125:21 126:3 128:9    4:17 17:4 22:7 24:2      119:19 173:19
  406:21 410:18         Portier (5)               128:19 129:1,3,20       77:11,14 84:15         355:18 361:18
  412:14 432:23         18:22 19:4,7 35:25        129:21 183:15           128:6 152:25           409:25 427:20
  433:8                   402:19                  184:12 189:13           155:23 157:12,20       428:9 436:2
pointed (2)             Portier's (1)             198:20,23 212:12        158:16 162:4 171:6   prevalence (14)
391:2 431:22            402:17                    218:10 225:24           177:16 182:20        49:5 124:8 125:3
pointing (2)            portion (3)               400:13 427:22           246:8 268:22 279:3     126:7,10,12 364:2
148:18 391:7            403:3 412:5,12          powerful (20)             289:5,6,17 319:6       366:16,21 367:3
points (6)              portions (1)            120:18 121:1,3,3,9        378:25 379:25          373:18,21 374:9
116:23 144:25 324:21    410:21                    122:7,23 123:14         380:20 383:9 384:4     375:2
  340:9 402:3 409:8     position (7)              124:11 125:14           403:13 406:4         prevent (1)
pollutants (1)          13:18 15:10 33:6 56:8     126:2 171:16 174:2    presentation (14)      389:11
430:24                    291:7,8 408:20          181:3 182:3,5 190:7   38:25 278:21,21        previous (1)
pollution (1)           positive (21)             218:13 222:20,22        288:21,24 290:7      415:10
430:23                  48:17 50:5,10,11 64:6   PowerPoint (7)            315:25 428:19,20     previously (4)
pool (2)                  65:10 66:11 67:5      5:18,22 6:17 113:8,23     428:24 429:3,7,8     18:14,16 165:16
218:6 242:20              68:10 69:7 70:8,18      423:9 428:19            432:11                 307:15
Poole (16)                131:3 142:12,18       practice (2)            presentations (5)      prior (28)
5:15 86:14,24 87:6        223:18 323:2,6        12:13 81:2              24:6,9 37:8 39:1       26:20 129:22 133:18
  91:25 92:15 93:8,14     331:16 406:8 423:3    practiced (1)             432:19                 147:7 183:24 184:1
  94:15 96:25 97:3      possibility (10)        12:11                   presented (33)           192:12 202:13
  98:8 103:1 104:19     29:17 138:23 144:11     practices (1)           23:5 158:4 160:21        209:13 221:7 222:3
  105:7 110:11            168:18 176:1          136:18                    212:18 267:5 268:2     234:14 278:2
Poole's (2)               193:14,23 311:6       pre-review (1)            270:2 286:19 287:4     289:20 313:24


                                     TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 143 of 806


                                                                                                      Page 31

  344:14 346:25         production (1)           106:15 119:22        431:14                 110:20
  347:7 348:18,21,22    333:2                    120:5 127:2 135:12   publish (1)            pyretrine (1)
  348:25 356:9 358:3    Products (2)             153:9 154:15 226:4   225:18                 312:9
  369:25 415:5,5        1:4 8:8                  226:8 229:15,22      published (39)
  431:15                professional (6)         230:3 264:11 265:8   77:20 223:4,7 224:4              Q
probability (3)         14:11,13 16:24 19:6      267:6 268:3 270:3      225:1 227:2 228:2    quality (1)
87:7,18 115:20            21:8 270:1             271:5 278:22           275:5 288:7 289:14   316:23
probable (12)           professionals (1)        297:20 298:15,19       319:1 325:3 357:6    quantified (1)
94:17 95:2 97:5,19,21   34:5                     323:9 407:8 410:14     357:21,22 358:24     275:25
  98:10 99:16 100:1,9   professor (1)          provided (14)            359:21 360:24,25     quantitative (1)
  101:14 102:20         13:15                  12:16 13:4 116:19        366:23 376:14        131:13
  104:2                 professors (1)           118:24 135:20,21       377:15 382:3,20      question (159)
probably (25)           18:9                     136:9,11 137:12,14     386:9 387:7,7,11     11:3,8,8 16:16 24:22
40:21 51:19 87:5        proffer (1)              227:18 277:18,19       388:1 389:12           25:3 28:2,8 30:10
  146:11,19 171:4       81:3                     435:11                 391:11,19 392:25       49:18 50:16 52:11
  172:9,10 178:2        proffered (1)          provides (7)             393:17 394:15          52:12 59:4,11 61:13
  182:14 184:25         79:22                  99:11 262:20,25          395:10 414:22          62:25 63:11 65:6
  194:5 204:5 205:21    proffering (1)           265:5 266:10           415:5 416:18           66:7,23 67:1,22,24
  210:21 213:24         79:3                     269:13 323:16        publishing (2)           68:3,6 71:9 76:5
  214:24 234:10,23      program (11)           providing (3)          146:22 394:9             77:11 80:4,25 81:12
  235:10 268:16         15:4,7,12,21 16:7,14   88:16 265:22 269:9     PubMed (3)               81:15 85:17 90:11
  388:4 392:1 412:18      16:20 17:2 55:8,24   province (2)           414:8,10,12              100:24 103:23
  430:5                   105:9                248:17 279:5           pull (1)                 116:9 120:23
problem (17)            progress (2)           provocative (1)        154:25                   122:20 123:6
30:19,20 31:20,23       22:7 433:4             289:7                  pulled (2)               124:12 126:19,20
  44:22 127:6 140:20    project (3)            proxies (11)           227:4 393:22             127:22,23 138:12
  170:20,24 334:4       6:17 276:17 277:10     135:20 136:10 137:12   pulling (1)              153:23,25 154:2
  346:19 347:13         projects (1)             139:2,7 145:14       159:9                    157:17 163:3 168:7
  373:13,13 395:15      107:23                   397:5 428:1,2,4      pure (1)                 168:14 172:12,22
  397:4 430:2           promotion (3)            430:10               52:6                     174:17,24 175:1
problematic (1)         197:21,23,24           proxy (33)             purpose (2)              184:7 200:12,19
67:19                   proper (4)             135:11 136:16,19       46:22 202:16             201:15 202:2,17
problems (7)            88:14 140:7 201:22       137:20,21,24 138:8   purposes (9)             204:16 214:6 217:5
288:6 391:3 392:4         202:23                 138:18,23 139:16     106:8,23 202:21          217:14,15 218:16
  400:15 433:2,20,20    properly (2)             139:20,22 167:19       210:14 263:3           218:17,25 220:5,24
procedure (2)           80:8 115:21              167:21 169:7,14        287:17 309:16,17       221:10,22 223:16
224:18 343:15           proprietary (1)          279:7 286:3 295:7      330:6                  224:3,23 226:16
procedures (1)          412:7                    297:17 305:23,24     pursue (1)               227:11 238:12,13
26:16                   prospective (6)          306:3 329:24 330:2   13:9                     238:19 239:22
proceedings (2)         317:18 390:5 391:9       423:14,19 424:5,6    put (25)                 241:21 242:5 243:4
207:1 437:2               392:14 393:1 433:1     427:4,11,19 428:10   55:15 62:7 71:5,23       249:24,25 258:3,21
process (9)             protect (1)            psychiatric (1)          93:3,11,12 110:20      258:24 259:21,22
10:23 33:9 37:12 38:6   426:22                 12:15                    110:20 114:9 116:3     262:22 265:3
  41:9 45:6 46:6        protective (6)         public (2)               116:13 125:23          267:24 268:20,21
  187:3 192:6           274:13 279:8 286:4     195:19 437:19            183:11 239:15          269:22 270:8
produce (1)               295:8 342:20         publication (15)         282:13 288:13          272:20 274:3,25,25
22:11                     344:21               22:24 23:21,25 33:2      331:4,6 414:8          283:23 291:18
produced (4)            prove (1)                227:14 357:18          417:13,14 418:15       296:12 310:2
132:12 313:13 435:22    117:18                   358:21 361:25          418:21 430:18          322:17 323:14
  436:16                proves (1)               376:8 377:21         putting (11)             327:5 329:5 330:6
producing (1)           112:23                   378:22 380:21        18:4 113:9 127:7         333:4 334:8 339:10
380:16                  provide (38)             386:20 391:5 394:8     168:12 235:16          339:11 341:13
product (8)             12:18 41:15 45:8       publications (5)         276:19 290:14          347:10 351:12
52:7 300:8,23 302:13      52:14 83:24 84:6     23:12 33:3 119:23        313:2 365:7 418:19     361:7,8,19,21,24
  304:23,25 420:9         92:10,12,16,20         138:16 140:19          430:12                 362:22 366:22
  426:2                   93:10,16 105:13      publicly (1)           puzzle (1)               369:3 373:5 374:23


                                     TSG Reporting - Worldwide   877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 144 of 806


                                                                                                             Page 32

  376:3 377:14,24           173:3,7 175:6           213:10 217:19,24       reaction (1)                170:8 214:24
  378:2,4,9 381:8           177:17                  218:21 232:13,14        88:3                       218:19 260:19
  391:1 392:22 398:7     Railroad (1)               232:16 233:7,8,18      read (32)                   289:17 290:17
  401:11 405:13,13        3:20                      251:1 252:3,8 253:8     52:20 55:10,20 57:3,5      352:9 428:2,3 439:6
  406:11 409:10,12       raise (4)                  253:13 256:12             57:20 59:18 73:25        439:7,9,10,12,13,15
  410:23 411:14,17        193:23 197:19 390:1       258:5,5,8 259:2,5         80:24 87:7 146:14        439:16,18,19,21,22
  411:20 413:8              410:7                   260:6,8,10 269:5          188:7 230:8 278:11       439:24
  414:17 427:3 430:7     raised (8)                 279:4,10,19 280:13        278:15 290:20         reasonable (16)
  434:13,24               25:5,6 217:17 242:19      280:15,18,23 281:4        313:12 349:1 351:1     64:11 65:14 66:15
questioning (5)             375:20 391:1 393:4      281:10,20 282:5,17        394:24,25 402:17         67:9 68:14 69:10
397:25 408:7 409:16         393:5                   282:19,23 285:14          413:1 415:8,10,13        70:13,23 71:14
  410:10,18              raising (5)                287:23 298:8              415:14,14,17             72:12 264:18 266:7
questionnaire (10)        176:1 189:17 192:2        300:19 306:11             416:13 421:2,17          352:5 418:1 434:8
26:6 245:19 246:5,21        196:16 375:18           308:4,14,25 309:1,5    reader (3)                  434:17
  314:15 315:10          Ramazzini (8)              312:10 319:7,12,14      152:19 159:15 162:18    reasoning (2)
  346:25 356:9            33:23 34:1,7,24 35:7      320:8 330:9,14         reading (10)              89:13 93:6
  363:21 372:5              35:18,22 36:1           350:8 352:12 353:6      69:14 101:10 166:25     reasons (7)
questionnaires (3)       random (1)                 353:8 396:3,14,23         223:22 247:1 258:7     82:10 151:24 157:15
31:11 356:13,23           377:4                     396:25 398:14,19          380:23 421:5,22          218:14 335:9
questions (41)           randomized (1)             399:7,20 424:4,9,21       422:13                   390:24 399:8
10:18 24:25 25:24         317:16                    425:15,18,20,22        real (5)                 reassessing (1)
  26:10 50:4 56:6,8      randomly (1)               427:11                  52:8,9 95:11 331:11      31:23
  81:9 85:8 86:19         364:16                  ratios (61)                 335:20                reassigned (1)
  92:8 126:24 127:2,3    randomness (1)            43:7,8,8 118:6,7        realistically (2)         14:5
  246:21 269:23           91:23                     151:20 153:1,1,10       105:12 106:14           reboot (1)
  274:11 307:11          range (3)                  153:10 154:3,7         reality (2)               325:24
  344:3 351:8 380:11      210:21 211:12 212:5       158:16 160:16           208:4,9                 rebooted (1)
  406:21 409:25          ranges (1)                 163:23 183:23          realize (1)               325:19
  410:4,6,11,15 412:2     212:24                    213:15 233:13           183:22                  rebuttal (11)
  412:22 413:3,14,16     ranging (1)                234:3,21 237:19        realized (2)              6:5 165:23 277:21
  413:22 422:2            92:9                      238:21,25 239:25        28:7 355:20                278:7,8 347:18
  428:12 431:4,6         ranking (7)                241:23,23 248:20       realizing (1)               348:23 354:24
  434:4,6,15 435:2        316:25 317:5,8,16         249:2,4,6 252:22        183:21                     385:16 389:25
quickly (2)                 318:4,6,20              278:22 280:2           really (42)                 395:7
87:16 96:12              rarely (1)                 284:24 288:11           21:17 23:15 35:19       recall (39)
quite (9)                 104:23                    296:6,8 308:6,12,18       42:14 88:2 94:5        18:1 21:8 24:15 25:4
28:4 58:15 70:19 71:3    rate (9)                   308:21 309:2,10,15        111:12 136:3 138:7       25:15 31:1,22 32:8
  71:21 80:21 150:5       27:1 43:7,13,14 44:23     309:23 310:7,9            143:17 146:7,10          33:16,20 35:24
  323:13 412:9              153:1 175:21            311:4,11,13 320:10        149:17 168:24            131:17,21 132:20
quizzes (1)                 176:13 354:20           321:17 324:6 336:1        171:9 189:7 193:6        133:9,11,16,22
137:2                    ratio (128)                353:25 354:7,20           194:16 197:17            134:19 135:1,6,8,8
quote (2)                 43:3,3,7,15 44:6,7,23     396:9 397:17              198:12 199:13            135:10,15 166:3
92:1 99:24                  44:24 84:17 89:5,24     400:21,23                 209:21 220:16            180:19 310:12,20
quotes (2)                  109:6,8,9,13,15,18    re-review (2)               221:11 240:11            310:23 311:7
316:10 423:2                109:23 110:2           18:14,18                   267:14 270:9             348:20,25 350:10
                            111:15,21 115:9       reach (9)                   301:22 302:1 303:2       350:13 363:8 420:3
          R                 153:17 154:7,9,16      45:21 48:16 51:7 88:1      306:4 316:9,20           421:22 431:6
R (4)                       154:21 155:15,17        128:9 286:14              328:9,12 349:4        recalling (1)
 3:1,15 4:1 438:1           155:22 156:17           331:19 410:25             362:6 371:7 426:8      185:23
race (1)                    157:6,7,12,22 158:3     417:22                    426:21 427:1 430:3    receive (2)
 152:13                     158:10 160:18         reached (6)              Realtime (4)              17:12 34:24
radiation (2)               163:20 171:14          55:13 56:22 61:15        1:24 2:15 438:5,23      received (6)
 197:2,10                   172:1 175:22            62:20 356:1 418:12     reason (30)               11:15,18 14:12 23:3
radon (12)                  178:23 179:3,22       reaching (6)              21:19 34:3,18 71:22        313:11 347:19
 168:3,20 169:22            180:4,12,21,21,22      38:6,17 49:19 60:23        150:20 151:25         recess (12)
   170:4,5,9,12 171:22      182:20 183:16           70:1 407:21               162:16 164:19          72:21 96:17 144:18


                                      TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 145 of 806


                                                                                                           Page 33

   178:5 203:16            246:17 262:14            232:12,15,19 233:5   relied (2)                  133:18 136:1,17
   270:22 307:2,22         263:19 273:6             233:16,19,24 234:3    294:12 295:17              142:2 145:1 151:20
   326:4 384:23            278:20 295:22            234:6,14 235:7       relies (1)                  152:1,3,24 153:16
   406:25 419:18           310:4 316:6 384:1        335:5,6               135:10                     155:24 158:10,24
recognize (1)              435:22 436:2          regular (13)            rely (9)                    165:23 166:16
 112:4                   reference (8)            15:23 185:19 268:16     84:24 117:10 119:12        178:12 180:21
recommend (2)             76:7 78:4 80:16           268:17 270:15,15        150:20 175:5             182:21 183:10
 18:24 288:4               277:25 353:22,23         271:11,12,15            398:24,25 399:9          186:2,4,5,8 187:25
recommendations (2)        379:6 390:7              276:10,11 303:25        416:10                   212:23,23 218:18
 22:19 32:3              references (1)             402:8                relying (1)                 223:8,17 224:6
recommended (1)           415:3                  regulatory (1)           252:4                      225:3,14,17 227:5
 15:14                   referencing (2)          419:9                  remaining (1)               244:8 247:7 248:2
recontact (1)             83:2 393:22            rejected (3)             345:20                     249:1,13,17,19
 355:24                  referred (2)             43:21 44:16 48:4       remember (14)               250:5,20,21 251:4,8
record (68)               290:18 422:14          rejecting (2)            15:12 23:10 24:6,9         251:22 252:1
 7:9 8:24 9:15,20 15:3   referring (18)           99:17,17                  25:11 32:12 113:18       254:11,12 257:5
   59:25 72:20,24         57:25 66:20 74:17,25   related (10)               166:25 179:14            258:4 259:3 260:7,7
   76:21 79:17 81:10       75:6,11 95:9 104:22    149:7 150:23 151:13       213:22 347:5             260:22,24 261:3
   81:11,14,17,22          105:18 235:9             176:10 193:16           378:11 383:4 397:3       262:5,21 263:7
   96:15,20 139:21         260:20 263:8,18          285:20 426:9 429:6   reminder (1)                273:3,19 277:16,21
   144:17,21,23 178:4      290:3 389:5 391:22       429:16 438:12         162:17                     278:3,8,9 279:19
   178:8 180:3 186:20      393:25 394:1          relates (5)             remove (3)                  280:1,23 283:6,17
   203:15,19 207:2       refers (9)               1:6 304:19,21 355:1     196:3 296:1 427:25         283:24 285:5
   214:5 240:23           94:7,21 103:25            433:22               removed (2)                 288:12,16 292:11
   243:20 248:19           116:18 128:18         relating (1)             284:15 285:25              294:12 295:18
   249:1,21 258:21         159:7 261:15 388:5     220:18                 removing (2)                299:3 305:11,20
   270:21,25 307:1,5       415:4                 relation (2)             428:9,10                   310:5,17 314:3
   307:19,21,25 317:3    reflect (2)              390:10 394:4           rendered (1)                319:5,13,13,16,16
   318:18 326:7           105:12 106:14          relationship (7)         79:10                      319:20 320:21
   353:20 360:23         reflected (4)            14:11,13 19:7,10       rendering (1)               323:1 338:17
   361:15 384:22          43:2 305:5 373:1          24:11 77:21 121:10    78:9                       344:12 345:8
   385:1 405:8 406:22      374:18                relative (26)           rent (1)                    347:19,22 348:5,15
   406:24 407:3 408:6    reflects (2)             31:17 44:6,23 84:17     17:11                      348:18,23 354:24
   408:10 410:24          111:22 257:9              110:15 120:6,7       repair (1)                  364:1 370:16
   411:2,6 412:4 413:7   refusal (1)                128:9 135:24 171:2    342:19                     379:24 385:16
   419:17,21 435:17       410:4                     171:3 172:5 279:6    repeat (5)                  389:21,25 395:7
   436:22 437:5          refutes (2)                352:3 354:5,12,19     90:7,23 270:12 376:3       401:24 402:7
   438:10 439:4           41:16 42:18               365:12 366:6,13,14      399:16                   404:17 406:6 409:3
recorded (1)             regard (14)                366:17 377:19        repeating (1)               414:4,6 415:14,15
 360:13                   53:18 56:24 74:13         378:17 381:1          415:12                     415:18,20,21
records (1)                81:5 417:17 418:12       390:13               replace (1)                 417:21 429:10,13
 314:17                    425:9 427:25          relatively (4)           288:6                      429:20 434:7
reduce (1)                 428:23 429:2,10,15     24:11 111:20 194:21    report (177)             reported (60)
 427:21                    431:10,13                226:1                 5:10 6:6 25:21 37:5      1:22 84:17 142:11,18
reduces (2)              regarding (8)           relevant (6)               39:5,15 49:16 52:21      154:6 157:22
 345:12,19                27:13,17 28:14 59:12    77:11 152:18 194:15       53:17,25 56:15           158:25 172:1
reducing (1)               73:6 292:5 408:13        198:4 210:3 414:16      57:11,14,22 58:18        178:22 193:3
 427:20                    408:23                reliability (3)            59:9 66:3,5 67:1         225:12 233:8
reduction (1)            registries (3)           25:7 88:8 293:16          73:3,4,8,16 76:13        234:21 238:21
 280:17                   29:4,10,11             reliable (13)              79:19 80:6,18,23,24      241:23 244:11
reevaluated (1)          regression (32)          135:21 136:3,10           82:13,18,22 83:15        248:20 250:25
 151:7                    154:10 163:10 188:12      137:14 138:6            83:19,23 84:8,13         252:15,22 254:13
refer (18)                 212:21 213:9,11          291:25 292:4            85:9 86:25 87:1,14       257:21 260:9
 57:22 76:10 89:23         214:8,9 215:17,19        293:10 315:18           87:17 107:7 117:24       265:21 287:23,24
   94:15 113:12            215:22 216:2,6,13        316:4,10 377:22         117:25 119:22            298:5 300:16
   116:18 188:24           217:6,8,12 232:2,3       426:19                  120:2 128:7 131:17       308:16,21 309:10


                                      TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 146 of 806


                                                                                                            Page 34

   309:15 310:21         reserve (1)             responsibilities (1)      reviewed (20)            114:11 179:17,20
   311:12 312:10          410:16                  13:17                     18:15,16 33:10 52:17   rigorous (1)
   321:18 322:7          reserving (1)           responsible (1)             54:19 57:8 69:25       47:17
   323:25 336:1,9         408:21                  254:5                      73:14 78:8 132:9      rise (1)
   340:5,18 350:4        respect (59)            responsive (1)              278:6 314:24 315:2     196:19
   352:12 354:15          30:14 32:18 45:18       413:3                      315:3 333:6 334:9     risk (73)
   363:24 366:19           55:12,13 57:14 58:5   responsiveness (1)          383:19 395:3           6:21 32:19 33:13,18
   369:25 370:18           58:21 60:3,4 61:16     412:8                      408:15 416:7             42:1 43:3,7,11,12
   371:11,24 378:17        62:3,21 63:14 64:3    rest (1)                  reviewer (2)               44:6,6,23,25 45:1
   396:3,14,22 397:18      65:8 71:10,11 79:4     394:16                    293:1 296:1               84:17 110:15 118:7
   397:23 398:14           79:25 82:22 84:5      restart (1)               reviewers (6)              142:22 143:4 145:3
   399:7 400:22            101:6 111:3 125:14     96:12                     37:15,18,20,25 38:17      145:9 146:3,6,8
reporter (15)              130:6 136:8 141:10    restate (1)                 216:8                    151:5 153:10
 8:20 9:14,18 10:4,25      141:20 143:14          90:20                    reviewing (4)              163:22 164:11,13
   11:5 96:10 113:20       149:4 154:13 159:2    restrictions (1)           36:23 37:22 63:3          164:14 171:2,3,12
   147:24 170:2            163:2 183:7,15         150:7                      229:23                   171:12 173:7
   226:15 325:18,22        187:24 189:18         result (13)               revisions (1)              175:12,14,17,19,21
   328:15 438:6            194:10,15,16           50:5 87:8 89:16 90:9      386:21                    254:14 271:13
reporter's (1)             198:17,19 206:18         91:1 103:2 139:4,5     reword (1)                 285:22,24 302:17
 11:1                      210:9 215:3 221:16       170:13 188:13           171:20                    324:5 328:1,13,20
reporting (11)             228:8,18 247:7           192:6 235:2 409:16     ridiculous (2)             328:22 331:3,21
 8:19,22 226:13 236:1      248:1,2 286:15        resulted (2)               81:13 94:3                332:7,8,10,19
   241:22 254:19           293:4 294:16,25        191:3 288:21             right (84)                 334:18,19 335:16
   283:18 306:17           297:21 321:12         resulting (3)              17:25 19:14 33:8          336:1 350:8 352:3
   320:11 322:14           363:3                  77:13 177:3,7              40:19 42:19 45:17        352:12 353:6,8
   396:7                 respond (9)             results (32)                63:10 76:25 81:18        390:13 398:14
reports (7)               27:10 355:10 356:8      22:11,14,21 23:4           81:19 85:8,14 96:3       418:24 419:8 422:3
 109:12 131:3,3 249:3      372:13,15 409:2,9        51:18 89:17 116:3,5      99:15 109:25 111:2       424:14 429:24
   259:5 408:15            412:24 413:12            116:13,15 123:11         112:3 115:24             430:9
   415:10                responded (12)             130:2 138:19 153:6       118:20 129:16         risks (4)
represent (7)             355:9 356:13,22           153:8 158:10 161:4       133:2 142:23           252:16 354:6,12,20
 10:17 79:24 132:11        364:16 367:24            179:17 230:21            146:19 149:16         Ritz (49)
   200:11,13 340:14        369:6,16 370:1           234:12 235:6 236:1       155:1 157:23           1:16 2:9 5:3,11 6:6
   348:12                  372:5,20 374:8           239:6 244:9,11           161:13,15,25 162:9       8:7 10:7,14 11:15
representation (2)         409:4                    246:11 269:13            166:25 168:12            39:4,13 73:2 81:4
 153:5 200:12            respondent (1)             289:5,6 296:14           172:21 173:5,11          81:22 83:23 96:23
representative (2)        279:7                     378:25 382:15            175:7 181:16 184:3       96:25 113:17,23
 369:1 374:1             respondents (7)         retained (3)                186:6 187:14,23          132:4 144:24
reproduce (1)             135:11 286:3 295:7      431:15 432:15 433:18       191:24 195:7,20          178:10 203:14,21
 343:24                    305:23,24 383:11      retro (1)                   201:9 205:3 206:2        203:23 204:4 227:2
reproducible (1)           428:10                 433:1                      213:5 214:3 231:2        238:11 243:20
 117:19                  responding (2)          retrospective (12)          233:3 234:9 249:12       271:2 276:16
reproductive (1)          136:21 428:4            313:21 314:5,8,9,12        251:10 306:6             306:25 307:7,9
 419:6                   responds (2)               314:17,21 315:5,13       308:18 314:13            308:2 312:6 313:10
requests (1)              372:1 394:17              315:17 316:3,8           315:17 316:15            326:9 385:3 407:5
 395:2                   response (29)           return (2)                  318:7 319:6 333:19       408:10,22 414:2
required (4)              27:1 28:10 132:12       97:2 212:17                337:11 338:19            419:17,23 435:11
 79:21 127:9 241:3,10      264:12,14 265:8,15    review (29)                 340:1 345:16 347:1       437:3,12 439:3
requires (2)               265:23 266:18,24       5:16 20:8 23:11,25         360:10 364:14         Ritz's (2)
 130:8,17                  267:7,13 268:3,23        24:15,19 37:7,11,25      368:9 369:17 372:2     409:18 410:16
research (9)               269:2,9 270:4            38:6,9 53:1 54:3,5,6     374:3 384:6 386:2     road (2)
 16:2 17:7 27:17 33:14     275:15 302:25            54:9,18,20 68:8          387:3 406:3 408:22     201:9 202:7
   35:8 48:8 105:9         309:21 311:14,18         69:5 73:22 245:5         410:17 411:19         roadways (1)
   115:1 117:6             313:14 335:24            384:11 389:17            412:21 422:2,7         201:9
researcher (1)             345:7,10 372:7           390:18,21 402:20         436:20                rodent (1)
 143:20                    387:20 409:5             414:6 417:2            right-hand (3)           56:7


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 147 of 806


                                                                                                             Page 35

rodents (3)                64:11 65:13 66:14          180:9 183:23 190:2    second (41)               352:7,22 353:3
 80:17 82:9,14              67:8 68:13 69:10          190:6 193:6,7          22:3 26:5,17 80:2,11     364:6 365:20 374:9
role (7)                    70:12,22 71:14            234:17 252:12           83:12 87:13 92:6        391:3 392:9,15
 15:19 16:7 21:25 23:2    rules (3)                   255:20 261:13           118:14 145:12           406:20 408:16
   36:7 383:6 385:3        79:21 169:14 215:4         284:8 383:20            152:8 158:8 226:10      423:24 424:2 425:6
room (6)                  ruminate (1)                387:12 428:15,16        228:14,16,19 244:6      425:13,17 427:3,7,8
 25:1 29:7 60:21 61:24     133:17                  scale (9)                  253:1 278:8 297:19      427:9,16,17 428:15
   62:2 72:4              run (2)                   160:11,14 161:8,11        306:19 307:17           430:25 432:10
Roos (80)                  150:5 289:10               161:17 162:5,6          355:6,10 356:8        seed (1)
 6:12,20 22:24 32:25      runoff (1)                  390:10 394:4            357:16 358:22          312:8
   33:5 125:14,25          77:13                   scenario (1)               361:1 364:16          seeing (8)
   126:11 153:12,16       runs (1)                  172:16                    367:25 368:19          23:10 35:24 50:6
   154:4,13 181:1,3,8      202:9                   Scholar (1)                369:7,15,16 371:14      74:21 90:10 137:5
   181:24 182:2           Rustler (3)               414:13                    371:16 372:7            289:20 305:4
   184:10 203:24           255:23 256:7,10         school (1)                 373:16 402:11         seek (2)
   205:16 212:16                                    12:23                     409:7 433:14           82:1 83:11
   213:14 214:9,18,22                 S            science (6)              seconds (1)             seeking (1)
   215:17 217:23          S (5)                     40:6,22 41:4 60:11       434:25                  40:1
   218:23 219:1 220:7      3:1 4:1 5:7 6:1 7:1        83:17 417:4           secretariat (1)         seen (16)
   220:10,15 221:3,23     sabbatical (4)           sciences (1)              17:24                   17:22 91:2 138:15
   222:7 224:5 225:3       17:14,15 19:24,25        82:17                   section (17)              202:10,16 278:1
   226:6 227:5,18,19      safely (1)               scientific (24)           53:24 74:19 75:5         283:7,25 288:11
   227:22 228:6,16         322:1                    34:25 35:2 39:24 40:1     76:24 228:10,11         305:21 347:23
   229:21 230:12          salt (1)                    40:8,20 41:9 52:12      245:4 390:4 392:8       348:3 428:23 429:1
   231:16 234:9            88:20                      88:15 95:14,23          395:3,4 407:16          429:5 430:22
   235:24 264:23          sample (24)                 167:4,7 289:16          415:23,24 423:14      select (1)
   276:25 310:7            31:2,3 49:4 120:12,14      290:25 316:18,22        423:24 425:16          78:15
   312:24 319:2,7,11         121:17,25 122:13         317:7 318:4 407:6     see (98)                selected (3)
   319:21 320:3,4            122:16 123:24            417:3 418:1 434:8      19:20 36:16 40:10       21:11 275:17 364:17
   321:16 322:25             124:1,19,20 128:18       434:17                  41:10 45:14 51:11     selecting (1)
   323:8,15 326:10           128:18 176:24         scientifically (1)         51:14 73:4 74:4,14     268:14
   334:24 335:12,23          218:9 364:5,24         38:20                     76:25 77:16 90:25     selection (18)
   336:18 339:14             365:7 368:1 369:1     scientist (20)             97:7 104:7 108:9       28:15,16,19 29:1,2,24
   341:3 342:5,5,24          427:20,21              15:8,11,18 16:8,11        111:19 117:11           30:4,8 140:1,5,10
   345:7,23 398:13,25     Sao (1)                     17:9,18 57:2,3          132:24 133:2,8          140:12,15,20,24
   400:7 401:17,20         428:16                     58:11 60:21 63:3        139:14 145:5,12         141:2,4,18
ROSA (1)                  saw (10)                    68:23 71:4 72:1         148:9,14 152:6        self (2)
 4:8                       167:10 277:24 278:5        78:17,18 79:9,12        154:19 156:5 157:2     306:3 397:4
Ross (2)                     290:2 294:13             82:16                   159:24 161:22         self-evident (2)
 32:9,14                     348:16,17,20,22,25    scientists (12)            175:21 179:18          36:21,22
roughly (4)               saying (27)               15:22 16:9 18:9 27:13     190:14 194:24         self-respondent (3)
 204:8 205:1,16 206:4      93:23 102:2 106:3,20       28:9,14 29:17 30:13     195:22 196:1           423:15 428:5,6
Roundup (12)                 125:6 148:22             32:3,6 284:11 289:5     215:25 226:9,17       self-respondents (13)
 1:4 8:7 68:8 70:9 78:1      159:22 169:8 170:7    Scott (2)                  229:1 231:14,20        297:18,19 306:3,12
   78:2 129:11 152:20        184:24 196:24          4:18 8:18                 232:23 239:17           396:25 423:19
   159:17 210:15             198:2 230:21 255:1    Screening (1)              244:8 251:21,23         424:5,6 427:5,6,12
   434:19 439:1              255:1 275:14           5:19                      254:16 255:6            427:13,15
row (2)                      322:12 327:6,10       search (13)                259:14 264:19         senior (3)
 117:11 351:24               332:1,1 343:19         29:8 73:23 75:2,19        266:2 268:18           15:11,22 16:11
RPR (4)                      377:6,13 394:12,13       76:17,19,20 77:19       270:16 271:12         sense (10)
 1:23 2:14 438:4,22          412:15                   78:5 83:3 414:8,9       277:11,22 278:14       95:17 120:6 121:4
RR (1)                    says (27)                   414:11                  294:7 296:20            122:14 146:2
 394:7                     53:3 74:16 77:9 84:9    searched (2)               309:20 311:11,23        198:25 216:15
rubric (1)                   92:19 93:13 100:6,7    29:5 73:20                324:1 336:14,23         267:20 315:12
 262:16                      105:5 106:25          searching (1)              337:25 339:11           330:23
ruled (9)                    120:11 133:21          78:20                     348:2 351:10,18       sensitivity (12)


                                       TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 148 of 806


                                                                                                           Page 36

   49:8 50:8 138:17      sex (4)                  sick (1)                   358:7 359:8 379:7      156:18 180:14 206:5
   139:13 211:19          152:13 179:5 180:5       428:6                     381:19                  213:12 320:7
   292:24 293:20            279:4                 sickest (3)             singular (3)               396:10
   294:17 305:23         shake (2)                 397:6,11 428:9          109:1 415:13,13         SLL (2)
   306:5,7,10             197:15,17               side (2)                sink (1)                  282:2,3
sent (1)                 share (1)                 106:7 197:10            159:24                  slowly (1)
 315:10                   385:6                   sides (1)               sit (2)                   10:25
sentence (18)            Sheila (2)                160:23                  38:25 430:7             small (8)
 52:23 66:25 75:11        223:6 224:15            signal (1)              sits (1)                  25:21 33:18 34:6
   76:23 93:21 94:7,14   Shimada (3)               49:12                   72:4                      282:4 312:16
   95:7 97:3 117:25       4:15 10:1,1             significance (6)        sitting (2)                369:11 400:3,4
   118:14 120:12         SHIMADO (6)               84:10 108:5 112:6       247:3 403:21            smaller (4)
   152:8 190:5 235:8      155:7 166:9 200:7          280:6 320:16         situation (4)             114:21 172:6 173:16
   244:8 284:8 393:23       214:1 350:18             352:25                145:17 331:10,15          409:22
separate (10)               405:11                significant (25)           339:1                 smallest (1)
 30:8 62:13,15,16        short (10)                31:9 89:2 107:21       situations (1)            180:20
   249:13 250:6 251:5     38:5 48:25 178:1           108:6 111:24          86:8                    smoke (1)
   252:22 264:15            181:8 243:8,10           116:25 117:3         six (9)                   144:5
   292:4                    264:3 326:1 343:18       156:19 232:20         68:19 124:16 186:16     smokers (3)
separated (2)               343:19                   234:5,6 249:6           194:11 222:4           142:21 173:8,8
 249:15 250:7            shorter (12)                252:15,23 253:5,10      236:20 237:3 238:4    smoking (18)
separately (3)            181:5 204:14,23            253:14 280:4,24         268:8                  142:21 143:15,17,23
 60:6 163:23 252:16         205:3 206:3 219:20       281:12 396:5         sixth (2)                  143:25 145:24
September (6)               219:23 220:3             410:20 424:21         123:19 361:6              146:1 168:2,11,12
 1:18 2:5 8:1,16            341:22,23 371:17         427:14,23            size (28)                  170:4,11 172:2
   438:17 439:2             426:7                 significantly (4)        31:5 41:2 49:5 88:24      173:7 175:6 177:18
series (1)               Shorthand (1)             336:9 338:7 339:15        88:25 89:5 97:23        179:5 180:5
 318:10                   438:6                      342:7                   115:13 120:12,15      so-and-so (1)
serving (3)              shortly (1)              similar (10)               121:17,25 122:13       175:14
 17:23 20:22 325:4        358:10                   105:4 107:24 108:14       122:16 123:24         society (3)
session (1)              show (25)                   108:18 232:20           124:1,19,21 125:6,8    34:11 36:4,14
 178:2                    51:18 56:12 120:12         298:4,9 300:7           128:18,18 131:10      sociology (3)
set (8)                     121:17 129:1             344:18 364:3            170:16 176:24          11:20,24 12:3
 39:7 49:20 273:10          147:13 153:20         similarly (1)              218:9 427:21,21       solely (2)
   343:20 351:21            161:5 175:10 183:4     205:22                 skip (2)                  119:12 198:20
   381:19 438:9,16          223:11 263:11         simple (16)              312:21,24               solid (1)
sets (1)                    285:3,19 302:24        67:2 68:3,6 96:5       slide (42)                38:20
 324:5                      310:21 331:8 399:1       126:20 238:19         113:25 114:17 131:24    solidified (1)
setting (1)                 403:2,4 405:6 423:9      258:3 259:22 266:6      132:5,19 133:8         429:22
 419:10                     427:22 429:5 433:6       343:25 344:5,25         165:6 277:19,22       soliloquies (1)
settings (4)             showed (2)                  361:18 370:12           278:1,14 313:10,13     409:11
 96:4 199:21 200:17       380:25 404:16              409:10 410:23           313:15 315:17,25      solvent (1)
   201:8                 showing (7)              simplicity (1)             316:3,14 405:8,17      33:19
seven (20)                304:20 329:1,8           381:18                    405:21,21,23,24       somebody (10)
 270:9 299:19,20,20         373:20 378:19         simplified (1)             423:8,9 428:23         21:14 125:12 148:24
   299:24 300:1,3,17        402:22 433:3           308:17                    429:5,17 431:23,24      185:15,18 188:25
   302:6,11,12,19        shown (7)                simplistic (1)             432:11,19 433:6         189:3 271:18
   336:16 340:18,24       41:11 150:17 230:16      133:5                     435:11,13,19,21,24      371:24 399:1
   398:11 411:3,8           428:14,25 434:4,15    Simply (1)                 436:1,13,15           somewhat (7)
   425:9,10              shows (8)                 411:18                 slides (7)                114:13 142:13 206:20
seventh (2)               110:11 120:11,14        Simultaneous (1)         113:24 114:10 167:11      209:12 298:4 320:5
 240:5 241:9                122:12 123:23          328:14                    288:18 289:9            409:20
severe (1)                  428:23 429:17         single (12)                405:14 432:12         son (1)
 30:1                       431:24                 31:24 190:21 193:9     slightest (1)             136:19
severely (1)             shrinkage (1)               224:14 308:20         238:13                  soon (2)
 399:3                    234:13                     312:9 337:20 358:5   slightly (6)              194:21 198:1


                                       TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 149 of 806


                                                                                                           Page 37

sorry (22)               311:23,25                  365:15                   277:12 295:23        stimulated (1)
 148:8 172:16 186:4     specified (3)            starts (8)                  386:5 394:1           416:3
   188:1 213:3 237:9     245:7 246:12,19          77:1 118:1 152:4        stating (11)            stipend (1)
   278:7 288:9 306:21   specify (3)                 199:16 390:4           98:8 103:1 159:11       17:10
   319:18 322:5          40:23 245:20 246:22        392:13,24 393:23         166:15 196:23        Straif (10)
   325:18 333:3         specifying (1)           state (67)                  244:18 252:2          13:22,24 14:5,7,11,15
   349:16 354:9          41:1                     32:10 41:13,25 52:23       254:10 374:4            15:3 20:8,12 35:17
   376:23 379:25        speech (1)                  53:25 54:7 58:18         379:18 422:1         strata (11)
   381:12 383:7          127:4                      59:7,9 66:2,4 75:25   statistic (2)            164:3,5,10,12,13,17
   389:25 435:3         spend (2)                   79:18 81:22 87:14      89:17 90:3                164:18,22 165:15
   436:21                14:21 78:19                87:16 102:15,16       statistical (28)           165:18,20
sort (6)                spent (1)                   104:4 108:4 115:17     44:2 45:14 46:24       stratification (3)
 201:9 211:12 213:5      16:25                      116:1,9,11 117:23        84:10 105:8,13        164:7 165:2 237:17
   215:12 228:14        spill (1)                   118:6 152:8,17           106:11,15,21 108:5   stratified (9)
   318:3                 274:12                     158:24 165:24            112:5 122:14,15,17    163:14,19 165:12
sorts (4)               split (4)                   186:12,15 187:25         124:24 125:21           236:10,12 240:9
 208:15 222:17 296:19    72:1 238:2 331:7           188:3 189:20,21          128:19 129:1,3,20       250:11,15 306:4
   338:21                  430:16                   229:14 230:14            129:20 218:10        stratifying (1)
source (1)              splitting (4)               237:6 238:8 240:18       225:24 280:6 282:1    239:8
 318:2                   267:16 268:13 280:8        241:15 242:7,14          320:15 427:22        Street (1)
sources (1)                309:19                   245:12 246:7             430:13                4:12
 138:7                  spoken (1)                  254:12 257:5 258:4    statistically (23)      strength (2)
South (1)                385:5                      274:5,19 275:5,23      89:2 107:20 116:4,14    70:2 176:19
 4:5                    spraying (2)                279:5 280:16             116:25 117:3 121:3   strengthens (1)
span (2)                 185:16 336:15              316:16 345:8             121:9 156:19 234:4    72:8
 305:1 336:19           spring (1)                  354:25 377:21            249:6 252:15,23      strengths (1)
spanned (1)              271:19                     378:22 379:11            253:5,10,14 280:4     218:8
 374:11                 squarely (1)                381:16 382:24            280:24 281:12        stress (6)
spans (1)                436:3                      386:3 389:20             396:4 424:21          75:8,12 402:4 404:4
 369:20                 stable (2)                  433:16 438:2             427:14,23               407:7,19
speak (1)                116:4,14                stated (20)              statisticians (3)       strike (12)
 10:25                  stand (3)                 77:19 80:13 83:15        92:7 96:3 106:5         52:15 70:4 80:7 82:1
speaks (2)               114:24 282:3 434:11        101:10 182:1          statistics (3)             83:10 182:19,19
 100:11 409:3           standard (6)                208:10 221:19          45:3 107:1 111:23         245:4 314:25 315:1
special (2)              107:9,10 139:21,23         240:5 259:13          status (9)                 329:10 408:24
 18:12 363:6               414:6 419:10             260:22 282:25          179:5 180:5 237:5      strive (1)
specialist (1)          standardizing (3)           283:12 285:4             238:8 239:8 240:18    158:15
 8:20                    105:10 106:12 164:4        292:12 310:8,19          242:14 342:18,19     strong (10)
specialty (1)           standing (1)                335:7 382:4 390:23    stay (1)                 58:15 69:2,16 71:21
 12:1                    407:7                      429:19                 410:11                    117:13 145:9 146:3
specific (21)           start (17)               statement (19)           stayed (2)                 146:4,8,10
 38:13 40:15 61:14       8:5 11:10 41:6 48:25     78:3 231:8 308:17        370:19 389:1           stronger (1)
   62:19 63:11 82:24       49:1,3 73:24 127:20      315:22,24 373:9       stays (1)                115:19
   99:23 159:3 183:24      199:9 201:22             382:12 387:21,25       282:11                 strongly (1)
   200:23 237:1            208:22 297:16            391:17 393:2,10,22    step (12)                182:15
   273:22 310:25           316:24 317:4             395:1 405:4,7 408:6    46:5 47:2 145:12       structure (1)
   364:3 379:18,22,24      392:19 408:2,4           409:6 411:5              189:19 197:24         94:21
   379:25 380:1 384:8   started (10)             statements (8)              215:12 217:4,13      student (3)
   391:18                17:2,19 149:13 150:1     82:22 93:3 127:8           222:22 372:15,17      13:21 14:1,2
specifically (8)           208:11 209:22            159:20 226:21            372:18               students (35)
 223:18,24 227:16          337:11 338:24            348:1 413:18 432:1    stepped (1)              13:19 15:24 16:1,1,3
   273:19 357:15           358:13 383:15         states (15)               21:13                     16:6 47:12 86:13
   366:1 391:12 433:5   starting (9)              1:1 6:10 8:9 29:11      steps (2)                  88:11 92:24 93:2
specification (1)        41:14 201:1 202:23         92:14 94:15,19         48:13 100:16              96:8 97:2 108:24
 246:1                     203:6 207:10 244:8       219:12 234:10         stimulate (3)              109:4 110:13 113:2
specificity (2)            309:21 355:22            252:7 261:23           316:11,19 318:19          117:9 131:20,22


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 150 of 806


                                                                                                         Page 38

   132:8 134:1,25            404:15 407:6,19,25    218:20,21,23 219:1      401:5,5 407:15,15     262:17
   165:11 169:1              408:1 409:19,22,22    219:14,14,16,20         408:3 409:24 410:2   subtract (2)
   315:16 316:2,11,15        410:3 415:13,14       220:2,7,10,16 221:3     428:13 429:16         212:6 407:24
   431:20,25 432:25          416:2,4 417:7,9       221:4,17,20,23          431:11,14 432:3,6    subtype (1)
   433:23 435:12,14          430:23 432:2 434:1    222:7,8,9,21,23         432:21 433:21,24      387:17
studied (3)                  435:25,25             223:4,8,24 224:14       435:15,23            subtypes (5)
 41:22 209:3 415:24       study (403)              224:20 225:1,13,14    study's (1)             150:22 278:25 279:23
studies (171)              6:3,4,8,12,13,14,15     226:1 227:15,19,22     91:17                    312:15 387:17
 6:19 24:2 27:3 29:21        6:20,24 7:3,4 20:18   230:14 234:8,22       study-specific (1)     suffer (1)
   30:24 33:10 38:16         22:22 23:19 24:3      235:14,22 236:1,8      333:12                 97:20
   39:15 42:4 43:1           27:12,13 28:17        237:16,19 240:1,8     studying (3)           sufficient (4)
   48:10 51:14 52:5,14       29:19,20,21,22,25     240:24 241:22          52:10 145:4 146:17     191:20 192:5 407:20
   53:1 54:2,3,5,8,9,14      31:8 42:11,12,20,21   242:7,8,22,25         stuff (1)                 409:17
   54:19,21,24 55:14         44:15 45:7 46:8       243:11,13,21,22        168:11                sufficiently (3)
   56:17,18 59:21 65:4       48:4,14,17 49:1       244:1,14 245:6,8,18   sub (3)                 192:3 195:3 353:16
   65:9 66:11 74:3,9         50:6,13,18,24 51:13   245:19,23 247:16       29:21 206:23 396:11   suggest (2)
   74:11 75:7 77:20          56:7 73:13 85:6       248:21 250:11         subanalyses (2)         293:19 295:6
   78:21 82:9 85:11,20       88:23,24 90:13        260:9 272:9 273:10     294:16,18             suggested (5)
   86:2 89:3 110:4           99:25 102:6,6 108:9   277:1 284:14          subgroup (7)            229:15 230:3 284:2
   111:5 115:8 120:7         109:12 112:9,23       287:21,22 298:3,17     61:15 164:1 207:19       408:11 418:22
   120:18 122:7              115:13 116:5,15       299:15 307:10           230:23 255:5 280:7   suggesting (1)
   128:10 129:8,18,25        120:13,18 121:8,20    308:3 310:4,7,10        398:3                 233:3
   130:8,13,17,24            122:1,3,4,6,21,22     311:4,10 312:7,25     subgroups (1)          suggests (1)
   133:14 138:5 140:1        122:23 123:7,8,9,9    315:19 316:23          312:17                 266:25
   140:4,11,12,13            123:13,21,24,25       317:8,22,23 318:1,6   subject (1)            Sugimoto (1)
   144:9,10 148:23           124:4,11,12,18,20     318:7,8,9,12,15        187:21                 56:7
   151:19 153:2,6,8,10       125:13,14,22,25       319:1,4,7,21 320:3    subjects (8)           Suite (1)
   154:14 159:1,5,14         126:1,8 129:22        320:4 321:3,16         134:3,14 163:21,24     2:12
   160:4 166:1,17            131:2,5,7 135:1,10    322:10,25 323:9,16      237:8 309:4 356:12   sum (2)
   176:3 178:11 182:4        136:4 138:19,25       323:24 325:1 332:3      396:17                386:5 387:22
   182:18 184:8,19           140:21,24,25 141:1    332:14,21,25 333:2    submit (1)             summarized (1)
   197:12 199:2              141:2,4,13,17         333:5,11,15,17         83:18                  38:1
   200:22 205:7 215:5        142:10 144:7 145:2    334:10,11,13,24       submitted (2)          summarizes (1)
   215:10 218:6,7            145:25 150:18,20      335:13,18,21,21        80:6 348:15            416:14
   222:13,24,25              151:18 154:4,15,17    336:18 339:14         subpoena (1)           summary (2)
   224:13 225:15             155:1,16 156:1        341:2,14,20 342:5,5    313:14                 164:2 165:17
   229:24 230:2,15           157:7,13,22 158:9     343:7 345:23,25,25    subpopulation (1)      summer (2)
   235:23 263:16             158:12 160:15,17      346:13,20,23 347:4     388:8                  150:19 271:21
   272:2 276:24              160:17 171:15         347:9,14,17 350:23    Subscribed (1)         Sundays (1)
   279:17 284:15             178:13,13,18,22,25    351:13 353:2           437:15                 78:19
   286:16,17 287:5,14        180:4,20 181:19,22    355:14 357:6          subsequent (5)         super (3)
   288:6 290:19              182:2,3,6 183:14      358:13,24 359:1,23     69:23 184:8 284:12     235:5,11 259:12
   306:14 313:20             184:11 186:7,10,12    360:17,24 361:3         284:14 386:20        Support (1)
   314:2,12,16,18,20         189:13,18,22 190:7    362:4 363:1,10,12     subsequently (2)        5:12
   315:3 316:7,16,17         191:14 192:2,23       363:12,22,24           227:4 386:9           supports (2)
   316:23 317:18             193:21,24 194:3,5     370:24 371:9,19       substance (1)           230:15 323:10
   320:10 321:1,13,19        195:5,10,11,14        375:23 376:13          67:24                 supposed (3)
   325:2 333:13              196:10,11,12          381:15 382:6 383:1    substances (2)          79:16 264:13 384:16
   336:11 338:9              198:17,24 200:23      385:21 386:21          180:9 335:11          supposedly (4)
   339:19,25 340:6           201:19 202:25         387:7,9 388:12        substantiates (1)       358:8 360:5,10
   342:9 343:22              203:24 204:7,9        390:5 391:9,11         88:17                    369:13
   344:12 345:17             205:16,18 208:5,9     392:14,25 393:1,16    substituted (1)        sure (41)
   357:21,22 380:24          210:11 211:24         393:18 395:10,13       386:23                 10:22 30:1 35:1 47:13
   396:20 397:15             212:11,12 213:16      395:19,22 396:14      substudies (1)            55:19 72:14 89:15
   401:3 402:3,19,21         214:10,11,16,17,18    398:13 399:18          401:23                   113:17 132:21
   402:22 403:13             217:16,19,24 218:5    400:3,3,4,5,6,6,14    subsumed (1)              134:11 143:19


                                        TSG Reporting - Worldwide   877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 151 of 806


                                                                                                           Page 39

  146:21 191:6          systematic (1)             264:3 270:19 278:5        418:8 423:25 433:1      171:23 177:7
  192:25 197:18          216:2                     313:15,21 317:6        talks (3)                  186:16 188:11
  202:15 207:24         Systems (4)                324:5 325:25 364:7      83:3 87:1 186:23          189:24 190:15
  211:11 215:14          1:24 2:15 438:5,23        384:12,15,18           tape (1)                   192:25 194:11
  217:13 223:12                                    406:18 427:19           8:5                       196:11,18 198:9
  224:24 242:24                    T               434:24                 tapes (2)                  207:7,19,22 209:11
  248:12 255:14         T (5)                    taken (21)                419:14 420:4              211:2,8,25 212:5,7
  257:14 262:21          5:7 6:1 7:1 438:1,1      10:19 72:21 93:22       Target (9)                 217:18,23 218:19
  265:2 266:14 277:4    table (92)                 95:5,8 96:17 112:25     255:2,16,22 257:1,20      218:24 220:8 221:4
  278:18 294:23          110:11 119:22 120:4       144:18 178:5              261:14,18,25 262:6      221:21,25 327:12
  299:25 329:7             120:11,16 121:7,16      203:16 208:1           task (2)                   340:10,10,11,13,13
  340:12 352:22            122:4,12,21 123:4       270:22 307:2,22         23:14,14                  340:16 411:17
  359:18 391:3             123:23,23 125:12        326:4 348:14           tasked (1)               ten-year (1)
  395:18 414:24            128:6,6,8,17 129:3      378:24 384:23           37:22                    188:4
  415:6                    136:24,25 155:13        406:25 410:22          taught (3)               tendencies (1)
surprise (1)               156:4 157:5,18          419:18                  85:3,5 88:10             310:23
 239:7                     178:25 179:4          takes (1)                teach (20)               tenfold (1)
surprised (4)              183:22 184:4,4         48:23                    47:10,12 55:9 92:23      97:19
 236:19 300:25 336:14      205:9 212:18          talk (26)                   93:1 96:8 98:22       tenth (1)
  337:25                   231:13,19 232:17       20:5 39:4 44:13 46:25      108:23 109:4           71:17
surprising (2)             236:7 237:7,12,18       72:10 82:23 84:4          110:12 113:1          term (7)
 233:22 298:2              238:20,20 247:18        107:6 118:22 125:9        131:12,20 134:1,24     29:20 31:17 44:2
survey (8)                 247:20 248:7,11         126:8 132:20              165:11 169:1            235:4 316:8 317:21
 355:10 357:16 361:2       251:14,17,22 252:5      136:23 154:12             315:15 416:22           430:16
  367:25,25 369:7,7        252:20,21 257:16        178:13 183:11             431:19                terminology (4)
  372:7                    258:7 263:1 264:10      196:9 208:20           teaching (14)             11:23 132:22 160:8
surveys (1)                265:5,22 266:16         228:22 276:16           26:3 55:23 86:13 87:4     221:16
 357:7                     267:5 268:2,21          287:19 297:18             88:11 97:1 134:20     terms (42)
survived (1)               269:7 270:2 271:3       306:20 389:21             313:16 431:19          17:7 28:25 29:13
 335:20                    273:11 279:3 290:3      390:7 395:20              432:20 433:19,22        38:14 41:1 45:14
susceptible (1)            291:1,4 294:6 295:5   talked (14)                 435:12,14               76:12 78:22 83:24
 189:1                     295:23 297:21          80:17 82:8,11,12,13     team (1)                   84:3,5,7 98:23,24
suspect (1)                305:25 306:2 308:5      82:15 140:19 212:9      24:23                     99:1 124:1,3,19,21
 29:3                      308:7 312:6,10,15       293:15 338:9 371:1     tease (2)                  131:12 140:14
suspend (1)                317:4 318:20            385:13 395:19           333:6 335:13              188:17 201:21
 408:7                     319:12 324:4            417:20                 technical (2)              220:17,18 303:24
suspending (1)             326:11,13 327:12      talking (56)              96:11 430:15              311:14 328:10
 410:18                    337:19 373:1           26:25 28:21,22 30:5,6   techniques (1)             371:23 379:9
swallow (1)                379:24 397:4            38:7 44:9,10 46:22      163:9                     380:11 381:13
 150:19                    406:12                  53:16,17 54:9 56:21    tell (20)                  388:17 414:8,9,12
swear (1)               tables (13)                56:22 59:10 65:4        44:25 56:12 91:16         416:1 417:9 422:17
 10:5                    235:1 237:18 238:20       93:25 98:25 121:2         111:16 112:5 119:7      426:16 427:2 432:1
Swedish (1)                247:19 248:1,11,16      125:21 131:11             120:5,16,17 121:7     tertiles (1)
 399:18                    290:23 298:20           141:25 143:21             121:19 126:9           336:2
switch (2)                 308:12 324:15           144:24 148:10             184:17 247:12         test (24)
 199:5 338:22              387:6,10                155:11 158:19             253:16 278:16          42:4,12,22,24 43:25
sworn (3)               take (37)                  168:1,5 174:13            296:2 349:10 380:4      44:10,11 86:4,5
 10:9 437:15 438:9       19:16,25 33:9 39:18       186:9,21 197:20           393:24                  89:16,17,24 90:2
symmetric (1)              52:13 55:3 93:2         204:13 207:16          telling (1)                102:23 103:12
 161:21                    100:15 144:13           212:10 248:8 271:2      285:23                    105:2 108:5 282:1
symmetrical (1)            169:10 177:20           283:15 294:18          tells (6)                  363:1 376:6 377:11
 161:7                     187:3 188:10            308:2 310:6 320:12      108:25 111:25 136:2       406:1,5,9
system (2)                 189:19 191:12,21        322:8 333:11 351:4        199:14 370:20         tested (1)
 37:24 189:5               197:23 203:10           363:11 366:17             426:13                 374:15
system-related (1)         223:21 234:19           370:13 372:22          ten (39)                 testified (6)
 188:6                     248:13 251:12           385:17,18 417:11        48:23 72:16 170:13       10:10 211:17 274:22


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 152 of 806


                                                                                                            Page 40

  350:3 402:20            101:10 102:3 106:7        294:20 331:2,6,14        348:22 349:1 351:1     299:13,17 300:14
  429:11                  127:18 134:10             332:4,13 343:14          355:17 357:15            312:8 324:20
testifying (1)            144:25 145:1              345:13 350:6             359:5 360:9 361:6        387:13,13,22 437:3
 83:8                     147:19 150:21             351:24 366:10            362:7 364:7 369:5     totality (2)
testimony (34)            151:19 153:22             373:6 396:22             369:14 371:17          57:8 82:17
 83:11 215:16 219:3       155:11 163:4              397:16,24 404:25         374:22 375:9 377:7    totally (1)
  220:12 221:8 222:4      166:13 167:25             411:16 424:12            395:21,25 398:8        362:21
  250:13 255:15,19        168:4,15,19 170:3,5    threshold (14)              409:16,17,24 410:5    totals (1)
  273:16 291:16,22        170:7 172:8,21          44:11 93:24 94:2,10        410:10,14,19,20,21     386:6
  293:14 302:22           178:12 179:16             94:24 95:25 99:6         411:3,15,21,22        toxic (3)
  314:19 337:17           182:1 186:3 187:24        101:21 104:1,2           412:5,15,16 413:11     150:6 419:4 420:13
  344:14 350:12           189:20 190:25             108:22 109:1             433:13,15 435:2       toxicity (2)
  358:3 371:4 388:22      192:13 195:11             111:18 119:13            437:6                  419:6,7
  398:23 401:2 403:2      197:13 201:20          thresholds (5)           time-changing (1)        toxicologist (2)
  408:23,25 412:10        204:13 216:15           94:8,8,12 95:9 104:20    187:12                   55:20 60:25
  421:25 422:6,11,13      220:15 245:3           throw (3)                times (30)               toxicologists (3)
  422:25 436:23           249:17 250:20           159:23 169:10 236:21     68:19 74:1 90:8,23       55:9,22 63:7
  438:11                  259:22 263:8           throwing (3)                210:22 222:5 268:8    toxicology (9)
testing (10)              266:13 267:25           397:10 416:2,3             269:19 270:9           54:16,24 55:8,10,14
 40:9 42:6,15 44:3        276:5 285:3 291:24     thrown (1)                  271:22 276:3             57:4 58:2 62:16
  86:8 96:2 102:24        301:24 308:3 310:4      185:17                     299:18 300:9,23          82:7
  104:25 250:17,19        316:11 317:13          tie (1)                     301:19 304:24         track (1)
tests (2)                 323:17 324:19           426:12                     345:1 360:1 361:9      250:2
 86:6,7                   325:10,15 327:11       tighter (2)                 373:6 381:8 404:25    trained (3)
text (2)                  334:23 335:7 337:9      114:23 115:8               408:16 409:13          56:2 84:21,23
 234:8,18                 342:2 348:17           time (132)                  411:12,13,16,17       training (3)
Thank (7)                 349:23 350:16           8:16 16:4,10,23,25         425:11 430:23          11:16 63:6 313:16
 10:3 13:13 113:13        352:6 353:15 355:8        21:1,16 22:1,2,8,13   timing (2)               traits (1)
  144:15 180:1 277:5      360:21 366:12             22:24 24:12 25:19      333:16 359:10            192:22
  313:5                   367:9 371:1 381:10        25:20,21 26:4 30:21   title (2)                transcript (6)
Thanks (2)                385:23 388:23             34:10 40:22 71:18      18:2 84:9                5:23 147:18 409:8,13
 143:12 423:20            395:19,20,25              87:4 90:8,25 92:1     today (12)                  412:1,25
theirs (1)                399:16 400:11             96:20 103:22           8:21 10:18 56:9 247:4   transcription (1)
 68:25                    409:14 412:14             104:16 121:14,24         250:13 325:10          439:5
thing (8)                 418:9 426:24 428:3        123:19 127:3 147:7       385:7 403:21          Travers (2)
 56:23 109:4 114:9        431:22                    149:13 178:2 187:1       417:11 434:4,16        3:23 9:22
  117:9 133:25 174:8    third (2)                   187:1,10,14,17           437:4                 treasurer (1)
  338:21 413:6           121:14 359:5               188:17 189:10         today's (2)               36:13
things (21)             thoroughly (1)              191:20 192:3,5         8:15 437:2              treat (1)
 36:15 68:2 89:14        414:18                     193:8,25 195:2        told (7)                  330:22
  101:6 106:5 138:14    thought (11)                198:3,9 199:4,22       10:22 68:1 79:15        treated (1)
  138:21 190:25          21:14 30:4 166:14          203:7 204:7,9            210:2 275:10 276:2     167:22
  196:9 208:15,16         182:2 183:25              209:13 210:1 221:9       295:6                 treating (1)
  224:13 250:3            199:22 202:10             223:21 225:9          tool (3)                  379:8
  296:19 301:21           224:15 256:24             226:16 227:10          164:19 196:6 433:22     TREMBOUR (1)
  310:8 311:5 316:24      289:23 389:18             239:21,23 240:6       top (14)                  4:8
  386:2 393:9 413:19    thousand (2)                241:9 245:2 248:13     92:6 122:3,21 124:22    trends (1)
think (112)              177:5,8                    260:15 267:10            133:9 179:16,19        86:6
 17:19 21:3 34:18       three (36)                  270:7,11 275:24          310:19 315:17         trial (4)
  35:19,23 36:21 49:6    33:7 37:25 59:18 72:2      278:2 295:13 301:8       316:2,15 365:16        90:7 150:4 202:9,21
  49:14 50:24 52:22       110:23 154:3              305:10,16,19             366:11 436:1          trials (2)
  58:14 69:1 71:2,13      158:11 182:18             313:23 318:10         topic (2)                 317:14,17
  71:20,21 73:21          194:6 195:21,23           325:3 332:12           27:21 404:3             tried (10)
  83:14 87:4,15 89:14     222:25 235:23             339:24 341:14         topics (1)                98:1 165:22 202:12
  91:15 92:1 94:9         252:18 263:16             343:18,19 346:24       77:12                      343:22 344:20,23
  95:8 96:5 100:17        271:22 276:3 280:2        347:1,21,25 348:4     total (9)                   355:24 363:1


                                     TSG Reporting - Worldwide       877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 153 of 806


                                                                                                          Page 41

   367:10 380:10           163:22 188:21                   U                436:10               105:8
trouble (2)                190:10,12 192:16       U.S (7)                 understanding (23)     urinary (1)
 26:24 344:2               194:6 195:21,23        149:20 230:2 279:16     79:3 101:11 112:7      24:16
true (11)                  196:1 197:7 205:12       306:15 340:25           175:25 198:18        urine (2)
 35:23 40:11 41:11         208:19 222:24            396:20 397:15           214:14 256:17        31:2,3
   87:8 143:19 167:15      234:25 235:23          UCLA (16)                 262:4 266:15 293:4   use (145)
   315:15 328:19           237:6,6,7 238:20       13:9,15 14:4 16:2,12      293:24 303:6         6:22 19:10 26:17
   379:21 380:5            240:12 249:2 254:3       16:19,22 17:13,20       320:21 321:14          67:22,23 83:25 85:5
   438:10                  254:9 261:15 263:2       33:1,6 47:12 55:8       324:9 331:19           85:12,20 86:9,12
truly (5)                  263:2,16 264:10,11       88:10 131:12            339:13 356:20          87:22 89:13 93:4
 215:7 330:23 332:7        264:18,24,25 265:6       432:20                  418:11 421:6,9,13      94:24 95:23 97:1
   406:6,7                 265:7 266:7,24         uh-huh (10)               428:18                 99:9,23 106:24
try (13)                   269:15,19 271:16       65:5 76:14 84:2 115:7   understands (1)          108:20 110:1,3,13
 10:25 42:21 83:25         271:23 272:14,18         160:12 169:23         59:25                    110:19 113:2,25
   117:9 131:12            273:7,12 274:16          173:14 200:18         understood (8)           118:25 122:17
   140:15 144:10           276:2 279:2 286:4        244:12 392:11         98:7 99:21 119:9         130:3 138:23 139:2
   151:23 185:9            296:1 298:8 299:21     uncertainties (1)         129:23 151:16          161:8,11 163:4
   296:19 317:1 329:6      301:13,15,17,17,18     11:7                      198:16 290:20          164:19,25 196:7
   342:24                  304:25 319:16          underestimating (1)       421:25                 199:20 200:16
trying (52)                324:6 328:21 331:1     366:8                   unexposed (10)           201:5,11 203:8
 11:22 19:14 22:5          339:25 340:9           underlying (3)          43:12,14 45:2 141:21     210:22 216:1
   24:12 27:8 37:1         343:14 366:10          50:15 167:4,15            175:15,20 264:16       231:18 263:15
   38:11 41:15 44:3,22     373:9 393:9 397:9      understand (86)           268:13 270:13          265:18,18 266:4
   46:14 47:24 50:4,16     397:17 398:4           11:22 15:5 16:12          345:12                 267:16,17 268:16
   66:3 68:3 84:16         407:11,14 412:19         57:10 59:3 61:4,13    unfair (2)               268:18 269:3 270:1
   88:25 95:10,22 96:7     424:1,23 425:24          62:12 63:10,16,20     226:25 262:10            270:15 271:18
   98:18 102:3 104:19      426:25 427:4,10          66:3 79:8 81:1        unfortunate (3)          279:6,7,18,25
   112:3 113:1 119:11    two-day (2)                100:15 101:9 102:3    63:22 67:15,16           280:13 281:9
   138:11 161:5           26:1 273:12               104:19 111:2 112:4    unfortunately (3)        285:14,21 286:3,23
   164:25 166:24         two-thirds (1)             124:10 132:21         39:3 88:4 313:11         287:22 288:4
   167:1,20 168:15        244:7                     134:7 138:10          uninformative (1)        298:16 299:8
   169:1 174:15          two-year (2)               141:12 158:23         119:19                   304:17,18 305:24
   175:10 187:9 192:9     193:21 197:4              160:9 169:20 185:4    unique (1)               312:1 314:3 325:13
   193:14 195:14         twofold (1)                190:24 191:7          358:14                   325:14 326:21,22
   201:18 217:21          97:21                     207:24 209:9 210:8    uniquely (1)             327:8,13,14,14,21
   220:20 257:15         type (17)                  211:10,11 215:14      382:6                    327:21 328:24
   264:15 267:23          38:16 40:24 50:24         217:14,14,21          United (3)               329:3,12,14 334:5
   274:3 276:9 320:20      61:10 85:25 86:3         229:20 255:14         1:1 6:9 8:9              336:20,23 338:15
   371:13,21               104:22 131:16            257:15 265:20         University (2)           338:17,24 344:24
TSG (2)                    136:18 139:25            266:13 274:2          12:14,23                 353:21 354:13
 8:18,22                   141:3 185:13             275:23 286:11         unknown (1)              356:21 357:13,14
Tuesday (3)                227:16 302:16            287:17 291:7          145:18                   358:15,24 360:8
 191:15,18,23              329:23 345:19            294:22,24 299:25      unpublished (5)          362:18,19 363:19
tumors (1)                 363:7                    320:20 321:11         385:19,20 390:2          364:3 366:19
 12:25                   types (15)                 327:4,24 329:6,7        431:5,9                367:11 368:17
turn (5)                  77:15 78:21 79:14         331:11 334:7          unspecified (3)          369:4,10,22,25
 124:23 165:5 423:13       87:25 102:20             352:21,22 356:16      244:22,24 246:25         370:16,21 371:11
   428:11 432:7            107:24 110:23            358:20 359:17         update (3)               371:25,25 372:13
twice (5)                  149:2 150:24 151:1       360:20,22 367:20      355:19 371:21,22         372:14,22 373:14
 59:15 238:15 359:4        224:16 265:17            369:2 372:17 376:2    updated (5)              374:12,14 375:2,7
   368:7 377:24            275:21 388:5 419:7       377:12 380:22         132:16 362:18 372:11     380:24 398:14
two (92)                 typically (6)              381:11 382:18           381:24 435:20          401:13 414:6
 9:14 24:25 25:23 33:7    94:16 95:1 97:4 100:8     388:23 397:13         upper (4)                415:25 416:15,16
   74:5 75:13,21 76:8      101:13 188:3             398:6 399:6,8         109:9 111:14 160:20      418:2 419:9 424:10
   110:23 123:11         typo (1)                   416:16 422:12           184:5                  424:24,25 427:10
   144:1,3 154:3          134:12                    428:21 435:23         upshot (1)               430:1 432:19


                                      TSG Reporting - Worldwide      877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 154 of 806


                                                                                                        Page 42

useful (3)              113:4 249:9 356:6,7     videotape (8)             394:21 401:10,10       50:23 58:13 67:18
89:9 106:8,23           variable (6)            96:16,21 203:13,20      walk (2)                 68:22 73:12 91:11
user (1)                167:13,16,17,18           306:24 307:6          178:10 204:4             94:4 95:19 105:25
303:25                    236:22 264:21           419:15,22             want (77)                110:9 112:14 129:6
users (14)              variables (16)          videotaped (2)          40:23 45:12 48:22        133:6,22 134:18
267:18,19 268:15        152:12 216:14 218:11    8:6 10:24                 50:13 51:11 59:24      135:7 162:4,5
  270:14,14,15            239:11,16 240:17      videotapes (1)            81:14 82:4,5,19,23     163:11,16 168:25
  271:11,12,15            242:12,13 247:23      437:4                     84:4 94:5 95:17        173:9 175:19
  272:17 276:10,11        282:13 283:2 286:5    view (1)                  100:16 106:6 125:7     185:15 201:4,9
  301:16 338:2            296:1 330:22          234:20                    127:17 129:2           204:17 209:25
uses (5)                  430:16,18             viewpoints (2)            132:21 136:1 137:9     214:25 216:3,21
138:3 202:19,20         variance (1)            417:1,14                  139:19 145:3           230:8 238:2,3,6
  208:13 343:7          331:7                   Virginia (1)              147:13,14,21           240:19 244:7
usually (12)            variants (2)            3:21                      160:16 164:2 175:3     246:19,25 261:23
50:12 97:17 98:2        430:16,17               virtually (4)             181:10 182:10          280:8,8 289:10
  104:25 135:15         variety (1)             233:18 308:14,20          191:2,7 195:1,16,20    290:21 292:22
  140:14 160:10         101:5                     413:8                   195:20,24 196:25       316:9 323:25 324:1
  225:14 273:5          various (11)            visiting (7)              208:22 211:19          325:15 335:8 344:3
  284:18 309:23         85:20 98:13 150:24      14:21 15:8,17 16:7        215:14 223:22          344:24 346:6
  414:13                  153:1 246:9 247:22      17:9,17 18:9            240:11,13 245:21       367:17 403:22
                          278:25 279:23         visual (9)                249:8,20 251:19        404:19 416:15
           V              324:5 376:18          153:5,7 155:23            260:3 266:14 286:2     418:15 426:19,20
valid (9)                 378:18                  156:16 158:9 160:3      288:2 291:6 292:8      427:18 429:21
117:17,18 158:18        vary (3)                  160:14 161:12           297:16 299:25          430:4 438:14
  160:2 182:14          149:13 165:19 192:22      162:2                   309:4 359:17          ways (10)
  285:18 286:17,24      varying (3)             visualization (1)         361:23 362:15         41:1 55:21 110:24
  359:13                30:21 280:1 433:13      162:14                    366:14 368:22          161:4 187:8 292:24
validate (1)            vast (1)                visually (1)              369:3 384:11,12        368:11,15 397:17
343:13                  309:10                  161:4                     395:18 399:9 403:4     420:13
validated (3)           venture (2)             Vitae (1)                 408:5 411:23          we'll (35)
342:23 343:8,16         271:25 288:3            5:9                       412:15 413:7,16       26:25 39:6 44:9,13
validation (6)          versa (2)               vital (6)                 423:10 428:2           46:21,25 68:5 75:18
343:15 375:22 376:6     61:2 144:5              179:5 180:5 237:5       wanted (2)               79:18 81:24 84:4
  376:10 378:15         version (2)               238:8 240:18          23:8,15                  110:1 126:24
  381:14                290:15 349:10             242:14                War (4)                  127:21 128:3
validity (35)           versus (12)             volume (5)              149:15,18,19 150:12      154:11,11 155:5
25:7 46:18 48:10 49:2   106:4 121:3 139:3       18:4,5,11,13,17         ward (1)                 156:13 158:7
  49:4 88:8 91:17,22      233:1 264:11,17       vulnerable (1)          12:24                    178:21 181:24
  115:4 117:5,21          265:6 267:18 293:7    140:5                   warn (2)                 183:11 184:25
  121:4 125:22            335:14 423:14,19                              11:2 431:20              203:24 226:18
  139:19 140:6 158:4    vice (2)                          W             Washington (2)           238:16 241:15,16
  293:17,18,25 294:5    61:2 144:5              Wagstaff (2)            4:5,13                   242:15 297:18
  294:10,14,15,24       vicinity (4)            3:3 9:2                 wasn't (7)               342:2 395:25 405:7
  295:4 296:6 316:25    92:16,20 93:9,15        wait (36)               58:11 218:16 233:3       408:24
  317:5,9 318:5         video (4)               11:3 16:15 28:2 30:10     238:11 262:15         we're (53)
  359:11 366:24         1:15 2:9 8:20 9:19        47:5 59:5,5 61:5        268:20 363:8          14:19 38:11 44:3 46:1
  417:15 431:23         Videographer (31)         65:6,20 76:4 100:23   waste (1)                50:6 52:10 65:3
  432:1                 4:18 8:4 9:11 10:3        100:23 119:10         412:10                   72:19 75:5 80:10
validly (1)               72:19,23 96:14,19       126:15 132:23         watering (1)             84:13 95:22 96:14
216:15                    144:16,20 178:3,7       151:15 161:1 165:7    426:4                    100:19 121:2
value (14)                203:12,18 270:20        201:14 204:15         waves (1)                125:20 126:16,21
89:19 92:11,12 108:9      270:24 306:23           231:3 237:13          149:25                   127:19 129:19
  112:18,19,20,22         307:4,20,24 326:2,6     249:23 258:23,23      way (75)                 143:21 148:10
  162:23,24 281:25        384:21,25 398:9         322:17 328:16,16      31:9,10 37:2 40:22       158:18 159:1
  282:20 283:4 375:4      406:23 407:2 411:7      337:1 346:18            41:13 44:21 48:8       164:25 167:9 168:4
values (4)                419:13,20 437:1         361:11 370:4            49:10,20 50:19,22      178:3 200:1 203:14


                                     TSG Reporting - Worldwide     877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 155 of 806


                                                                                                    Page 43

  207:10,16 237:11       320:23 321:4,16       93:21 95:5 97:16      236:5,18 237:24         376:2,10,21 378:2,3
  239:19 267:4 305:4     322:9 396:16          98:17 99:14 100:6     239:5 240:8 241:18      378:6 379:4,17
  306:19,25 307:20     widely (1)              101:20 102:14         242:4,24 244:3,18       380:4,9 381:7,10
  312:16 324:16        92:8                    103:9,24 104:18       245:10,17 246:17        382:9,18 383:4,14
  326:2 337:2 342:1    widen (2)               105:18 106:3,20       247:12 248:7,16         383:25 384:16
  350:23 363:11        216:23 283:1            107:15 108:12         250:15 253:24           385:13 387:1 388:4
  384:14,21 406:23     widens (2)              109:18 110:8          254:25 255:20           389:3,15 390:20
  419:17 425:6         214:21 282:12           111:11 112:14         256:4,22,25 257:14      391:17,25 392:21
  436:21 437:5         wider (3)               115:3,12 116:8,17     258:14 259:11           393:9,21 394:20,24
we've (10)             117:1 214:25 216:19     117:8 118:12          260:1,17,19 261:8       395:12 396:7 397:3
30:1 50:9 242:19       width (6)               119:11 121:1,16,25    261:23 262:9,12         398:24 399:15,23
  313:20 320:11,11     112:1 114:22 119:3,5    122:12 123:3,21       265:14 266:2 268:9      400:10 401:4,16
  321:1 338:9 339:19     280:11 320:3          124:18 125:20         268:12 269:1,13         402:13 403:4,9,17
  410:24               widths (2)              126:23 127:1,12,15    270:10,12 271:9         404:2,12,24 405:17
weaknesses (1)         112:16 162:20           128:17,25 130:11      272:13 273:2,17         405:25 407:11,24
218:8                  wife (3)                130:22 131:9          274:10 275:9,13         409:9,14 410:4,22
website (2)            136:2,22 137:1          132:17 133:21         276:5,9 277:9 281:4     412:2,8 413:3
283:10 382:3           Williams (2)            134:18 135:14,24      281:15 282:10,23        420:11,20 421:17
Wednesday (1)          229:2,19                136:14 137:19         283:12 284:18           422:12 423:1,11
191:17                 willing (2)             139:2,18 140:9,23     285:17 286:22           425:3 436:9,18
weeded (1)             78:14 81:21             141:16 142:7 143:1    287:13 288:2,17         438:8,11,16
414:15                 Wilshire (3)            145:20 146:21         289:4 290:13          wives (1)
week (1)               2:11 3:12 8:14          147:10 149:11         291:17 292:8,21       138:6
48:24                  wipe (1)                151:5 153:20,24       293:15 294:5 295:4    woman (1)
weeks (2)              301:3                   154:19 155:20         295:22 296:12         31:3
48:23 273:21           wish (1)                156:25 157:15         297:11 298:7,19       women (1)
weigh (3)              58:11                   158:2,15 159:7        300:6 301:12          31:1
115:9,18 164:3         Wisner (15)             161:3,19 162:13       302:23 303:16         woods (1)
weighing (1)           3:15 9:5,5 81:8,12      163:16 164:16         304:8 305:16          146:5
344:2                    83:7 172:20 249:20    165:9 166:5,22        308:24 309:13         WOOL (1)
weight (2)               402:11,14 405:15      168:24 170:23         311:9 312:13 314:1    3:8
305:2 415:19             412:4,20 435:4        172:4,19 173:2,19     314:7 315:9,21        word (9)
weighted (3)             436:4                 174:7 175:9 176:9     317:12 320:14         19:10,13,14 63:23,24
311:21 324:8 415:21    withstood (1)           176:23 177:10         321:3,23 322:23         67:23,23 187:7
weights (1)            390:17                  178:17 179:21         323:5,24 324:15         299:24
164:5                  witness (445)           180:25 181:14         325:7 326:25 327:6    worded (1)
well-known (1)         5:2 6:5 10:5,8 14:18    182:9,24 183:20       327:17 328:8,17       11:8
142:14                   23:24 25:10 26:9      184:16 185:12         329:21 330:18         wording (2)
went (14)                28:3,19 31:16 32:22   187:7 188:16 190:1    331:25 333:10         67:15 69:1
24:7 33:8 59:19          35:10 38:11 40:4,14   191:6 192:9 193:5     334:23 336:13,22      words (6)
  204:11 281:11,16       41:24 43:5,24 44:20   193:20 195:9          337:2,24 339:23       67:16 68:24 131:2
  281:22 285:6           45:12,24 46:14 47:8   196:22 198:22         340:21 341:11,18        171:20 234:9
  288:24 290:16          48:7,21 49:25 51:10   199:13 201:3 202:4    342:11 343:4,12         434:14
  344:1 358:12           53:12,21 55:6,19      203:4 204:19 205:5    344:17 346:3,19       work (27)
  386:12 414:3           56:11 57:2,19 58:8    205:20 206:8,16       347:3 348:7 349:4     15:19,20 17:8,17
weren't (2)              58:25 59:17 60:9      207:9,22 208:8        349:17 350:13           19:16,21 20:12
160:6 202:8              61:7,21 62:6,23       209:19 210:20         351:4 352:15            21:20,22 38:8 50:2
West (1)                 63:20 64:23 65:19     211:6,18 212:4        353:13 354:5,19         52:18 54:4 105:8
3:5                      65:22,23 66:19        215:21 218:4 219:6    355:13 356:15           109:15 136:7,17
WHEREOF (1)              67:14 68:21 69:14     219:23 220:15         357:10 358:5 359:6      137:23 147:1 270:1
438:16                   70:17 71:2,20 73:10   221:11 222:7          360:3 361:6,13          379:12 390:11
white (1)                74:8,23 75:10 78:12   223:23 224:12         362:6,10 363:6          394:5 414:12,19
226:2                    79:7,24 80:3,5        225:11 227:13         364:19 365:5 366:5      418:17,17
wide (11)                83:11 84:20 85:16     229:1 230:8,20        367:9 368:6 370:9     workday (5)
112:21 117:12,14         85:25 87:22 89:22     231:6 232:8 233:11    371:6,20 372:11       272:4 273:6,13
  156:25 319:21,22       90:19 91:11,21 93:1   233:22 234:25         373:8 374:21,25         274:20 275:6


                                    TSG Reporting - Worldwide   877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 156 of 806


                                                                                                        Page 44

workdays (3)                     X                194:6,11 195:21,21     299:10                 01:56 (6)
273:7 274:16 299:21    X (4)                      195:22,23,23,24        0.8 (4)                212:25 213:5,10,15
worked (7)             5:1,7 6:1 7:1              196:1,11,18 198:9      109:14,22,23 354:13      213:20,25
136:20 146:24 365:21   Xs (1)                     207:7,12,16,19,22      0.84 (1)               01:57 (4)
 365:24 367:4          297:11                     209:12 211:3,8,25      279:20                 214:5,10,15,20
 374:10 376:16                                    212:6,7 217:18,23      0.87 (1)               01:58 (4)
worker (2)                        Y               218:19,24 220:8        282:20                 214:25 215:5,10,15
202:7 427:2            yeah (54)                  221:4,22,25 273:21     0.9 (8)                01:59 (5)
workers (4)            15:1 26:14,14 50:7         273:24 298:12          213:10 350:9 352:4     215:20,25 216:5,10
146:23 197:12 333:2      73:23 129:19 130:3       299:19,24 300:7,8        352:13 353:9           216:15
 426:23                  134:6 147:13,15,15       300:23 301:1,2,19        354:13 398:21        02 (1)
working (11)             147:22 148:6,7           303:1,19,21 304:23       399:10               117:1
18:20,23 55:22 63:6      149:1 152:7 153:24       304:24 305:5,6         0.92 (1)               02:00 (5)
 63:12 64:23 69:24       155:4 166:7 168:6        336:16,19 337:7,8      251:1                  216:20,25 217:5,10
 152:5 204:17            173:20 179:21,25         337:16 340:7           0.94 (1)                 217:15
 284:23 373:24           180:16 183:2             341:11,15 342:12       299:10                 02:01 (4)
workplace (2)            205:10,14 213:6          355:17 371:2           0.95 (3)               217:20,25 218:5,10
274:15 275:20            214:4 228:21,21          425:10,11 432:15       306:15 396:25 397:18   02:02 (6)
works (3)                233:11 243:16            433:17                 01 (3)                 218:15,20,25 219:5
165:5 217:12 366:2       253:3 276:21 297:1     yes-or-no (2)            85:12,22 92:10           219:10,15
world (7)                297:2 306:8,8 313:4    409:10 410:23            01:00 (5)              02:03 (5)
52:9,9 149:15,18,19      319:24 320:7           yes/no (3)               200:15,20,25 201:5     219:20 220:5,10,15
 150:12 380:20           326:12 347:7           309:16 373:18,21           201:10                 220:20
worried (1)              363:13 387:17          yielded (1)              01:01 (5)              02:04 (5)
145:8                    392:11 405:16,19       78:5                     201:15,20,25 202:5     221:5,10,15,20,25
worry (1)                405:25 411:7           younger (1)                202:10               02:05 (5)
426:22                   423:11 425:24          368:23                   01:02 (4)              222:5,10,15,20,25
worst (1)                432:12                 Yvonne (2)               202:15,20,25 203:5     02:06 (3)
266:5                  year (61)                4:7 9:12                 01:03 (2)              223:5,10,15
worth (1)              12:22 14:22 17:1,2,21                             203:10,15              02:07 (3)
88:20                    22:6,6 31:24 34:6                 Z             01:46 (2)              223:20,25 224:5
wouldn't (14)            36:25 37:13 132:6      Zahm (10)                203:20,25              02:08 (5)
21:20 35:2 36:2          138:2 188:21            6:13 223:5,7,16 224:6   01:47 (2)              224:10,15,20,25
 181:14 184:16           192:15 194:4 196:5        224:25 227:5,13,17    204:5,10                 225:5
 191:18 211:14           197:7,7,16,18 210:4       228:2                 01:48 (7)              02:09 (4)
 245:10 246:3,4          264:18 266:8,25        zero (4)                 204:15,20,25 205:5     225:10,15,20,25
 278:16 280:5            269:16,19 271:16        272:18 301:15 303:17      205:10,15,20         02:10 (7)
 286:24 343:15           271:22,23 272:14          366:7                 01:49 (4)              226:5,10,15,20,25
wrapped (1)              273:7 275:15,19        Zhang (3)                206:5,10,15,20           227:5,10
49:7                     297:22 298:8            16:2,22 17:6            01:50 (5)              02:11 (4)
write (2)                299:21 300:9,24,24                              206:25 207:5,10,15     227:15,20,25 228:5
246:23 414:5             301:6,8,13,20                   0                 207:20               02:12 (3)
writer (1)               302:15 303:1,18        0.5 (1)                  01:51 (5)              228:10,15,20
325:23                   304:25 305:5 340:2     160:19                   207:25 208:5,10,15     02:13 (5)
writing (1)              340:13 345:2,3         0.54 (1)                   208:20               228:25 229:5,10,15
25:22                    364:2 398:4 424:1      251:2                    01:52 (5)                229:20
wrong (10)               424:24 425:12          0.55 (1)                 208:25 209:5,10,15     02:14 (5)
93:12 121:25 141:12      426:25 427:10          157:7                      209:20               229:25 230:5,10,15
 191:1 251:14            435:16                 0.69 (2)                 01:53 (6)                230:20
 340:15 348:13         years (86)               280:15 306:16            209:25 210:5,10,15     02:15 (4)
 349:24 373:9          18:21 32:23 33:7,8       0.7 (4)                    210:20,25            230:25 231:5,10,15
 400:10                  55:23 63:8 142:11      179:1 180:14 319:21      01:54 (6)              02:16 (4)
wrongly (1)              146:19 186:16            320:5                  211:5,10,15,20,25      231:20,25 232:5,10
185:24                   188:11,23 189:6,24     0.77 (1)                   212:5                02:17 (5)
wrote (3)                190:11,12,13,15,15     155:18                   01:55 (3)              232:15,20,25 233:5
197:3 411:16 416:25      192:12,16,25 194:6     0.78 (1)                 212:10,15,20             233:10


                                       TSG Reporting - Worldwide    877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 157 of 806


                                                                                                  Page 45

02:18 (4)              255:5              275:20,25 276:5,10       03:41 (3)              04:12 (6)
233:15,20 234:5,10   02:42 (6)              276:15,20              297:15,20,25           314:5,10,15,20,25
02:19 (5)            255:10,15,20,25      03:19 (4)                03:42 (6)                315:5
234:15,20,25 235:5     256:5,10           276:25 277:5,10,15       298:5,10,15,20,25      04:13 (5)
  235:10             02:43 (6)            03:20 (5)                  299:5                315:10,15,20,25
02:20 (3)            256:15,20,25 257:5   277:20,25 278:5,10       03:43 (3)                316:5
235:15,20,25           257:10,15            278:15                 299:10,15,20           04:14 (4)
02:21 (4)            02:44 (5)            03:21 (3)                03:44 (5)              316:10,15,20,25
236:5,10,15,20       257:20,25 258:5,10   278:20,25 279:5          299:25 300:5,10,15     04:15 (5)
02:22 (6)              258:15             03:22 (4)                  300:20               317:5,10,15,20,25
236:25 237:5,10,15   02:45 (6)            279:10,15,20,25          03:45 (5)              04:16 (4)
  237:20,25          258:20,25 259:5,10   03:23 (4)                300:25 301:5,10,15     318:5,10,15,20
02:23 (6)              259:15,20          280:5,10,15,20             301:20               04:17 (3)
238:5,10,15,20,25    02:46 (7)            03:24 (6)                03:46 (4)              318:25 319:5,10
  239:5              259:25 260:5,10,15   280:25 281:5,10,15       301:25 302:5,10,15     04:18 (3)
02:24 (6)              260:20,25 261:5      281:20,25              03:47 (5)              319:15,20,25
239:10,15,20,25      02:47 (7)            03:25 (4)                302:20,25 303:5,10     04:19 (6)
  240:5,10           261:10,15,20,25      282:5,10,15,20             303:15               320:5,10,15,20,25
02:25 (8)              262:5,10,15        03:26 (4)                03:48 (5)                321:5
240:15,20,25 241:5   02:48 (3)            282:25 283:5,10,15       303:20,25 304:5,10     04:20 (5)
  241:10,15,20,25    262:20,25 263:5      03:27 (3)                  304:15               321:10,15,20,25
02:26 (5)            02:49 (4)            283:20,25 284:5          03:49 (6)                322:5
242:5,10,15,20,25    263:10,15,20,25      03:28 (4)                304:20,25 305:5,10     04:21 (5)
02:27 (4)            02:50 (4)            284:10,15,20,25            305:15,20            322:10,15,20,25
243:5,10,15,20       264:5,10,15,20       03:29 (4)                03:50 (2)                323:5
02:28 (5)            02:51 (7)            285:5,10,15,20           305:25 306:5           04:22 (5)
243:25 244:5,10,15   264:25 265:5,10,15   03:30 (5)                03:51 (2)              323:10,15,20,25
  244:20               265:20,25 266:5    285:25 286:5,10,15       306:10,15                324:5
02:29 (4)            02:52 (5)              286:20                 03:52 (2)              04:23 (5)
245:5,10,15,20       266:10,15,20,25      03:31 (5)                306:20,25              324:10,15,20,25
02:30 (6)              267:5              287:5,10,15,20,25        04 (17)                  325:5
245:25 246:5,10,15   02:53 (5)            03:32 (6)                93:25 94:16,25 95:13   04:24 (2)
  246:20,25          267:10,15,20,25      288:5,10,15,20,25          97:4 98:9,20 99:24   325:10,15
02:31 (4)              268:5                289:5                    100:8 101:12 102:5   04:47 (3)
247:5,10,15,20       02:54 (5)            03:33 (5)                  102:19 103:1,16,25   326:5,10,15
02:32 (3)            268:10,15,20,25      289:10,15,20,25            104:21 105:4         04:48 (5)
247:25 248:5,10        269:5                290:5                  04:03 (1)              326:20,25 327:5,10
02:33 (3)            02:55 (6)            03:34 (4)                307:5                    327:15
248:15,20,25         269:10,15,20,25      290:10,15,20,25          04:04 (5)              04:49 (4)
02:34 (3)              270:5,10           03:35 (6)                307:10,15,20,25        327:20,25 328:5,10
249:5,10,15          02:56 (2)            291:5,10,15,20,25          308:5                04:50 (5)
02:35 (3)            270:15,20              292:5                  04:05 (4)              328:15,20,25 329:5
249:20,25 250:5      03:13 (2)            03:36 (5)                308:10,15,20,25          329:10
02:36 (4)            270:25 271:5         292:10,15,20,25          04:06 (4)              04:51 (5)
250:10,15,20,25      03:14 (5)              293:5                  309:5,10,15,20         329:15,20,25 330:5
02:37 (3)            271:10,15,20,25      03:37 (5)                04:07 (5)                330:10
251:5,10,15            272:5              293:10,15,20,25          309:25 310:5,10,15     04:52 (5)
02:38 (3)            03:15 (6)              294:5                    310:20               330:15,20,25 331:5
251:20,25 252:5      272:10,15,20,25      03:38 (6)                04:08 (4)                331:10
02:39 (6)              273:5,10           294:10,15,20,25          310:25 311:5,10,15     04:53 (4)
252:10,15,20,25      03:16 (4)              295:5,10               04:09 (4)              331:15,20,25 332:5
  253:5,10           273:15,20 274:5,10   03:39 (7)                311:20,25 312:5,10     04:54 (6)
02:40 (4)            03:17 (6)            295:15,20,25 296:5       04:10 (4)              332:10,15,20,25
253:15,20,25 254:5   274:15,20,25 275:5     296:10,15,20           312:15,20,25 313:5       333:5,10
02:41 (5)              275:10,15          03:40 (3)                04:11 (4)              04:55 (6)
254:10,15,20,25      03:18 (6)            296:25 297:5,10          313:10,15,20,25        333:15,20,25 334:5


                                 TSG Reporting - Worldwide     877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 158 of 806


                                                                                                   Page 46

  334:10,15               351:20,25          05:36 (5)                  394:5              06:41 (4)
04:56 (5)               05:15 (6)            373:25 374:5,10,15       06:04 (7)            416:25 417:5,10,15
334:20,25 335:5,10      352:5,10,15,20,25      374:20                 394:10,15,20,25      06:42 (6)
  335:15                  353:5              05:37 (5)                  395:5,10,15        417:20,25 418:5,10
04:57 (3)               05:16 (6)            374:25 375:5,10,15       06:05 (5)              418:15,20
335:20,25 336:5         353:10,15,20,25        375:20                 395:20,25 396:5,10   06:43 (4)
04:58 (5)                 354:5,10           05:38 (5)                  396:15             418:25 419:5,10,15
336:10,15,20,25         05:17 (4)            375:25 376:5,10,15       06:06 (4)            06:45 (1)
  337:5                 354:15,20,25 355:5     376:20                 396:20,25 397:5,10   419:20
04:59 (5)               05:18 (4)            05:39 (5)                06:07 (6)            06:46 (5)
337:10,15,20,25         355:10,15,20,25      376:25 377:5,10,15       397:15,20,25 398:5   419:25 420:5,10,15
  338:5                 05:19 (6)              377:20                   398:10,15            420:20
05 (25)                 356:5,10,15,20,25    05:40 (5)                06:08 (5)            06:47 (7)
85:11,21 89:17 90:3       357:5              377:25 378:5,10,15       398:20,25 399:5,10   420:25 421:5,10,15
  90:12,22 91:4 92:10   05:20 (4)              378:20                   399:15               421:20,25 422:5
  92:16,20 93:9,16,24   357:10,15,20,25      05:41 (7)                06:09 (6)            06:48 (5)
  94:1,3 95:10,12,16    05:21 (5)            378:25 379:5,10,15       399:20,25 400:5,10   422:10,15,20,25
  96:2 98:20 99:10      358:5,10,15,20,25      379:20,25 380:5          400:15,20            423:5
  107:17 108:1,19       05:22 (6)            05:42 (6)                06:10 (6)            06:49 (5)
  117:11                359:5,10,15,20,25    380:10,15,20,25          400:25 401:5,10,15   423:10,15,20,25
05:00 (4)                 360:5                381:5,10                 401:20,25            424:5
338:10,15,20,25         05:23 (4)            05:43 (4)                06:11 (7)            06:50 (5)
05:01 (4)               360:10,15,20,25      381:15,20 382:5,10       402:5,10,15,20,25    424:10,15,20,25
339:5,10,15,20          05:24 (6)            05:44 (4)                  403:5,10             425:5
05:02 (5)               361:5,10,15,20,25    382:15,20,25 383:5       06:12 (7)            06:51 (5)
339:25 340:5,10,15        362:5              05:45 (5)                403:15,20,25 404:5   425:10,15,20,25
  340:20                05:25 (6)            383:10,15,20,25            404:10,15,20         426:5
05:03 (5)               362:10,15,20,25        384:5                  06:13 (5)            06:52 (5)
340:25 341:5,10,15        363:5,10           05:46 (3)                404:25 405:5,10,15   426:10,15,20,25
  341:20                05:26 (4)            384:10,15,20               405:20               427:5
05:04 (5)               363:15,20,25 364:5   05:54 (3)                06:14 (6)            06:53 (5)
341:25 342:5,10,15      05:27 (6)            384:25 385:5,10          405:25 406:5,10,15   427:10,15,20,25
  342:20                364:10,15,20,25      05:55 (5)                  406:20,25            428:5
05:05 (5)                 365:5,10           385:15,20,25 386:5       06:32 (5)            06:54 (6)
342:25 343:5,10,15      05:28 (4)              386:10                 407:5,10,15,20,25    428:10,15,20,25
  343:20                365:15,20,25 366:5   05:56 (4)                06:33 (5)              429:5,10
05:06 (6)               05:29 (6)            386:15,20,25 387:5       408:5,10,15,20,25    06:55 (4)
343:25 344:5,10,15      366:10,15,20,25      05:57 (3)                06:34 (5)            429:15,20,25 430:5
  344:20,25               367:5,10           387:10,15,20             409:5,10,15,20,25    06:56 (5)
05:07 (3)               05:30 (6)            05:58 (5)                06:35 (6)            430:10,15,20,25
345:5,10,15             367:15,20,25 368:5   387:25 388:5,10,15       410:5,10,15,20,25      431:5
05:08 (4)                 368:10,15            388:20                   411:5              06:57 (5)
345:20,25 346:5,10      05:31 (4)            05:59 (6)                06:36 (7)            431:10,15,20,25
05:09 (6)               368:20,25 369:5,10   388:25 389:5,10,15       411:10,15,20,25        432:5
346:15,20,25 347:5      05:32 (6)              389:20,25                412:5,10,15        06:58 (4)
  347:10,15             369:15,20,25 370:5   06 (2)                   06:37 (7)            432:10,15,20,25
05:10 (4)                 370:10,15          95:13 98:21              412:20,25 413:5,10   06:59 (5)
347:20,25 348:5,10      05:33 (6)            06:00 (5)                  413:15,20,25       433:5,10,15,20,25
05:11 (4)               370:20,25 371:5,10   390:5,10,15,20,25        06:38 (4)            07:00 (5)
348:15,20,25 349:5        371:15,20          06:01 (5)                414:5,10,15,20       434:5,10,15,20,25
05:12 (2)               05:34 (5)            391:5,10,15,20,25        06:39 (5)            07:01 (7)
349:20 350:5            371:25 372:5,10,15   06:02 (6)                414:25 415:5,10,15   435:5,10,15,20,25
05:13 (3)                 372:20             392:5,10,15,20,25          415:20               436:5,10
350:10,15,20            05:35 (5)              393:5                  06:40 (5)            07:02 (4)
05:14 (6)               372:25 373:5,10,15   06:03 (5)                415:25 416:5,10,15   436:15,20,25 437:5
350:25 351:5,10,15        373:20             393:10,15,20,25            416:20             09:04 (2)


                                    TSG Reporting - Worldwide     877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 159 of 806


                                                                                                    Page 47

  8:5,10              32:20,25 33:5,10          58:10                1.2 (4)                10 (14)
09:05 (3)             09:31 (3)               09:58 (6)              249:4 319:9,16 323:5   5:4 85:13,14,22 89:2
8:15,20,25            33:15,20,25             58:15,20,25 59:5,10    1.20 (1)                 89:4,4,11,11 214:1
09:06 (1)             09:32 (5)                 59:15                249:10                   214:1 278:20 341:1
10:5                  34:5,10,15,20,25        09:59 (5)              1.23 (2)                 387:19
09:07 (5)             09:33 (6)               59:20,25 60:5,10,15    280:24 281:16          10:00 (7)
10:15,20,25 11:5,10   35:5,10,15,20,25 36:5                          1.26 (3)               60:20,25 61:5,10,15
09:08 (5)             09:34 (5)                        1             249:4,10 253:4           61:20,25
11:15,20,25 12:5,10   36:10,15,20,25 37:5     1 (47)                 1.28 (1)               10:01 (5)
09:09 (6)             09:35 (4)               8:6 96:16 108:3        299:9                  62:5,10,15,20,25
12:15,20,25 13:5,10   37:10,15,20,25            110:11 161:20,21     1.32 (2)               10:02 (6)
  13:15               09:36 (5)                 162:3,3 199:25       253:4 306:16           63:5,10,15,20,25 64:5
09:10 (5)             38:5,10,15,20,25          231:13 264:22        1.35 (1)               10:03 (6)
13:20,25 14:5,10,15   09:37 (2)                 280:2,3 281:6        401:6                  64:10,15,20,25 65:5
09:11 (6)             39:5,10                   308:19,25 309:1,2    1.4 (1)                  65:10
14:20,25 15:5,10,15   09:38 (4)                 309:24,25 310:7,8    354:22                 10:04 (6)
  15:20               39:15,20,25 40:5          310:11 311:12,12     1.43 (1)               65:15,20 66:5,10,15
09:12 (4)             09:39 (5)                 312:11,14,22,23      398:2                    66:20
15:25 16:5,10,15      40:10,15,20,25 41:5       317:4,4 318:20       1.45 (1)               10:05 (5)
09:13 (5)             09:40 (4)                 326:11 327:12        322:3                  66:25 67:5,10,15,20
16:20,25 17:5,10,15   41:10,15,20,25            336:1 341:4 353:14   1.5 (4)                10:06 (5)
09:14 (4)             09:41 (5)                 353:25,25 354:11     109:13 179:22 399:21   67:25 68:5,10,15,20
17:20,25 18:5,10      42:5,10,15,20,25          354:20,22 370:24       399:23               10:07 (5)
09:15 (5)             09:42 (4)                 379:23 401:6         1.51 (4)               68:25 69:5,10,15,20
18:15,20,25 19:5,10   43:5,10,15,20             425:19 439:4         155:17 279:20 282:18   10:08 (5)
09:16 (6)             09:43 (6)               1.0 (18)                 282:24               69:25 70:5,10,15,20
19:15,20,25 20:5,10   43:25 44:5,10,15,20     43:3 47:2 107:22       1.53 (1)               10:09 (6)
  20:15                 44:25                   131:5 160:18         399:24                 70:25 71:5,10,15,20
09:17 (6)             09:44 (5)                 281:24 282:21        1.55 (1)                 71:25
20:20,25 21:5,10,15   45:5,10,15,20,25          308:16,22 309:11     251:2                  10:10 (6)
  21:20               09:45 (5)                 352:4 353:22         1.6 (5)                72:5,10,15,20,20,21
09:18 (4)             46:5,10,15,20,25          354:13 396:4,15      153:17 233:7 234:5     10:27 (2)
21:25 22:5,10,15      09:46 (4)                 398:20 400:23          281:5,16             72:22,24
09:19 (4)             47:5,10,15,20             401:8                1.66 (2)               10:29 (5)
22:20,25 23:5,10      09:47 (4)               1.02 (1)               282:17,24              73:5,10,15,20,25
09:20 (5)             47:25 48:5,10,15        424:8                  1.68 (4)               10:30 (4)
23:15,20,25 24:5,10   09:48 (5)               1.03 (1)               253:13 256:12,18       74:5,10,15,20
09:21 (5)             48:20,25 49:5,10,15     89:6                     257:2                10:31 (4)
24:15,20,25 25:5,10   09:49 (4)               1.06 (1)               1.73 (5)               74:25 75:5,10,15
09:22 (4)             49:20,25 50:5,10        300:19                 298:8 424:7,20         10:32 (6)
25:15,20,25 26:5      09:50 (5)               1.08 (1)                 425:23 427:11        75:20,25 76:5,10,15
09:23 (5)             50:15,20,25 51:5,10     300:19                 1.77 (2)                 76:20
26:10,15,20,25 27:5   09:51 (5)               1.1 (11)               298:9 427:12           10:33 (5)
09:24 (4)             51:15,20,25 52:5,10     178:25 182:12 212:24   1.85 (1)               76:25 77:5,10,15,20
27:10,15,20,25        09:52 (3)                 216:18 217:19        157:7                  10:34 (4)
09:25 (5)             52:15,20,25               218:21 319:17        1.88 (3)               77:25 78:5,10,15
28:5,10,15,20,25      09:53 (6)                 321:8 323:5 398:15   256:19 257:1 281:23    10:35 (5)
09:26 (3)             53:5,10,15,20,25 54:5     401:8                1.9 (4)                78:20 79:5,10,15,20
29:5,10,15            09:54 (5)               1.10 (1)               179:1 180:14 319:22    10:36 (5)
09:27 (5)             54:10,15,20,25 55:5     399:11                   320:5                79:25 80:5,10,15,20
29:20,25 30:5,10,15   09:55 (5)               1.13 (6)               1.92 (4)               10:37 (7)
09:28 (5)             55:10,15,20,25 56:5     279:19 285:15 287:24   258:5,8 259:2 260:6    80:25 81:5,10,15,20
30:20,25 31:5,10,15   09:56 (5)                 396:24 397:18        1:03 (2)                 81:25 82:5
09:29 (4)             56:10,15,20,25 57:5       401:8                203:15,17              10:38 (7)
31:20 32:5,10,15      09:57 (6)               1.17 (1)               1:46 (2)               82:10,15,20,25 83:5
09:30 (4)             57:10,15,20,25 58:5     299:10                 203:17,19                83:10,15


                                   TSG Reporting - Worldwide    877-702-9580
         Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 160 of 806


                                                                                                       Page 48

10:39 (4)               99:15,20,25 100:5,10   120:25 121:5,10,15       142:5,10,15,20,25      12:12 (5)
83:20,25 84:5,10          100:15                 121:20,25 122:5          143:5,10             159:5,10,15,20,25
10:40 (5)               11:01 (4)              11:22 (6)                11:42 (5)              12:13 (4)
84:15,20,25 85:5,10     100:20 101:5,10,15     122:10,15,20,25          143:15,20,25 144:5     160:5,10,15,20
10:41 (4)               11:02 (5)                123:5,10                 144:10               12:14 (6)
85:15,20,25 86:5        101:20 102:5,10,15     11:23 (5)                11:43 (3)              160:25 161:5,10,15
10:42 (3)                 102:20               123:15,20,25 124:5       144:15,17,18             161:20,25
86:10,15,20             11:03 (6)                124:10                 11:55 (4)              12:15 (4)
10:43 (3)               102:25 103:5,10,15     11:24 (5)                144:19,20,21,25        162:5,10,15,20
86:25 87:5,10             103:20,25            124:15,20,25 125:5       11:56 (5)              12:16 (5)
10:44 (4)               11:04 (4)                125:10                 145:5,10,15,20,25      163:5,10,15,20,25
87:15,20,25 88:5        104:5,10,15,20         11:25 (5)                11:57 (5)              12:17 (5)
10:45 (3)               11:05 (6)              125:15,20,25 126:5       146:5,10,15,20,25      164:5,10,15,20,25
88:10,15,20             104:25 105:5,10,15       126:10                 11:58 (4)              12:18 (2)
10:46 (4)                 105:20,25            11:26 (9)                147:5,10,15,20         165:5,10
88:25 89:5,10,15        11:06 (6)              126:15,20,25 127:5       11:59 (4)              12:19 (4)
10:47 (4)               106:5,10,15,20,25        127:10,15,20,25        148:5,10,15,20         165:15,20,25 166:5
89:20 90:5,10,15          107:5                  128:5                  113 (3)                12:20 (4)
10:48 (6)               11:07 (4)              11:27 (6)                5:16 227:24 228:1      166:10,15,20,25
90:20,25 91:5,10,15     107:10,15,20,25        128:10,15,20,25          1157 (1)               12:21 (4)
  91:20                 11:08 (5)                129:5,10               275:14                 167:5,10,15,20
10:49 (5)               108:5,10,15,20,25      11:28 (5)                1161 (1)               12:22 (6)
91:25 92:5,10,15,20     11:09 (6)              129:15,20,25 130:5       244:6                  167:25 168:5,10,15
10:50 (6)               109:5,10,15,20,25        130:10                 12 (7)                   168:20,25
92:25 93:5,10,15,20       110:5                11:29 (5)                7:20 85:9 117:24       12:23 (5)
  93:25                 11:10 (4)              130:15,20,25 131:5         118:4 207:16 237:4   169:5,10,15,20,25
10:51 (4)               110:10,15,20 111:5       131:10                   238:5                12:24 (3)
94:5,10,15,20           11:11 (5)              11:30 (3)                12/22/75 (1)           170:5,10,15
10:52 (6)               111:10,15,20,25        131:15,20,25             6:11                   12:25 (4)
94:25 95:5,10,15          112:5                11:31 (6)                12:00 (4)              170:20,25 171:5,10
  96:15,17              11:12 (5)              132:5,10,15,20,25        148:25 149:5,10,15     12:26 (5)
10:53 (5)               112:10,15,20,25          133:5                  12:01 (5)              171:15,20,25 172:5
95:20,25 96:5,10,15       113:5                11:32 (5)                149:20,25 150:5,10       172:10
10:57 (7)               11:13 (5)              133:10,15,20,25            150:15               12:27 (4)
96:18,20,20,25 97:5     113:10,15,20,25          134:5                  12:02 (6)              172:15,20,25 173:5
  97:10,15                114:5                11:33 (5)                150:20,25 151:5,10     12:28 (5)
10:58 (5)               11:14 (5)              134:10,15,20,25            151:15,20            173:10,15,20,25
97:20,25 98:5,10,15     114:10,15,20,25          135:5                  12:03 (4)                174:5
10:59 (4)                 115:5                11:34 (5)                151:25 152:5,10,15     12:29 (7)
98:20,25 99:5,10        11:15 (6)              135:10,15,20,25          12:04 (4)              174:10,15,20,25
100 (3)                 115:10,15,20,25          136:5                  152:20,25 153:5,10       175:5,10,15
4:5 18:11,15              116:5,10             11:35 (5)                12:05 (5)              12:30 (5)
100,000 (3)             11:16 (3)              136:10,15,20,25          153:15,20,25 154:5     175:20,25 176:5,10
170:14 171:23,24        116:15,20,25             137:5                    154:10                 176:15
100s (3)                11:17 (4)              11:36 (6)                12:06 (4)              12:31 (5)
18:4,5,17               117:5,10,15,20         137:10,15,20,25          154:15,20,25 155:5     176:20,25 177:5,10
1047 (1)                11:18 (5)                138:5,10               12:07 (4)                177:15
157:5                   117:25 118:5,10,15     11:37 (4)                155:10,15,20,25        12:32 (5)
108 (1)                   118:20               138:15,20,25 139:5       12:09 (6)              177:20,25 178:4,5,5
3:20                    11:19 (5)              11:38 (4)                156:5,10,15,20,25      12:33 (4)
10816 (3)               118:25 119:5,10,15     139:10,15,20,25            157:5                178:6,8,10,15
1:23 2:14 438:22          119:20               11:39 (5)                12:10 (5)              12:34 (3)
11 (8)                  11:20 (5)              140:5,10,15,20,25        157:10,15,20,25        178:20,25 179:5
5:9 7:14,18 84:7 85:9   119:25 120:5,10,15     11:40 (5)                  158:5                12:35 (4)
  200:7 351:12 398:9      120:20               141:5,10,15,20,25        12:11 (4)              179:10,15,20,25
11:00 (6)               11:21 (7)              11:41 (7)                158:10,15,20,25        12:36 (4)


                                     TSG Reporting - Worldwide      877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 161 of 806


                                                                                                    Page 49

  180:5,10,15,20     123 (1)                 178 (1)                 149:20,22              10:21 27:7 96:22
12:37 (4)            114:8                   6:8                     1960s (2)                171:2 203:13 205:9
180:25 181:5,10,15   124 (2)                 18 (11)                 148:13 416:25            237:18 238:20
12:38 (4)            114:8,16                1:18 2:5 8:1,16 124:6   1965 (2)                 248:11,14 251:14
181:20,25 182:5,10   125 (4)                   186:4,5,9 249:17,19   183:25 184:1             251:17,22 252:5,21
12:39 (5)            7:11 114:9,16,20          439:2                 1972 (1)                 298:9 315:16 316:3
182:15,20,25 183:5   128477 (1)              187 (1)                 360:6                    319:12 357:7,20
  183:10             1:25                    227:23                  1974 (2)                 362:1 365:11 373:1
12:40 (4)            13 (1)                  189 (1)                 199:10 208:23            374:18 375:7
183:15,20,25 184:5   7:19                    34:18                   1975 (13)                377:17 379:22
12:41 (5)            131 (1)                 19 (6)                  200:14,25 201:12,22      382:15 383:11
184:10,15,20,25      258:1                   186:10 189:21 192:22      202:17,22 207:11       387:16,21 401:9
  185:5              132 (1)                   389:22 390:3 393:3      208:23 209:22          425:22 433:7,9,10
12:42 (3)            5:19                    19-1 (3)                  211:8,15 212:6         439:4
185:10,15,20         1350 (1)                5:9 11:11,12              337:14               2,4-D (36)
12:43 (3)            4:12                    19-10 (3)               1980 (1)               150:8,9 223:24
186:5,10,15          14 (9)                  6:8 178:15,22           186:15                   252:10,18,22
12:44 (4)            152:24 154:17 155:23    19-11 (2)               1982 (1)                 253:18 254:21
186:20,25 187:5,10     156:23 157:18         6:9 200:4               13:1                     255:24 256:11
12:45 (4)              160:4 182:21,24       19-12 (2)               1983 (2)                 257:9 258:10,18
187:15,20,25 188:5     183:9                 6:12 204:1              186:15 206:21            259:6 260:11 261:3
12:46 (4)            148 (1)                 19-13 (2)               1985 (2)                 279:12,18,25
188:10,15,20,25      5:23                    6:13 223:13             211:8 212:6              280:14,22 281:9,21
12:47 (4)            15 (13)                 19-14 (2)               1986 (1)                 282:18 283:19
189:5,10,15,20       7:12,21 76:22 119:22    6:14 235:19             206:21                   284:1 285:19 293:6
12:48 (3)              120:2 125:12 128:6    19-15 (2)               1989 (2)                 293:8,11 294:3
189:25 190:5,10        128:7 206:4 283:14    6:15 243:17             13:12,13                 295:1 296:7 338:20
12:49 (5)              389:22 391:7 392:8    19-16 (4)               1990 (1)                 424:10,16
190:15,20,25 191:5   155 (1)                 6:16 277:6,7 288:24     227:14                 2,678 (2)
  191:10             6:3                     19-17 (3)               1990s (2)              337:20 341:7
12:50 (5)            156 (1)                 6:18 313:6,7            346:11 369:21          2.0 (1)
191:15,20,25 192:5   6:4                     19-18 (4)               1991 (2)               160:20
  192:10             16 (23)                 6:20 318:21,22,25       10:21 13:9             2.1 (5)
12:51 (4)            52:22,23 56:16,20       19-19 (2)               1992 (3)               216:17 232:13,16,19
192:15,20,25 193:5     58:18 59:9 66:19,25   6:21 349:8              178:14 213:16 217:16     234:3
12:52 (4)              76:22,22 152:1,3      19-2 (3)                1993 (11)              2.12 (1)
193:10,15,20,25        206:4 283:14,14       5:10 39:9,12            22:9 338:13,17 339:3   269:5
12:53 (4)              285:6 405:21,22,23    19-20 (4)                 339:5 341:22         2.23 (1)
194:5,10,15,20         405:23,24 423:6       7:3 363:14,17,18          358:12 360:8,9       253:8
12:54 (5)              428:14                19-21 (5)                 369:12 371:24        2.33 (1)
194:25 195:5,10,15   16-md-02741-VC (2)      7:4 386:15,16,19,19     1995 (7)               253:8
  195:20             1:7 8:12                19-3 (4)                13:14 338:14,22        2.6 (1)
12:55 (6)            166 (1)                 5:15 86:20,21 113:9       339:3 370:1,2        282:20
195:25 196:5,10,15   6:5                     19-4 (4)                  371:25               2.7 (1)
  196:20,25          1661 (2)                5:16 113:14,21 165:5    1997 (9)               213:19
12:56 (4)            155:12 308:9            19-5 (4)                13:25 17:3 22:10       2.8 (1)
197:5,10,15,20       17 (7)                  5:19 132:1,5 405:16       337:16 338:14        213:10
12:57 (5)            186:3 187:25 207:4      19-6 (2)                  346:12,14 347:10     2.94 (2)
197:25 198:5,10,15     211:24 366:12         5:23 148:1                369:13               155:18 424:8
  198:20               432:8,18              19-7 (3)                1999 (2)               2:56 (2)
12:58 (4)            17.4 (2)                6:3 155:8 307:10        156:2 355:23           270:21,22
198:25 199:5,10,15   206:5,16                19-8 (3)                19th (1)               20 (10)
12:59 (4)            1700's (1)              6:4 156:9 157:4         438:17                 7:11 172:14 173:2
199:20,25 200:5,10   34:7                    19-9 (2)                                         189:6 190:15 341:4
12100 (3)            172 (2)                 6:5 166:10                        2              364:17,24 366:13
2:11 3:12 8:13       350:22 351:7            1950s (2)               2 (38)                   368:2


                                  TSG Reporting - Worldwide     877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 162 of 806


                                                                                                      Page 50

20-plus (1)              351:8,13 353:2       7:17                   368:12                 43 (1)
371:2                    355:1 357:24         243 (1)                300 (1)                153:13
200 (4)                  358:25 359:23        6:15                   236:7                  435 (1)
6:9 119:18 132:7         361:3 362:3 383:1    2448 (2)               31 (4)                 5:4
  228:3                  383:19 385:22        179:16,19              172:15,19,24 232:25    45 (1)
20005 (1)                386:4,9,21 387:9     2450 (1)               313 (1)                337:7
4:13                     388:2,15 389:10,22   178:24                 6:18
2001 (3)                 390:2,7,16 391:7     25 (4)                 318 (1)                          5
21:21 107:3 369:18       392:18 393:16        55:23 63:8 74:9        6:20                   5 (17)
2002 (3)                 395:7 398:18           370:15               34 (1)                 7:16 89:19 119:18
156:8 216:5 376:15     2013AH (1)             259 (1)                353:2                    171:3 172:15,15,25
2003 (30)              347:23                 7:18                   349 (1)                  173:12,13,16,20
26:13 153:12,16        2013AHS (1)            26 (5)                 6:21                     231:19 277:10
  154:4,13 156:2       352:11                 257:24 297:16 423:14   35 (2)                   312:6 316:14
  181:8 184:10         2014 (10)                423:14,17            25:1 188:23              405:15 419:22
  205:16 213:15        386:11,12,20 387:8     269 (1)                36 (2)                 5.05 (1)
  214:9,18 215:18        387:11 388:1 392:6   7:19                   233:1 355:8            172:11
  217:23 218:23          393:18 394:16        27 (1)                 361 (1)                5:46 (2)
  219:1 220:7,10         395:10               336:19                 7:21                   384:22,23
  221:3 224:5 225:3    2015 (5)               270 (1)                363 (1)                5:54 (2)
  227:5 228:7 235:24   38:23 69:18 276:18     7:20                   7:3                    384:24 385:1
  276:25 310:7           277:15 416:18        2741 (2)               38 (4)                 50 (3)
  334:24 335:12        2017 (9)               1:5 8:11               368:13,18 369:1        25:1 326:11 337:8
  355:23 401:17        1:18 2:5 8:1,16        277 (1)                  374:2                50s (1)
2003-case (1)            131:24 405:8         6:16                   386 (1)                257:24
203:24                   437:16 438:17        293 (2)                7:4                    51 (3)
2004 (2)                 439:2                87:2 92:3              39 (1)                 229:4,5 319:12
26:13 235:15           204 (1)                2A (7)                 5:10                   550 (5)
2005 (19)              6:12                   62:9 64:24 65:3 71:7                          77:5 78:6 80:14 82:14
6:20 20:18 21:11,21    21 (6)                   422:8,17 424:18                4              83:1
  22:24 25:14,15       172:20,24 173:12,13    2B (2)                 4 (12)                 55401 (1)
  312:24 319:1,7         319:5 341:5          150:9 424:16           7:17 109:16,23         4:6
  321:16 322:25        21.5 (1)                                        113:19,20 166:6      56 (1)
  323:9,16 326:10      206:8                           3               172:24 173:2         341:5
  335:23 341:3 345:6   22 (3)                 3 (19)                   216:18 307:6 375:9   57 (1)
  398:13               337:16 341:11 342:12   13:2 89:6 156:18         419:16               341:6
2005AHS (1)            220 (2)                  157:1 181:12         4.0 (1)
338:5                  7:12,13                  203:20 212:18        212:25                           6
2006 (3)               223 (1)                  213:12 231:15        4.25 (2)               6 (14)
17:20 21:4 25:16       6:13                     232:17 236:7         173:15,19              39:18 147:24 166:13
2007 (3)               225 (1)                  237:12,18 238:20     4:02 (2)                 166:15 178:25
17:21 25:16 33:24      7:14                     306:24 320:6 324:4   307:3,5                  231:17 234:8
2008 (2)               22960 (1)                379:24 439:5         4:03 (4)                 247:20,22 338:14
161:23 341:20          3:21                   3.0 (1)                307:21,22,23,25          350:18,21 387:16
2009 (1)               23 (5)                 180:15                 4:23 (2)                 433:5
36:3                   7:13 263:12,19 345:8   3.2 (3)                326:3,4                6.2 (1)
201 (3)                  345:16               109:14,22,23           4:47 (2)               157:8
224:17 226:2 228:5     235 (1)                3.6 (1)                326:5,7                6:14 (2)
2010 (3)               6:14                   213:4                  40 (3)                 406:24,25
113:8 114:1 165:6      237 (1)                3:13 (2)               337:7 365:13,14        6:32 (2)
2012 (4)               7:15                   270:23,25              40-some (1)            407:1,3
376:21 383:14 432:13   239 (1)                3:51 (2)               335:1                  6:43 (2)
  435:12               7:16                   307:1,2                40-some-odd (1)        419:17,18
2013 (35)              24 (2)                 30 (1)                 146:19                 6:45 (2)
122:4 347:20 349:6     7:15 402:14            63:8                   414 (4)                419:19,21
  349:12 350:3,9,23    242 (1)                30-some (1)            5:5 365:12,13 373:2    60 (6)


                                   TSG Reporting - Worldwide    877-702-9580
        Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 163 of 806


                                                                               Page 51

  132:25 133:5         83 (2)
  188:25 232:25        13:3 209:8
  356:12,21            86 (2)
600 (1)                5:15 209:8
77:6
61 (5)                            9
132:19,24 133:1,5      9 (7)
  233:1                76:21 77:2,5 166:9
62 (12)                  228:13 231:17
356:2 368:7,10,14,25     321:8
  369:13,19 372:4      9:05 (3)
  374:1,7,11,14        2:6 8:2,17
                       90 (2)
          7            148:8,10
7 (26)                 90025 (1)
21:4 39:19 85:13,23    3:13
  89:3 128:15 155:7    90s (1)
  155:13 157:5         341:24
  166:13,15 168:1,16   94 (1)
  168:17 177:16        375:10
  228:13,16 232:16     95 (17)
  247:20,22 296:24     90:4,8,14,25 91:5
  296:25 308:7           107:12,15 108:2,6,8
  385:16,17,24           108:18 109:21
7:02 (2)                 110:15,16 131:4
437:5,6                  214:19 249:7
7171 (1)               950 (1)
3:5                    2:12
72 (1)                 97 (1)
358:9                  369:18
73 (1)                 98 (2)
257:25                 165:11 375:6
74 (2)
199:16 207:14
75 (4)
207:14 366:18 375:3
  375:11

          8
8 (23)
76:21 77:1,1,2 229:6
  229:8 248:11,15
  263:1 264:10 265:5
  266:16 267:5 268:2
  268:21 269:7 270:2
  271:3 310:5,16
  385:25 389:21
  390:1
80 (1)
148:4
80226 (1)
3:6
80s (1)
146:23
81 (1)
281:23


                                    TSG Reporting - Worldwide   877-702-9580
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 164 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 165 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 166 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 167 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 168 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 169 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 170 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 171 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 172 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 173 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 174 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 175 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 176 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 177 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 178 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 179 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 180 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 181 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 182 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 183 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 184 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 185 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 186 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 187 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 188 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 189 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 190 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 191 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 192 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 193 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 194 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 195 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 196 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 197 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 198 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 199 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 200 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 201 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 202 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 203 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 204 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 205 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 206 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 207 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 208 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 209 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 210 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 211 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 212 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 213 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 214 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 215 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 216 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 217 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 218 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 219 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 220 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 221 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 222 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 223 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 224 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 225 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 226 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 227 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 228 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 229 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 230 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 231 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 232 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 233 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 234 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 235 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 236 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 237 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 238 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 239 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 240 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 241 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 242 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 243 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 244 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 245 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 246 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 247 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 248 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 249 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 250 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 251 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 252 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 253 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 254 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 255 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 256 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 257 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 258 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 259 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 260 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 261 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 262 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 263 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 264 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 265 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 266 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 267 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 268 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 269 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 270 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 271 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 272 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 273 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 274 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 275 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 276 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 277 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 278 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 279 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 280 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 281 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 282 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 283 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 284 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 285 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 286 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 287 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 288 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 289 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 290 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 291 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 292 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 293 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 294 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 295 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 296 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 297 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 298 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 299 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 300 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 301 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 302 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 303 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 304 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 305 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 306 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 307 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 308 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 309 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 310 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 311 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 312 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 313 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 314 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 315 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 316 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 317 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 318 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 319 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 320 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 321 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 322 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 323 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 324 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 325 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 326 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 327 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 328 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 329 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 330 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 331 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 332 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 333 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 334 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 335 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 336 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 337 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 338 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 339 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 340 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 341 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 342 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 343 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 344 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 345 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 346 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 347 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 348 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 349 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 350 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 351 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 352 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 353 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 354 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 355 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 356 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 357 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 358 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 359 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 360 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 361 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 362 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 363 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 364 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 365 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 366 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 367 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 368 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 369 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 370 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 371 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 372 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 373 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 374 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 375 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 376 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 377 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 378 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 379 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 380 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 381 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 382 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 383 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 384 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 385 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 386 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 387 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 388 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 389 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 390 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 391 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 392 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 393 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 394 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 395 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 396 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 397 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 398 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 399 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 400 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 401 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 402 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 403 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 404 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 405 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 406 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 407 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 408 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 409 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 410 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 411 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 412 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 413 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 414 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 415 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 416 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 417 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 418 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 419 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 420 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 421 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 422 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 423 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 424 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 425 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 426 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 427 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 428 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 429 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 430 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 431 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 432 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 433 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 434 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 435 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 436 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 437 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 438 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 439 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 440 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 441 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 442 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 443 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 444 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 445 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 446 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 447 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 448 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 449 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 450 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 451 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 452 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 453 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 454 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 455 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 456 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 457 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 458 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 459 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 460 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 461 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 462 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 463 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 464 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 465 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 466 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 467 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 468 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 469 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 470 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 471 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 472 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 473 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 474 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 475 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 476 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 477 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 478 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 479 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 480 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 481 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 482 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 483 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 484 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 485 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 486 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 487 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 488 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 489 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 490 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 491 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 492 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 493 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 494 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 495 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 496 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 497 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 498 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 499 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 500 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 501 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 502 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 503 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 504 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 505 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 506 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 507 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 508 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 509 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 510 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 511 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 512 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 513 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 514 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 515 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 516 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 517 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 518 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 519 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 520 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 521 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 522 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 523 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 524 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 525 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 526 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 527 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 528 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 529 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 530 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 531 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 532 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 533 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 534 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 535 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 536 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 537 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 538 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 539 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 540 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 541 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 542 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 543 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 544 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 545 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 546 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 547 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 548 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 549 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 550 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 551 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 552 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 553 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 554 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 555 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 556 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 557 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 558 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 559 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 560 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 561 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 562 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 563 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 564 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 565 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 566 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 567 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 568 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 569 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 570 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 571 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 572 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 573 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 574 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 575 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 576 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 577 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 578 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 579 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 580 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 581 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 582 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 583 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 584 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 585 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 586 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 587 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 588 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 589 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 590 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 591 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 592 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 593 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 594 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 595 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 596 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 597 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 598 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 599 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 600 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 601 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 602 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 603 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 604 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 605 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 606 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 607 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 608 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 609 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 610 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 611 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 612 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 613 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 614 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 615 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 616 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 617 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 618 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 619 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 620 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 621 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 622 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 623 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 624 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 625 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 626 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 627 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 628 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 629 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 630 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 631 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 632 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 633 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 634 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 635 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 636 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 637 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 638 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 639 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 640 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 641 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 642 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 643 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 644 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 645 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 646 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 647 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 648 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 649 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 650 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 651 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 652 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 653 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 654 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 655 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 656 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 657 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 658 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 659 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 660 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 661 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 662 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 663 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 664 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 665 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 666 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 667 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 668 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 669 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 670 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 671 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 672 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 673 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 674 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 675 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 676 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 677 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 678 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 679 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 680 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 681 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 682 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 683 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 684 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 685 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 686 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 687 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 688 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 689 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 690 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 691 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 692 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 693 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 694 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 695 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 696 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 697 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 698 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 699 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 700 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 701 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 702 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 703 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 704 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 705 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 706 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 707 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 708 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 709 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 710 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 711 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 712 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 713 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 714 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 715 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 716 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 717 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 718 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 719 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 720 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 721 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 722 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 723 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 724 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 725 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 726 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 727 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 728 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 729 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 730 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 731 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 732 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 733 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 734 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 735 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 736 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 737 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 738 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 739 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 740 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 741 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 742 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 743 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 744 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 745 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 746 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 747 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 748 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 749 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 750 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 751 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 752 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 753 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 754 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 755 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 756 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 757 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 758 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 759 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 760 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 761 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 762 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 763 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 764 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 765 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 766 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 767 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 768 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 769 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 770 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 771 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 772 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 773 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 774 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 775 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 776 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 777 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 778 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 779 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 780 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 781 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 782 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 783 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 784 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 785 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 786 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 787 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 788 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 789 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 790 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 791 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 792 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 793 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 794 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 795 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 796 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 797 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 798 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 799 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 800 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 801 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 802 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 803 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 804 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 805 of 806
Case 3:16-md-02741-VC Document 652-12 Filed 10/28/17 Page 806 of 806
